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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA

  BROWARD BEHAVIORAL HEALTH COALITION,             Case No.: 0:19-cv-61172

                         Plaintiff,

        vs.

   PURDUE PHARMA L.P., PURDUE PHARMA INC.,
   THE PURDUE FREDERICK COMPANY, INC.,             COMPLAINT
   RICHARD S. SACKLER, JONATHAN D. SACKLER,
   MORTIMER D.A. SACKLER, KATHE A. SACKLER,        DEMAND FOR JURY TRIAL
   ILENE SACKLER LEFCOURT, BEVERLY SACKLER,
   THERESA SACKLER, DAVID A. SACKLER, TRUST
   FOR THE BENEFIT OF MEMBERS OF THE
   RAYMOND SACKLER FAMILY, RHODES
   PHARMACEUTICALS L.P., ENDO HEALTH
   SOLUTIONS INC., ENDO PHARMACEUTICALS, INC.,
   PAR PHARMACEUTICAL, INC., PAR
   PHARMACEUTICAL COMPANIES, INC., JANSSEN
   PHARMACEUTICALS, INC., JANSSEN
   PHARMACEUTICA, INC. n/k/a JANSSEN
   PHARMACEUTICALS, INC., NORAMCO, INC.,
   ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS,
   INC. n/k/a JANSSEN PHARMACEUTICALS, INC.,
   JOHNSON & JOHNSON, TEVA PHARMACEUTICAL
   INDUSTRIES LTD., TEVA PHARMACEUTICALS
   USA, INC., CEPHALON, INC., ALLERGAN PLC f/k/a
   ACTAVIS PLC, ALLERGAN FINANCE LLC f/k/a
   ACTAVIS, INC. f/k/a WATSON PHARMACEUTICALS,
   INC., WATSON LABORATORIES, INC., ACTAVIS
   LLC, ACTAVIS PHARMA, INC. f/k/a WATSON
   PHARMA, INC., INSYS THERAPEUTICS, INC.,
   MALLINCKRODT PLC, MALLINCKRODT LLC,
   SPECGX LLC, CARDINAL HEALTH, INC.,
   McKESSON CORPORATION,
   AMERISOURCEBERGEN CORPORATION, HEALTH
   MART SYSTEMS, INC., H. D. SMITH, LLC d/b/a HD
   SMITH f/k/a H. D. SMITH WHOLESALE DRUG CO.,
   CVS ORLANDO, FLORIDA DISTRIBUTION, L.L.C.,
   CVS VERO, FLORIDA DISTRIBUTION, L.L.C.,
   WALGREEN CO., and WAL-MART INC. f/k/a WAL-
   MART STORES, INC.,

                         Defendants.
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         Plaintiff Broward Behavioral Health Coalition (“BBHC,” or “Plaintiff”) sues Defendants:

  Purdue Pharma L.P., Purdue Pharma Inc., The Purdue Frederick Company, Inc., Endo Health

  Solutions Inc., Endo Pharmaceuticals, Inc., Endo International PLC, Par Pharmaceutical, Inc.,

  Par Pharmaceutical Companies, Inc., Janssen Pharmaceuticals, Inc., Janssen Pharmaceuticals,

  Inc.   N/K/A    Janssen   Pharmaceuticals,    Inc.,   Noramco,    Inc.,   Ortho-McNeil-Janssen

  Pharmaceuticals, Inc. N/K/A Janssen Pharmaceuticals, Inc., Johnson & Johnson, Teva

  Pharmaceutical Industries Ltd., Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Allergan Plc

  F/K/A Actavis PLC, Allergan Finance LLC, F/K/A Actavis, Inc., F/K/A Watson

  Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. F/K/A

  Watson Pharma, Inc., Insys Therapeutics, Inc., Mallinckrodt PLC, Mallinckrodt LLC, SpecGx

  LLC, Cardinal Health, Inc., McKesson Corporation, AmerisourceBergen Corporation, Health

  Mart Systems, Inc., H. D. Smith, LLC D/B/A HD Smith, F/K/A H.D. Smith Wholesale Drug

  Co., CVS Orlando, Florida Distribution, Inc., CVS Vero, Florida Distribution, LLC, Walgreen

  Co., and Wal-Mart Inc. F/K/A Wal-Mart Stores, Inc. to prevent future harm and redress past

  wrongs, and alleges:

         1.        BBHC brings this action pursuant to its statutory and common law authority to

  redress the harm caused by the improper conduct of Defendants and to recover damages and

  other relief to compensate BBHC for the extraordinary costs it has borne as a result of the harm

  caused by Defendants’ conduct.

         2.        BBHC is based in Broward County, Florida, at the center of the opioid

  epidemic that plagues the nation. Broward County has over 1.9 million residents.       Broward

  County, where BBHC is based, has suffered some of the largest numbers of opioid overdose



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  deaths in the country. In 2016 alone, 582 people died in Broward County due to an opioid

  overdose—on average, more than ten people per week. In 2017, there were 637 accidental drug

  overdoses in Broward County; the actual number of opioid users who have not experienced a

  reported overdose is even higher.

         3.         In a community with ever-climbing opioid addiction and overdose death rates,

  the BBHC’s role in providing a comprehensive system of care for substance use, mental health,

  and co-occurring disorders for individuals in Broward County has never been more critical. The

  influx of opioids and overdoses in Broward County has resulted in substantial loss and

  expenditure by BBHC.

         4.         BBHC has had to spend vast funds on a wide range of mental health and

  substance abuse services for an increasing number of Broward County residents to fight the

  opioid epidemic’s staggering, unanticipated, and far-reaching effects.

                                          INTRODUCTION

         5.         This case arises from the worst man-made epidemic in modern medical

  history—the misuse, abuse, over-prescription, and excessive supply of opioids.1

         6.         Most Americans have been affected, either directly or indirectly, by the opioid

  disaster. Few realize that this crisis arose from the opioid manufacturers’ deliberately deceptive

  marketing strategy to expand opioid use, together with the distributors’ equally deliberate efforts

  to evade restrictions on opioid distribution. Manufacturers and distributors alike acted without

  regard for the lives that would be trampled in pursuit of profit.2


  1
    Unless otherwise indicated, as used herein, the term “opioid” refers to the entire family of
  opiate drugs including natural, synthetic and semi-synthetic opiates.
  2
    Overdose Death Rates, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
  topics/trends-statistics/overdose-death-rates (last updated Sept. 2017).
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         7.        Since the push to expand prescription opioid use began in the late 1990s, the

  impact, vis-à-vis overdose rates and the death toll has steadily climbed, with no sign of slowing.

  The number of opioid overdoses in the United States rose from 8,000 in 1999 to over 20,000 in

  2009, and over 33,000 in 2015.3 In the twelve months that ended in September 2017, opioid

  overdoses claimed 45,000 lives.

         8.        From 1999 through 2016, overdoses killed more than 350,000 Americans.4

  Over 200,000 of them, more than were killed in the Vietnam War, died from opioids prescribed

  by doctors to treat pain.5 These opioids include brand-name prescription medications such as

  OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

  hydrocodone, and fentanyl.

         9.        Most of the overdoses from non-prescription opioids are also directly related to

  prescription pills. Many opioid users, having become addicted to but no longer able to obtain

  prescription opioids, have turned to heroin. According to the American Society of Addiction

  Medicine, 80% of people who initiated heroin use in the past decade started with prescription

  opioids—which, at the molecular level and in their effect, closely resemble heroin. In fact,

  people who are addicted to prescription opioids are 40 times more likely to become addicted to

  heroin. The Centers for Disease Control and Prevention (“CDC”) has identified addiction to



  3
    Understanding the Epidemic, Ctrs. for Disease Control and Prevention,
  https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017).
  4
    Prescription Opioid Overdose Data, Ctrs. for Disease Control and Prevention,
  https://www.cdc.gov/drugoverdose/data/overdose.html (last updated Aug. 1, 2017).
  5
    Examining the Growing Problems of Prescription Drug and Heroin Abuse Ctrs. for Disease
  Control and Prevention (Apr. 29, 2014),
  http://www.cdc.gov.washington/testimony/2014/t20140429.htm; see also, Letter from Vivek H.
  Murthy, M.D., M.B.A., 19th U.S. Surgeon General, Turn the Tide RX (Aug. 2016),
  http://turnthetiderx.org.
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  prescription opioids as the strongest risk factor for heroin addiction.

         10.        As a result, in part, of the proliferation of opioid pharmaceuticals between the

  late 1990s and 2015, the life expectancy for Americans decreased for the first time in recorded

  history.   Drug overdoses are now the leading cause of death for Americans under 50.

         11.        In the words of Robert Anderson, who oversees death statistics at the CDC, “I

  don’t think we’ve ever seen anything like this. Certainly not in modern times.” On October 27,

  2017, President Trump declared the opioid epidemic a public health emergency.

         12.        This suit takes aim at the two primary causes of the opioid crisis:         (a) a

  marketing scheme based on the false and deceptive marketing of prescription opioids, which was

  designed to dramatically increase the demand for and sale of opioids and opioid prescriptions;

  and (b) a supply chain scheme, pursuant to which the various entities in the supply chain failed to

  design and operate systems to identify suspicious orders of prescription opioids, maintain

  effective controls against diversion, and halt suspicious orders when they were identified,

  thereby contributing to the oversupply of such drugs.

         13.        On the demand side, the crisis was precipitated by the Defendants who

  manufacture, sell, and market prescription opioids (“Marketing Defendants”).            Through a

  massive marketing campaign premised on false and incomplete information, the Marketing

  Defendants engineered a dramatic shift in how, when, and to what degree opioids were

  prescribed by the medical community and used by patients.                 The Marketing Defendants

  relentlessly and methodically, but untruthfully, asserted that the risk of addiction was low when

  opioids were used to treat chronic pain, and overstated the benefits while trivializing the risk of

  the long-term use of opioids.



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         14.        The Marketing Defendants’ goal was simple: to dramatically increase sales by

  convincing doctors to prescribe opioids not only for the kind of severe pain associated with

  cancer or short-term post-operative pain, but also for common chronic pains, such as back pain

  and arthritis. They did this even though they knew that opioids were addictive and subject to

  abuse, and that their other claims regarding the risks, benefits, and superiority of opioids for

  long-term use were untrue and unfounded.

         15.        The Marketing Defendants’ push to increase opioid sales worked. Through

  their publications and websites, endless stream of sales representatives, “education” programs,

  and other means, the Marketing Defendants dramatically increased their sales of prescription

  opioids and reaped billions of dollars of profit as a result. Since 1999, the amount of prescription

  opioids sold in the United States nearly quadrupled. In 2016, 289 million prescriptions for

  opioids were filled in the United States—enough to medicate every adult in America around the

  clock for a month.

         16.        Meanwhile, Defendants made blockbuster profits.          In 2012 alone, opioids

  generated $8 billion in revenue for drug companies.          By 2015, sales of opioids grew to

  approximately $9.6 billion.

         17.        On the supply side, the crisis was fueled and sustained by those involved in the

  supply chain of opioids, including manufacturers, distributors, and pharmacies (together,

  “Defendants”), who failed to maintain effective controls over the distribution of prescription

  opioids, and who instead have actively sought to evade such controls.             Defendants have

  contributed substantially to the opioid crisis by selling and distributing far greater quantities of

  prescription opioids than they know could be necessary for legitimate medical uses, while failing



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  to report, and to take steps to halt suspicious orders when they were identified, thereby

  exacerbating the oversupply of such drugs and fueling an illegal secondary market.

         18.        From the day they made the pills to the day those pills were consumed in our

  community, these manufacturers have had control over the information regarding addiction they

  chose to spread and emphasize as part of their massive marketing campaign. By providing

  misleading information to doctors about addiction being rare and opioids being safe even in high

  doses, then pressuring doctors into prescribing their products by arguing, among other things,

  that no one should be in pain, the Marketing Defendants created a population of addicted patients

  who sought opioids at never-before-seen rates. The scheme worked, and through it the

  Marketing Defendants caused their profits to soar as more and more people became dependent

  on opioids. Today, as many as one in four patients who receive prescription opioids long-term

  for chronic pain in a primary care setting struggles with addiction. And as of 2017, overdose

  death rates involving prescription opioids were five times higher than they were in 1999.

         19.        As millions became addicted to opioids, “pill mills,” often styled as “pain

  clinics,” sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-

  medical use.    These pill mills, typically set up under the auspices of licensed medical

  professionals, issue high volumes of opioid prescriptions under the guise of medical treatment.

  Prescription opioid pill mills and rogue prescribers cannot channel opioids for illicit use without

  at least the tacit support and willful blindness of Defendants, if not their knowing support.

         20.        As a direct and foreseeable result of Defendants’ conduct, cities and counties

  across the nation, including Plaintiff, are now swept up in what the CDC has called a “public




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  health epidemic” and what the U.S. Surgeon General has deemed an “urgent health crisis.” 6 The

  increased volume of opioid prescribing correlates directly to skyrocketing addiction, overdose,

  and death; black markets for diverted prescription opioids; and a concomitant rise in heroin and

  fentanyl abuse by individuals who could no longer legally acquire—or simply could not afford—

  prescription opioids.

            21.     Thus, rather than compassionately helping patients in pain, this explosion in

  opioid use—and Defendants’ profits—has come at the expense of patients and Plaintiff has

  caused ongoing harm and damages to Plaintiff. As the CDC director concluded in 2014: “We

  know of no other medication routinely used for a nonfatal condition that kills patients so

  frequently.”7

            22.     Defendants’ conduct in promoting opioid use has had severe and far-reaching

  public health, social services, including the fueling of addiction, overdose, and death from illicit

  drugs such as heroin and fentanyl. The costs are borne directly and indirectly by Plaintiff and

  other governmental entities. These necessary and costly responses to the opioid crisis include

  the handling of emergency responses to overdoses, providing addiction treatment, handling

  opioid-related investigations, arrests, adjudications, and incarcerations, treating opioid-addicted

  newborns in neonatal intensive care units, burying the dead, and placing thousands of children in

  foster care placements, among others.

            23.     The burdens imposed on Plaintiff are not the normal or typical burdens of

  governmental programs and services. Rather, these are extraordinary costs and losses that are

  directly related to Defendants’ illegal actions.


  6
      Id.
  7
      Id.
                                                     -7-
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          24.        Defendants have not changed their ways or corrected their past misconduct but

  instead are continuing to fuel the crisis.

          25.        Within the next hour, six Americans will die from opioid overdoses; two

  babies will be born dependent on opioids and begin to go through withdrawal; and drug

  manufacturers will earn over $2.7 million from the sale of opioids.

          26.        BBHC has filed this suit to help bring the devastating march of this epidemic

  to a halt and to hold Defendants responsible for the crisis they caused and force them to fix it.

                                        JURISDICTION AND VENUE

          27.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

  1332 and may exercise supplemental jurisdiction under 28 U.S.C. § 1367.

          28.        Venue is proper pursuant to 28 U.S.C. § 1391.

          29.        This Court has personal jurisdiction over each Defendant as each purposefully

  availed itself of the privilege of exploiting forum-based business opportunities and the exercise

  of personal jurisdiction is consistent with Fla. Stat. § 48.193 and the U.S. Constitution.

                                               PARTIES

  I.      PLAINTIFF

          30.        Plaintiff, BBHC, is a nonprofit entity that, pursuant to Florida Statute §

  394.9082, is responsible for managing the daily operational delivery of behavioral health

  services through a coordinated and comprehensive system of care which treats substance use,

  mental health, and co-occurring disorders for individuals in Broward County.8


  8
   BBHC is a Behavioral Health Managing Entity(“BHME”) and exists to “plan, coordinate, and
  contract for the delivery of community mental health and substance abuse services, to improve
  access to care, to promote service continuity, to purchase services, and to support efficient and
  effective delivery of services.” Fla. Stat. § 394.9082(1)(a).
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         31.        The Florida Department of Children and Families has divided the State into

  seven geographic regions and contracts with one BHME per region, with each BHME

  coordinating and managing the provider network of publicly funded behavioral health services to

  the uninsured for the counties in its region.9

            32.     The seven regions are reflected in the graphic below




         33.        Each BHME has its own network of contracted mental health professionals and

  substance abuse counselors.10

         34.        BHMEs provide a wide range of services to fulfill the needs of uninsured

  adults and children with complex behavioral and other health issues, including opioid addiction,

  and provide responsible oversight for the quality and consistency of its contracted healthcare

  providers.11

         35.        BHMEs also perform administrative functions previously performed by the


  9
    Id.
  10
      “Care Management Entities: A Primer.” Center for Health Care Strategies, Inc. (2011).
  11
     http://floridataxwatch.org/resources/pdf/ManagingEntitiesFINAL.pdf
                                                   -9-
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  Florida Department of Children and Families, such as negotiating, managing, and, importantly,

  paying for the services provided by the contracted healthcare professionals.12 Additionally,

  BHMEs now perform other critical tasks previously handled by the Department of Children and

  Families, such as credentialing providers, creating and managing healthcare provider networks,

  and performing regular quality control assessments of the services provided.13

         36.       The same statutory framework that created and empowers BHMEs also confers

  broad authority to take the necessary actions to carry out their mission and serve their

  communities. For example, BHME’s have the authority to:

         •       Expand the scope of services as necessary to meet the behavioral needs of the
                 community it serves;14

         •       Take steps necessary to promote the development of a coordinated system of
                 care;15

         •       Coordinate activities that improve outcomes among priority populations;16 and

         •       Pursue payments from third parties, including employing “any…method needed
                 to ensure that services are available and accessible.”17

         37.       The BHME’s are legally and contractually responsible for not only

  compensating their contracted healthcare providers for the services provided but also for making

  certain that the behavioral health and addiction needs of the communities they serve are met.

         38.       Defendants’ conduct, as alleged herein, has impaired and continues to impair


  12
     “DCF Behavioral Health Contracting and Reimbursement: Current State Policy, Impact in
  Communities.” (April 2006). Florida Alcohol and Drug Abuse Association (FADAA), available
  at http://www.fadaa.org/providernetworks.php
  13
     http://floridataxwatch.org/resources/pdf/ManagingEntitiesFINAL.pdf.
  14
     Fla. Stat. § 394.9082(5)(c).
  15
     Fla. Stat. §394.9082(5)(d).
  16
     Fla. Stat. §394.9082(5)(g).
  17
     Fla. Stat. §394.9082(5)(i) (emphasis added).
                                                -10-
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  BBHC’s ability to successfully meet its statutory obligations to deliver care and treatment to all

  of the afflicted residents within the community it serves.

         39.        BBHC is the exclusive contracted provider of behavioral health services,

  including addressing and treating opioid addiction and related issues, by Broward County.

         40.        Opioid abuse, addiction, morbidity and mortality in Broward County has

  created a serious public health and safety crisis.

         41.        The distribution and diversion of opioids into Broward County created the

  foreseeable opioid crisis and opioid public nuisance for which Plaintiff here seeks relief.

         42.        Plaintiff directly and foreseeably sustained all economic damages alleged

  herein. Defendants’ conduct has exacted a financial burden for which Plaintiff seeks relief.

  These damages have been suffered, and continue to be suffered directly, by Plaintiff.

         43.        Plaintiff also seeks the means to abate the epidemic created by Defendants’

  wrongful and/or unlawful conduct.

         44.        Plaintiff has standing to recover damages incurred as a result of Defendants’

  actions and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia,

  to bring claims under the federal Racketeer-Influenced and Corrupt Organizations (“RICO”) Act

  statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities which can hold legal title to

  property) and 18 U.S.C. § 1964 (“persons” have standing).

  II.    Defendants

         A.      Marketing Defendants.

         45.        At all relevant times, the Marketing Defendants, each of whom is defined

  below, have packaged, distributed, supplied, sold, placed into the stream of commerce, labeled,

  described, marketed, advertised, promoted and purported to warn or purported to inform

                                                   -11-
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  prescribers and users regarding the benefits and risks associated with the use of the prescription

  opioid drugs. The Marketing Defendants, at all times, have manufactured and sold prescription

  opioids without fulfilling their legal duty to prevent diversion and report suspicious orders.

                 1.       Purdue Entities

         46.          Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized

  under the laws of Delaware with its principal place of business in Stamford, Connecticut. None

  of PPL’s partners have citizenship in the State of Florida.

         47.          Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its

  principal place of business in Stamford, Connecticut.

         48.          Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York

  corporation with its principal place of business in Stamford, Connecticut.

         49.          Defendant Rhodes Pharmaceuticals L.P. (“Rhodes”) is a Delaware limited

  partnership formed in or around 2007 with headquarters located in Coventry, Rhode Island.

         50.          PPL, PPI, PFC and Rhodes (collectively, “Purdue”) are engaged in the

  manufacture, promotion, distribution, and sale of opioids nationally, and in Broward County,

  including the following:




                                                  -12-
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       Product Name             Chemical Name                                         Schedule18
         OxyContin              Oxycodone hydrochloride, extended release             Schedule II
         MS Contin              Morphine sulfate, extended release                    Schedule II
          Dilaudid              Hydromorphone hydrochloride                           Schedule II
        Dilaudid-HP             Hydromorphone hydrochloride                           Schedule II
          Butrans               Buprenorphine                                        Schedule III
        Hysingla ER             Hydrocodone bitrate                                   Schedule II
        Targiniq ER             Oxycodone hydrochloride and naloxone hydrochloride    Schedule II

          51.         Purdue made thousands of payments to physicians nationwide, including in

  Florida, ostensibly for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance and other services, but in fact

  to deceptively promote and maximize the use of opioids.

          52.         OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national

  annual sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold

  from 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for

  analgesic drugs (i.e., painkillers). Sales of OxyContin (launched in 1996) went from a mere $49

  million in its first full year on the market to $1.6 billion in 2002.

          53.         In 2007, Purdue settled criminal and civil charges against it for misbranding

  OxyContin and agreed to pay the United States $635 million – at the time, one of the largest

  18
     Since passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21
  U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”) in 1970, opioids have been
  regulated as controlled substances. As controlled substances, they are categorized in five
  schedules, ranked in order of their potential for abuse, with Schedule I being the most dangerous.
  The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their
  medicinal value, likelihood of addiction or abuse, and safety. Opioids generally had been
  categorized as Schedule II or Schedule III drugs; hydrocodone and tapentadol were recently
  reclassified from Schedule III to Schedule II. Schedule II drugs have a high potential for abuse,
  and may lead to severe psychological or physical dependence. Schedule III drugs are deemed to
  have a lower potential for abuse, but their abuse still may lead to moderate or low physical
  dependence or high psychological dependence.
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  settlements with a drug company for marketing misconduct. None of this stopped Purdue. In

  fact, Purdue continued to create the false perception that opioids were safe and effective for long-

  term use, even after being caught, by using unbranded marketing methods to circumvent the

  system. In short, Purdue paid the fine when caught and then continued business as usual,

  deceptively marketing and selling billions of dollars of opioids each year.

                 2.       Sackler Defendants

           54.        Defendant Richard S. Sackler is a natural person residing in Travis

  County, Texas.       He has served as a member of the Board of Directors of Purdue and

  Purdue-related entities since the 1990s. Richard Sackler is one of the six inventors listed on the

  original patent for OxyContin. He began working for Purdue in the 1970s as an assistant to his

  father, Raymond Sackler, who served as the president of the company at that time. Richard rose

  through leadership in the subsequent decades, serving as President of Purdue from 1999 to

  2003. Richard Sackler resigned from his role in 2013 over apparent worry that executive officers

  of Purdue would be held personally liable for any opioid-related liabilities. He continued to

  serve as co-chair of Purdue’s board with his uncle, Mortimer Sackler. This allowed the Sackler

  Defendants to retain control of the company regardless of their involvement at the executive

  level.

           55.        During his executive tenure at Purdue, Richard Sackler actively participated in

  nearly every aspect of the company’s opioid products, from invention to marketing to sale. With

  the assistance of his father, Raymond, and his uncle, Mortimer, Richard introduced OxyContin to

  the market with one of the largest pharmaceutical advertising campaigns in history. Within five

  years, OxyContin was earning Purdue $1 billion a year.

           56.        At all relevant times, Richard Sackler served as trustee of one or more trusts

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  that own and control Purdue or Purdue-associated companies.         He is the direct or indirect

  beneficiary of some portion of 25% of the profits earned from the sale of opioids by Purdue and

  the Purdue-associated companies listed herein.

          57.       Defendant Jonathan D. Sackler is a natural person residing in Fairfield County,

  Connecticut. He has served as a member of the Board of Directors of Purdue and Purdue-related

  entities since the 1990s.      Jonathan Sackler served as Senior Vice President of Purdue by

  2000. Like Richard, his brother, Jonathan resigned from his position in or after 2003, due to

  concerns that the executive officers of Purdue would be personally liable for crimes and

  litigation stemming from Purdue’s opioid products. Jonathan continued to serve on Purdue’s

  board after his resignation.

          58.       At all relevant times, Jonathan Sackler served as trustee of one or more trusts

  that own and control Purdue or Purdue-associated companies.         He is the direct or indirect

  beneficiary of some portion of 25% of the profits earned from the sale of opioids by Purdue and

  the Purdue-associated companies listed herein.

          59.       Defendant Mortimer D.A. Sackler is a natural person residing in New York

  County, New York. He has served as a member of the Board of Directors of Purdue and Purdue-

  related entities since the 1990s. Mortimer Sackler is the direct or indirect beneficiary of 7.14%

  of the profits earned from the sale of opioids by Purdue and the Purdue-associated companies

  listed herein.

          60.       Defendant Kathe A. Sackler is a natural person residing in Fairfield County,

  Connecticut. She has served as a member of the Board of Directors of Purdue and Purdue-

  related entities since the 1990s. Kathe Sackler began serving as Senior Vice President of Purdue



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  by 2000. She resigned from her position in or about 2003 due to concerns that the executive

  officers of Purdue could be held personally liable for crimes and litigation stemming from

  Purdue’s opioid products. She continued to serve on Purdue’s board. She is the direct or

  indirect beneficiary of 7.14% of the profits earned from the sale of opioids by Purdue and the

  Purdue-associated companies listed herein.

         61.        Defendant Ilene Sackler Lefcourt is a natural person residing in New York

  County, New York. She has served as a member of the Board of Directors of Purdue and

  Purdue-related entities since the 1990s. Ilene Sackler Lefcourt served as Vice President of

  Purdue during the initial development and launch of OxyContin. She, too, resigned from her

  position around 2003 due to concerns of personal liability for executive officers of Purdue for

  opioid-related crime and litigation, but continued to serve on the board.

         62.        Defendant Beverly Sackler is a natural person residing in Fairfield County,

  Connecticut. She has served as a member of the Board of Directors of Purdue and Purdue-

  related entities since the 1990s. Beverly Sackler has served on the Board of Directors of Purdue

  and associated entities since the 1990s. She serves as the trustee of one or more trusts that own

  or control Purdue and Purdue-associated companies, and to which 50% of the profits of the

  companies’ sale of opioids have been conveyed. She is the direct or indirect beneficiary of some

  portion of the 50% of profits earned by the Purdue through the sale of opioids.

         63.        Defendant Theresa Sackler is a natural person residing in New York County,

  New York. She has served as a member of the Board of Directors of Purdue and Purdue-related

  entities since the 1990s. Theresa Sackler has served on the Board of Directors of Purdue and

  associated entities since the 1990s. She is the direct or indirect beneficiary of some portion of



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  the 50% of profits earned by Purdue through the sale of opioids.

         64.          Defendant David A. Sackler is a natural person residing in New York County,

  New York. He has served as a member of the Board of Directors of Purdue and Purdue-related

  entities since 2012.     David Sackler has served on the Board of Directors of Purdue and

  associated entities since 2012. He is the direct or indirect beneficiary of some portion of 25% of

  the profits earned by Purdue through the sale of opioids.

         65.          Defendant Trust for the Benefit of Members of the Raymond Sackler Family

  (the “Raymond Sackler Trust”) is a trust for which Defendants Beverly Sackler, Richard S.

  Sackler and/or Jonathan D. Sackler are trustees. It is the 50% direct or indirect beneficial owner

  of Purdue and the Purdue-related entities and the recipient of 50% of the profits from the sale of

  opioids by Purdue and Purdue-related entities.

         66.          Richard Sackler, Jonathan Sackler, Mortimer Sackler, Kathe Sackler, Ilene

  Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David Sackler and the Raymond Sackler

  Trust (through its trustees) each knowingly aided, participated in and benefited from the

  unlawful conduct of Purdue, described herein.

         67.          Collectively, the defendants listed in ¶¶47-65 are referred to as the “Sackler

  Defendants” or “Sackler Family.”

                 3.       Actavis Entities

         68.          Allergan PLC is a public limited company incorporated in Ireland with its

  principal place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March

  2015, and the combined company changed its name to Allergan PLC in January 2013.

  Defendant Actavis, Inc. was acquired by Watson Pharmaceuticals, Inc. in October 2012, and the

  combined company changed its name to Actavis, Inc. as of January 2013 and then Actavis PLC

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  in October 2013. Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

  place of business in Corona, California, and is a wholly owned subsidiary of Allergan PLC

  (Allergan Finance LLC, f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). Defendant

  Actavis Pharma, Inc. is a Delaware corporation with its principal place of business in New Jersey

  and was formerly known as Watson Pharma, Inc. Defendant Actavis LLC is a Delaware limited

  liability company with its principal place of business in Parsippany, New Jersey. Each of these

  Defendants and entities is owned by Defendant Allergan PLC, which uses them to market and

  sell its drugs in the United States. Collectively, these Defendants and entities, and their U.S.

  Drug Enforcement Administration (“DEA”) registrant subsidiaries and affiliates which

  manufacture, promote, distribute, and sell prescription opioids, are referred to as “Actavis.”

         69.          Actavis manufactures or has manufactured the following drugs as well as

  generic versions of Kadian, Duragesic, and Opana in the United States:

      Product Name             Chemical Name                                        Schedule
      Kadian                   Morphine sulfate, extended release                   Schedule II
      Norco                    Hydrocodone bitartrate and acetaminophen             Schedule II


         70.          Actavis made thousands of payments to physicians nationwide, ostensibly for

  activities including participating on speakers’ bureaus, providing consulting services, assisting in

  post-marketing safety surveillance, and other services, but in fact to deceptively promote and

  maximize the use of opioids.

                 4.       Cephalon Entities

         71.          Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

  corporation with its principal place of business in North Wales, Pennsylvania. Teva USA was in

  the business of selling generic opioids, including a generic form of OxyContin from 2005 to


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  2009. Teva USA is a wholly owned subsidiary of Defendant Teva Pharmaceutical Industries,

  Ltd. (“Teva Ltd.”), an Israeli corporation (collectively, “Teva”).

         72.           Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

  business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

         73.           Teva USA and Cephalon, Inc. and their DEA registrant subsidiaries and

  affiliates (collectively, “Cephalon”) work together to manufacture, promote, distribute, and sell

  both brand name and generic versions of opioids including the following:

     Product Name                Chemical Name                                     Schedule
      Actiq                      Fentanyl citrate                                  Schedule II
      Fentora                    Fentanyl buccal                                   Schedule II
      Generic                    Oxycodone hydrochloride                           Schedule II
      Oxycontin


         74.           From 2000 forward, Cephalon has made thousands of payments to physicians

  nationwide, including in Florida, many of whom were not oncologists and did not treat cancer

  pain, ostensibly for activities including participating on speakers’ bureaus, providing consulting

  services, assisting in post-marketing safety surveillance and other services, but in fact to

  deceptively promote and maximize the use of opioids.

                  5.       Janssen Entities

         75.           Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

  principal place of business in New Brunswick, New Jersey.

         76.           Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

  Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

  wholly-owned subsidiary of J&J. J&J corresponds with the U.S. Food and Drug Administration

  (“FDA”) regarding Janssen’s products. Janssen Pharmaceuticals, Inc. was formerly known as


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  Ortho-McNeil-Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen

  Pharmaceutica, Inc.

           77.        Defendant Noramco, Inc. is a Delaware company headquartered in

  Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

  pharmaceutical ingredients (i.e., opioids or “API”) until July 2016 when J&J sold its interests to

  SK Capital.

           78.        Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now known

  as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of

  business in Titusville, New Jersey.

           79.        Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known

  as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of

  business in Titusville, New Jersey.

           80.        J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica and their

  DEA registrant subsidiaries and affiliates (collectively, “Janssen”) are or have been engaged in

  the manufacture, promotion, distribution, and sale of opioids nationally, and in Florida. Among

  the drugs Janssen manufactures or manufactured are the following:

       Product Name     Chemical Name                                             Schedule
       Duragesic        Fentanyl                                                  Schedule II
       Nucynta19        Tapentadol hydrochloride, immediate release               Schedule II
       Nucynta ER       Tapentadol hydrochloride, extended release                Schedule II


           81.        Janssen made thousands of payments to physicians nationwide, including upon

  information and belief in Florida, ostensibly for activities including participating on speakers’

  19
    Depomed, Inc. (“Depomed”) acquired the rights to Nucynta and Nucynta ER from Janssen in
  2015.
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  bureaus, providing consulting services, assisting in post-marketing safety surveillance, and other

  services, but in fact to deceptively promote and maximize the use of opioids. Together, Nucynta

  and Nucynta ER accounted for $172 million in sales in 2014.            Prior to 2009, Duragesic

  accounted for at least $1 billion in annual sales.

         82.        Janssen, like many other companies, has a corporate code of conduct, which

  clarifies the organization’s mission, values, and principles. Janssen’s employees are required to

  read, understand and follow its Code of Conduct for Health Care Compliance. J&J imposes this

  code of conduct on Janssen as a pharmaceutical subsidiary of J&J. Documents posted on J&J’s

  and Janssen’s websites confirm J&J’s control of the development and marketing of opioids by

  Janssen. Janssen’s website “Ethical Code for the Conduct of Research and Development,”

  names only J&J and does not mention Janssen anywhere within the document. The “Ethical

  Code for the Conduct of Research and Development” posted on the Janssen website is J&J’s

  company-wide Ethical Code, which it requires all of its subsidiaries to follow.

         83.        The “Every Day Health Care Compliance Code of Conduct” posted on

  Janssen’s website is a J&J company-wide document that describes Janssen as one of the

  “Pharmaceutical Companies of Johnson & Johnson” and as one of the “Johnson & Johnson

  Pharmaceutical Affiliates.”      It governs how “[a]ll employees of Johnson & Johnson

  Pharmaceutical Affiliates,” including those of Janssen, “market, sell, promote, research, develop,

  inform and advertise Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen

  officers, directors, employees, and sales associates must certify that they have “read, understood

  and will abide by” the code. The code governs all forms of marketing at issue in this case.

         84.        J&J made payments to thousands of physicians nationwide, including in



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  Florida, ostensibly for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance, and other services, but in fact

  to deceptively promote and maximize the use of opioids.

         85.           Information from the U.S. Department of Justice’s (“DOJ”) Office of the

  Inspector General shows that J&J made payments to prescribers, but does not indicate which

  drug was being promoted when J&J made these payments.                At least one prescriber who

  previously served on Janssen’s speakers’ bureau received payment for speaking fees, meals, and

  travel from J&J. Upon information and belief, J&J would have similarly made payments to

  other participants in Janssen’s speakers’ bureau.

                 6.        Endo Entities

         86.           Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with

  its principal place of business in Malvern, Pennsylvania.

         87.           Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly-owned subsidiary of

  EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

         88.           Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

  place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-

  owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

  Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its principal place

  of business located in Chestnut Ridge, New York. (Par Pharmaceutical, Inc. and Par

  Pharmaceutical Companies, Inc. are, collectively, “Par Pharmaceutical”) Par Pharmaceutical was

  acquired by Endo International plc. in September 2015 and is an operating company of Endo

  International plc.

         89.           EHS, EPI, and Par Pharmaceutical, (collectively, “Endo”) manufacture opioids

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  sold nationally, and in Broward County. Among the drugs Endo manufactures or manufactured

  are the following:

       Product Name                        Chemical Name                             Schedule
   Opana ER             Oxymorphone hydrochloride, extended release         Schedule II
   Opana                Oxymorphone hydrochloride                           Schedule II
   Percodan             Oxymorphone hydrochloride and aspirin               Schedule II
   Percocet             Oxymorphone hydrochloride and acetaminophen         Schedule II
   Generic              Oxycodone                                           Schedule II
   Generic              Oxymorphone                                         Schedule II
   Generic              Hydromorphone                                       Schedule II
   Generic              Hydrocodone                                         Schedule II


           90.         Endo made thousands of payments to physicians nationwide, including in

  Florida, ostensibly for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance, and other services, but in fact

  to deceptively promote and maximize the use of opioids.

           91.         Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion

  in 2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15

  billion from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and

  through its subsidiaries, Par Pharmaceutical and Qualitest Pharmaceuticals, Inc., including

  generic oxycodone, oxymorphone, hydromorphone, and hydrocodone products.

           92.         The FDA requested that Endo remove Opana ER from the market in June

  2017. The FDA relied on post-marketing data in reaching its conclusion based on risk of

  abuse.20



  20
    Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks
  Related to Abuse (June 8, 2017).
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                  7.       Insys Therapeutics, Inc.

            93.        Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

  business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys:

   Product Name                           Chemical Name                             Schedule
   Subsys                Fentanyl                                           Schedule II


            94.        Insys made thousands of payments to physicians nationwide, including in

  Florida, ostensibly for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance, and other services, but in fact

  to deceptively promote and maximize the use of opioids.

            95.        Subsys is a transmucosal immediate-release formulation of fentanyl (“TIRF”),

  contained in a single-dose spray device intended for oral, under-the-tongue administration.

  Subsys was approved by the FDA solely for the treatment of breakthrough cancer pain.

            96.        In 2016, Insys made approximately $330 million in net revenue from Subsys.

  Insys promotes, sells, and distributes Subsys throughout the United States, and in Florida.

            97.        Insys’s founder and owner was recently arrested and charged, along with other

  Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

  practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

  managers were previously indicted.

                  8.       Mallinckrodt Entities

            98.        Defendant Mallinckrodt plc is an Irish public limited company with its

  headquarters in Staines-Upon-Thames, Surrey, United Kingdom.                 Mallinckrodt plc was

  incorporated in January 2013 for the purpose of holding the pharmaceuticals business of

  Covidien plc, which was fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt

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  plc also operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.

  headquarters in Hazelwood, Missouri. Defendant SpecGx LLC is a Delaware limited liability

  company with its headquarters in Clayton, Missouri and is a wholly owned subsidiary of

  Mallinckrodt plc.    Defendant Mallinckrodt LLC (Mallinckrodt plc and SpecGx LLC are,

  collectively, “Mallinckrodt”) is a Delaware corporation with its headquarters in Hazelwood,

  Missouri.     Mallinckrodt manufactures, markets, sells and distributes pharmaceutical drugs

  throughout the United States, and in Broward County. Mallinckrodt is the largest U.S. supplier

  of opioid pain medications and among the top ten generic pharmaceutical manufacturers in the

  United States, based on prescriptions.

         99.        Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

  extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

  Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt

  Inc., a subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo

  for treatment of chronic pain in 2012.      Mallinckrodt further expanded its branded opioid

  portfolio in 2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition,

  Mallinckrodt developed Xartemis XR, an extended-release combination of oxycodone and

  acetaminophen, which the FDA approved in March 2014, and which Mallinckrodt has since

  discontinued. Mallinckrodt promoted its branded opioid products with its own direct sales force.

         100.       While it has sought to develop its branded opioid products, Mallinckrodt has

  long been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it

  received approximately 25% of the DEA’s entire annual quota for controlled substances that it

  manufactures. Mallinckrodt also estimated, based on IMS Health Holdings Inc. (“IMS Health”)



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  data for the same period, that its generics claimed an approximately 23% market share of DEA

  Schedules II and III opioid and oral solid dose medications.21

            101.      Mallinckrodt operates a vertically integrated business in the United States:

  (a) importing raw opioid materials, (; b) manufacturing generic opioid products, primarily at its

  facility in Hobart, New York; and (c) marketing and selling its products to drug distributors,

  specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

  that have mail-order pharmacies, and hospital buying groups.

            102.      Among the drugs Mallinckrodt manufactures or has manufactured are the

  following:

       Product Name                            Chemical Name                        Schedule
   Exalgo               Hydromorphone hydrochloride, extended release         Schedule II
   Roxicodone           Oxycodone hydrochloride                               Schedule II
   Xartemis XR          Oxycodone hydrochloride and acetaminophen             Schedule II
   Methadose            Methadone hydrochloride                               Schedule II
   Generic              Morphine sulfate, extended release                    Schedule II
   Generic              Morphine sulfate oral solution                        Schedule II
   Generic              Fentanyl transdermal system                           Schedule II
   Generic              Oral transmucosal fentanyl citrate                    Schedule II
   Generic              Oxycodone and acetaminophen                           Schedule II
   Generic              Hydrocodone bitartrate and acetaminophen              Schedule II
   Generic              Hydromorphone hydrochloride                           Schedule II
   Generic              Hydromorphone hydrochloride, extended release         Schedule II
   Generic              Naltrexone hydrochloride                              unscheduled
   Generic              Oxymorphone hydrochloride                             Schedule II
   Generic              Methadone hydrochloride                               Schedule II
   Generic              Oxycodone hydrochloride                               Schedule II


  21
     Mallinckrodt plc, Annual Report (Form 10-K), 5 (Nov. 29, 2016),
  https://www.sec.gov/Archives/edgar/data/1567892/000156789216000098/0001567892-16-
  000098-index.htm.
                                                         -26-
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       Product Name                          Chemical Name                             Schedule
   Generic              Buprenorphine and naloxone                               Schedule III


          103.        Mallinckrodt made thousands of payments to physicians nationwide, including

  in Florida, ostensibly for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance and other services, but in fact

  to deceptively promote and maximize the use of opioids.

          104.        Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and

  Mallinckrodt are referred to as the “Marketing Defendants.”22

          B.     Distributor Defendants

          105.        The Distributor Defendants are defined below. At all relevant times, the

  Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

  prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

  detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

  Defendants universally failed to comply with federal and/or state law. The Distributor

  Defendants are engaged in “wholesale distribution,” as defined under state and federal law.

  Plaintiff alleges the unlawful conduct by the Distributor Defendants is a substantial cause for the

  volume of prescription opioids plaguing Plaintiff’s community.

                 1.       Cardinal Health, Inc.

          106.        Cardinal Health, Inc. (“Cardinal Health”) describes itself as a “global,

  integrated health care services and products company,” and is the fifteenth largest company by

  revenue in the U.S., with annual revenue of $121 billion in 2016. Through its various DEA


  22
    Together, Purdue, Cephalon, Janssen, Endo and Mallinckrodt are also sometimes referred to as
  the “RICO Marketing Defendants.”
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  registered subsidiaries and affiliated entities, Cardinal Health distributes pharmaceutical drugs,

  including opioids, throughout the country.        Cardinal Health is an Ohio corporation and is

  headquartered in Dublin, Ohio. Based on Defendant Cardinal Health’s own estimates, one out

  of every six pharmaceutical products dispensed to United States patients travels through the

  Cardinal Health network.

                 2.       McKesson Corporation

         107.         McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500

  companies, ranking immediately after Apple and ExxonMobil, with annual revenue of $191

  billion in 2016.     McKesson, through its various DEA registered subsidiaries and affiliated

  entities, is a wholesaler of pharmaceutical drugs that distributes opioids throughout the country,

  including in Plaintiff’s community. McKesson is incorporated in Delaware, with its principal

  place of business in San Francisco, California.

         108.         In January 2017, McKesson paid a record $150 million to resolve an

  investigation by the DOJ for failing to report suspicious orders of certain drugs, including

  opioids. In addition to the monetary penalty, the DOJ required McKesson to suspend sales of

  controlled substances from distribution centers in Ohio, Florida, Michigan and Colorado. The

  DOJ described these “staged suspensions” as “among the most severe sanctions ever agreed to

  by a [DEA] registered distributor.”

                 3.       AmerisourceBergen Drug Corporation

         109.         AmerisourceBergen Drug Corporation (“AmerisourceBergen”), through its

  various DEA registered subsidiaries and affiliated entities, is a wholesaler of pharmaceutical

  drugs that distributes opioids throughout the country, including in Plaintiff’s community.

  AmerisourceBergen is the eleventh largest company by revenue in the United States, with annual

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  revenue of $147 billion in 2016. AmerisourceBergen’s principal place of business is located in

  Chesterbrook, Pennsylvania, and it is incorporated in Delaware.

                 4.       CVS Entities

         110.         CVS Health Corporation (“CVS”) is a Delaware corporation with its principal

  place of business in Rhode Island. CVS Pharmacy, a subsidiary of CVS Health Corporation, is

  one of the largest retail pharmacy chains in the United States with approximately 9,600 locations.

  At all times relevant to this Complaint, CVS distributed prescription opioids throughout the

  United States, including in Florida and Broward County specifically.

         111.         CVS conducts business as a licensed wholesale distributor under the following

  named business entities: CVS Indiana, L.L.C.; CVS Orlando, Florida, Distribution, L.L.C.; CVS

  Pharmacy, Inc.; CVS RX Services, Inc. d/b/a CVS Pharmacy Distribution Center; CVS TN

  Distribution, LLC; and CVS VERO, Florida Distribution, L.L.C (collectively, “CVS”). At all

  times relevant to this Complaint, Defendants CVS Orlando, Florida Distribution, L.L.C. and

  CVS Vero, Florida Distribution, L.L.C. sold and continue to sell prescription opioids in and

  around Florida, including those serving Plaintiff’s Community.

                 5.       Health Mart Systems, Inc.

         112.         Defendant Health Mart Systems, Inc. (“Health Mart”) is a Delaware

  corporation with its principal place of business in California.        Health Mart operates as a

  subsidiary of McKesson Corporation. During all relevant times, Health Mart has sold and

  continues to sell prescription opioids in and around Broward County. Health Mart is a

  franchising and marketing arm that has relationships with 4,700 retail pharmacies nationally,

  including those serving Plaintiff’s Community.



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                 6.       H. D. Smith, LLC

         113.         Defendant H. D. Smith, LLC f/k/a H. D. Smith Wholesale Drug Co. (“H. D.

  Smith”) through its various DEA registered subsidiaries and affiliated entities, is a wholesaler of

  pharmaceutical drugs that distributes opioids throughout the country, including in Plaintiff’s

  community.     H. D. Smith is a privately held independent pharmaceuticals distributor of

  wholesale brand, generic, and specialty pharmaceuticals and is a Delaware corporation with its

  principal place of business in Illinois. H. D. Smith Wholesale Drug Co. was a Delaware

  corporation with its principal place of business located in Springfield, Illinois. H. D. Smith

  Wholesale Drug Co. has been restructured and it is currently doing business as HD Smith, LLC.

  H. D. Smith, LLC’s sole member is H. D. Smith Holdings, LLC, and its sole member is H. D.

  Smith Holding Company, a Delaware corporation with its principal place of business in Illinois.

  H. D. Smith is the largest independent wholesaler in the United States. In January 2018,

  Defendant AmerisourceBergen acquired H. D. Smith.           At all relevant times, H. D. Smith

  distributed prescription opioids throughout the United States and in and around Broward County.

                 7.       Walgreen Co.

         114.         Defendant Walgreen Co. is a Delaware corporation with its principal place of

  business in Illinois. At all times relevant to this Complaint, Walgreen Co., through its various

  DEA registered subsidiaries and affiliated entities, distributed prescription opioids throughout

  the United States, including in Florida and Broward County specifically.

         115.         Defendant Walgreen Co. conducts business as a licensed wholesale distributor

  under the following named business entities: Walgreen Co.; Walgreen Eastern Co., Inc.; and

  Walgreen Arizona Drug Co. (collectively “Walgreen”). At all times relevant to this Complaint,

  Walgreen has sold and continues to sell prescription opioids in and around Florida, including

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  Broward County.

                 8.       Wal-Mart Inc.

         116.         Defendant Wal-Mart Inc., formerly known as Wal-Mart Stores, Inc. (“Wal-

  Mart”), is a Delaware corporation with its principal place of business in Bentonville, Arkansas.

  At all times relevant to this Complaint, Wal-Mart through its various DEA registered subsidiaries

  and affiliated entities, distributed prescription opioids throughout the United States, including in

  Florida and Broward County specifically.

         117.         Collectively, CVS, Health Mart, H. D. Smith, Walgreen, and Wal-Mart are

  referred to as “National Retail Pharmacies.” Cardinal Health, McKesson, AmerisourceBergen,

  and the National Retail Pharmacies are collectively referred to as the “Distributor Defendants.” 23

         118.         Defendants include the above-referenced entities as well as their predecessors,

  successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

  in the manufacture, promotion, distribution, sale, and/or dispensing of opioids.

         C.      Agency and Authority

         119.         All of the actions described in this Complaint are part of, and in furtherance of,

  the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

  officers, agents, employees, or other representatives while actively engaged in the management

  of Defendants’ affairs within the course and scope of their duties and employment, and/or with

  Defendants’ actual, apparent, and/or ostensible authority.




  23
   Together, Purdue, Actavis, Cephalon, Endo, Mallinckrodt, Cardinal Health, McKesson, and
  AmerisourceBergen are sometimes referred to as “RICO Supply Chain Defendants.”
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                                    FACTUAL ALLEGATIONS

  III.   FACTS COMMON TO ALL CLAIMS24

         A.      Opioids and Their Effects

         120.       The term “opioid” refers to a class of drugs that bind with opioid receptors in

  the brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived

  from the opium poppy. Generally used to treat pain, opioids produce multiple effects on the

  human body, the most significant of which are analgesia, euphoria, and respiratory depression.

         121.       The medicinal properties of opioids have been recognized for millennia—as

  well as their potential for abuse and addiction. The opium poppy contains various opium

  alkaloids, three of which are used in the pharmaceutical industry today: morphine, codeine, and

  thebaine. Early use of opium in Western medicine was with a tincture of opium and alcohol

  called laudanum, which contains all of the opium alkaloids and is still available by prescription

  today. Chemists first isolated the morphine and codeine alkaloids in the early 1800s.

         122.       In 1827, the pharmaceutical company Merck began large-scale production and

  commercial marketing of morphine. During the American Civil War, field medics commonly

  used morphine, laudanum, and opium pills to treat the wounded, and many veterans were left

  with morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the

  United States, and many doctors prescribed opioids solely to prevent their patients from suffering

  withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

  1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals


  24
    The allegations in this Complaint are made upon information and belief, including upon
  information immediately available to Plaintiff. Plaintiff reserves the right to seek leave to amend
  or correct this Complaint based upon further analysis of the ARCOS, IMS Health, and other data
  and upon further investigation and discovery.
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  are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

  beasts who prey upon their fellows . . . it has become one of the most fertile causes of

  unhappiness and sin in the United States.”25

          123.      Pharmaceutical companies tried to develop substitutes for opium and morphine

  that would provide the same analgesic effects without the addictive properties. In 1898, Bayer

  Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

  morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and

  cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

  the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.

          124.      Although heroin and opium became classified as illicit drugs, there is little

  difference between them and prescription opioids. Prescription opioids are synthesized from the

  same plant as heroin, have similar molecular structures, and bind to the same receptors in the

  human brain.

          125.      Due to concerns about their addictive properties, prescription opioids have

  usually been regulated at the federal level as Schedule II controlled substances by the DEA since

  1970.

          126.      Throughout the twentieth century, pharmaceutical companies continued to

  develop prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were

  generally produced in combination with other drugs, with relatively low opioid content.

          127.      In contrast, OxyContin, the product whose launch in 1996 ushered in the


  25
     Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid
  Crisis a Century Ago, The Wash. Post (Oct. 17, 2017), https://www.washingtonpost.com/news/
  retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-the-world-an-american-opioid-crisis-in-
  1908/?utm_term=.7832633fd7ca.
                                                 -33-
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  modern opioid epidemic, is pure oxycodone. Purdue initially made it available in the following

  strengths: 10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest

  OxyContin delivers as much narcotic as the strongest Percocet, and some OxyContin tablets

  delivered sixteen times that.

          128.       Medical professionals describe the strength of various opioids in terms of

  morphine milligram equivalents (“MME”). According to the CDC, doses at or above 50

  MME/day double the risk of overdose compared to 20 MME/day, and one study found that

  patients who died of opioid overdose were prescribed an average of 98 MME/day.

          129.       Different opioids provide varying levels of MMEs. For example, just 33 mg of

  oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

  threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

  OxyContin, which Purdue took off the market in 2001, delivered 240 MME.

          130.       The wide variation in the MME strength of prescription opioids renders

  misleading any effort to capture “market share” by the number of pills or prescriptions attributed

  to Purdue or other manufacturers. Purdue, in particular, focuses its business on branded, highly

  potent pills, causing it to be responsible for a significant percent of the total amount of MME in

  circulation, even though it currently claims to have a small percent of the market share in terms

  of pills or prescriptions.

          131.       Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50

  times stronger than heroin. First developed in 1959, fentanyl is showing up more and more often

  in the market for opioids created by Marketing Defendants’ promotion, with particularly lethal

  consequences.



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         132.       The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

  OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

  Actavis’s Kadian, are designed to be taken once or twice daily and are purported to provide

  continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s

  Actiq and Fentora, are designed to be taken in addition to long-acting opioids to address

  “episodic pain” (also referred to as “breakthrough pain”) and provide fast-acting, supplemental

  opioid therapy lasting approximately four to six hours. Still other short-term opioids, such as

  Insys’s Subsys, are designed to be taken in addition to long-acting opioids to specifically address

  breakthrough cancer pain, excruciating pain suffered by some patients with end-stage cancer.

  The Marketing Defendants promoted the idea that pain should be treated by taking long-acting

  opioids continuously and supplementing them by also taking short-acting, rapid-onset opioids for

  episodic or “breakthrough” pain.

         133.       Patients develop tolerance to the analgesic effect of opioids relatively quickly.

  As tolerance increases, a patient typically requires progressively higher doses in order to obtain

  the same perceived level of pain reduction. The same is true of the euphoric effects of opioids—

  the “high.” However, opioids depress respiration, and at very high doses can and often do arrest

  respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

  opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

         134.       Discontinuing opioids after more than just a few weeks of therapy will cause

  most patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

  anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium,

  pain, and other serious symptoms, which may persist for months after a complete withdrawal



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  from opioids, depending on how long the opioids were used.

         135.         As a leading pain specialist doctor put it, the widespread, long-term use of

  opioids “was a de facto experiment on the population of the United States. It wasn’t randomized,

  it wasn’t controlled, and no data was collected until they started gathering death statistics.”

         B.      The Resurgence of Opioid Use in the United States

                 1.       The Sackler Family Integrated Advertising and Medicine

         136.         Given the history of opioid abuse in the U.S. and the medical profession’s

  resulting wariness, the commercial success of the Marketing Defendants’ prescription opioids

  would not have been possible without a fundamental shift in prescribers’ perception of the risks

  and benefits of long-term opioid use.

         137.         As it turned out, Purdue Pharma was uniquely positioned to execute just such a

  maneuver, thanks to the legacy of a man named Arthur Sackler.

         138.         Prior to Purdue’s entry into the opioid market, the general standard use of

  opioids was for short-term periods, for example: acute pain, surgery recovery, cancer and

  palliative care. Chances of opioid abuse are low when applied in this manner. Purdue went to

  great effort to influence public perception of the perceived benefits and risks of long-term opioid

  use.

         139.         The Sackler family is the sole owner of Purdue and one of the wealthiest

  families in America, with a net worth of $13 billion as of 2016. The company’s profits go to

  Sackler family trusts and entities.26 Yet the Sacklers have avoided publicly associating

  themselves with Purdue, letting others serve as the spokespeople for the company.


  26
    David Armstrong, The Man at the Center of the Secret OxyContin Files, STAT News (May
  12, 2016), https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.
                                                  -36-
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           140.      The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

  patent-medicine company called the PFC in 1952. It was Arthur Sackler who created the

  pharmaceutical advertising industry as we know it, laying the groundwork for the OxyContin

  promotion that would make the Sacklers billionaires.

           141.      Arthur Sackler was both a psychiatrist and a marketing executive. Arthur

  Sackler is largely responsible for the change in public perception r perception of the risks and

  benefits of long-term opioid use, effectively creating the pharmaceutical advertising industry.

  He realized that direct advertising to doctors and prescribers would be the most effective means

  of turning a profit.

           142.      He pioneered both print advertising in medical journals and promotion through

  physician “education” in the form of seminars and continuing medical education (“CME”)

  courses. He also understood the persuasive power of recommendations from fellow physicians,

  and did not hesitate to manipulate information when necessary. For example, one promotional

  brochure produced by his firm for Pfizer showed business cards of physicians from various cities

  as if they were testimonials for the drug, but when a journalist tried to contact these doctors, he

  discovered that they did not exist.27

           143.      It was Arthur Sackler who, in the 1960s, made Valium into the first $100-

  million drug, so popular it became known as “Mother’s Little Helper.” When Arthur’s client,

  Roche, developed Valium, it already had a similar drug, Librium, another benzodiazepine, on the

  market for treatment of anxiety. So, Arthur invented a condition he called “psychic tension”—




  27
       Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death 204 (2003).
                                                 -37-
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  essentially stress—and pitched Valium as the solution.28 The campaign, for which Arthur was

  compensated based on volume of pills sold,29 was a remarkable success.

          144.         Arthur Sackler created not only the advertising for his clients but also the

  vehicle to bring their advertisements to doctors—a biweekly newspaper called the Medical

  Tribune, which was distributed for free to doctors nationwide. Arthur also conceived a company

  now called IMS Health Holdings Inc., which monitors prescribing practices of every doctor in

  the U.S. and sells this valuable data to pharmaceutical companies like Marketing Defendants,

  who utilize it to target and tailor their sales pitches to individual physicians.

          145.         The Sackler Defendants have continued to direct Purdue’s unlawful marketing

  techniques, using many of the same unethical techniques developed by Arthur Sackler, in

  order to maximize their sales of opioid products.

                  2.       Purdue and the Development of OxyContin

          146.         After the Sackler brothers acquired the PEC in 1952, Purdue sold products

  ranging from earwax remover to antiseptic, and it became a profitable business.           As an

  advertising executive, Arthur Sackler was not involved, on paper at least, in running Purdue,

  which would have been a conflict of interest.            Raymond Sackler became Purdue’s head

  executive, while Mortimer Sackler ran Purdue’s UK affiliate.

          147.         In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug

  producer that had developed a sustained-release technology suitable for morphine. Purdue

  marketed this extended-release morphine as MS Contin, and it quickly became Purdue’s

  bestseller. As the patent expiration for MS Contin loomed, Purdue searched for a drug to replace

  28
     Id. at 202; see also One Family Reaped Billions From Opioids, WBUR On Point (Oct. 23,
  2017), http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-opioids.
  29
     Meier, supra note 18, at 201-203.
                                                   -38-
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  it. Around that time, Raymond’s oldest son, Richard Sackler, who was also a trained physician,

  became more involved in the management of the company. Richard had grand ambitions for the

  company; according to a long-time Purdue sales representative, “Richard really wanted Purdue

  to be big—I mean really big.”30 Richard believed Purdue should develop another use for its

  “Contin” timed-release system.

         148.      In 1990, Purdue’s Vice President of clinical research, Robert Kaiko, sent a

  memo to Richard and other executives recommending that the company work on a pill

  containing oxycodone. At the time, oxycodone was perceived as less potent than morphine,

  largely because it was most commonly prescribed as Percocet, a relatively weak oxycodone-

  acetaminophen combination pill. MS Contin was not only approaching patent expiration but had

  always been limited by the stigma associated with morphine. Oxycodone did not have that

  problem, and what’s more, it was sometimes mistakenly called “oxycodeine,” which also

  contributed to the perception of relatively lower potency, because codeine is weaker than

  morphine. Purdue acknowledged using this to its advantage when it later pled guilty to criminal

  charges of “misbranding” in 2007, admitting that it was “well aware of the incorrect view held

  by many physicians that oxycodone was weaker than morphine” and “did not want to do

  anything ‘to make physicians think that oxycodone was stronger or equal to morphine’ or to

  ‘take any steps . . . that would affect the unique position that OxyContin’” held among

  physicians.31




  30
     Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire
  (Oct. 16, 2017), http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.
  31
     Id.
                                               -39-
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         149.       For Purdue and OxyContin to be “really big,”32 Purdue needed to both distance

  its new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

  beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives

  in March 1995 recommended that if Purdue could show that the risk of abuse was lower with

  OxyContin than with traditional immediate-release narcotics, sales would increase.33 As

  discussed below, Purdue did not find or generate any such evidence, but this did not stop Purdue

  from making that claim regardless.

         150.       Armed with this and other misrepresentations about the risks and benefits of its

  new drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life,

  non-acute, everyday aches and pains. As Dr. David Haddox, a Senior Medical Director at

  Purdue, declared on the “Early Show,” a CBS morning talk program, “There are 50 million

  patients in this country who have chronic pain that’s not being managed appropriately every

  single day. OxyContin is one of the choices that doctors have available to them to treat that.”34

         151.       In pursuit of these 50 million potential customers, Purdue poured resources

  into OxyContin’s sales force and advertising, particularly to a far broader audience of primary

  care physicians who treated patients with chronic pain complaints.

         152.       OxyContin was launched with one of the largest pharmaceutical marketing

  campaigns in history, with roughly 1,000 sales representatives touting the drug’s benefits.

  Representatives would recommend OxyContin as the solution not just for acute, short-term pain,

  but also for less-acute, longer-lasting pain.    Sales training included lessons in overcoming



  32
     Id.
  33
     Meier, supra n.18, at 269.
  34
     Id., at 156.
                                                  -40-
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  doctors’ concerns about health and addiction by minimizing or downplaying OxyContin’s true

  qualities. Purdue paid thousands of physicians to present to medical conferences on the benefits

  of OxyContin.

          153.       Upon information and belief, members of the Sackler Families were deeply

   involved in OxyContin’s marketing campaign. Family members were on site at Purdue’s

   headquarters daily, controlling the management of the family business.          According to a

   former sales representative, Richard Sackler was “the dude that made it happen.” In response

   to the concerns of benefit plans that OxyContin was ripe for addictive use, Richard sent an

   email to sales representatives, asserting that “‘addiction’ may be a convenient way to just say

   ‘NO.’”25

         154.        In 1997, Richard and Kathe Sackler took part in a conspiracy to mislead

  doctors by claiming oxycodone was half as strong as morphine when the opposite was the case.

  Purdue engaged in this deception to alleviate the fears of medical professionals in prescribing the

  drug for non-acute pain.

         155.        The graph below shows how promotional spending in the first six years

  following OxyContin’s launch dwarfed Purdue’s spending on MS Contin or Janssen’s spending

  on Duragesic: 35




  35
     U.S. General Accounting Office, OxyContin Abuse and Diversion and Efforts to Address the
  Problem, U.S. General Accounting Office Report to Congressional Requesters, 22 (Dec. 2003),
  http://www.gao.gov/new.items/d04110.pdf.
                                                 -41-
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         156.       Prior to Purdue’s launch of OxyContin, no drug company had ever promoted

  such a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

         157.       Purdue has generated estimated sales of more than $35 billion from opioids

  since 1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued

  to climb even after a period of media attention and government inquiries regarding OxyContin

  abuse in the early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue

  proved itself skilled at evading full responsibility and continued to sell through the controversy.

  The company’s annual opioid sales of $3 billion in 2015 represent a four-fold increase from its

  2006 sales of $800 million.

         158.       One might imagine that Richard Sackler’s ambitions have been realized. But in

  the best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits.

  Under the name of Mundipharma, the Sacklers are looking to new markets for their opioids—

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  employing the exact same playbook in South America, China, and India as they did in the United

  States.

            159.    In May 2017, a dozen members of Congress sent a letter to the World Health

  Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

  through Mundipharma:

          We write to warn the international community of the deceptive and
  dangerous practices of Mundipharma International—an arm of Purdue
  Pharmaceuticals. The greed and recklessness of one company and its partners
  helped spark a public health crisis in the United States that will take generations
  to fully repair. We urge the World Health Organization (WHO) to do everything
  in its power to avoid allowing the same people to begin a worldwide opioid
  epidemic. Please learn from our experience and do not allow Mundipharma to
  carry on Purdue’s deadly legacy on a global stage. . . .

           Internal documents revealed in court proceedings now tell us that since the
  early development of OxyContin, Purdue was aware of the high risk of addiction
  it carried. Combined with the misleading and aggressive marketing of the drug by
  its partner, Abbott Laboratories, Purdue began the opioid crisis that has
  devastated American communities since the end of the 1990s. Today,
  Mundipharma is using many of the same deceptive and reckless practices to sell
  OxyContin abroad. . . .

          In response to the growing scrutiny and diminished U.S. sales, the
  Sacklers have simply moved on. On December 18, the Los Angeles Times
  published an extremely troubling report detailing how in spite of the scores of
  lawsuits against Purdue for its role in the U.S. opioid crisis, and tens of thousands
  of overdose deaths, Mundipharma now aggressively markets OxyContin
  internationally. In fact, Mundipharma uses many of the same tactics that caused
  the opioid epidemic to flourish in the U.S., though now in countries with far fewer
  resources to devote to the fallout.36

            160.    Purdue’s recent pivot to untapped markets—after extracting substantial profits

  from American communities and leaving local governments to address the devastating and still

  growing damage the company caused—only serves to underscore that Purdue’s actions have

  36
    Letter from Members of Congress to Dr. Margaret Chan, Director-General, World Health
  Organization (May 3, 2017), http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-
  bdba-1ca71c784113/mundipharma-letter-signatures.pdf.
                                                  -43-
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  been knowing, intentional, and motivated by profits throughout this entire story.

                  3.       Sackler Defendants Were Aware of the Abuse Potential of OxyContin
                           from at Least Summer 1999

          161.         Purdue and members of the Sackler Family were aware that OxyContin

  and other prescription medication could lead to addiction since at least summer 1999. An

  internal memo prepared by Purdue employee, Maureen Sara, described the abuse and

  recreational use of OxyContin. The memo was sent directly to Purdue’s board members,

  including Richard, Jonathan and Kathe Sackler.

          162.         In spite of the 1999 memo, Purdue President Michael Friedman testified

  before the U.S. House of Representatives in 2001 that Purdue had not become aware of

  OxyContin’s potential for abuse until 2000. No members of the Sackler Family attempted to

  correct this false narrative.

          163.         The Sackler Defendants were thus aware of potential liability for Purdue

  since at least 1999 due to OxyContin’s addictive nature. Instead of attempting to fix or solve the

  issue they had created, the Sackler Defendants began to transfer profits from Purdue and

  associated companies to their own private trusts and accounts in order to shield their funds

  from creditors. In 2015, for example, the Sackler Families removed $700 million from their

  privately held companies, two-thirds of which came from Purdue. These transfers of ill-gotten

  gains were and are fraudulent, unjustly enriched the Sackler Defendants and were done for the

  purpose of protecting the money from any civil or criminal judgment against Purdue for its

  participation in the opioid crisis. These transfers also left Purdue and its associated entities

  undercapitalized and potentially unable to pay a judgment against it in this litigation.

          164.         Rather than protect the public’s health once they became aware of OxyContin’s


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  potential for abuse, the Sackler Family protected its own wealth.

                 4.       Other Marketing Defendants Leapt at the Opioid Opportunity

         165.         Purdue created a market for the use of opioids for a range of common aches

  and pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

  Marketing Defendants—already manufacturers of prescription opioids—positioned themselves

  to take advantage of the opportunity Purdue created, developing both branded and generic

  opioids to compete with OxyContin, while, together with Purdue and each other, misrepresenting

  the safety and efficacy of their products. These misrepresentations are described in greater detail

  in Section D below.

         166.         Endo, which already sold Percocet and Percodan, was the first to submit an

  application for a generic extended-release oxycodone to compete with OxyContin. At the same

  time, Endo sought FDA approval for another potent opioid, immediate-release and extended-

  release oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

  ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

  the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

  proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,

  Numorphan provoked, according to some users, a more euphoric high than heroin. As the

  National Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,”

  Numorphan was extremely popular among addicts for its quick and sustained effect. 37 Endo

  withdrew oral Numorphan from the market in 1979.38

         167.         Two decades later, however, as communities around the U.S. were first

  37
     John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today
  (May 10, 2015), https://www.medpagetoday.com/psychiatry/addictions/51448.
  38
     Id.
                                                 -45-
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  sounding the alarm about prescription opioids and Purdue executives were being called to testify

  before Congress about the risks of OxyContin, Endo essentially reached back into its inventory,

  dusted off a product it had previously shelved after widespread abuse, and pushed it into the

  marketplace with a new trade name, Opana.

         168.      The clinical trials submitted with Endo’s first application for approval of

  Opana were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and

  had to be revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials,

  in which trial subjects who do not respond to the drug are excluded from the trial, and obtained

  approval. Endo began marketing Opana and Opana ER in 2006.

         169.      Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017,

  the FDA sought removal of Opana ER. In its press release, the FDA indicated that “[t]his is the

  first time the agency has taken steps to remove a currently marketed opioid pain medication from

  sale due to the public health consequences of abuse.”39 On July 6, 2017, Endo agreed to

  withdraw Opana ER from the market.40

         170.      Janssen, which already marketed the Duragesic (fentanyl) patch for severe

  pain, also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the

  use of Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage

  cancer anymore!” 41 This claim earned Janssen a warning letter from the FDA, for representing

  that Duragesic was “more useful in a broader range of conditions or patients than has been


  39
     Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks
  Related to Abuse (June 8, 2017).
  https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
  40
     Endo Pulls Opioid as U.S. Seeks to Tackle Abuse Epidemic, Reuters (July 6, 2017, 9:59am),
  https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.
  41
     Letter from FDA to Janssen (March 30, 2000), at 2.
                                               -46-
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  demonstrated by substantial evidence.”42

             171.     Janssen also developed a new opioid compound called tapentadol in 2009,

  marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the

  extended-release version, Nucynta ER, for treatment of chronic pain in 2011.

             172.     By adding additional opioids or expanding the use of their existing opioid

  products, the other Marketing Defendants took advantage of the market created by Purdue’s

  aggressive promotion of OxyContin and reaped enormous profits. For example, Opana ER alone

  generated more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also

  passed the $1 billion mark in sales of Duragesic in 2009.

             C.     Defendants’ Conduct Created an Abatable Public Nuisance

             173.     As alleged throughout this Complaint, Defendants’ conduct created a public

  health crisis and a public nuisance.

             174.     The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

  maintained by Defendants can be abated and further recurrence of such harm and inconvenience

  can be abated by, inter alia; (a) educating prescribers (especially primary care physicians and the

  most prolific prescribers of opioids) and patients regarding the true risks and benefits of opioids,

  including the risk of addiction, in order to prevent the next cycle of addiction; (b) providing

  addiction treatment to patients who are already addicted to opioids; and (c) making naloxone

  widely available so that overdoses are less frequently fatal.

             175.     Defendants have the ability to act to abate the public nuisance, and the law

  recognizes that they are uniquely well positioned to do so. It is the manufacturer of a drug that

  has primary responsibility to assure the safety, efficacy, and appropriateness of a drug’s labeling,

  42
       Id.
                                                  -47-
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  marketing, and promotion. And, all companies in the supply chain of a controlled substance are

  primarily responsible for ensuring that such drugs are only distributed and dispensed to

  appropriate patients and not diverted. These responsibilities exist independent of any FDA or

  DEA regulation, to ensure that their products and practices meet both federal and state consumer

  protection laws and regulations. As registered manufacturers and distributors of controlled

  substances, Defendants are placed in a position of special trust and responsibility and are

  uniquely positioned, based on their knowledge of prescribers and orders, to act as a first line of

  defense.

         D.      The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber
                 Habits and Public Perception and Increase Demand for Opioids

         176.       In order to accomplish the fundamental shift in perception that was key to

  successfully marketing their opioids, the Marketing Defendants designed and implemented a

  sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

  their claims, the Marketing Defendants turned to the marketing techniques first pioneered by

  Arthur Sackler to create a series of misperceptions in the medical community and ultimately

  reverse the long-settled understanding of the relative risks and benefits of opioids.

         177.       The    Marketing     Defendants      promoted,    and    profited     from,   their

  misrepresentations about the risks and benefits of opioids for chronic pain even though they

  knew that their marketing was false and misleading. The history of opioids, as well as research

  and clinical experience over the last 20 years, established that opioids were highly addictive and

  responsible for a long list of very serious adverse outcomes. The FDA and other regulators

  warned Marketing Defendants of these risks. The Marketing Defendants had access to scientific

  studies, detailed prescription data, and reports of adverse events, including reports of addiction,


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  hospitalization, and deaths—all of which made clear the harms from long-term opioid use and

  that patients are suffering from addiction, overdoses, and death in alarming numbers. More

  recently, the FDA and CDC issued pronouncements based on existing medical evidence that

  conclusively expose the known falsity of these Defendants’ misrepresentations.

         178.        The marketing scheme to increase opioid prescriptions centered around nine

  categories of misrepresentations, which are discussed in detail below. The Marketing Defendants

  disseminated these misrepresentations through various channels, including through advertising;

  sales representatives; “Front Groups,” purportedly independent organizations these Defendants

  funded and controlled; so-called industry “Key Opinion Leaders” (“KOLs”); and CME programs

  discussed subsequently below.

                1.       The Marketing Defendants Promoted Multiple Falsehoods About
                         Opioids

         179.        The Marketing Defendants’ misrepresentations fall into the following nine

  categories:

         a.              the risk of addiction from chronic opioid therapy is low

         b.              to the extent there is a risk of addiction, it can be easily identified and
                         managed

         c.              signs of addictive behavior are “pseudoaddiction,” requiring more opioids

         d.              opioid withdrawal can be avoided by tapering

         e.              opioid doses can be increased without limit or greater risks

         f.              long-term opioid use improves functioning

         g.              alternative forms of pain relief pose greater risks than opioids

         h.              OxyContin provides 12 hours of pain relief; and

         i.              new formulations of certain opioids successfully deter abuse


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         180.       Each of these propositions was false. The Marketing Defendants knew this,

  but they nonetheless set out to convince physicians, patients, and the public at large of the truth

  of each of these propositions in order to expand the market for their opioids.

         181.       The categories of misrepresentations are offered to organize the numerous

  statements the Marketing Defendants made and to explain their role in the overall marketing

  effort, not as a checklist for assessing each Marketing Defendant’s liability. While each

  Marketing Defendant deceptively promoted their opioids specifically, and, together with other

  Marketing Defendants, opioids generally, not every Marketing Defendant propagated (or needed

  to propagate) each misrepresentation.       Each Marketing Defendant’s conduct, and each

  misrepresentation, contributed to an overall narrative that aimed to—and did—mislead doctors,

  patients, and payors about the risk and benefits of opioids. While this Complaint endeavors to

  document examples of each Marketing Defendant’s misrepresentations and the manner in which

  they were disseminated, they are just that—examples. The Complaint is not, especially prior to

  discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

  Marketing Defendant.

                         a.     Falsehood #1: The risk of addiction from chronic opioid
                                therapy is low

         182.       Central to the Marketing Defendants’ promotional scheme was the

  misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

  marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

  when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to

  the expected and intended result that doctors prescribed more opioids to more patients—thereby

  enriching the Marketing Defendants and substantially contributing to the opioid epidemic.


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         183.      Each of the Marketing Defendants claimed that the potential for addiction from

  its opioids was relatively small or non-existent, even though there was no scientific evidence to

  support those claims. None of them have acknowledged, retracted, or corrected their false

  statements.

         184.      In fact, studies have shown that a substantial percentage of long-term users of

  opioids experience addiction. Addiction can result from the use of any opioid, “even at

  recommended dose,”43 and the risk substantially increases with more than three months of use. 44

  As the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

  overdose and opioid use disorder” (a diagnostic term for addiction).45

                                i.     Purdue’s misrepresentations regarding addiction risk

         185.      When it launched OxyContin, Purdue knew it would need data to overcome

  decades of wariness regarding opioid use. It needed some sort of research to back up its

  messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as

  part of its application for FDA approval for OxyContin. Purdue (and, later, the other Defendants)

  found this “research” in the form of a one-paragraph letter to the editor published in the New

  England Journal of Medicine (“NEJM”) in 1980.

         186.      This letter, by Dr. Hershel Jick (“Jick”) and Jane Porter (“Porter”), declared the

  43
     FDA Announces Safety Labeling Changes and Postmarket Study Requirements For Extended-
  Release and Long-Acting Opioid Analgesics, MagMutual (Aug. 18. 2016),
  https://www.magmutual.com/learning/article/fda-announces-safety-labeling-changes-and-
  postmarket-study-requirements-opioids; see also Press Release, U.S. Food & Drug Admin., FDA
  Announces Enhanced Warnings For Immediate-Release Opioid Pain Medications Related to
  Risks of Misuse, Abuse, Addiction, Overdose And Death, FDA (Mar. 22, 2016),
  https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm491739.htm.
  44
     Deborah Dowell, M.D. et al., CDC Guideline for Prescribing Opioids for Chronic Pain –
  United States 2016, 65(1) Morbidity & Mortality Wkly. Rep. 1, 21 (Mar. 18, 2016) (hereinafter
  “CDC Guideline”).
  45
     Id. at 2.
                                                 -51-
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  incidence of addiction “rare” for patients treated with opioids.46 They had analyzed a database of

  hospitalized patients who were given opioids in a controlled setting to ease suffering from acute

  pain. Porter and Jick considered a patient not addicted if there was no sign of addiction noted in

  the patient’s records.




         187.       As Jick explained to a journalist years later, he submitted the statistics to the

  NEJM as a letter because the data were not robust enough to be published as a study.47

         188.       Purdue nonetheless began repeatedly citing this letter in promotional and

  educational materials as evidence of the low risk of addiction, while failing to disclose that its

  source was a letter to the editor, not a peer-reviewed paper.48 Citation of the letter, which was

  largely ignored for more than a decade, significantly increased after the introduction of


  46
     Jane Porter & Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2)
  New Engl. J. Med. 123 (Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/
  NEJM198001103020221.
  47
     Meier, supra n.18, at 174.
  48
      Porter & Jick, supra n.37.
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  OxyContin. While first Purdue and then other Marketing Defendants used it to assert that their

  opioids were not addictive, “that’s not in any shape or form what we suggested in our letter,”

  according to Jick.

         189.          Purdue specifically used the Porter and Jick letter in its 1998 promotional

  video “I got my life back,” in which Dr. Alan Spanos says, “In fact, the rate of addiction amongst

  pain patients who are treated by doctors is much less than 1%.”49 Purdue trained its sales

  representatives to tell prescribers that fewer than 1% of patients who took OxyContin became

  addicted. (In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

  that the addiction rate was 13%.)”50

         190.          Other Marketing Defendants relied on and disseminated the same distorted

  messaging. The enormous impact of Marketing Defendants’ misleading amplification of this

  letter was well documented in another letter published in the NEJM on June 1, 2017, describing

  the way the one-paragraph 1980 letter had been irresponsibly cited and, in some cases, “grossly

  misrepresented.” In particular, the authors of this letter explained:

         [W]e found that a five-sentence letter published in the Journal in 1980
  was heavily and uncritically cited as evidence that addiction was rare with long-
  term opioid therapy. We believe that this citation pattern contributed to the North
  American opioid crisis by helping to shape a narrative that allayed prescribers’
  concerns about the risk of addiction associated with long-term opioid
  therapy . . .51

         191.          “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the


  49
     Our Amazing World, Purdue Pharma OxyContin Commercial, Youtube (Sept. 22, 2016),
  https://www.youtube.com/watch?v=Er78Dj5hyeI.
  50
     Patrick R. Keefe, The Family That Built an Empire of Pain, The New Yorker (Oct. 30, 2017)
  (hereinafter, “Keefe, Empire of Pain”).
  51
     Pamela T.M. Leung, B.Sc. Pharm., et al., A 1980 Letter on the Risk of Opioid Addiction, 376
  New Engl. J. Med. 2194, 2194–95 (June 1, 2017),
  http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
                                                     -53-
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  University of Toronto, who led the analysis. “It was the key bit of literature that helped the

  opiate manufacturers convince front-line doctors that addiction is not a concern.”52

         192.       Alongside its use of the Porter and Jick letter, Purdue also crafted its own

  materials and spread its deceptive message through numerous additional channels. In its 1996

  press release announcing the release of OxyContin, for example, Purdue declared, “The fear of

  addiction is exaggerated.”53

         193.       At a hearing before the House of Representatives’ Subcommittee on Oversight

  and Investigations of the Committee on Energy and Commerce in August 2001, Purdue

  emphasized “legitimate” treatment, dismissing cases of overdose and death as something that

  would not befall “legitimate” patients: “Virtually all of these reports involve people who are

  abusing the medication, not patients with legitimate medical needs under the treatment of a

  healthcare professional.”54

         194.       Purdue spun this baseless “legitimate use” distinction out even further in a

  patient brochure about OxyContin, called, “A Guide to Your New Pain Medicine and How to

  Become a Partner Against Pain.” In response to the question: “Aren’t opioid pain medications

  like OxyContin Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about



  52
     Marilynn Marchione, Associated Press, Painful Words: How a 1980 Letter Fueled the Opioid
  Epidemic, STAT News (May 31, 2017), https://www.statnews.com/2017/05/31/opioid-epidemic-
  nejm-letter/.
  53
     Press Release, Purdue Parma L.P., New Hope for Millions of Americans Suffering from
  Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996,
  3:47pm), http://documents.latimes.com/oxycontin-press-release-1996/.
  54
     Oxycontin: Its Use and Abuse: Hearing Before the House Subcomm. on Oversight and
  Investigations of the Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001)
  (Statement of Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue
  Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG-
  107hhrg75754.htm.
                                                 -54-
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  addiction if taking opioids for legitimate, “medical” purposes:

         Drug addiction means using a drug to get “high” rather than to relieve
  pain. You are taking opioid pain medication for medical purposes. The medical
  purposes are clear and the effects are beneficial, not harmful. 55

         195.       Sales representatives marketed OxyContin as a product “to start with and to

  stay with.”56 Sales representatives also received training in overcoming doctors’ concerns about

  addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

  Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

  you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!” 57

  According to the memo, the target is physician resistance based on concern about addiction:

  “The physician wants pain relief for these patients without addicting them to an opioid.” 58

         196.       Purdue, through its unbranded website Partners Against Pain, stated the

  following: “Current Myth: Opioid addiction (psychological dependence) is an important clinical

  problem in patients with moderate to severe pain treated with opioids. Fact: Fears about

  psychological dependence are exaggerated when treating appropriate pain patients with opioids.”

         197.       Former sales representative Steven May (“May”), who worked for Purdue from

  1999 to 2005, explained to a journalist how he and his coworkers were trained to overcome

  doctors’ objections to prescribing opioids. The most common objection he heard about




  55
     Partners Against Pain consists of both a website, styled as an “advocacy community” for
  better pain care, and a set of medical education resources distributed to prescribers by sales
  representatives, such as the brochure quoted here. It has existed since at least the early 2000s
  and has been a vehicle for Purdue to downplay the risks of addiction from long-term opioid use.
  56
     Keefe, Empire of Pain, supra n.41.
  57
     Meier, supra n.18, at 102.
  58
     Id.
                                                 -55-
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  prescribing OxyContin was that “it’s just too addictive.”59 May and his coworkers were trained

  to “refocus” doctors on “legitimate” pain patients, and to represent that “legitimate” patients

  would not become addicted. In addition, they were trained to say that the 12-hour dosing made

  the extended-release opioids less “habit-forming” than painkillers that need to be taken every

  four hours.

         198.       According to interviews with prescribers and former Purdue sales

  representatives, Purdue has continued to distort or omit the risk of addiction while failing to

  correct its earlier misrepresentations, leaving many doctors with the false impression that pain

  patients will only rarely become addicted to opioids.

         199.       With regard to addiction, Purdue’s label for OxyContin has not sufficiently

  disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

  in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is

  increased in patients with a personal or family history of substance abuse.”

         200.       However, the FDA made clear to Purdue as early as 2001 that the disclosures

  in its OxyContin label were insufficient.

         201.       In 2001, Purdue revised the indication and warnings for OxyContin. In the

  end, Purdue narrowed the recommended use of OxyContin to situations when “a continuous,

  around-the-clock analgesic is needed for an extended period of time” and added a warning that

  “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a “potentially fatal dose.”

  However, Purdue did not, until 2014, change the label as the FDA suggested, to indicate that


  59
     Interview by Patrick Keefe with Steven Mays, former sales representative for Purdue Pharma
  L.P., How Oxycontin Was Sold to the Masses, The New Yorker (Oct. 27, 2017),
  https://www.newyorker.com/podcast/the-new-yorker-radio-hour/how-oxycontin-was-sold-to-the-
  masses.
                                                 -56-
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  OxyContin should not be the first therapy, or even the first opioid, used, and did not disclose the

  incidence or risk of overdose and death even when OxyContin was not abused.

                                ii.     Endo’s misrepresentations regarding addiction risk

         202.       Endo also falsely represented that addiction is rare in patients who are

  prescribed opioids.

         203.       Until April 2012, Endo’s website for Opana, www.opana.com, stated that

  “[m]ost healthcare providers who treat patients with pain agree that patients treated with

  prolonged opioid medicines usually do not become addicted.”

         204.       Upon information and belief, Endo improperly instructed its sales

  representatives to diminish and distort the risk of addiction associated with Opana ER. Endo’s

  training materials for its sales representatives in 2011 also prompted sales representatives to

  answer “true” to the statement that addiction to opioids is not common.

         205.       One of the Front Groups with which Endo worked most closely was the

  American Pain Foundation (“APF”), described more fully below. Endo provided substantial

  assistance to, and exercised editorial control, over the deceptive and misleading messages that

  the APF conveyed through its National Initiative on Pain Control (“NIPC”)60 and its website,

  www.painknowledge.com, which claimed that “[p]eople who take opioids as prescribed usually

  do not become addicted.”

         206.       Another Endo website, www.painaction.com, stated: “Did you know? Most

  60
    Endo was one of the APF’s biggest financial supporters, providing more than half of the $10
  million the APF received from opioid manufacturers during its lifespan. Endo was the sole
  funder of the NIPC and selected the APF to manage the NIPC. Internal Endo documents
  indicate that Endo was responsible for NIPC curriculum development, web posting, and
  workshops, developed and reviewed NIPC content, and took a substantial role in distributing
  NIPC and APF materials. Endo projected that it would be able to reach tens of thousands of
  prescribers nationwide through the distribution of NIPC materials.
                                                 -57-
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  chronic pain patients do not become addicted to the opioid medications that are prescribed for

  them.”

           207.     A brochure available on www.painknowledge.com titled “Pain: Opioid Facts,”

  Endo-sponsored NIPC stated that “people who have no history of drug abuse, including tobacco,

  and use their opioid medication as directed will probably not become addicted.” In numerous

  patient education pamphlets, Endo repeated this deceptive message.

          ▪ In a patient education pamphlet titled “Understanding Your Pain: Taking Oral
  Opioid Analgesics,” Endo answers the hypothetical patient question—“What should I
  know about opioids and addiction?”—by focusing on explaining what addiction is (“a
  chronic brain disease”) and is not (“Taking opioids for pain relief”). It goes on to explain
  that “[a]ddicts take opioids for other reasons, such as unbearable emotional problems.
  Taking opioids as prescribed for pain relief is not addiction.” This publication is still
  available online.

           208.     An Endo publication, Living with Someone with Chronic Pain, stated, “Most

  health care providers who treat people with pain agree that most people do not develop an

  addiction problem.” A similar statement appeared on the Endo website, www.opana.com, until

  at least April 2012.

           209.     In addition, a 2009 patient education publication, Pain: Opioid Therapy,

  funded by Endo and posted on www.painknowledge.com, omitted addiction from the “common

  risks” of opioids, as shown below:




                                                 -58-
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                                iii.      Janssen’s misrepresentations regarding addiction risk.

         210.       Janssen likewise misrepresented the addiction risk of opioids on its websites

  and print materials. One website, “Let’s Talk Pain,” states, among other things, that “the stigma

  of drug addiction and abuse” associated with the use of opioids stemmed from a “lack of

  understanding about addiction.” (Although Janssen described the website internally as an

  unbranded third-party program, it carried Janssen’s trademark and copy approved by Janssen.)

         211.       The   “Let’s       Talk   Pain”    website   also   perpetuated   the   concept   of

  pseudoaddiction, associating patient behaviors such as “drug seeking,” “clock watching,” and

  “even illicit drug use or deception” with undertreated pain which can be resolved with “effective

  pain management.”

         212.       A Janssen unbranded website, www.prescriberesponsibly.com, states that

  concerns about opioid addiction are “overestimated” and that “true addiction occurs only in a

  small percentage of patients.”61



  61
     Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
  http://www.prescriberesponsibly.com/articles/opioid-pain-management (last updated July 2,
  2015).
                                                      -59-
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         213.       Janssen reviewed, edited, approved, and distributed a patient education guide

  entitled, “Finding Relief: Pain Management for Older Adults,” which, as seen below, described

  as “myth” the claim that opioids are addictive, and asserted as fact that “[m]any studies show

  that opioids are rarely addictive when used properly for the management of chronic pain.” Until

  recently, this guide was still available online.




         214.       Janssen’s website for Duragesic included a section addressing “Your Right to

  Pain Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The

  website’s response: “Addiction is relatively rare when patients take opioids appropriately.”

                                 iv.     Cephalon’s misrepresentations regarding addiction risk

         215.       Cephalon sponsored and facilitated the development of a guidebook, Opioid

  Medications and REMS: A Patient’s Guide, which included claims that “patients without a

  history of abuse or a family history of abuse do not commonly become addicted to opioids.”

  Similarly, Cephalon sponsored the APF’s Treatment Options: A Guide for People Living with

  Pain (2007), which taught that addiction is rare and limited to extreme cases of unauthorized

  dose escalations, obtaining opioids from multiple sources, or theft.

         216.       For example, a 2003 Cephalon-sponsored CME presentation titled,

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  “Pharmacologic Management of Breakthrough or Incident Pain,” posted on Medscape in

  February 2003, teaches:

          [C]hronic pain is often undertreated, particularly in the noncancer patient
  population. . . . The continued stigmatization of opioids and their prescription,
  coupled with often unfounded and self-imposed physician fear of dealing with the
  highly regulated distribution system for opioid analgesics, remains a barrier to
  effective pain management and must be addressed. Clinicians intimately involved
  with the treatment of patients with chronic pain recognize that the majority of
  suffering patients lack interest in substance abuse. In fact, patient fears of
  developing substance abuse behaviors such as addiction often lead to
  undertreatment of pain. The concern about patients with chronic pain becoming
  addicted to opioids during long-term opioid therapy may stem from confusion
  between physical dependence (tolerance) and psychological dependence
  (addiction) that manifests as drug abuse.62

                                v.      Actavis’s misrepresentations regarding addiction risk

         217.       Through its “Learn More about customized pain control with Kadian,”

  material, Actavis claimed that it is possible to become addicted to morphine-based drugs like

  Kadian, but that it is “less likely” to happen in those who “have never had an addiction

  problem.” The piece goes on to advise that a need for a “dose adjustment” is the result of

  tolerance, and “not addiction.”

         218.       Training for Actavis sales representatives deceptively minimizes the risk of

  addiction by: (a) attributing addiction to “predisposing factors” like family history of addiction

  or psychiatric disorders; (b) repeatedly emphasizing the difference between substance

  dependence and substance abuse; and (c) using the term pseudoaddiction, which, as described

  below, dismisses evidence of addiction as the undertreatment of pain and, dangerously, counsels

  doctors to respond to its signs with more opioids.63


  62
     Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
  Medscape, http://www.medscape.org/viewarticle/449803 (behind paywall).
  63
     ACTAVIS0205095-286.
                                                 -61-
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         219.          Actavis conducted a market study on takeaways from prescribers’ interactions

  with Kadian sales representatives.        The doctors had a strong recollection of the sales

  representatives’ discussion of the low-abuse potential.          Actavis’s sales representatives’

  misstatements on the low-abuse potential were considered important factors to doctors, and were

  most likely repeated and reinforced to their patients. Additionally, doctors reviewed visual aids

  that the Kadian sales representatives use during the visits, and Actavis noted that doctors

  associate Kadian with less abuse and no highs, in comparison to other opioids.64 Numerous

  marketing surveys of doctors in 2010 and 2012, for example, confirmed Actavis’s messaging

  about Kadian’s purported low addiction potential, and that it had less abuse potential than other

  similar opioids.65

         220.          A guide for prescribers under Actavis’s copyright deceptively represents that

  Kadian is more difficult to abuse and less addictive than other opioids. The guide includes the

  following statements: (a) “unique pharmaceutical formulation of KADIAN may offer some

  protection from extraction of morphine sulfate for intravenous use by illicit users”; and

  (b) KADIAN may be less likely to be abused by health care providers and illicit users” because

  of “[s]low onset of action,” “[l]ower peak plasma morphine levels than equivalent doses of other

  formulations of morphine,” “[l]ong duration of action,” and “[m]inimal fluctuations in peak to

  trough plasma levels of morphine at steady state.”66 These statements convey both that (a)

  Kadian does not cause euphoria and therefore is less addictive and (b) Kadian is less prone to

  tampering and abuse, even though Kadian was not approved by the FDA as abuse deterrent, and,



  64
     See ACTAVIS0584610-649, at 628.
  65
     See ACTAVIS0192847-78, at 49.
  66
     ACTAVIS0947868-72, at 68-69.
                                                  -62-
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  upon information and belief, Actavis had no studies to suggest it was.

                                vi.     Mallinckrodt’s misrepresentations regarding addiction
                                        risk.

         221.       As described below, Mallinckrodt promoted its branded opioids Exalgo and

  Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

  addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

  communications distributed through the “C.A.R.E.S. Alliance” it created and led.

         222.       Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting

  Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national patient

  safety, provider and drug diversion organizations that are focused on reducing opioid pain

  medication abuse and increasing responsible prescribing habits.” “C.A.R.E.S. Alliance” itself is

  a service mark of Mallinckrodt LLC (and was previously a service mark of Mallinckrodt, Inc.)

  copyrighted and registered as a trademark by Covidien, its former parent company. Materials

  distributed by the C.A.R.E.S. Alliance, however, include unbranded publications that do not

  disclose a link to Mallinckrodt.

         223.       By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a

  book titled, “Defeat Chronic Pain Now!” This book is still available online. The false claims

  and misrepresentations in this book include the following statements:

          •      “Only rarely does opioid medication cause a true addiction when
  prescribed appropriately to a chronic pain patient who does not have a prior
  history of addiction.”

          •      “It is currently recommended that every chronic pain patient
  suffering from moderate to severe pain be viewed as a potential candidate for
  opioid therapy.”

          •      “When chronic pain patients take opioids to treat their pain, they
  rarely develop a true addiction and drug craving.”

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         •      “Only a minority of chronic pain patients who are taking long-term
  opioids develop tolerance.”

          •       “The bottom line: Only rarely does opioid medication cause a true
  addiction when prescribed appropriately to a chronic pain patient who does not
  have a prior history of addiction.”

          •      “Here are the facts. It is very uncommon for a person with chronic
  pain to become ‘addicted’ to narcotics IF (1) he doesn’t have a prior history of
  any addiction and (2) he only takes the medication to treat pain.”

         •       “Studies have shown that many chronic pain patients can
  experience significant pain relief with tolerable side effects from opioid narcotic
  medication when taken daily and no addiction.”

         224.       In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

  Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt

  stated that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

  undertreated” and cites to a report that concludes that “the majority of people with pain use their

  prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

  access because of the misdeeds or carelessness of others.”

         225.       Marketing Defendants’ suggestions that the opioid epidemic is the result of bad

  patients who manipulate doctors to obtain opioids illicitly helped further their marketing scheme,

  but is at odds with the facts. While there are certainly patients who unlawfully obtain opioids,

  they are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple

  prescribers to obtain opioid prescriptions—are responsible for roughly 2% of opioid

  prescriptions. The epidemic of opioid addiction and abuse is overwhelmingly a problem of false

  marketing (and unconstrained distribution) of the drugs, not problem patients.

                         b.     Falsehood #2: To the extent there is a risk of addiction, it can
                                be easily identified and managed

         226.       While continuing to maintain that most patients can safely take opioids long-

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  term for chronic pain without becoming addicted, the Marketing Defendants assert that to the

  extent that some patients are at risk of opioid addiction, doctors can effectively identify and

  manage that risk by using screening tools or questionnaires.        In materials they produced,

  sponsored, or controlled, Defendants instructed patients and prescribers that screening tools can

  identify patients predisposed to addiction, thus making doctors feel more comfortable prescribing

  opioids to their patients and patients more comfortable starting opioid therapy for chronic pain.

  These tools, they say, identify those with higher addiction risks (stemming from personal or

  family histories of substance use, mental illness, trauma, or abuse) so that doctors can then more

  closely monitor those patients.

         227.       Purdue shared its Partners Against Pain “Pain Management Kit,” which

  contains several screening tools and catalogues of Purdue materials, which included these tools,

  with prescribers. Janssen, on its website www.prescriberesponsibly.com, states that the risk of

  opioid addiction “can usually be managed” through tools such as opioid agreements between

  patients and doctors.67 The website, which directly provides screening tools to prescribers for

  risk assessments,68 includes a “[f]our question screener” to purportedly help physicians identify

  and address possible opioid misuse.69

         228.       Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for

  People Living with Pain (2007), which also falsely reassured patients that opioid agreements



  67
     Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM,
  What a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
  http://www.prescriberesponsibly.com/articles/before-prescribing-opioids# (last modified July 2,
  2015).
  68
     Risk Assessment Resources, Prescribe Responsibly, http://www.prescriberesponsibly.com/risk-
  assessment-resources (last modified July 2, 2015).
  69
     Id.
                                                -65-
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  between doctors and patients can “ensure that you take the opioid as prescribed.”

         229.       Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, entitled,

  “Managing Patient’s Opioid Use: Balancing the Need and Risk.” This publication misleadingly

  taught prescribers that screening tools, urine tests, and patient agreements have the effect of

  preventing “overuse of prescriptions” and “overdose deaths.”

         230.       Purdue sponsored a 2011 CME program titled, “Managing Patient’s Opioid

  Use: Balancing the Need and Risk.” This presentation deceptively instructed prescribers that

  screening tools, patient agreements, and urine tests prevented “overuse of prescriptions” and

  “overdose deaths.”

         231.       Purdue also funded a 2012 CME program called, “Chronic Pain Management

  and Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes.” The presentation

  deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

  other techniques, even high-risk patients showing signs of addiction could be treated with

  opioids.

         232.       Endo paid for a 2007 supplement available for continuing education credit in

  the Journal of Family Practice written by a doctor who became a member of Endo’s speakers’

  bureau in 2010. This publication, entitled “Pain Management Dilemmas in Primary Care: Use of

  Opioids” (a) recommended screening patients using tools like (i) the Opioid Risk Tool (“ORT”)

  created by Dr. Webster and linked to Janssen; or (ii) the Screener and Opioid Assessment for

  Patients with Pain; and (b) taught that patients at high risk of addiction could safely receive

  chronic opioid therapy using a “maximally structured approach” involving toxicology screens

  and pill counts. The ORT was linked to by Endo-supported websites, as well.



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         233.       There     are    three   fundamental   flaws   in   the   Marketing   Defendants’

  representations that doctors can consistently identify and manage the risk of addiction. First,

  there is no reliable scientific evidence that doctors can depend on the screening tools currently

  available to materially limit the risk of addiction. Second, there is no reliable scientific evidence

  that high-risk patients identified through screening can take opioids long-term without triggering

  addiction, even with enhanced monitoring. Third, there is no reliable scientific evidence that

  patients who are not identified through such screening can take opioids long-term without

  significant danger of addiction.

                         c.         Falsehood #3: Signs of addictive behavior are
                                    “pseudoaddiction,” requiring more opioids

         234.       The Marketing Defendants instructed patients and prescribers that signs of

  addiction are actually indications of untreated pain, such that the appropriate response is to

  prescribe even more opioids. Dr. Haddox, who later became a Senior Medical Director for

  Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he characterized as

  “the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

  pain management.”70 In other words, people on prescription opioids who exhibited classic signs

  of addiction— for example, asking for more and higher doses of opioids, self-escalating their

  doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

  rather simply suffering from undertreatment of their pain.

         235.       In the materials and outreach they produced, sponsored, or controlled,

  Defendants made each of these misrepresentations and omissions, and have never acknowledged,


  70
    David E. Weissman & J. David Haddox, Opioid Pseudoaddiction—An Iatrogenic Syndrome,
  36(3) Pain 363, 363-66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565
  (“Iatrogenic” describes a condition induced by medical treatment).
                                                   -67-
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  retracted, or corrected them.

         236.       Cephalon, Endo, and Purdue sponsored the Federation of State Medical

  Boards’ (“FSMB”) “Responsible Opioid Prescribing” (2007) written by Dr. Scott Fishman and

  discussed in more detail below, which taught that behaviors such as “requesting drugs by name,”

  “demanding or manipulative behavior,” seeing more than one doctor to obtain opioids, and

  hoarding, which are signs of genuine addiction, are all really signs of “pseudoaddiction.”

         237.       Purdue posted an unbranded pamphlet entitled, “Clinical Issues in Opioid

  Prescribing” on its unbranded website, www.partnersagainstpain.com, in 2005, and circulated

  this pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

  conduct including “illicit drug use and deception” that it claimed was not evidence of true

  addiction but “pseudoaddiction” caused by untreated pain.

         238.       According to documents provided by a former Purdue detailer, sales

  representatives were trained and tested on the meaning of pseudoaddiction, from which it can be

  inferred that sales representatives were directed to, and did, describe pseudoaddiction to

  prescribers. Purdue’s Pain Management Kit is another example of publication used by Purdue’s

  sales force that endorses pseudoaddiction by claiming that “pain-relief seeking behavior can be

  mistaken for drug-seeking behavior.” Upon information and belief, the kit was in use from

  roughly 2011 through at least June 2016.

         239.       Similarly, internal documents show that Endo trained its sales representatives

  to promote the concept of pseudoaddiction. A training module taught sales representatives that

  addiction and pseudoaddiction were commonly confused. The module went on to state that:

  “[t]he physician can differentiate addiction from pseudoaddiction by speaking to the patient



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  about his/her pain and increasing the patient’s opioid dose to increase pain relief.”71

         240.       Endo also sponsored a NIPC CME program in 2009 titled, “Chronic Opioid

  Therapy: Understanding Risk While Maximizing Analgesia,” which promoted pseudoaddiction

  and listed “[d]ifferentiation among states of physical dependence, tolerance, pseudoaddiction,

  and addiction” as an element to be considered in awarding grants to CME providers.72

         241.       Upon information and belief, Endo itself has repudiated the concept of

  pseudoaddiction. In finding that “[t]he pseudoaddiction concept has never been empirically

  validated and in fact has been abandoned by some of its proponents,” the New York Attorney

  General, in a 2016 settlement with Endo, reported that “Endo’s Vice President for

  Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware of any

  research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty in

  distinguishing “between addiction and ‘pseudoaddiction.’”73 Endo thereafter agreed not to “use

  the term ‘pseudoaddiction’ in any training or marketing” in New York.

         242.       Janssen sponsored, funded, and edited a website called, “Let’s Talk Pain,”

  which in 2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain

  is undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can

  be resolved with effective pain management.” This website was accessible online until at least

  May 2012.

         243.       Janssen also currently runs a website, www.prescriberesponsibly.com, which



  71
     ENDO-CHI_LIT-000053284-335, at 299.
  72
     ENDO-CHI_LIT-00179117-22, at 19.
  73
     Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. &
  Endo Pharmaceuticals Inc., Assurance No.:15-228, Assurance of Discontinuance Under
  Executive Law Section 63. Subdivision 15 at 7.
                                                  -69-
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  claims that concerns about opioid addiction are “overestimated,” and describes pseudoaddiction

  as “a syndrome that causes patients to seek additional medications due to inadequate

  pharmacotherapy being prescribed.       Typically, when the pain is treated appropriately the

  inappropriate behavior ceases.”74

           244.      The CDC Guideline nowhere recommends attempting to provide more opioids

  to patients exhibiting symptoms of addiction. Dr. Webster, a KOL discussed below, admitted

  that pseudoaddiction “is already something we are debunking as a concept” and became “too

  much of an excuse to give patients more medication. It led us down a path that caused harm.”

                          d.     Falsehood #4: Opioid withdrawal can be avoided by tapering

           245.      In an effort to underplay the risk and impact of addiction, the Marketing

  Defendants falsely claimed that, while patients become physically dependent on opioids,

  physical dependence is not the same as addiction and can be easily addressed, if and when pain

  relief is no longer desired, by gradually tapering patients’ dose to avoid withdrawal. Defendants

  failed to disclose the extremely difficult and painful symptoms that patients can experience when

  they are removed from opioids—adverse effects that also make it less likely that patients will be

  able to stop using the drugs. Defendants also failed to disclose how difficult it is for patients to

  stop using opioids after they have used them for prolonged periods.

           246.      A non-credit educational program sponsored by Endo, Persistent Pain in the

  Older Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop

  using opioids, could be avoided by simply tapering a patient’s opioid dose over ten days.

  However, this claim is at odds with the experience of patients addicted to opioids. Most patients

  who have been taking opioids regularly will, upon stopping treatment, experience withdrawal,

  74
       Heit & Gourlay, supra n.67.
                                                 -70-
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  characterized by intense physical and psychological effects, including anxiety, nausea,

  headaches, and delirium, among others. This painful and arduous struggle to terminate use can

  leave many patients unwilling or unable to give up opioids and heightens the risk of addiction.

         247.       Purdue sponsored the APF’s “A Policymaker’s Guide to Understanding Pain &

  Its Management,” which taught that “[s]ymptoms of physical dependence can often be

  ameliorated by gradually decreasing the dose of medication during discontinuation,” but the

  guide did not disclose the significant hardships that often accompany cessation of use.

         248.       To this day, the Marketing Defendants have not corrected or retracted their

  misrepresentations regarding tapering as a solution to opioid withdrawal.

                         e.     Falsehood #5: Opioid doses can be increased without limit or
                                greater risks

         249.       In materials they produced, sponsored, or controlled, Marketing Defendants

  instructed prescribers that they could safely increase a patient’s dose to achieve pain relief. Each

  of the Marketing Defendants’ claims was deceptive in that it omitted warnings of increased

  adverse effects that occur at higher doses, effects confirmed by scientific evidence.

         250.       These misrepresentations were integral to the Marketing Defendants’

  promotion of prescription opioids. As discussed above, patients develop a tolerance to opioids’

  analgesic effects, so that achieving long-term pain relief requires constantly increasing the dose.

         251.       In a 1996 sales memo regarding OxyContin, for example, a regional manager

  for Purdue instructed sales representatives to inform physicians that there is “no[] upward limit”

  for dosing and ask “if there are any reservations in using a dose of 240mg-320mg of




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  OxyContin.”75




         252.       In addition, sales representatives aggressively pushed doctors to prescribe

  stronger doses of opioids. For example, one Purdue sales representative wrote about how his

  regional manager would drill the sales team on their upselling tactics:

          It went something like this. “Doctor, what is the highest dose of
  OxyContin you have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells
  you their pain score is still high you can increase the dose 100% to 40mg Q12h,
  will you do that?” “Okay.” “Doctor, what if that patient them came back and said
  their pain score was still high, did you know that you could increase the
  OxyContin dose to 80mg Q12h, would you do that?” “I don’t know, maybe.”
  “Doctor, but you do agree that you would at least Rx the 40mg dose, right?”
  “Yes.”

         The next week the rep would see that same doctor and go through the
  same discussion with the goal of selling higher and higher doses of OxyContin.

         253.       These misrepresentations were particularly dangerous. As noted above, opioid


  75
     Letter from Windell Fisher, Purdue Regional Manager, to B. Gergely, Purdue Employee (Nov.
  7, 1996), http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/ (last updated
  May 5, 2016) (hereinafter “Letter from Fisher”).
                                                 -72-
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  doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

  MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every 12 hours is ten

  times that.

         254.       In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

  however, Purdue does not address the increased risk of respiratory depression and death from

  increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

  days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

  increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

  until they are under control, then resume upward titration.”76

         255.       Endo sponsored a website, www.painknowledge.com, which claimed that

  opioids may be increased until “you are on the right dose of medication for your pain,” at which

  point further dose increases would not be required.

         256.       Endo also published on its website a patient education pamphlet entitled,

  “Understanding Your Pain: Taking Oral Opioid Analgesics.” In Q&A format, it asked, “If I take

  the opioid now, will it work later when I really need it?” The response is, “The dose can be

  increased . . . You won’t ‘run out’ of pain relief.”

         257.       Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for

  People Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and

  therefore are safer than non-steroidal anti-inflammatory drugs (“NSAIDs”).

         258.       Marketing Defendants were aware of the greater dangers high-dose opioids


  76
     Purdue Pharma L.P., OxyContin Risk Evaluation and Mitigation Strategy,
  https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafet
  y/PostmarketDrugSafetyInformationforPatientsandProviders/UCM220990.pdf (last modified
  Nov. 2010).
                                                   -73-
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  posed. In 2013, the FDA acknowledged “that the available data do suggest a relationship

  between increasing opioid dose and risk of certain adverse events” and that studies “appear to

  credibly suggest a positive association between high-dose opioid use and the risk of overdose

  and/or overdose mortality.” For example, a study of patient data from the Veterans Health

  Administration published in 2011 found that higher maximum prescribed daily opioid doses

  were associated with a higher risk of opioid overdose deaths.77

                         f.      Falsehood #6: Long-term opioid use improves functioning

         259.       Despite the lack of evidence of improved function and the existence of

  evidence to the contrary, the Marketing Defendants consistently promoted opioids as capable of

  improving patients’ function and quality of life because they viewed these claims as a critical

  part of their marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing

  the perceived benefits of treatment was necessary to overcome its risks.

         260.       Janssen, for example, promoted Duragesic as improving patients’ functioning

  and work productivity through an ad campaign that included the following statements: “[w]ork,

  uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that

  supports functionality,” and “[i]mprove[s] . . . physical and social functioning.”

         261.       Purdue noted the need to compete with this messaging, despite the lack of data

  supporting improvement in quality of life with OxyContin treatment:

          Janssen has been stressing decreased side effects, especially constipation,
  as well as patient quality of life, as supported by patient rating compared to
  sustained release morphine…We do not have such data to support OxyContin
  promotion. . . . In addition, Janssen has been using the “life uninterrupted”
  message in promotion of Duragesic for non-cancer pain, stressing that Duragesic

  77
     Amy S. B. Bohnert, Ph.D. et al., Association Between Opioid Prescribing Patterns and Opioid
  Overdose-Related Deaths, 305(13) J. of Am. Med. Assoc. 1315, 1315-1321 (Apr. 6, 2011),
  https://jamanetwork.com/journals/jama/fullarticle/896182.
                                                  -74-
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  “helps patients think less about their pain.” This is a competitive advantage based
  on our inability to make any quality of life claims.78

         262.       Despite its acknowledgment that “[w]e do not have such data to support

  OxyContin promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American

  Medical Association (“JAMA”), proclaiming, “There Can Be Life With Relief,” and showing a

  man happily fly-fishing alongside his grandson, implying that OxyContin would help users’

  function. This ad earned a warning letter from the FDA, which admonished, “It is particularly

  disturbing that your November ad would tout ‘Life With Relief’ yet fail to warn that patients can

  die from taking OxyContin.”79

         263.       Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

  Management, which claimed that “multiple clinical studies” have shown that opioids are

  effective in improving daily function, psychological health, and health-related quality of life for

  chronic pain patients. But the article cited as support for this in fact stated the contrary, noting

  the absence of long-term studies and concluding, “[f]or functional outcomes, the other analgesics

  were significantly more effective than were opioids.”

         264.       A series of medical journal advertisements for OxyContin in 2012 presented

  “Pain Vignettes”—case studies featuring patients with pain conditions persisting over several

  months—that implied functional improvement. For example, one advertisement described a

  “writer with osteoarthritis of the hands” and implied that OxyContin would help him work more

  effectively.

         265.       Similarly, since at least May 2011, Endo has distributed and made available on


  78
    Meier, supra note 18, at 281.
  79
    Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall St. J. (Jan. 23,
  2003, 12:01am), https://www.wsj.com/articles/SB1043259665976915824.
                                                 -75-
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  its website, www.opana.com, a pamphlet promoting Opana ER with photographs depicting

  patients with physically demanding jobs like those of a construction worker or chef, misleadingly

  implying that the drug would provide long-term pain relief and functional improvement.

          266.      As noted above, Janssen sponsored and edited a patient education guide

  entitled, “Finding Relief: Pain Management for Older Adults” (2009), which states as “a fact”

  that “opioids may make it easier for people to live normally.” This guide features a man playing

  golf on the cover and lists examples of expected functional improvement from opioids, like

  sleeping through the night, returning to work, recreation, sex, walking, and climbing stairs. It

  assures patients that, “[u]sed properly, opioid medications can make it possible for people with

  chronic pain to ‘return to normal.’” Similarly, “Responsible Opioid Prescribing” (2007),

  sponsored and distributed by Teva, Endo, and Purdue, taught that relief of pain by opioids, by

  itself, improved patients’ function. The book remains for sale online.

          267.      In addition, Janssen’s “Let’s Talk Pain” website featured a video interview,

  which was edited by Janssen personnel, claiming that opioids were what allowed a patient to

  “continue to function,” falsely implying that her experience would be representative.

          268.      The APF’s Treatment Options: A Guide for People Living with Pain (2007),

  sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients] a

  quality of life we deserve.” The guide was available online until the APF shut its doors in May

  2012.

          269.      Endo’s NIPC website www.painknowledge.com claimed that with opioids,

  “your level of function should improve; you may find you are now able to participate in activities

  of daily living, such as work and hobbies, that you were not able to enjoy when your pain was



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  worse.” In addition to “improved function,” the website touted improved quality of life as a

  benefit of opioid therapy. The grant request that Endo approved for this project specifically

  indicated the NIPC’s intent to make claims of functional improvement.

         270.      Endo was the sole sponsor, through the NIPC, of a series of CMEs titled

  Persistent “Pain in the Older Patient,” which claimed that chronic opioid therapy has been

  “shown to reduce pain and improve depressive symptoms and cognitive functioning.” The CME

  was disseminated via webcast.

         271.      Mallinckrodt’s website, in a section on responsible use of opioids, claims that

  “[t]he effective pain management offered by our medicines helps enable patients to stay in the

  workplace, enjoy interactions with family and friends, and remain an active member of

  society.”80

         272.      The Marketing Defendants’ claims that long-term use of opioids improves

  patient function and quality of life are unsupported by clinical evidence. There are no controlled

  studies of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve

  patients’ pain and function long term. The FDA, for years, has made clear through warning

  letters to manufacturers the lack of evidence for claims that the use of opioids for chronic pain

  improves patients’ function and quality of life.81 Based upon a review of the existing scientific



  80
     Mallinckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.com/corporate-
  responsibility/responsible-use.
  81
     The FDA has warned other drugmakers that claims of improved function and quality of life
  were misleading. See Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., &
  Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that
  Actavis’ opioid, Kadian, had an “overall positive impact on a patient’s work, physical and
  mental functioning, daily activities, or enjoyment of life.”); Warning Letter from Thomas
  Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman,
  President and Chief Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008), (finding
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  evidence, the CDC Guideline concluded that “there is no good evidence that opioids improve

  pain or function with long-term use.”82

         273.       Consistent with the CDC’s findings, substantial evidence exists demonstrating

  that opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health.

  For example, a 2006 study-of-studies found that opioids as a class did not demonstrate

  improvement in functional outcomes over other non-addicting treatments. The few longer-term

  studies of opioid use had “consistently poor results,” and “several studies have showed that

  [using] opioids for chronic pain may actually worsen pain and functioning,”83 along with general

  health, mental health, and social function. Over time, even high doses of potent opioids often

  fail to control pain, and patients exposed to such doses are unable to function normally.

         274.       The available evidence indicates opioids may worsen patients’ health and pain.

  Increased duration of opioid use is also strongly associated with increased prevalence of mental

  health disorders (depression, anxiety, post-traumatic stress disorder, and substance abuse),

  increased psychological distress, and greater health care utilization. The CDC Guideline

  concluded that “[w]hile benefits for pain relief, function and quality of life with long-term opioid

  use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and

  significant.”84 According to the CDC, “for the vast majority of patients, the known, serious, and

  too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic


  the claim that “patients who are treated with [Avinza (morphine sulfate ER)] experience an
  improvement in their overall function, social function, and ability to perform daily activities . . .
  has not been demonstrated by substantial evidence or substantial clinical experience.”). The
  FDA’s warning letters were available to Defendants on the FDA website.
  82
     CDC Guideline, supra n.35, at 20.
  83
     Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-
  Prescribing Guideline, 374 New Eng. J. of Med., 1501, 1501-1502 (Apr. 21, 2016).
  84
     CDC Guideline, supra n.35, at 2, 18.
                                                   -78-
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  pain].”85

         275.      As one pain specialist observed, “opioids may work acceptably well for a

  while, but over the long term, function generally declines, as does general health, mental health,

  and social functioning. Over time, even high doses of potent opioids often fail to control pain,

  and these patients are unable to function normally.”86 In fact, research such as a 2008 study in

  the journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction

  that made them more likely to be disabled and unable to work.87 Another study demonstrated that

  injured workers who received a prescription opioid for more than seven days during the first six

  weeks after the injury were 2.2 times more likely to remain on work disability a year later than

  workers with similar injuries who received no opioids at all.88 Moreover, the first randomized

  clinical trial designed to make head-to-head comparisons between opioids and other kinds of

  pain medications was recently published on March 6, 2018, in the JAMA. The study reported

  that “[t]here was no significant difference in pain-related function between the 2 groups” – those

  whose pain was treated with opioids and those whose pain was treated with non-opioids,

  including acetaminophen and other NSAIDs like ibuprofen. Accordingly, the study concluded:

  “Treatment with opioids was not superior to treatment with nonopioid medications for improving




  85
     Frieden & Houry, supra n.86, at 1503.
  86
     Andrea Rubinstein, M.D., Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009),
  http://www.nbcms.org/about-us/sonoma-county-medical-association/magazine/sonoma-
  medicine-are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747.
  87
     Jeffrey Dersh, et al., Prescription Opioid Dependence Is Associated With Poorer Outcomes In
  Disabling Spinal Disorders, 33(20) Spine 2219, 2219-27 (Sept. 15, 2008).
  88
     GM Franklin, BD Stover et al., Early Opioid Prescription and Subsequent Disability Among
  Workers With Back Injuries: The Disability Risk Identification Study Cohort, 33(2) Spine 199,
  201-202 (Jan. 15, 2008).
                                                -79-
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  pain-related function over 12 months.”89

                        g.      Falsehood #7: Alternative forms of pain relief pose greater
                                risks than opioids

         276.       In materials they produced, sponsored or controlled, the Marketing Defendants

  omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of

  competing products so that prescribers and patients would favor opioids over other therapies

  such as over-the-counter acetaminophen or over-the-counter or prescription NSAIDs.

         277.       For example, in addition to failing to disclose in promotional materials the

  risks of addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of

  hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which

  the patient becomes more sensitive to certain painful stimuli over time“;90 hormonal

  dysfunction;91 decline in immune function; mental clouding, confusion, and dizziness; increased

  falls and fractures in the elderly;92 neonatal abstinence syndrome (when an infant exposed to

  opioids prenatally suffers withdrawal after birth); and potentially fatal interactions with alcohol

  or with benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,




  89
     EE Krebs, et al., Effect of Opioid vs Nonopioid Medications on Pain-Related Function in
  Patients With Chronic Back Pain or Hip or Knee Osteoarthritis Pain: The SPACE Randomized
  Clinical Trial, 319(9) J. Am. Med. Ass’n. 872 (Mar. 6, 2018).
  90
     Letter from Janet Woodcock, M.D., Dir. of Ctr. For Drug Eval. & Res., to Andrew Kolodny,
  M.D., Pres. of Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818
  (Sept. 10, 2013).
  91
     H.W. Daniell, Hypogonadism in Men Consuming Sustained-Action Oral Opioids, 3(5) J. Pain
  377, 377-84 (2001).
  92
     Bernhard M. Kuschel, The Risk of Fall Injury in Relation to Commonly Prescribed
  Medications Among Older People—a Swedish Case-Control Study, 25(3) Eur. J. Pub. H. 527,
  527-32 (July 31, 2014).
                                                 -80-
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  particularly to veterans suffering from pain.93

         278.       The APF’s Treatment Options: A Guide for People Living with Pain,

  sponsored by Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more

  than a period of months,” with no corresponding warning about opioids. The publication falsely

  attributed 10,000 to 20,000 deaths annually to NSAID overdoses, when the figure is closer to

  3,200.94

         279.       Janssen sponsored Finding Relief: Pain Management for Older Adults (2009),

  that listed dose limitations as “disadvantages” of other pain medicines but omitted any discussion

  of risks of increased doses from opioids.           Finding Relief described the advantages and

  disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The

  disadvantages of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or

  liver damage if taken at high doses or for a long time,” “adverse reactions in people with

  asthma,” and “can increase the risk of heart attack and stroke.” The only adverse effects of

  opioids listed are “upset stomach or sleepiness,” which the brochure claims will go away, and

  constipation.

         280.       Endo’s NIPC website, painknowledge.com, contained a flyer called “Pain:

  Opioid Therapy.” This publication listed opioids’ adverse effects but with significant omissions,

  including hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance,

  dependence, addiction, and death.


  93
     Karen H. Seal et al., Association of Mental Health Disorders With Prescription Opioids and
  High-Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. of Am. Med. Assoc. 940,
  940-47 (2012).
  94
     Robert E. Tarone et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and
  Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic
  Studies, 11 Am. J. of Therapeutics 17, 17-25 (2004).
                                                    -81-
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         281.       As another example, the Endo-sponsored CME put on by the NIPC, Persistent

  Pain in the Older Adult, discussed above, counseled that acetaminophen should be used only

  short-term and included five slides on the FDA’s restrictions on acetaminophen and its adverse

  effects, including severe liver injury and anaphylaxis (shock). In contrast, the CME downplayed

  the risk of opioids, claiming opioids have “possibly less potential for abuse than in younger

  patients,” and does not list overdose among the adverse effects.                   Some of those

  misrepresentations are described above; others are laid out below.

         282.       In April 2007, Endo sponsored an article aimed at prescribers, published in

  Pain Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic

  Pain.”95 The article asserted:

           Opioids represent a highly effective but controversial and often
  misunderstood class of analgesic medications for controlling both chronic and
  acute pain. The phenomenon of tolerance to opioids – the gradual waning of relief
  at a given dose – and fears of abuse, diversion, and misuse of these medications
  by patients have led many clinicians to be wary of prescribing these drugs, and/or
  to restrict dosages to levels that may be insufficient to provide meaningful relief.96

         283.       To help allay these concerns, Endo emphasized the risks of NSAIDs as an

  alternative to opioids. The article included a case study that focused on the danger of extended

  use of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal

  bleed believed to have resulted from his protracted NSAID use. In contrast, the article did not

  provide the same detail concerning the serious side effects associated with opioids.

         284.       Additionally, Purdue acting with Endo sponsored Overview of Management

  Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains


  95
     Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
  Pain Med. News, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf.
  96
     Id. at 1.
                                                  -82-
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  available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

  unsafe at high doses.

         285.       As a result of the Marketing Defendants’ deceptive promotion of opioids over

  safer and more effective drugs, opioid prescriptions increased even as the percentage of patients

  visiting a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000

  and 2010 found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

  acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

  prescribing.97

                          h.    Falsehood #8: OxyContin provides 12 hours of pain relief

         286.       Purdue also dangerously misled doctors and patients about OxyContin’s

  duration and onset of action, making the knowingly false claim that OxyContin would provide

  12 hours of pain relief for most patients. As laid out below, Purdue made this claim for two

  reasons. First, it provides the basis for both Purdue’s patent and its market niche, allowing it to

  both protect and differentiate itself from competitors. Second, it allowed Purdue to imply or

  state outright that OxyContin had a more even, stable release mechanism that avoided peaks and

  valleys and therefore the rush that fostered addiction and attracted abusers.

         287.       Purdue promotes OxyContin as an extended-release opioid, but the oxycodone

  does not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

  oxycodone into the body upon administration, and the release gradually tapers, as illustrated in

  97
    M. Daubresse et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United
  States, 2000-2010, 51(10) Med. Care 870, 870-878 (2013). For back pain alone, the percentage
  of patients prescribed opioids increased from 19% to 29% between 1999 and 2010, even as the
  use of NSAIDs or acetaminophen declined from 39.9% to 24.5% of these visits; and referrals to
  physical therapy remained steady. See also J. Mafi et al., Worsening Trends in the Management
  and Treatment of Back Pain 173(17) J. of the Am Med. Assoc. of Internal Med. 1573, 1573
  (2013).
                                                  -83-
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  the following chart, which was apparently adapted from Purdue’s own sales materials:




          288.      The reduced release of the drug over time means that the oxycodone no longer

  provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

  the 12 hours for which Purdue promotes it—a fact that Purdue has known at all times relevant to

  this action.

          289.      OxyContin tablets provide an initial absorption of approximately 40% of the

  active medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful

  opioid triggers a powerful psychological response. OxyContin thus behaves more like an

  immediate-release opioid, which Purdue itself once claimed was more addicting in its original

  1995 FDA-approved drug label. Second, the initial burst of oxycodone means that there is less of

  the drug at the end of the dosing period, which results in the drug not lasting for a full 12 hours

  and precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose”

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  failure. (The FDA found in 2008 that a “substantial number” of chronic pain patients will

  experience end-of-dose failure with OxyContin.)

         290.       End-of-dose failure renders OxyContin even more dangerous because patients

  begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

  cycle that fuels a craving for OxyContin.             For this reason, Dr. Theodore Cicero, a

  neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

  OxyContin’s 12-hour dosing “the perfect recipe for addiction.”98 Many patients will exacerbate

  this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

  opioid, increasing the overall amount of opioids they are taking.

         291.       It was Purdue’s decision to submit OxyContin for approval with 12-hour

  dosing. While the OxyContin label indicates that “[t]here are no well-controlled clinical studies

  evaluating the safety and efficacy with dosing more frequently than every 12 hours,” that is

  because Purdue has conducted no such studies.

         292.       Purdue nevertheless has falsely promoted OxyContin as if it were effective for

  a full 12 hours. Its advertising in 2000 included claims that OxyContin provides “Consistent

  Plasma Levels Over 12 Hours.” That claim was accompanied by a chart, mirroring the chart on

  the previous page. However, this version of the chart deceptively minimized the rate of end-of-

  dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table’s y-

  axis. That chart, shown below, depicts the same information as the chart above, but does so in a

  way that makes the absorption rate appear more consistent:



  98
    Harriet Ryan et al., “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” L.
  A. Times (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/ (hereinafter, “You
  Want a Description of Hell”).
                                                 -85-
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         293.       Purdue’s 12-hour messaging was key to its competitive advantage over short-

  acting opioids that required patients to wake in the middle of the night to take their pills. Purdue

  advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

  2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

  pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

  stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

  release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

  dosing was emphasized as the most important benefit.”99

         294.       In keeping with this positioning statement, a Purdue regional manager

  emphasized in a 1996 sales strategy memo that representatives should “convinc[e] the physician

  that there is no need” for prescribing OxyContin in shorter intervals than the recommended 12-

  99
    Memorandum from Lydia Johnson, Marketing Executive at Purdue, to members of Oxycontin
  Launch Team (Apr. 4, 1995), http://documents.latimes.com/oxycontin-launch-1995/ (last
  updated May 5, 2016).
                                                 -86-
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  hour interval, and instead the solution is prescribing higher doses.”100 One sales manager

  instructed her team that anything shorter than 12-hour dosing “needs to be nipped in the bud.

  NOW!!”101

          295.      Purdue executives therefore maintained the messaging of 12-hour dosing even

  when many reports surfaced that OxyContin did not last 12 hours. Instead of acknowledging a

  need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills,

  even though higher dosing carries its own risks, as noted above. It also means that patients will

  experience higher highs and lower lows, increasing their craving for their next pill. Nationwide,

  based on an analysis by the Los Angeles Times, more than 52% of patients taking OxyContin

  longer than three months are on doses greater than 60 mg per day—which converts to the 90

  morphine equivalent dose that the CDC Guideline urges prescribers to “avoid” or “carefully

  justify.”102

          296.      That OxyContin did not provide pain relief for a full 12 hours was known to

  Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s knowledge of

  some pain specialists’ tendency to prescribe OxyContin three times per day instead of two was

  set out in Purdue’s internal documents as early as 1999 and is apparent from MEDWATCH

  Adverse Event reports for OxyContin.

          297.      Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

  position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

  contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of



  100
      Letter from Fisher, supra n.75.
  101
      You Want a Description of Hell, supra n.98.
  102
      CDC Guideline, supra n.44, at 16.
                                                 -87-
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  12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

  referring to “real” 12-hour dosing.

         298.       Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

  prescribers were misinformed about the advantages of OxyContin in a manner that preserved

  Purdue’s competitive advantage and profits, at the expense of patients, who were placed at

  greater risk of overdose, addiction, and other adverse effects.

                         i.     Falsehood #9: New formulations of certain opioids successfully
                                deter abuse

         299.       Rather than take the widespread abuse and addiction to opioids as reason to

  cease their untruthful marketing efforts, Marketing Defendants Purdue and Endo seized them as

  a competitive opportunity. These companies developed and oversold “abuse-deterrent

  formulations” (“ADF”) opioids as a solution to opioid abuse and as a reason that doctors could

  continue to safely prescribe their opioids, as well as an advantage of these expensive branded

  drugs over other opioids. These Defendants’ false and misleading marketing of the benefits of

  their ADF opioids preserved and expanded their sales and falsely reassured prescribers thereby

  prolonging the opioid epidemic.         Other Marketing Defendants, including Actavis and

  Mallinckrodt, also promoted their branded opioids as formulated to be less addictive or less

  subject to abuse than other opioids.

         300.       The CDC Guideline confirms that “[n]o studies” support the notion that

  “abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,”

  noting that the technologies “do not prevent opioid abuse through oral intake, the most common

  route of opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former

  Director of the CDC, reported that his staff could not find “any evidence showing the updated


                                                  -88-
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  opioids [ADF opioids] actually reduce rates of addiction, overdoses, or death.”

                                  i.     Purdue’s deceptive marketing of reformulated
                                         OxyContin and Hysingla ER

            301.     Reformulated ADF OxyContin was approved by the FDA in April 2010. It was

  not until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference

  to the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

  launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

  the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

  no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of

  abuse.

            302.     It is unlikely a coincidence that reformulated OxyContin was introduced

  shortly before generic versions of OxyContin were to become available, threatening to erode

  Purdue’s market share and the price it could charge. Purdue nonetheless touted its introduction of

  ADF opioids as evidence of its good corporate citizenship and commitment to address the opioid

  crisis.

            303.     Despite its self-proclaimed good intention, Purdue merely incorporated its

  generally deceptive tactics with respect to ADF.           Purdue sales representatives regularly

  overstated and misstated the evidence for and impact of the abuse-deterrent features of these

  opioids. Specifically, Purdue sales representatives:

         •       claimed that Purdue’s ADF opioids prevent tampering and that its ADFs could not
  be crushed or snorted;

            •      claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

            •      asserted or suggested that its ADF opioids are non-addictive or less addictive,



                                                   -89-
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         •       asserted or suggested that Purdue’s ADF opioids are safer than other opioids,
  could not be abused or tampered with, and were not sought out for diversion; and

          •       failed to disclose that Purdue’s ADF opioids do not impact oral abuse or misuse.

          304.       If pressed, Purdue acknowledged that perhaps some “extreme” patients might

  still abuse the drug but claimed the ADF features protect the majority of patients. These

  misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

  own information, and publicly available data.

          305.       Purdue knew or should have known that reformulated OxyContin is not more

  tamper-resistant than the original OxyContin and is still regularly tampered with and abused.

          306.       In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

  properties will have no effect on abuse by the oral route (the most common mode of abuse).” In

  the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in

  its label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to

  OxyContin were associated with oral consumption, and that only 2% of deaths were associated

  with recent injection and only 0.2% with snorting the drug.

          307.       The FDA’s Director of the Division of Epidemiology stated in September 2015

  that no data that she had seen suggested the reformulation of OxyContin “actually made a

  reduction in abuse,” between continued oral abuse, shifts to injection of other drugs (including

  heroin), and defeat of the ADF mechanism. Even Purdue’s own funded research shows that half

  of OxyContin abusers continued to abuse OxyContin orally after the reformulation rather than

  shift to other drugs.

          308.       A 2013 article presented by Purdue employees based on review of data from

  poison control centers concluded that ADF OxyContin can reduce abuse, but it ignored important


                                                  -90-
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  negative findings. The study revealed that abuse merely shifted to other drugs and that, when the

  actual incidence of harmful exposures was calculated, there were more harmful exposures to

  opioids after the reformulation of OxyContin. In short, the article deceptively emphasized the

  advantages and ignored the disadvantages of ADF OxyContin.

         309.       Websites and message boards used by drug abusers, such as bluelight.org and

  reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER, including

  through grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is

  dissolved. Purdue has been aware of these methods of abuse for more than a decade.

         310.       One-third of the patients in a 2015 study defeated the ADF mechanism and

  were able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s

  ADF opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many

  users simply shifted to other opioids such as heroin.

         311.       In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

  supplemental new drug application related to reformulated OxyContin one day before FDA staff

  was to release its assessment of the application. The staff review preceded an FDA advisory

  committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

  reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

  product has a meaningful impact on abuse.”103 Upon information and belief, Purdue never

  presented the data to the FDA because the data would not have supported claims that

  OxyContin’s ADF properties reduced abuse or misuse.


  103
     Jill Hartzler Warner, Assoc. Comm’r for Special Med. Programs, Joint Meeting of the Drug
  Safety and Risk Management Advisory Committee and the Anesthetic and Analgesic Drug
  Products Advisory Committee; Notice of Meeting, 80(103) Fed. Reg. 30686, 30686 (May 29,
  2015).
                                                 -91-
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            312.     Despite its own evidence of abuse, and the lack of evidence regarding the

   benefit of Purdue’s ADF opioids in reducing abuse, Dr. Haddox, Vice President of Health

   Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s ADF

   opioids are being abused in large numbers.               Purdue’s recent advertisements in national

   newspapers also continues to claim its ADF opioids as evidence of its efforts to reduce opioid

   abuse, continuing to mislead prescribers, patients, payors, and the public about the efficacy of its

   actions.

                                 ii.     Endo’s deceptive marketing of reformulated Opana ER

            313.     As the expiration of its patent exclusivity for Opana ER neared, Endo also

   made abuse-deterrence a key to its marketing strategy.104

            314.     Opana ER was particularly likely to be tampered with and abused. That is

   because Opana ER has lower “bioavailability” than other opioids, meaning that the API does not

   absorb into the bloodstream as rapidly as other opioids when taken orally. Additionally, when

   swallowed whole, the extended-release mechanism remains intact, so that only 10% of Opana

   ER’s API is released into the patient’s bloodstream relative to injection; when it is taken

   intranasally, that rate increases to 43%. The larger gap between bioavailability when consumed

   orally versus snorting or injection, the greater the incentive for users to manipulate the drug’s

   means of administration.

            315.     Endo knew by July 2011 that “some newer statistics around abuse and

   diversion are not favorable to our product.”105

            316.     In December 2011, Endo obtained approval for a new formulation of Opana


   104
         ENDO-CHI_LIT-00141071.
   105
         ENDO-CHI_LIT-00401875.
                                                     -92-
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   ER that added a hard coating that the company claimed made it crush-resistant.

            317.     Even prior to its approval, the FDA had advised Endo that it could not market

   the new Opana ER as abuse-deterrent. The FDA found that such promotional claims “may

   provide a false sense of security since the product may be chewed and ground for subsequent

   abuse.” In other words, Opana ER was still crushable. Indeed, Endo’s own studies dating from

   2009 and 2010 showed that Opana ER could be crushed and ground, and, in its correspondence

   with the FDA, Endo admitted that “[i]t has not been established that this new formulation of

   Opana ER is less subject to misuse, abuse, diversion overdose, or addiction.”

            318.     Further, a January 4, 2011 FDA Discipline Review letter made clear to Endo

   that “[t]he totality of these claims and presentations suggest that, as a result of its new

   formulation, Opana ER offers a therapeutic advantage over the original formulation when this

   has not been demonstrated by substantial evidence or substantial clinical experience. In addition

   these claims misleadingly minimize the risks associated with Opana ER by suggesting that the

   new formulation’s ‘INTAC’ technology confers some form of abuse-deterrence properties when

   this has not been demonstrated by substantial evidence.”106 The FDA acknowledged that while

   there is “evidence to support some limited improvement” provided by the new coating, it would

   not let Endo promote any benefit because “there are several limitations to this data.”107 Also,

   Endo was required to add language to its label specifically indicating that “Opana ER tablets

   may be abused by crushing, chewing, snorting, or injecting the product. These practices will

   result in less controlled delivery of the opioid and pose a significant risk to the abuser that could




   106
         ENDO-CHI_LIT-00075639-45, at 40.
   107
         Id.
                                                   -93-
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   result in overdose and death.”108

            319.     The FDA expressed similar concerns in nearly identical language in a May 7,

   2012 letter to Endo responding to a February 2, 2012 “request … for comments on a launch

   Draft Professional Detail Aid … for Opana ER.” The FDA’s May 2012 letter also includes a full

   two pages of comments regarding “[o]missions of material facts” that Endo left out of the

   promotional materials.

            320.     Endo consciously chose not to do any post-approval studies that might satisfy

   the FDA. According to internal documents, the company decided, by the time its studies would

   be done, generics would be on the market and “any advantages for commercials will have

   disappeared.”109 However, this lack of evidence did not deter Endo from marketing Opana ER

   as ADF while its commercial window remained open.

            321.     Nonetheless, in August 2012, Endo submitted a citizen petition asking the FDA

   for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it

   was less able to be crushed and snorted and that it was resistant injection by syringe. Borrowing

   a page from Purdue’s playbook, Endo announced it would withdraw original Opana ER from the

   market and sought a determination that its decision was made for safety reasons (its lack of

   abuse-deterrence), which would prevent generic copies of original Opana ER.

            322.     Endo then sued the FDA, seeking to force expedited consideration of its citizen

   petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its

   lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

   decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the


   108
         Id. at 39.
   109
         ENDO CHI LIG 65055-59, at 57.
                                                 -94-
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   FDA did not block generic competition, $125 million, which Endo spent on developing the

   reformulated drug to “promote the public welfare” would be lost.110 The FDA responded that

   “Endo's true interest in expedited FDA consideration stems from business concerns rather than

   protection of the public health.”111

          323.       Despite Endo’s purported concern with public safety, not only did Endo

   continue to distribute original, admittedly unsafe Opana ER for nine months after the

   reformulated version became available, it declined to recall original Opana ER despite its

   dangers. In fact, Endo claimed in September 2012 to be “proud” that “almost all remaining

   inventory” of the original Opana ER had “been utilized.”112

          324.       In its citizen petition, Endo asserted that redesigned Opana ER CRF had

   “safety advantages.” Endo even relied on its rejected assertion that Opana was less crushable to

   argue that it developed Opana ER for patient safety reasons and that the new formulation would

   help, for example, “where children unintentionally chew the tablets prior to an accidental

   ingestion.”113

          325.       However, in rejecting the petition in a 2013 decision, the FDA found that

   “study data show that the reformulated version's extended-release features can be compromised

   when subjected to ... cutting, grinding, or chewing.”         The FDA also determined that

   “reformulated Opana ER” could also be “readily prepared for injections and more easily


   110
       Plf.’s Opp. to Defs.’ and Intervenor’s Motions to Dismiss and Plf’s Reply in Supp. of Motion
   for Prelim. Inj. [ECF No. 23], Endo Pharms. Inc. v. U.S. Food and Drug Admin., et al., No. 1:12-
   cv-01936, at 20 (D.D.C. Dec.14, 2012).
   111
       Defs.’ Resp. to the Court’s Nov. 30, 2012 Order [ECF No. 9], Endo Pharms. Inc. v. U.S.
   Food and Drug Admin., et al., No. 1:12-cv-01936, at 6 (D.D.C. Dec. 3, 2012).
   112
       Id.; Endo News Release, (Sept. 6, 2012) [ECF No. 18-4], Endo Pharms. Inc. v. U.S. Food and
   Drug Admin., et al., No. 1:12-cv-01936 (D.D.C. Dec. 9, 2012), at 81.
   113
       Citizen Petition, FDA Docket 2012-8-0895, at 5.
                                                 -95-
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   injected[.]” In fact, the FDA warned that preliminary data—including in Endo’s own studies—

   suggested that a higher percentage of reformulated Opana ER abuse is via injection than was the

   case with the original formulation.

           326.      Meanwhile, in 2012, an internal memorandum to Endo account executives

   noted that abuse of Opana ER had “increased significantly” in the wake of the purportedly

   abuse-deterrent formulation. In February 2013, Endo received abuse data regarding Opana ER

   from Inflexxion, Inc., which gathers information from substance abusers entering treatment and

   reviews abuse-focused internet discussions, that confirmed continued abuse, particularly by

   injection.

           327.      In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

   reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

   in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by

   injection, compared with 36% for the old formulation.114 The transition into injection of Opana

   ER made the drug even less safe than the original formulation. Injection carries risks of HIV,

   Hepatitis C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder

   thrombotic thrombocytopenic purpura (“TTP”), which can cause kidney failure.

           328.      Publicly, Endo sought to marginalize the problem. On a 2013 call with

   investors, when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo

   sought to limit its import by assigning it to “a very, very distinct area of the country.”

           329.      Despite its knowledge that Opana ER was widely abused and injected, Endo


   114
      Theresa Cassidy et al., The Changing Abuse Ecology: Implications for Evaluating the Abuse
   Pattern of Extended-Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Pain
   Week Abstract 2014, https://www.painweek.org/assets/documents/general/724-
   painweek2014acceptedabstracts.pdf.
                                                    -96-
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   marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief, based

   on the company’s detailing elsewhere, Endo sales representatives informed doctors that Opana

   ER was abuse-deterrent, could not be tampered with, and was safe. In addition, sales

   representatives did not disclose evidence that Opana was easier to abuse intravenously and, if

   pressed by prescribers, claimed that while outlier patients might find a way to abuse the drug,

   most would be protected.

            330.     A review of national surveys of prescribers regarding their “take-aways” from

   pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

   resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

   advantages of Opana ER, according to participating doctors, was its “low abuse potential.” An

   internal Endo document also notes that market research showed that, “[l]ow abuse potential

   continues as the primary factor influencing physicians’ anticipated increase in use of Opana ER

   over the next 6 months.”115

            331.     In its written materials, Endo marketed Opana ER as having been designed to

   be crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-

   resistant and that this crush-resistant quality would make Opana ER less likely to be abused. For

   example, a June 14, 2012 Endo press release announced, “the completion of the company’s

   transition of its Opana ER franchise to the new formulation designed to be crush resistant.”

            332.     The press release further stated that: “[w]e firmly believe that the new

   formulation of Opana ER, coupled with our long-term commitment to awareness and education

   around appropriate use of opioids will benefit patients, physicians and payers.” The press release



   115
         ENDO-CHI_LIT-00156509, at 97.
                                                  -97-
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   described the old formulation of Opana as subject to abuse and misuse, but failed to disclose the

   absence of evidence that reformulated Opana was any better. In September 2012, another Endo

   press release stressed that reformulated Opana ER employed “INTAC Technology” and

   continued to describe the drug as “designed to be crush-resistant.”

          333.       Similarly, journal advertisements that appeared in April 2013 stated Opana ER

   was “designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in

   part on an Endo press release, described Opana ER as “crush-resistant.” This article was posted

   on the Pain Medicine News website, which was accessible to patients and prescribers.

          334.       Endo, upon information and belief, targeted particular geographies for the

   redesigned Opana ER where abuse was most rampant.116

          335.       In March 2017, because Opana ER could be “readily prepared for injection”

   and was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that

   Opana be withdrawn from the market. The FDA adopted this recommendation on June 8,

   2017.117 Endo announced on July 6, 2017 that it would agree to stop marketing and selling

   Opana ER.118 However, by this point, the damage had been done. Even then, Endo continued to

   insist, falsely, that it “has taken significant steps over the years to combat misuse and abuse.”

                                  iii.    Other Marketing Defendants’ misrepresentations
                                          regarding abuse deterrence

          336.       A guide for prescribers under Actavis’s copyright deceptively represents that


   116
       118 ENDO-CHI_LIT-00054637, at 4.
   117
       Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks
   Related to Abuse (June 8, 2017),
   https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
   118
       Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks
   Related to Abuse (June 8, 2017),
   https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
                                                   -98-
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   Kadian is more difficult to abuse and less addictive than other opioids. The guide declares that

   “unique pharmaceutical formulation of KADIAN may offer some protection from extraction of

   morphine sulfate for intravenous use by illicit users,” and “KADIAN may be less likely to be

   abused by health care providers and illicit users” because of its “[s]low onset of action.”119

   Kadian, however, was not approved by the FDA as abuse deterrent, and, upon information and

   belief, Actavis had no studies to suggest it was.

          337.       Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

   Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

   example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

   may make it difficult to extract the active ingredient using common forms of physical and

   chemical tampering, including chewing, crushing and dissolving.”120 One member of the FDA’s

   Controlled Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse

   potential comparable to oxycodone” and further stated that “we predict that Exalgo will have

   high levels of abuse and diversion.”121

          338.       With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

   “XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

   active ingredient from the large quantity of inactive and deterrent ingredients.”122 In anticipation



   119
       ACTAVIS0947868-72, at 68-69.
   120
       Press Release, Covidien, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone HCl)
   Extended-Release Tablets 32 mg (CII) for Opioid-Tolerant Patients with Moderate-to-Severe
   Chronic Pain (Aug. 27, 2012),
   http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-newsArticle&ID=2004159.
   121
       Office of Senator Edward J. Markey, “Abuse-Deterrent Opioid” is an Oxymoron, Senator Ed
   Markey (Feb. 2016), https://www.markey.senate.gov/imo/media/doc/2016-02-19-Markey-ADF-
   Opioid-timeline.pdf.
   122
       Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014).
                                                   -99-
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   of Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

   Chief Executive Officer (“CEO”) Mark Trudeau said the drug could generate “hundreds of

   millions in revenue.”123

             339.        While the Marketing Defendants promote patented technology as the solution

   to opioid abuse and addiction, none of their “technology” addresses the most common form of

   abuse—oral ingestion—and their statements regarding ADFs give the misleading impression that

   these reformulated opioids can be prescribed safely.

             340.        In sum, each of the nine categories of misrepresentations discussed above

   regarding the use of opioids to treat chronic pain was not supported by or was contrary to the

   scientific evidence.      In addition, the misrepresentations and omissions set forth above and

   elsewhere in this Complaint are misleading and contrary to the Marketing Defendants’ products’

   labels.

                    2.       The Marketing Defendants Disseminated Their Misleading Messages
                             About Opioids Through Multiple Channels

             341.        The Marketing Defendants’ false marketing campaign not only targeted the

   medical community that had to treat chronic pain, but also patients who experience chronic pain.

             342.        The Marketing Defendants utilized various channels to carry out their

   marketing scheme of targeting the medical community and patients with deceptive information

   about opioids: (a) “Front Groups”, with the appearance of independence from the Marketing

   Defendants; (b) so-called “key opinion leaders”, that is, doctors who were paid by the Marketing

   Defendants to promote their pro-opioid message; (c) CME programs controlled and/or funded by

   the Marketing Defendants; (d) branded advertising; (e) unbranded advertising; (f) publications;

   123
      Samantha Liss, Mallinckrodt Banks on New Painkillers for Sales, St. Louis Bus. J. (Dec. 30,
   2013), http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/.
                                                   -100-
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   (g) direct, targeted communications with prescribers by sales representatives or “detailers”; and

   (h) speakers’ bureaus and programs.

                         a.      The Marketing Defendants Directed Front Groups to
                                 Deceptively Promote Opioid Use

          343.      Patient advocacy groups and professional associations also became vehicles to

   reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

   effective control over the messaging by these groups by providing major funding directly to

   them, as well as through KOLs who served on their boards. These Front Groups put out patient

   education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

   pain, overstated their benefits, and understated their risks.124 Defendants funded these Front

   Groups in order to ensure supportive messages from these seemingly neutral and credible third

   parties, and their funding did, in fact, ensure such supportive messages—often at the expense of

   their own constituencies.

          344.      “Patient advocacy organizations and professional societies like the Front

   Groups ‘play a significant role in shaping health policy debates, setting national guidelines for

   patient treatment, raising disease awareness, and educating the public.’”125 “Even small

   organizations— with ‘their large numbers and credibility with policymakers and the public’—

   have ‘extensive influence in specific disease areas.’ Larger organizations with extensive funding

   and outreach capabilities ‘likely have a substantial effect on policies relevant to their industry

   sponsors.’”126 Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial


   124
       U.S. S. Homeland Sec. & Governmental Aff. Comm., Ranking Members’ Office, Fueling an
   Epidemic, Feb. 12, 2018, https://www.hsdl.org/?view&did=808171 at 3 (hereinafter “Fueling an
   Epidemic”).
   125
       Id. at 2.
   126
       Id.
                                                 -101-
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   Ties Between Opioid Manufacturers and Third Party Advocacy Groups,127 which arose out of a

   2017 Senate investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other

   opioid manufacturers, “provides the first comprehensive snapshot of the financial connections

   between opioid manufacturers and advocacy groups and professional societies operating in the

   area of opioids policy,”128 found that the Marketing Defendants made millions of dollars’ worth

   of contributions to various Front Groups.129

           345.        The Marketing Defendants also “made substantial payments to individual

   group executives, staff members, board members, and advisory board members” affiliated with

   the Front Groups subject to the Senate Committee’s study.130

           346.        As the Senate Fueling an Epidemic Report found, the Front Groups “amplified

   or issued messages that reinforce industry efforts to promote opioid prescription and use,

   including guidelines and policies minimizing the risk of addiction and promoting opioids for

   chronic pain.”131 They also “lobbied to change laws directed at curbing opioid use, strongly

   criticized landmark CDC Guideline on opioid prescribing, and challenged legal efforts to hold

   physicians and industry executives responsible for overprescription and misbranding.”132

           347.        The Marketing Defendants took an active role in guiding, reviewing, and

   approving many of the false and misleading statements issued by the Front Groups, ensuring that

   Defendants were consistently in control of their content. By funding, directing, editing,

   approving, and distributing these materials, Defendants exercised control over and adopted their


   127
       Id. at 3.
   128
       Id. at 1.
   129
       Id. at 3.
   130
       Id. at 10.
   131
       Id. at 12-15.
   132
       Id. at 12.
                                                  -102-
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   false and deceptive messages and acted in concert with the Front Groups and through the Front

   Groups, with each other to deceptively promote the use of opioids for the treatment of chronic

   pain.

                                 i.     American Pain Foundation

           348.     The most prominent of the Front Groups was the APF. While the APF held

   itself out as an independent patient advocacy organization, in reality it received 90% of its

   funding in 2010 from the drug and medical-device industry, including from Purdue, Endo,

   Janssen, and Cephalon. The APF received more than $10 million in funding from opioid

   manufacturers from 2007 until it closed its doors in May 2012. By 2011, the APF was entirely

   dependent on incoming grants from Purdue, Cephalon, Endo, and others to avoid using its line of

   credit. Endo was the APF’s largest donor and provided more than half of its $10 million in

   funding from 2007 to 2012.

           349.     For example, the APF published a guide sponsored by Cephalon and Purdue

   titled, “Treatment Options: A Guide for People Living with Pain,” and distributed 17,200 copies

   of this guide in one year alone, according to its 2007 annual report. This guide contains multiple

   misrepresentations regarding opioid use which are discussed below.

           350.     The APF also developed the NIPC, which ran a facially unaffiliated website,

   www.painknowledge.com. The NIPC promoted itself as an education initiative led by its expert

   leadership team, including purported experts in the pain management field. The NIPC published

   unaccredited prescriber education programs (accredited programs are reviewed by a third party

   and must meet certain requirements of independence from pharmaceutical companies), including

   a series of “dinner dialogues.” But it was Endo that substantially controlled the NIPC, by funding

   NIPC projects, developing, specifying, and reviewing its content, and distributing NIPC

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   materials. Endo’s control of the NIPC was such that Endo listed it as one of its “professional

   education initiative[s]” in a plan Endo submitted to the FDA. Yet, Endo’s involvement in the

   NIPC    was    nowhere    disclosed   on   the   website    pages   describing   the   NIPC    or

   www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through the NIPC.

          351.       The APF was often called upon to provide “patient representatives” for the

   Marketing Defendants’ promotional activities, including for Purdue’s “Partners Against Pain”

   and Janssen’s “Let’s Talk Pain.” Although the APF presented itself as a patient advocacy

   organization, it functioned largely as an advocate for the interests of the Marketing Defendants,

   not patients. As Purdue told the APF in 2001, the basis of a grant to the organization was

   Purdue’s desire to strategically align its investments in nonprofit organizations that share [its]

   business interests.

          352.       In practice, the APF operated in close collaboration with Defendants,

   submitting grant proposals seeking to fund activities and publications suggested by Defendants

   and assisting in marketing projects for Defendants.

          353.       This alignment of interests was expressed most forcefully in the fact that

   Purdue hired APF to provide consulting services on its marketing initiatives. Purdue and the

   APF entered into a “Master Consulting Services” Agreement on September 14, 2011. That

   agreement gave Purdue substantial rights to control the APF’s work related to a specific

   promotional project. Moreover, based on the assignment of particular Purdue “contacts” for

   each project and the APF’s periodic reporting on their progress, the agreement enabled Purdue to

   be regularly aware of the misrepresentations the APF was disseminating regarding the use of

   opioids to treat chronic pain in connection with that project. The agreement gave Purdue—but



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   not the APF—the right to end the project (and, thus, the APF’s funding) for any reason. Even

   for projects not produced during the terms of this Agreement, the Agreement demonstrates

   APF’s lack of independence and willingness to harness itself to Purdue’s control and commercial

   interests, which would have carried across all of the APF’s work.

          354.       The APF’s board of directors was largely comprised of doctors who were on

   the Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The

   close relationship between the APF and the Marketing Defendants demonstrates the APF’s clear

   lack of independence, in its finances, management, and mission, and its willingness to allow

   Marketing Defendants to control its activities and messages supports an inference that each

   Defendant that worked with it was able to exercise editorial control over its publications—even

   when Defendants’ messages contradicted the APF’s internal conclusions. For example, a

   roundtable convened by the APF and funded by Endo also acknowledged the lack of evidence to

   support chronic opioid therapy. The APF’s formal summary of the meeting notes concluded that:

   “[an] important barrier[] to appropriate opioid management [is] the lack of confirmatory data

   about the long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative

   clinical evidence.”

          355.       In May 2012, the U.S. Senate Finance Committee began looking into the APF

   to determine the links, financial and otherwise, between the organization and the manufacturers

   of opioid painkillers. Within days of being targeted by the Senate investigation, the APF’s board

   voted to dissolve the organization “due to irreparable economic circumstances.” The APF then

   “cease[d] to exist, effective immediately.” Without support from Marketing Defendants, to

   whom the APF could no longer be helpful, the APF was no longer financially viable.



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                                  ii.    American Academy of Pain Medicine and the American
                                         Pain Society

          356.       The American Academy of Pain Medicine (“AAPM”) and the American Pain

   Society (“APS”) are professional medical societies, each of which received substantial funding

   from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that

   endorsed opioids to treat chronic pain and claimed that the risk that patients would become

   addicted to opioids was low.133 The chair of the committee that issued the statement,

   Dr. Haddox, was at the time a paid speaker for Purdue. The sole consultant to the committee

   was Dr. Russell Portenoy, who was also a spokesperson for Purdue. The consensus statement,

   which also formed the foundation of the “1998 Model Guidelines for the Use of Controlled

   Substances for the Treatment of Pain” (“1998 Guidelines”) was published on the AAPM’s

   website.

          357.       AAPM’s corporate council includes Purdue, Depomed, Teva and other

   pharmaceutical companies. AAPM’s past presidents include Dr. Haddox (1998), Dr. Fishman

   (2005), Dr. Perry G. Fine (2011) and Dr. Webster (2013), all of whose connections to the opioid

   manufacturers are well-documented as set forth below.

          358.       Dr. Fishman, who also served as a KOL for Marketing Defendants, stated that

   he would place the organization “at the forefront” of teaching that “the risks of addiction are . . .

   small and can be managed.”134


   133
       Consensus Statement by the Am. Acad. of Pain Med. & the Am. Pain Soc’y, The Use of
   Opioids for the Treatment of Chronic Pain, APS & AAPM (1997),
   http://www.stgeorgeutah.com/wp-content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf
   (August 18, 2017).
   134
       Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and
   Pain Med., Chief of the Div. of Pain Med., Univ. of Cal., Davis (2005),
   http://www.medscape.org/viewarticle/500829.
                                                  -106-
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          359.       AAPM received over $2.2 million in funding since 2009 from opioid

   manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

   per year (on top of other funding) to participate. The benefits included allowing members to

   present educational programs at off-site dinner symposia in connection with AAPM’s marquee

   event – its annual meeting held in Palm Springs, California, or other resort locations.

          360.       AAPM describes the annual event as an “exclusive venue” for offering CMEs

   to doctors. Membership in the corporate relations council also allows drug company executives

   and marketing staff to meet with AAPM executive committee members in small settings. Endo,

   Purdue, and Cephalon were members of the council and presented deceptive programs to doctors

   who attended this annual event. The conferences sponsored by AAPM heavily emphasized CME

   sessions on opioids – 37 out of roughly 40 at one conference alone.

          361.       AAPM’s staff understood that they and their industry funders were engaged in

   a common task. Defendants were able to influence AAPM through both their significant and

   regular funding and the leadership of pro-opioid KOLs within the organization.

          362.       AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”)

   AAPM, with the assistance, prompting, involvement, and funding of Defendants, issued the

   treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

   chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including

   KOL Dr. Fine, received support from Janssen, Cephalon, Endo, and Purdue.                  Of these

   individuals, six received support from Purdue, eight from Teva, nine from Janssen, and nine

   from Endo.

          363.       Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel



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   School of Medicine, who also served on the AAPM/APS Guidelines panel, has since described

   them as “skewed” by drug companies and “biased in many important respects,” including the

   high presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and

   claims of a low risk of addiction.

             364.      One panel member, Dr. Joel Saper, Clinical Professor of Neurology at

   Michigan State University and founder of the Michigan Headache & Neurological Institute,

   resigned from the panel because of his concerns that the Guidelines were influenced by

   contributions that drug companies, including Purdue, Endo, Janssen, and Teva, made to the

   sponsoring organizations and committee members.

             365.      The 2009 Guidelines have been a particularly effective channel of deception.

   They have influenced not only treating physicians, but also the scientific literature on opioids;

   they were reprinted in the Journal of Pain, have been cited hundreds of times in academic

   literature, were disseminated during the relevant time period, and were and are available online.

   Treatment guidelines are especially influential with primary care physicians and family doctors

   to whom Marketing Defendants promoted opioids, whose lack of specialized training in pain

   management and opioids makes them more reliant on, and less able to evaluate, these guidelines.

   For that reason, the CDC has recognized that treatment guidelines can “change prescribing

   practices.”135

             366.      The 2009 Guidelines are relied upon by doctors, especially general

   practitioners and family doctors who have no specific training in treating chronic pain.

             367.      The Marketing Defendants widely cited and promoted the 2009 Guidelines



   135
         CDC Guideline, supra n.35, at 2.
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   without disclosing the lack of evidence to support their conclusions, their involvement in the

   development of the Guidelines or their financial backing of the authors of these Guidelines. For

   example, a speaker presentation prepared by Endo in 2009 titled, “The Role of Opana ER in the

   Management of Moderate to Severe Chronic Pain” relies on the AAPM/APS Guidelines while

   omitting their disclaimer regarding the lack of evidence for recommending the use of opioids for

   chronic pain.

                                 iii.    Federation of State Medical Boards

          368.       The FSMB is a trade organization representing the various state medical boards

   in the United States. The state boards that comprise the FSMB membership have the power to

   license doctors, investigate complaints, and discipline physicians.

          369.       The FSMB finances opioid- and pain-specific programs through grants from

   Defendants.

          370.       Since 1998, the FSMB has been developing treatment guidelines for the use of

   opioids for the treatment of pain. The 1998 Guidelines was produced “in collaboration with

   pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

   author taught not that opioids could be appropriate in only limited cases after other treatments

   had failed, but that opioids were “essential” for treatment of chronic pain, including as a first

   prescription option.

          371.       Both a 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible

   Opioid Prescribing, made the same claims as did the 1998 Guidelines. These guidelines were

   posted online and were available to and intended to reach physicians nationwide, including in

   Broward County.

          372.       FSMB’s 2007 publication, “Responsible Opioid Prescribing” was backed

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   largely by drug manufacturers, including Purdue, Endo and Cephalon. The publication also

   received support from the APF and the AAPM. The publication was written by Dr. Fishman, and

   Dr. Fine served on the Board of Advisors. In all, 163,131 copies of “Responsible Opioid

   Prescribing” were distributed by state medical boards (and through the boards, to practicing

   doctors). The FSMB website describes the book as “the leading continuing medical education

   (CME) activity for prescribers of opioid medications.” This publication asserted that opioid

   therapy to relieve pain and improve function is a legitimate medical practice for acute and

   chronic pain of both cancer and non-cancer origins, that pain is under-treated, and that patients

   should not be denied opioid medications except in light of clear evidence that such medications

   are harmful to the patient.136

             373.     The Marketing Defendants relied on the 1998 Guidelines to convey the

   alarming message that “under-treatment of pain” would result in official discipline, but no

   discipline would result if opioids were prescribed as part of an ongoing patient relationship and

   prescription decisions were documented. FSMB turned doctors’ fear of discipline on its head:

   doctors, who used to believe that they would be disciplined if their patients became addicted to

   opioids, were taught instead that they would be punished if they failed to prescribe opioids to

   their patients with chronic pain.

                                    iv.   The Alliance for Patient Access

             374.     Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

   patient advocacy and health professional organization that styles itself as “a national network of

   physicians dedicated to ensuring patient access to approved therapies and appropriate clinical



   136
         Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9 (2007).
                                                 -110-
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   care.”137 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

   2006.138 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.”

   The list includes J&J, Endo, Mallinckrodt, Purdue and Cephalon.

          375.      APA’s board members have also directly received substantial funding from

   pharmaceutical companies.139 For instance, board Vice President Dr. Srinivas Nalamachu, who

   practices in Kansas, received more than $800,000 from 2013 through 2015 from pharmaceutical

   companies—nearly all of it from manufacturers of opioids or drugs that treat opioids’ side

   effects, including from Endo, Insys, Purdue and Cephalon. Dr. Nalamachu’s clinic was raided by

   FBI agents in connection with an investigation of Insys and its payment of kickbacks to

   physicians who prescribed Subsys.140 Other board members include Dr. Robert A. Yapundich

   from North Carolina, who received $215,000 from 2013 through 2015 from pharmaceutical

   companies, including payments by Cephalon and Mallinckrodt; Dr. Jack D. Schim from

   California, who received more than $240,000 between 2013 and 2015 from pharmaceutical

   companies, including Endo, Mallinckrodt and Cephalon; Dr. Howard Hoffberg from Maryland,

   who received $153,000 between 2013 and 2015 from pharmaceutical companies, including



   137
       About AfPA, The All. for Patient Access, http://allianceforpatientaccess.org/about-afpa (last
   visited Apr. 25, 2018). References herein to APA include two affiliated groups: the Global
   Alliance for Patient Access and the Institute for Patient Access.
   138
       Mary Chris Jaklevic, Non-Profit Alliance for Patient Access Uses Journalists and Politicians
   to Push Big Pharma’s Agenda, Health News Review (Oct. 2, 2017),
   https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
   politicians-push-big-pharmas-agenda/ (hereinafter “Jaklevic, Non-Profit Alliance for Patient
   Access”).
   139
       All information concerning pharmaceutical company payments to doctors in this paragraph is
   from ProPublica’s Dollars for Docs database, https://projects.propublica.org/docdollars/.
   140
       Andy Marso, FBI Seizes Records of Overland Park Pain Doctor Tied to Insys, Kansas City
   Star (July 20, 2017), http://www.kansascity.com/news/business/health-
   care/article162569383.html.
                                                 -111-
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   Endo, Purdue, Insys, Mallinckrodt and Cephalon; and Dr. Robin K. Dore from California, who

   received $700,000 between 2013 and 2015 from pharmaceutical companies.

          376.       Among its activities, APA issued a “white paper” titled, “Prescription Pain

   Medication: Preserving Patient Access While Curbing Abuse.”141 Among other things, the white

   paper criticizes prescription monitoring programs, purporting to express concern that they are

   burdensome, not user friendly, and of questionable efficacy:

           Prescription monitoring programs that are difficult to use and cumbersome
   can place substantial burdens on physicians and their staff, ultimately leading
   many to stop prescribing pain medications altogether. This forces patients to seek
   pain relief medications elsewhere, which may be much less convenient and
   familiar and may even be dangerous or illegal.

                                        *       *           *

            In some states, physicians who fail to consult prescription monitoring
   databases before prescribing pain medications for their patients are subject to
   fines; those who repeatedly fail to consult the databases face loss of their
   professional licensure. Such penalties seem excessive and may inadvertently
   target older physicians in rural areas who may not be facile with computers and
   may not have the requisite office staff. Moreover, threatening and fining
   physicians in an attempt to induce compliance with prescription monitoring
   programs represents a system based on punishment as opposed to incentives. . . .

          We cannot merely assume that these programs will reduce prescription
   pain medication use and abuse.142

          377.       The white paper also purports to express concern about policies that have been

   enacted in response to the prevalence of pill mills:

           Although well intentioned, many of the policies designed to address this
   problem have made it difficult for legitimate pain management centers to operate.
   For instance, in some states, [pain management centers] must be owned by

   141
       Pain Therapy Access Physicians Working Group, Prescription Pain Medication: Preserving
   Patient Access while Curbing Abuse, (Dec. 2013),
   http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-
   content/uploads/2013/12/PT_White-Paper_Finala.pdf.
   142
       Id. at 4-5.
                                                    -112-
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   physicians or professional corporations, must have a Board certified medical
   director, may need to pay for annual inspections, and are subject to increased
   record keeping and reporting requirements. . . . [I]t is not even certain that the
   regulations are helping prevent abuses.143

          378.        In addition, in an echo of earlier industry efforts to push back against what they

   termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

   pain medication:

          Both pain patients and physicians can face negative perceptions and
   outright stigma. When patients with chronic pain can’t get their prescriptions for
   pain medication filled at a pharmacy, they may feel like they are doing something
   wrong – or even criminal. . . . Physicians can face similar stigma from peers.
   Physicians in non-pain specialty areas often look down on those who specialize in
   pain management – a situation fueled by the numerous regulations and fines that
   surround prescription pain medications.144

          379.        In conclusion, the white paper states that “[p]rescription pain medications, and

   specifically the opioids, can provide substantial relief for people who are recovering from

   surgery, afflicted by chronic painful diseases, or experiencing pain associated with other

   conditions that does not adequately respond to over-the-counter drugs.”145

          380.        The APA also issues “Patient Access Champion” financial awards to members

   of Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million

   donation from unnamed donors. While the awards are ostensibly given for protecting patients’

   access to Medicare, and are thus touted by their recipients as demonstrating a commitment to

   protecting the rights of senior citizens and the middle class, they appear to be given to provide

   cover to and reward members of Congress who have supported the APA’s agenda.146

          381.        The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

   143
       Id. at 5-6.
   144
       Id. at 6.
   145
       Id. at 7.
   146
       Jaklevic, Non-Profit Alliance for Patient Access, supra note 137.
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   supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing

   the “suspicious orders” provision of the CSA. The AAPM is also a signatory to this letter. An

   internal DOJ memo stated that the proposed bill “could actually result in increased diversion,

   abuse, and public health and safety consequences”147 and, according to DEA chief administrative

   law judge John J. Mulrooney, the law would make it “all but logically impossible” to prosecute

   manufacturers and distributors, like Defendants here, in the federal courts.148 The bill passed

   both houses of Congress and was signed into law in 2016.

                                v.      The U.S. Pain Foundation

           382.     The U.S. Pain Foundation (“USPF”) was another Front Group with systematic

   connections and interpersonal relationships with the Marketing Defendants. The USPF was one

   of the largest recipients of contributions from the Marketing Defendants, collecting nearly $3

   million in payments between 2012 and 2015 alone.149 The USPF was also a critical component

   of the Marketing Defendants’ lobbying efforts to reduce the limits on over-prescription. The

   USPF advertises its ties to the Marketing Defendants, listing opioid manufacturers like Pfizer,

   Teva, Depomed, Endo, Purdue, McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,” “Gold,”

   and “Basic” corporate members.150 Industry Front Groups like the American Academy of Pain

   Management, the AAPM, the APS, and PhRMA are also members of varying levels in the

   USPF.

   147
       Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS
   News (Oct. 17, 2017), https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-
   drug-industry-and-congress/ (hereinafter, “Whitaker, Opioid Crisis Fueled by Drug Industry”).
   148
       John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion
   Law: Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. 333, 346
   (2017).
   149
       Fueling an Epidemic, supra n.124, at 4.
   150
       Id. at 12; see also Transparency, U.S. Pain Foundation,
   https://uspainfoundation.org/transparency/ (last visited Mar. 9, 2018).
                                                -114-
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                                vi.       American Geriatrics Society

          383.      The American Geriatrics Society (“AGS”) was another Front Group with

   systematic connections and interpersonal relationships with the Marketing Defendants. The

   AGS was a large recipient of contributions from the Marketing Defendants, including Endo,

   Purdue and Janssen. AGS contracted with Purdue, Endo and Janssen to disseminate guidelines

   regarding the use of opioids for chronic pain in 2002, The Management of Persistent Pain in

   Older Persons,” and 2009, “Pharmacological Management of Persistent Pain in Older

   Persons,”151 “2009 AGS Guidelines”). According to news reports, AGS has received at least

   $344,000 in funding from opioid manufacturers since 2009.152 AGS’s complicity in the common

   purpose with the Marketing Defendants is evidenced by the fact that AGS internal discussions in

   August 2009 reveal that it did not want to receive-up front funding from drug companies, which

   would suggest drug company influence, but would instead accept commercial support to

   disseminate pro-opioid publications.

          384.      The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

   severe pain . . . should be considered for opioid therapy.”          The panel made “strong

   recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

   addiction is manageable for patients, even with a prior history of drug abuse. 153        These

   Guidelines further recommended that “the risks [of addiction] are exceedingly low in older

   patients with no current or past history of substance abuse.” These recommendations are not

   151
       Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics
   Soc’y 1331, 1339, 1342 (2009),
   https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
   (last visited Apr. 25, 2018) (hereinafter “2009 AGS Guidelines”).
   152
       John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J.
   Sentinel (May 30, 2012) https://www.medpagetoday.com/geriatrics/painmanagement/32967.
   153
       2009 AGS Guidelines, supra n.151, at 1342.
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   supported by any study or other reliable scientific evidence. Nevertheless, they have been cited

   over 1,833 times in Google Scholar (which allows users to search scholarly publications that

   would have been relied on by researchers and prescribers) since their 2009 publication and as

   recently as this year.

           385.       Representatives of the Marketing Defendants, often at informal meetings at

   conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS

   then submitted grant proposals seeking to fund these activities and publications, knowing that

   drug companies would support projects conceived as a result of these communications.

           386.       Members of AGS board of directors were doctors who were on the Marketing

   Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

   many of the KOLs also served in leadership positions within the AGS.

                            b.    The Marketing Defendants Paid Key Opinion Leaders to
                                  Deceptively Promote Opioid Use

           387.       To falsely promote their opioids, the Marketing Defendants paid and cultivated

   a select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

   supportive messages. As set forth below, pro-opioid doctors have been at the hub of the

   Marketing Defendants’ well-funded, pervasive marketing scheme since its inception and were

   used to create the grave misperception science and legitimate medical professionals favored the

   wider and broader use of opioids. These doctors include Drs. Portenoy, Webster, Fine, and

   Fishman, as set forth below.

           388.       Although these KOLs were funded by the Marketing Defendants, the KOLs

   were used extensively to present the appearance that unbiased and reliable medical research

   supporting the broad use of opioid therapy for chronic pain had been conducted and was being


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   reported on by independent medical professionals.

          389.          As the Marketing Defendants’ false marketing scheme picked up steam, these

   pro-opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and

   gave speeches and CMEs supportive of opioid therapy for chronic pain.            They served on

   committees that developed treatment guidelines that strongly encouraged the use of opioids to

   treat chronic pain, and they were placed on boards of pro-opioid advocacy groups and

   professional societies that develop, select, and present CMEs.

          390.          Through use of their KOLs and strategic placement of these KOLs throughout

   every critical distribution channel of information within the medical community, the Marketing

   Defendants were able to exert control of each of these modalities through which doctors receive

   their information.

          391.          In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs

   received money, prestige, recognition, research funding, and avenues to publish. For example,

   Dr. Webster has received funding from Endo, Purdue, and Cephalon; and Dr. Fine has received

   funding from Janssen, Cephalon, Endo, and Purdue.

          392.          The Marketing Defendants carefully vetted their KOLs to ensure that they were

   likely to remain on-message and supportive of the Marketing Defendants’ agenda.               The

   Marketing Defendants also kept close tabs on the content of the materials published by these

   KOLs. And, of course, the Marketing Defendants kept these KOLs well-funded to enable them

   to push the Marketing Defendants’ deceptive message out to the medical community.

          393.          Once the Marketing Defendants identified and funded KOLs and those KOLs

   began to publish “scientific” papers supporting the Marketing Defendants’ false position that



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   opioids were safe and effective for treatment of chronic pain, the Marketing Defendants poured

   significant funds and resources into a marketing machine that widely cited and promoted their

   KOLs and studies or articles by their KOLs to drive prescription of opioids for chronic pain. The

   Marketing Defendants cited to, distributed, and marketed these studies and articles by their

   KOLs as if they were independent medical literature so that it would be well-received by the

   medical community. By contrast, the Marketing Defendants did not support, acknowledge, or

   disseminate the truly independent publications of doctors critical of the use of chronic opioid

   therapy.

          394.       In their promotion of the use of opioids to treat chronic pain, the Marketing

   Defendants’ KOLs knew that their statements were false and misleading, or they recklessly

   disregarded the truth in doing so, but they continued to publish their misstatements to benefit

   themselves and the Marketing Defendants.

                                 i.       Dr. Russell Portenoy

          395.       In 1986, Dr. Portenoy, who later became Chairman of the Department of Pain

   Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same time

   serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

   substantial gains in employment or social function could be attributed to the institution of opioid

   therapy.”154

          396.       Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

   dangers of long-term use of opioids:

          The traditional approach to chronic non-malignant pain does not accept
   the long-term administration of opioid drugs. This perspective has been justified

   154
      R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of
   38 cases, 25(2) Pain 171 (1986).
                                                 -118-
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   by the perceived likelihood of tolerance, which would attenuate any beneficial
   effects over time, and the potential for side effects, worsening disability, and
   addiction. According to conventional thinking, the initial response to an opioid
   drug may appear favorable, with partial analgesia and salutary mood changes, but
   adverse effects inevitably occur thereafter. It is assumed that the motivation to
   improve function will cease as mental clouding occurs and the belief takes hold
   that the drug can, by itself, return the patient to a normal life. Serious
   management problems are anticipated, including difficulty in discontinuing a
   problematic therapy and the development of drug seeking behavior induced by the
   desire to maintain analgesic effects, avoid withdrawal, and perpetuate reinforcing
   psychic effects. There is an implicit assumption that little separates these
   outcomes from the highly aberrant behaviors associated with addiction.155

          According to Dr. Portenoy, the foregoing problems could constitute “compelling reasons

   to reject long-term opioid administration as a therapeutic strategy in all but the most desperate

   cases of chronic nonmalignant pain.”156

          397.       Despite having taken this position on long-term opioid treatment, Dr. Portenoy

   ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

   use of prescription opioids and minimizing their risks. A respected leader in the field of pain

   treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians

   for Responsible Opioid Prescribing, described him “lecturing around the country as a religious-

   like figure. The megaphone for Dr. Portenoy is Purdue, which flies in people to resorts to hear

   him speak. It was a compelling message: ‘Docs have been letting patients suffer; nobody really

   gets addicted; it’s been studied.’”157

          398.       As one organizer of CME seminars who worked with Dr. Portenoy and Purdue

   pointed out, “had Portenoy not had Purdue’s money behind him, he would have published some

   155
       Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1
   Progress in Pain Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis
   added).
   156
       Id.
   157
       Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury
   Press 2015).
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   papers, made some speeches, and his influence would have been minor. With Purdue’s millions

   behind him, his message, which dovetailed with their marketing plans, was hugely magnified.”158

          399.       Dr. Portenoy was also a critical component of the Marketing Defendants’

   control over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the

   APF. He was also the President of the APS.

          400.       In recent years, some of the Marketing Defendants’ KOLs have conceded that

   many of their past claims in support of opioid use lacked evidence or support in the scientific

   literature.159 Dr. Portenoy has now admitted that he minimized the risks of opioids, and that he

   “gave innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.”160 He

   mused, “Did I teach about pain management, specifically about opioid therapy, in a way that

   reflects misinformation? Well, against the standards of 2012, I guess I did . . .”161

          401.       In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

   Dr. Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and

   left real evidence behind:

            I gave so many lectures to primary care audiences in which the Porter and
   Jick article was just one piece of data that I would then cite, and I would cite six,
   seven, maybe ten different avenues of thought or avenues of evidence, none of
   which represented real evidence, and yet what I was trying to do was to create a
   narrative so that the primary care audience would look at this information in
   [total] and feel more comfortable about opioids in a way they hadn’t before. In


   158
       Id. at 136.
   159
       See, e.g., John Fauber, Painkiller Boom Fueled by Networking, Journal Sentinel (Feb. 18,
   2012), http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
   networking-dp3p2rn-139609053.html/ (reporting that a key Endo KOL acknowledged that
   opioid marketing went too far).
   160
       Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall St. J.,
   https://www.wsj.com/articles/SB10001424127887324478304578173342657044604. (Last
   updated Dec. 17, 2012, 11:36 AM)
   161
       Id.
                                                   -120-
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   essence this was education to destigmatize [opioids], and because the primary
   goal was to destigmatize, we often left evidence behind.162

          402.       Several years earlier, when interviewed by journalist Barry Meier for his 2003

   book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to

   have always to live with that one.”163

                                 ii.        Dr. Lynn Webster

          403.       Another KOL, Dr. Webster, was the co-founder and Chief Medical Director of

   the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was President

   in 2013 and is a current board member of AAPM, a Front Group that ardently supports chronic

   opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published Endo’s

   special advertising supplements touting Opana ER. Dr. Webster was the author of numerous

   CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving

   significant funding from Defendants (including nearly $2 million from Cephalon).

          404.       Dr. Webster created and promoted the ORT, a five question, one-minute

   screening tool relying on patient self-reports that purportedly allows doctors to manage the risk

   that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

   patients likely to become addicted is an important tool in giving doctors confidence to prescribe

   opioids long-term, and for this reason, references to screening appear in various industry-

   supported guidelines. Versions of Dr. Webster’s ORT appear on, or are linked to, websites run

   by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via webinar, a program

   162
       Harrison Jacobs, This 1-Paragraph Letter May Have Launched the Opioid Epidemic, AOL
   (May 26, 2016, 1:39 PM), https://www.aol.com/article/2016/05/26/letter-may-have-launched-
   opioid-epidemic/21384408/; Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT
   Rare, YouTube (Oct. 30, 2011),
   https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
   163
       Meier, supra n.18, at 277.
                                                  -121-
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   sponsored by Purdue titled, “Managing Patient’s Opioid Use: Balancing the Need and the Risk.”

   Dr. Webster recommended use of risk screening tools, urine testing, and patient agreements to

   prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and was

   intended to reach doctors in Plaintiff’s counties.

           405.      Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

   Clinic were investigated by the DEA for overprescribing opioids after 20 patients died from

   overdoses. In keeping with the Marketing Defendants’ promotional messages, Dr. Webster

   apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids:

   he prescribed staggering quantities of pills.

           406.      At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

   sponsored a presentation by Dr. Webster and others titled, “Open-label study of fentanyl

   effervescent buccal tablets in patients with chronic pain and breakthrough pain: Interim safety

   results.” The presentation’s agenda description states: “Most patients with chronic pain

   experience episodes of breakthrough pain, yet no currently available pharmacologic agent is

   ideal for its treatment.” The presentation purports to cover a study analyzing the safety of a new

   form of fentanyl buccal tablets in the chronic pain setting and promises to show the “[i]nterim

   results of this study suggest that FEBT is safe and well-tolerated in patients with chronic pain

   and BTP.” This CME effectively amounted to off-label promotion of Cephalon’s opioids—the

   only drugs in this category—for chronic pain, even though they were approved only for cancer

   pain.

           407.      Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid

   Treatment for Breakthrough Pain, offered by Medscape, LLC (“Medscape”) from September 28,



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   2007 through December 15, 2008. The CME taught that non-opioid analgesics and combination

   opioids containing non-opioids such as aspirin and acetaminophen are less effective at treating

   breakthrough pain because of dose limitations on the non-opioid component.

                                 iii.    Dr. Perry Fine

          408.       Dr. Fine’s ties to the Marketing Defendants have been well documented. He

   has authored articles and testified in court cases and before state and federal committees, and he,

   too, has argued against legislation restricting high-dose opioid prescription for non-cancer

   patients. He has served on Purdue’s advisory board, provided medical legal consulting for

   Janssen, and participated in CME activities for Endo, along with serving in these capacities for

   several other drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as

   treasurer of the AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and

   was also on the board of directors of APF.164

          409.       Multiple videos feature Dr. Fine delivering educational talks about prescription

   opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

   Smith for pain did not make her an addict before her death.

          410.       He has also acknowledged having failed to disclose numerous conflicts of

   interest. For example, Dr. Fine failed to fully disclose payments received as required by his

   employer, the University of Utah—telling the university that he had received under $5,000 in

   2010 from J&J for providing “educational” services, but J&J’s website states that the company




   164
      Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse
   and Diversion, 306 (13) JAMA 1445 (Sept. 20, 2011),
   https://jamanetwork.com/journals/jama/article-abstract/1104464?redirect=true. (hereinafter,
   “Fishman”).
                                                   -123-
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   paid him $32,017 for consulting, promotional talks, meals and travel that year.165

          411.       Drs. Fine and Portenoy co-wrote “A Clinical Guide to Opioid Analgesia,” in

   which they downplayed the risks of opioid treatment, such as respiratory depression and

   addiction:

          At clinically appropriate doses, . . . respiratory rate typically does not
   decline. Tolerance to the respiratory effects usually develops quickly, and doses
   can be steadily increased without risk.

           Overall, the literature provides evidence that the outcomes of drug abuse
   and addiction are rare among patients who receive opioids for a short period (i.e.,
   for acute pain) and among those with no history of abuse who receive long-term
   therapy for medical indications.166

          412.       In November 2010, Dr. Fine and others published an article presenting the

   results of another Cephalon-sponsored study titled, “Long-Term Safety and Tolerability of

   Fentanyl Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with

   Chronic Pain: An 18-Month Study.”167 In that article, Dr. Fine explained that the 18-month

   “open-label” study “assessed the safety and tolerability of FBT [Fentora] for the [long-term]

   treatment of BTP in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . .

   opioids for noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady

   increase in the use of opioids for the management of chronic noncancer pain over the past two

   decades”; (b) the “widespread acceptance” had led to the publishing of practice guidelines “to

   provide evidence- and consensus-based recommendations for the optimal use of opioids in the

   165
       Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug
   Industry, ProPublica (Dec. 23, 2011, 9:14 AM), https://www.propublica.org/article/two-leaders-
   in-pain-treatment-have-long-ties-to-drug-industry (hereinafter, “Weber”).
   166
       Perry G. Fine & Russell K. Portenoy, A Clinical Guide to Opioid Analgesia, McGraw-Hill
   Companies, 2004, at 20, 34. http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
   167
       Perry G. Fine et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
   Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
   Study, 40(5) J. Pain & Symptom Mgmt. 747-60 (Nov. 2010).
                                                  -124-
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   management of chronic pain”; and (c) those guidelines lacked “data assessing the long-term

   benefits and harms of opioid therapy for chronic pain.”168

          413.       The article concluded: “[T]he safety and tolerability profile of FBT in this

   study was generally typical of a potent opioid. The [adverse events] observed were, in most

   cases, predictable, manageable, and tolerable.” They also conclude that the number of abuse-

   related events was “small.”169

          414.       Multiple videos feature Dr. Fine delivering educational talks about the drugs.

   In one video from 2011 titled, “Optimizing Opioid Therapy,” he sets forth a “Guideline for

   Chronic Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another)

   not only for cancer patients, but for non-cancer patients, and suggests it may take four or five

   switches over a person’s “lifetime” to manage pain.170 He states the “goal is to improve

   effectiveness which is different from efficacy and safety.” Rather, for chronic pain patients,

   effectiveness “is a balance of therapeutic good and adverse events over the course of years.” The

   entire program assumes that opioids are appropriate treatment over a “protracted period of time”

   and even over a patient’s entire “lifetime.” He even suggests that opioids can be used to treat

   sleep apnea. He further states that the associated risks of addiction and abuse can be managed by

   doctors and evaluated with “tools,” but leaves that for “a whole other lecture.”171

                                    iv.   Dr. Scott Fishman

          415.       Dr. Fishman is a physician whose ties to the opioid drug industry are legion.

   He has served as an APF board member and as president of the AAPM and has participated

   168
       Id. at 748.
   169
       Id. at 759.
   170
       Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
   https://www.youtube.com/watch?v=_G3II9yqgXI.
   171
       Id.
                                                  -125-
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   yearly in numerous CME activities for which he received “market rate honoraria.” As discussed

   below, he has authored publications, including the seminal guides on opioid prescribing, which

   were funded by the Marketing Defendants. He has also worked to oppose legislation requiring

   doctors and others to consult pain specialists before prescribing high doses of opioids to non-

   cancer patients. He has himself acknowledged his failure to disclose all potential conflicts of

   interest in a letter in the JAMA titled, “Incomplete Financial Disclosures in a Letter on Reducing

   Opioid Abuse and Diversion.”172

          416.       Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic

   pain titled, “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term

   opioid treatment was a viable and safe option for treating chronic pain.

          417.       In 2012, Dr. Fishman updated the guide and continued emphasizing the

   “catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

           Given the magnitude of the problems related to opioid analgesics, it can be
   tempting to resort to draconian solutions: clinicians may simply stop prescribing
   opioids, or legislation intended to improve pharmacovigilance may inadvertently
   curtail patient access to care. As we work to reduce diversion and misuse of
   prescription opioids, it’s critical to remember that the problem of unrelieved pain
   remains as urgent as ever.173

          418.       The updated guide still assures that “[o]pioid therapy to relieve pain and

   improve function is legitimate medical practice for acute and chronic pain of both cancer and

   noncancer origins.”174

          419.       In another guide by Dr. Fishman, he continues to downplay the risk of

   addiction: “I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction

   172
       Fishman, supra n.164; see also Weber, supra n.165.
   173
       Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11
   (Waterford Life Sciences, 2d ed. 2012).
   174
       Id.
                                                  -126-
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   between a ‘chemical coper’ and an addict.”175 The guide also continues to present symptoms of

   addiction as symptoms of “pseudoaddiction.”

                         c.      The Marketing Defendants Disseminated Their
                                 Misrepresentations Through Continuing Medical Education
                                 Programs

          420.       Now that the Marketing Defendants had both a group of physician promoters

   and had built a false body of “literature,” Defendants needed to make sure their false marketing

   message was widely distributed.

          421.       One way the Marketing Defendants aggressively distributed their false

   message was through thousands of CMEs.

          422.       A CME is a professional education program provided to doctors. Doctors are

   required to attend a certain number and, often, type of CME programs each year as a condition of

   their licensure. These programs are delivered in person, often in connection with professional

   organizations’ conferences, and online, or through written publications. Doctors rely on CMEs

   not only to satisfy licensing requirements, but also to get information on new developments in

   medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are

   taught by KOLs who are highly respected in their fields, and are thought to reflect these

   physicians’ medical expertise, they can be especially influential with doctors.

          423.       The countless doctors and other health care professionals who participate in

   accredited CMEs constitute an enormously important audience for opioid reeducation. As one

   target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of

   expertise and specialized training in pain management made them particularly dependent upon


   175
      Scott M. Fishman, Listening to Pain: A Clinician’s Guide to Improving Pain Management
   Through Better Communication 45 (Oxford University Press 2012).
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   CMEs and, as a result, especially susceptible to the Marketing Defendants’ deceptions.

          424.       The Marketing Defendants sponsored CMEs that were delivered thousands of

   times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

   biased messages described in this Complaint. These CMEs, while often generically titled to

   relate to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments,

   inflate the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

          425.       Cephalon sponsored numerous CME programs, which were made widely

   available through organizations like Medscape and which disseminated false and misleading

   information to physicians across the country.

          426.       Another Cephalon-sponsored CME presentation titled, “Breakthrough Pain:

   Treatment Rationale with Opioids” was available on Medscape starting September 16, 2003 and

   was given by a self-professed pain management doctor who “previously operated back, complex

   pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a

   non-time-dependent continuum that requires a balanced analgesia approach using “targeted

   pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”176 The doctor lists

   fentanyl as one of the most effective opioids available for treating breakthrough pain, describing

   its use as an expected and normal part of the pain management process. Nowhere in the CME is

   cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be

   limited to cancer-related pain.

          427.       Teva paid to have a CME it sponsored, Opioid-Based Management of

   Persistent and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.


   176
      Daniel S. Bennett, Breakthrough Pain: Treatment Rationale with Opioids, Medscape (Sept.
   16, 2003), http://www.medscape.org/viewarticle/461612.
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   The CME instructed doctors that “clinically, broad classification of pain syndromes as either

   cancer- or noncancer-related has limited utility” and recommended Actiq and Fentora for

   patients with chronic pain. The CME is still available online.

          428.       “Responsible Opioid Prescribing” was sponsored by Purdue, Endo and Teva.

   The FSMB website described it as the “leading continuing medical education (CME) activity for

   prescribers of opioid medications.”          Endo sales representatives distributed copies of

   “Responsible Opioid Prescribing” with a special introductory letter from Dr. Fishman.

          429.       In all, more than 163,000 copies of “Responsible Opioid Prescribing” were

   distributed nationally.

          430.       The American Medical Association (“AMA”) recognized the impropriety that

   pharmaceutical company-funded CMEs creates, stating that support from drug companies with a

   financial interest in the content being promoted “creates conditions in which external interests

   could influence the availability and/or content” of the programs and urges that “[w]hen possible,

   CME[s] should be provided without such support or the participation of individuals who have

   financial interests in the education subject matter.”177

          431.       Physicians attended or reviewed CMEs sponsored by the Marketing

   Defendants during the relevant time period and were misled by them.

          432.       By sponsoring CME programs put on by Front Groups like the APF, AAPM,

   and others, the Marketing Defendants could expect instructors to deliver messages favorable to

   them, as these organizations were dependent on the Marketing Defendants for other projects. The

   sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that


     Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov.
   177

   2011), at 1.
                                                   -129-
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   supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs had a

   direct and immediate effect on prescribers’ views on opioids. Producers of CMEs and the

   Marketing Defendants both measure the effects of CMEs on prescribers’ views on opioids and

   their absorption of specific messages, confirming the strategic marketing purpose in supporting

   them.

                         d.      The Marketing Defendants Used “Branded” Advertising to
                                 Promote Their Products to Doctors and Consumers

           433.     The Marketing Defendants engaged in widespread advertising campaigns

   touting the benefits of their branded drugs. The Marketing Defendants published print

   advertisements in a broad array of medical journals, ranging from those aimed at specialists, such

   as the Journal of Pain and Clinical Journal of Pain, to journals with wider medical audiences,

   such as the JAMA. The Marketing Defendants collectively spent more than $14 million on the

   medical journal advertising of opioids in 2011, nearly triple what they spent in 2001. The 2011

   total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.

           434.     The Marketing Defendants also targeted consumers in their advertising. They

   knew that physicians are more likely to prescribe a drug if a patient specifically requests it.178

   They also knew that this willingness to acquiesce to such patient requests holds true even for

   opioids and for conditions for which they are not approved.179 Endo’s research, for example,

   also found that such communications resulted in greater patient “brand loyalty,” with longer

   durations of Opana ER therapy and fewer discontinuations. The Marketing Defendants thus


   178
       In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a
   prescription for it, compared with 1% of those making no specific request. J.B. McKinlay, et al.,
   Effects of Patient Medication Requests on Physician Prescribing Behavior: Results of a
   Factorial Experiment, 52(2) Med. Care 294-99 (Apr. 2014).
   179
       Id.
                                                 -130-
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   increasingly took their opioid sales campaigns directly to consumers, including through patient-

   focused “education and support” materials in the form of pamphlets, videos, or other

   publications that patients could view in their physician’s office.

                          e.      The Marketing Defendants Used “Unbranded” Advertising to
                                  Promote Opioid Use for Chronic Pain Without FDA Review

          435.       The Marketing Defendants also aggressively promoted opioids through

   “unbranded advertising” to generally tout the benefits of opioids without specifically naming a

   particular brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

   awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

   without promoting a specific product and, therefore, without providing balanced disclosures

   about the product’s limits and risks. In contrast, a pharmaceutical company’s “branded”

   advertisement that identifies a specific medication and its indication (i.e., the condition which the

   drug is approved to treat) must also include possible side effects and contraindications—what the

   FDA Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is

   also subject to FDA review for consistency with the drug’s FDA-approved label. Through

   unbranded materials, the Marketing Defendants expanded the overall acceptance of and demand

   for chronic opioid therapy without the restrictions imposed by regulations on branded

   advertising.

          436.       Many of the Marketing Defendants utilized unbranded websites to promote

   opioid use without promoting a specific branded drug, such as Purdue’s pain-management

   website, www.inthefaceofpain.com. The website contained testimonials from several dozen

   “advocates,” including health care providers, urging more pain treatment. The website presented

   the advocates as neutral and unbiased, but an investigation by the New York Attorney General


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   later revealed that Purdue paid the advocates hundreds of thousands of dollars.

                         f.      The Marketing Defendants Funded, Edited and
                                 Distributed Publications that Supported Their
                                 Misrepresentations

          437.       The Marketing Defendants created a body of false, misleading, and

   unsupported medical and popular literature about opioids that: (a) understated the risks and

   overstated the benefits of long-term use; (b) appeared to be the result of independent, objective

   research; and (c) was likely to shape the perceptions of prescribers, patients, and payors. This

   literature served marketing goals, rather than scientific standards, and was intended to persuade

   doctors and consumers that the benefits of long-term opioid use outweighed the risks.

          438.       To accomplish their goal, the Marketing Defendants—sometimes through

   third-party consultants and/or Front Groups—commissioned, edited, and arranged for the

   placement of favorable articles in academic journals.

          439.       The Marketing Defendants’ plans for these materials did not originate in the

   departments with the organizations that were responsible for research, development, or any other

   area that would have specialized knowledge about the drugs and their effects on patients; rather,

   they originated in the Marketing Defendants’ marketing departments.

          440.       The Marketing Defendants made sure that favorable articles were disseminated

   and cited widely in the medical literature, even when the Marketing Defendants knew that the

   articles distorted the significance or meaning of the underlying study, as with the Porter and Jick

   letter. The Marketing Defendants also frequently relied on unpublished data or posters, neither

   of which are subject to peer review, but were presented as valid scientific evidence.

          441.       The Marketing Defendants published or commissioned deceptive review

   articles, letters to the editor, commentaries, case-study reports, and newsletters aimed at

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   discrediting or suppressing negative information that contradicted their claims or raised concerns

   about chronic opioid therapy.

          442.       For example, in 2007 Cephalon sponsored the publication of an article titled,

   “Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain:

   Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”180

   published in the nationally circulated journal Pain Medicine, to support its effort to expand the

   use of its branded fentanyl products. The article’s authors (including Dr. Webster, discussed

   above) stated that “[oral transmucosal fentanyl citrate] has been shown to relieve BTP more

   rapidly than conventional oral, normal-release, or ‘short acting’ opioids” and that “[t]he purpose

   of [the] study was to provide a qualitative evaluation of the effect of BTP on the [quality of life]

   of noncancer pain patients.” The number-one-diagnosed cause of chronic pain in the patients

   studied was back pain (44%), followed by musculoskeletal pain (12%) and head pain (7%). The

   article cites Dr. Portenoy and recommends fentanyl for non-cancer BTP patients:

          In summary, BTP appears to be a clinically important condition in patients
   with chronic noncancer pain and is associated with an adverse impact on QoL.
   This qualitative study on the negative impact of BTP and the potential benefits of
   BTP-specific therapy suggests several domains that may be helpful in developing
   BTP-specific, QoL assessment tools.181

                          g.       The Marketing Defendants Used Detailing to
                                   Directly Disseminate Their Misrepresentations to Prescribers

          443.       The Marketing Defendants’ sales representatives executed carefully crafted

   marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

   doctors with centrally orchestrated messages. The Marketing Defendants’ sales representatives

   180
       Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
   Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
   Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).
   181
       Id. at 287.
                                                  -133-
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   also distributed third-party marketing material to their target audience that was deceptive.

          444.       Each Marketing Defendant promoted opioids through sales representatives

   (also called “detailers”) and, upon information and belief, small group speaker programs to reach

   out to individual prescribers. By establishing close relationships with doctors, the Marketing

   Defendants were able to disseminate their misrepresentations in targeted, one-on-one settings

   that allowed them to promote their opioids and to allay individual prescribers’ concerns about

   prescribing opioids for chronic pain.

          445.       In accordance with common industry practice, the Marketing Defendants

   purchase and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare

   data collection, management, and analytics corporation. This data allows them to track precisely

   the rates of initial and renewal prescribing by individual doctors, which allows them to target and

   tailor their appeals. Sales representatives visited hundreds of thousands of doctors and

   disseminated the misinformation and materials described above.

          446.       Marketing Defendants devoted and continue to devote massive resources to

   direct sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on

   detailing branded opioids to doctors. This amount is twice as much as Marketing Defendants

   spent on detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by

   Janssen, $13 million by Teva, and $10 million by Endo.




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          447.      Cephalon’s quarterly spending steadily climbed from below $1 million in 2000

   to more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

   with the launch of Fentora, of more than $27 million in 2007, as shown below:




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          448.      Endo’s quarterly spending went from the $2 million to $4 million range in

   2000-2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more

   than $38 million for the year in 2007) and more than $8 million coinciding with the launch of a

   reformulated version in 2012 (and nearly $34 million for the year):




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          449.      Janssen’s quarterly spending dramatically rose from less than $5 million in

   2000 to more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly

   spending at $142 million for 2011), as shown below:




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          450.      Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue

   came under investigation by the DOJ, but then spiked to above $25 million in 2011 (for a total of

   $110 million that year), and continues to rise, as shown below:




          451.      For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

   contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

   patients and by oncologists and pain management doctors experienced in treating cancer pain.

   Thousands of prescribers attended Cephalon speaking programs.

                         h.      Marketing Defendants Used Speakers’ Bureaus
                                 and Programs to Spread Their Deceptive Messages

          452.      In addition to making sales calls, Marketing Defendants’ detailers also

   identified doctors to serve, for payment, on their speakers’ bureaus and to attend programs with

   speakers and meals paid for by the Marketing Defendants.          These speaker programs and

   associated speaker trainings serve three purposes: they provide an incentive to doctors to

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   prescribe, or increase their prescriptions of, a particular drug; to qualify to be selected a forum in

   which to further market to the speaker himself or herself; and an opportunity to market to the

   speaker’s peers. The Marketing Defendants grade their speakers, and future opportunities are

   based on speaking performance, post-program sales, and product usage. Purdue, Janssen, Endo,

   Cephalon, and Mallinckrodt each made thousands of payments to physicians nationwide, for

   activities including participating on speakers’ bureaus, providing consulting services, and other

   services.

           453.        As detailed below, Insys paid prescribers for fake speakers’ programs in

   exchange for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’

   programs at which the designated speaker did not speak, and, on many occasions, speaker

   programs at which the only attendees at the events were the speaker and an Insys sales

   representative. It was a pay-to-prescribe program.

           454.        Insys used speakers’ programs as a front to pay for prescriptions and paid to

   push opioids onto patients who did not need them.

                  3.       The Marketing Defendants Targeted Vulnerable Populations

           455.        The Marketing Defendants specifically targeted their marketing at two

   vulnerable populations—the elderly and veterans.

           456.        Elderly patients taking opioids have been found to be exposed to elevated

   fracture risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug

   effects and interactions, such as respiratory depression which occurs more frequently in elderly

   patients.

           457.        The Marketing Defendants promoted the notion—without adequate scientific

   foundation—that the elderly are particularly unlikely to become addicted to opioids. The AGS’s

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   2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

   addiction as “exceedingly low in older patients with no current or past history of substance

   abuse.” As another example, an Endo-sponsored CME put on by the NIPC, Persistent Pain in

   the Older Adult, taught that prescribing opioids to older patients carried “possibly less potential

   for abuse than in younger patients.” Contrary to these assertions, however, a 2010 study

   examining overdoses among long-term opioid users found that patients 65 or older were among

   those with the largest number of serious overdoses.

            458.       Similarly, Endo targeted marketing of Opana ER towards patients over 55

   years old.      Such documents show Endo treated Medicare Part D patients among the most

   valuable customer segments.182 However, in 2013, one pharmaceutical benefits management

   company recommended against the use of Opana ER for elderly patients and unequivocally

   concluded: “[f]or patients 65 and older these medications are not safe, so consult your doctor.”

            459.       According to a study published in the 2013 Journal of American Medicine,

   veterans returning from Iraq and Afghanistan who were prescribed opioids have a higher

   incidence of adverse clinical outcomes, such as overdoses and self-inflicted and accidental

   injuries. A 2008 survey showed that prescription drug misuse among military personnel doubled

   from 2002 to 2005, and then nearly tripled again over the next three years. Veterans are twice as

   likely as non-veterans to die from an opioid overdose.

            460.       Yet the Marketing Defendants deliberately targeted veterans with deceptive

   marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

   distributed by the APF with grants from Janssen, and Endo, was written as a personal narrative



   182
         ENDO-CHI_LIT-00050369, at 5,7, and 11; ENDO-CHI_LIT-00076029, at 6.
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   of one veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the

   publication describes opioids as “underused” and the “gold standard of pain medications” while

   failing to disclose significant risks of opioid use, including the risks of fatal interactions with

   benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

   were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

   of respiratory depression from the two drugs together.

          461.         Opioid prescriptions have dramatically increased for veterans and the elderly.

   Since 2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults

   between the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for

   narcotic pain pills—four times as many as they did in 2001.

                  4.       Insys Employed Fraudulent, Illegal, and Misleading Marketing
                           Schemes to Promote Subsys

          462.         Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

   breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

   around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

   Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

   fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

   relief. It is in the class of drugs described as TIRF.

          463.         To reduce the risk of abuse, misuse, and diversion, the FDA instituted a REMS

   for Subsys and other TIRF products, such as Cephalon’s Actiq and Fentora. The purpose of

   REMS was to educate “prescribers, pharmacists, and patients on the potential for misuse, abuse,

   addiction, and overdose” for this type of drug and to “ensure safe use and access to these drugs




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   for patients who need them.”183 Prescribers must enroll in the TIRF REMS before writing a

   prescription for Subsys.

          464.       Since its launch, Subsys has been an extremely expensive medication, and its

   price continues to rise each year. Depending on a patient’s dosage and frequency of use, a

   month’s supply of Subsys could cost thousands of dollars.

          465.       Due to its high cost, in most instances prescribers must submit Subsys

   prescriptions to insurance companies or health benefit payors for prior authorization to determine

   whether they will pay for the drug prior to the patient attempting to fill the prescription.

   According to the U.S. Senate Homeland Security and Governmental Affairs Committee Minority

   Staff Report, the prior authorization process includes “confirmation that the patient had an active

   cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

   prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

   of these factors was not present, the prior authorization would be denied . . . .”184

          466.       These prior authorization requirements proved to be daunting. Subsys received

   reimbursement approval in only approximately 30% of submitted claims. In order to increase

   approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center, to

   obtain approval for Subsys reimbursements. This unit employed a number of fraudulent and

   misleading tactics to secure reimbursements, including falsifying medical histories of patients,

   falsely claiming that patients had cancer, and providing misleading information to insurers and

   payors regarding patients’ diagnoses and medical conditions.



   183
       Press Release, U.S. Food & Drug Admin., FDA Approves Shared System REMS for TIRF
   Products (Dec. 29, 2011).
   184
       Fueling an Epidemic, supra n.124.
                                                   -142-
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               467.   Subsys has proved to be extremely profitable for Insys.              Insys made

   approximately $330 million in net revenue from Subsys last year. Between 2013 and 2016, the

   value of Insys stock rose 296%.

               468.   Since its launch in 2012, Insys aggressively worked to grow its profits through

   fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through

   its sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe

   and appropriate for uses such as neck and back pain, without disclosing the lack of approval or

   evidence for such uses and misrepresented the appropriateness of Subsys for treatment of those

   conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers’

   programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes

   had the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

               469.   Insys incentivized its sales force to engage in illegal and fraudulent conduct.

   Many of the Insys sales representatives were new to the pharmaceutical industry and their base

   salaries were low compared to industry standard. The compensation structure was heavily

   weighted toward commissions and rewarded reps more for selling higher (and more expensive)

   doses of Subsys, a “highly unusual” practice because most companies consider dosing a patient-

   specific decision that should be made by a doctor.185

               470.   The Insys “speakers program” was perhaps its most widespread and damaging

   scheme. A former Insys salesman, Ray Furchak (“Furchak”), alleged in a qui tam action that the

   sole purpose of the speaker’s program was “in the words of his then supervisor Alec Burlakoff,

   ‘to get money in the doctor’s pocket.’” Furchak went on to explain that “[t]he catch. . . was that



   185
         Id.
                                                 -143-
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   doctors who increased the level of Subsys prescriptions, and at higher dosages (such as 400 or

   800 micrograms instead of 200 micrograms), would receive the invitations to the program—and

   the checks.”186 It was a pay-to-prescribe program.

          471.       Insys’s sham speaker program and other fraudulent and illegal tactics have

   been outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

   prescribers across the country, as well as in a number of lawsuits against the company itself.

          472.       In May 2015, two Alabama pain specialists were arrested and charged with

   illegal prescription drug distribution, among other charges. The doctors were the top prescribers

   of Subsys, though neither were oncologists. According to prosecutors, the doctors received

   illegal kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat

   neck, back, and joint pain. In February 2016, a former Insys sales manager pled guilty to

   conspiracy to commit health care fraud, including engaging in a kickback scheme in order to

   induce one of these doctors to prescribe Subsys. The plea agreement states that nearly all of the

   Subsys prescriptions written by the doctor were off-label to non-cancer patients. In May 2017,

   one of the doctors was sentenced to 20 years in prison.

          473.       In June 2015, a nurse practitioner in Connecticut described as the state’s

   highest Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from

   Insys for prescribing Subsys. Most of her patients were prescribed the drug for chronic pain.

   Insys paid the nurse as a speaker for more than 70 dinner programs at approximately $1,000 per

   event; however, she did not give any presentations. In her guilty plea, the nurse admitted



   186
        Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern Investigative Reporting
   Foundation, The Investigator (April 24, 2015), http://sirf-online.org/2015/04/24/the-new-killing-
   it/.
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   receiving the speaker fees in exchange for writing prescriptions for Subsys.

          474.       In August 2015, Insys settled a complaint brought by the Oregon Attorney

   General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

   misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

   other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

   incentivize doctors to prescribe Subsys.

          475.       In August 2016, the State of Illinois sued Insys for similar deceptive and illegal

   practices. The complaint alleged that Insys marketed Subsys to high-volume prescribers of

   opioid drugs instead of to oncologists whose patients experienced the breakthrough cancer pain

   for which the drug is indicated. The Illinois complaint also details how Insys used its speaker

   program to pay high volume prescribers to prescribe Subsys. The speaker events took place at

   upscale restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging

   from $700 to $5,100, and they were allowed to order as much food and alcohol as they wanted.

   At most of the events, the “speaker” being paid by Insys did not speak, and, on many occasions,

   the only attendees at the events were the speaker and an Insys sales representative.

          476.       In December 2016, six Insys executives and managers were indicted and then,

   in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

   connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

   insurance companies. A DOJ press release explained that, among other things: “Insys executives

   improperly influenced health care providers to prescribe a powerful opioid for patients who did

   not need it, and without complying with FDA requirements, thus putting patients at risk and




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   contributing to the current opioid crisis.”187 A DEA Special Agent in Charge further explained

   that “[p]harmaceutical companies whose products include controlled medications that can lead to

   addiction and overdose have a special obligation to operate in a trustworthy, transparent manner,

   because their customers’ health and safety and, indeed, very lives depend on it.”188

                  5.       The Marketing Defendants’ Scheme Succeeded, Creating a Public
                           Health Epidemic

                           a.     Marketing Defendants Dramatically Expanded Opioid
                                  Prescribing and Use

          477.         The Marketing Defendants necessarily expected a return on the enormous

   investment they made in their deceptive marketing scheme and worked to measure and expand

   their success. Their own documents show that they knew they were influencing prescribers and

   increasing prescriptions.    Studies also show that in doing so, they fueled an epidemic of

   addiction and abuse.

          478.         Endo, for example directed the majority of its marketing budget to sales

   representatives—with good results: 84% of its prescriptions were from the doctors they detailed.

   Moreover, as of 2008, cancer and post-operative pain accounted for only 10% of Opana ER’s

   uses; virtually all of Endo’s opioid sales—and profits—were from a market that did not exist ten

   years earlier. Internal emails from Endo staff attributed increases in Opana ER sales to the

   aggressiveness and persistence of sales representatives.

          479.         Cephalon also recognized the return of its efforts to market Actiq and Fentora

   off-label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales

   187
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office, Dist. of Mass., Founder and Owner
   of Pharmaceutical Company Insys Arrested and Charged with Racketeering (Oct. 26, 2017),
   https://www.justice.gov/usao-ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-
   and-charged-racketeering.
   188
       Id.
                                                  -146-
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   had increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and

   “ongoing changes to [its] marketing approach including hiring additional sales representatives

   and targeting our marketing efforts to pain specialists.”189 Actiq became Cephalon’s second

   best-selling drug. By the end of 2006, Actiq’s sales had exceeded $500 million.190 Only 1% of

   the 187,076 prescriptions for Actiq filled at retail pharmacies during the first six months of 2006

   were prescribed by oncologists. One measure suggested that “more than 80 percent of patients

   who use[d] the drug don’t have cancer.”191

          480.       Upon information and belief, each of the Marketing Defendants tracked the

   impact of their marketing efforts to measure their impact in changing doctors’ perceptions and

   prescribing of their drugs. They purchased prescribing and survey data that allowed them to

   closely monitor these trends, and they did actively monitor them. For instance, they monitored

   doctors’ prescribing before and after detailing visits, and at various levels of detailing intensity,

   and before and after speaker programs. Defendants invested in their aggressive and deceptive

   marketing for one reason: it worked. As described in this Complaint, both in specific instances

   and more generally, Defendants’ marketing changed prescribers’ willingness to prescribe

   opioids, led them to prescribe more of their opioids, and persuaded them to continue prescribing

   opioids or to switch to supposedly “safer” opioids, such as ADF opioids.

          481.       This success would have come as no surprise.           Drug company marketing




   189
       Cephalon, Inc., Annual Report (Form 10-K), at 28 (Mar. 31, 2003),
   https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
   190
       John Carreyrou, Narcotic 'Lollipop' Becomes Big Seller Despite FDA Curbs, Wall St. J.,
   https://www.wsj.com/articles/SB116252463810112292. (Last Updated Nov. 3, 2006, 12:01
   AM).
   191
       Id.
                                                  -147-
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   materially impacts doctors’ prescribing behavior.192 The effects of sales calls on prescribers’

   behavior is well documented in the literature, including a 2017 study that found that physicians

   ordered fewer promoted brand-name medications and prescribed more cost-effective generic

   versions if they worked in hospitals that instituted rules about when and how pharmaceutical

   sales representatives were allowed to detail prescribers. The changes in prescribing behavior

   appeared strongest at hospitals that implemented the strictest detailing policies and included

   enforcement measures.      Another study examined four practices, including visits by sales

   representatives, medical journal advertisements, direct-to-consumer advertising, and pricing, and

   found that sales representatives have the strongest effect on drug utilization. An additional study

   found that doctor meetings with sales representatives are related to changes in both prescribing

   practices and requests by physicians to add the drugs to hospitals’ formularies.

          482.       Marketing Defendants spent millions of dollars to market their drugs to

   prescribers and patients and meticulously tracked their return on that investment. In one recent

   survey published by the AMA, even though nine-in-ten general practitioners reported

   prescription drug abuse to be a moderate to large problem in their communities, 88% of the

   respondents said they were confident in their prescribing skills, and nearly half were comfortable




   192
      Puneet Manchanda & Pradeep K. Chintagunta, Responsiveness of Physician Prescription
   Behavior to Salesforce Effort: An Individual Level Analysis, 15(2-3) Mktg. Letters 129-145
   (2004) (detailing has a positive impact on prescriptions written); Ian Larkin, et al., Restrictions
   on Pharmaceutical Detailing Reduced Off-Label Prescribing of Antidepressants and
   Antipsychotics in Children, 33(6) Health Affairs 1014-23 (2014) (finding academic medical
   centers that restricted direct promotion by pharmaceutical sales representatives resulted in a 34%
   decline in on-label use of promoted drugs); see also Art Van Zee, The Promotion and Marketing
   of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health 221-27
   (2009) (correlating an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2
   million in 2002 to a doubling of Purdue’s sales force and trebling of annual sales calls).
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   using opioids for chronic non-cancer pain.193 These results are directly due to the Marketing

   Defendants’ fraudulent marketing campaign focused on several misrepresentations.

          483.       Thus, both independent studies and Marketing Defendants’ own tracking

   confirm that Defendants’ marketing scheme dramatically increased their sales.

                          b.     Marketing Defendants’ deception in expanding their market
                                 created and fueled the opioid epidemic

          484.       Independent research demonstrates a close link between opioid prescriptions

   and opioid abuse.     For example, a 2007 study found “a very strong correlation between

   therapeutic exposure to opioid analgesics, as measured by prescriptions filled, and their

   abuse.”194 It has been estimated that 60% of the opioids that are abused come, directly or

   indirectly, through physicians’ prescriptions.

          485.       There is a parallel relationship between the availability of prescription opioid

   analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

   associated adverse outcomes.      The opioid epidemic is “directly related to the increasingly

   widespread misuse of powerful opioid pain medications.”195

          486.       In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

   quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” 196         Patients


   193
       Catherine S. Hwang, et al., Prescription Drug Abuse: A National Survey of Primary Care
   Physicians, 175 (2) JAMA Intern. Med. (Dec. 8, 2014).
   194
       Theodore J. Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid
   Analgesics in Rural, Suburban, and Urban Locations in the United States, 16(8)
   Pharmacoepidemiology and Drug Safety 827-40 (2007).
   195
       Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, New Eng. J.
   Med. 1480-85 (2016), http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.
   196
       Rose A. Rudd, et al., Increases in Drug and Opioid-Involved Overdose Deaths—United
   States, 2000–2014, 64 (50 & 51) Ctrs. for Disease Control and Prevention, Morbidity &
   Mortality Wkly. Rep. 1323-1327 (2016),
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6450a3.htm.
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   receiving opioid prescriptions for chronic pain account for the majority of overdoses. For these

   reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

   critical “to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related

   morbidity.”197

               E.     Defendants Throughout the Supply Chain Deliberately Disregarded Their
                      Duties to Maintain Effective Controls and to Identify, Report, and Take
                      Steps to Halt Suspicious Orders

               487.     The Marketing Defendants created a vastly and dangerously larger market for

   opioids. All of the Defendants compounded this harm by facilitating the supply of far more

   opioids that could have been justified to serve that market. The failure of Defendants to maintain

   effective controls, and to investigate, report, and take steps to halt orders that they knew or

   should have known were suspicious breached both their statutory and common law duties.

               488.     For over a decade, as the Marketing Defendants increased the demand for

   opioids, all of the Defendants aggressively sought to bolster their revenue, increase profit, and

   grow their share of the prescription painkiller market by unlawfully and surreptitiously

   increasing the volume of opioids they sold. However, Defendants are not permitted to engage in

   a limitless expansion of their sales through the unlawful sales of regulated painkillers. Rather, as

   described below, Defendants are subject to various duties to report the quantity of Schedule II

   controlled substances in order to monitor such substances and prevent oversupply and diversion

   into the illicit market.

               489.     Defendants are all required to register as either manufacturers or distributors

   pursuant to 21 U.S.C. §823 and 21 C.F.R. §§1301.11, 1301.74.

               490.     The Marketing Defendants’ scheme was resoundingly successful. Chronic

   197
         Id.
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   opioid therapy—the prescribing of opioids long-term to treat chronic pain—has become a

   commonplace, and often first-line, treatment. The Marketing Defendants’ deceptive marketing

   caused prescribing not only of their opioids, but of opioids as a class, to skyrocket. According to

   the CDC opioid prescriptions, as measured by number of prescriptions and MME per person,

   tripled from 1999 to 2015. In 2015, on an average day, more than 650,000 opioid prescriptions

   were dispensed in the U.S. While previously a small minority of opioid sales, today between

   80% and 90% of opioids (measured by weight) used are for chronic pain. Approximately 20%

   of the population between the ages of 30 and 44, and nearly 30% of the population over 45, have

   used opioids. Opioids are the most common treatment for chronic pain, and 20% of office visits

   now include the prescription of an opioid.

          491.           In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

   quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” 198             Patients

   receiving opioid prescriptions for chronic pain account for the majority of overdoses. For these

   reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

   critical “to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related

   morbidity.”199

                    1.       All Defendants Have a Duty to Report Suspicious Orders and Not to
                             Ship Those Orders Unless Due Diligence Disproves Their Suspicions

          492.           Multiple sources impose duties on Defendants to report suspicious orders and

   further to not ship those orders unless due diligence disproves those suspicions.

          493.           First, under the common law, Defendants had a duty to exercise reasonable

   198
       Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United
   States, 2000–2014, 64(50 & 51) Ctrs. for Disease Control and Prevention, Morbidity & Mortality
   Wkly. Rep. 1378-82 (2016), https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6450a3.htm.
   199
       Id.
                                                     -151-
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   care in delivering dangerous narcotic substances. By flooding Florida with more opioids than

   could be used for legitimate medical purposes and by filling and failing to report orders that they

   knew or should have realized were likely being diverted for illicit uses, Defendants breached that

   duty and both created and failed to prevent a foreseeable risk of harm.

           494.      Second, each of the Defendants assumed a duty, when speaking publicly about

   opioids and their efforts to combat diversion, to speak accurately and truthfully.

           495.      Third, each of the Defendants was required to register with the DEA to

   manufacture and/or distribute Schedule II controlled substances. See 21 U.S.C. §823(a)-(b), (e);

   28 C.F.R. §0.100. As registrants, Defendants were required to “maint[ain] . . . effective controls

   against diversion” and to “design and operate a system to disclose . . . suspicious orders of

   controlled substances.” 21 U.S.C. §823(a)-(b); 21 C.F.R. §1301.74. Defendants were further

   required to take steps to halt suspicious orders. Defendants violated their obligations under

   federal law.

           496.      Fourth, as described below, Defendants also had duties under applicable state

   laws.

           497.      Recognizing a need for greater scrutiny over controlled substances due to their

   potential for abuse and danger to public health and safety, the United States Congress enacted the

   Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

   system of distribution for all controlled substances and listed chemicals. Congress specifically

   designed the closed chain of distribution to prevent the diversion of legally produced controlled

   substances into the illicit market. Congress was concerned with the diversion of drugs out of

   legitimate channels of distribution and acted to halt the “widespread diversion of [controlled



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   substances] out of legitimate channels into the illegal market.”        Moreover, the closed-system

   was specifically designed to ensure that there are multiple ways of identifying and preventing

   diversion through active participation by registrants within the drug delivery chain.                 All

   registrants – which includes all manufacturers and distributors of controlled substances—must

   adhere to the specific security, recordkeeping, monitoring, and reporting requirements that are

   designed to identify or prevent diversion. When registrants at any level fail to fulfill their

   obligations, the necessary checks and balances collapse. The result is the scourge of addiction

   that has occurred.

          498.          The CSA requires manufacturers and distributors of Schedule II substances

   like opioids to: (a) limit sales within a quota set by the DEA for the overall production of

   Schedule II substances like opioids; (b) register to manufacture or distribute opioids; (c) maintain

   effective controls against diversion of the controlled substances that they manufacture or

   distribute; and (d) design and operate a system to identify suspicious orders of controlled

   substances, halt such unlawful sales, and report them to the DEA.

          499.          Central to the closed-system created by the CSA was the directive that the

   DEA determine quotas of each basic class of Schedule I and II controlled substances each year.

   The quota system was intended to reduce or eliminate diversion from “legitimate channels of

   trade” by controlling the “quantities of the basic ingredients needed for the manufacture of

   [controlled substances], and the requirement of order forms for all transfers of these drugs.”

   When evaluating production quotas, the DEA was instructed to consider the following

   information:

                  a.        information provided by the Department of Health and Human Services;

                  b.        total net disposal of the basic class [of each drug] by all manufacturers;

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                  c.       trends in the national rate of disposal of the basic class [of drug];

                  d.       an applicant’s production cycle and current inventory position;

                  e.       total actual or estimated inventories of the class [of drug] and of all
                           substances manufactured from the class and trends in inventory
                           accumulation; and

                  f.       other factors such as: changes in the currently accepted medical use of
                           substances manufactured for a basic class; the economic and physical
                           availability of raw materials; yield and sustainability issues; potential
                           disruptions to production; and unforeseen emergencies.

          500.         It is unlawful to manufacture a controlled substance in Schedule II, like

   prescription opioids, in excess of a quota assigned to that class of controlled substances by the

   DEA.

          501.         To ensure that even drugs produced within quota are not diverted, Federal

   regulations issued under the CSA mandate that all registrants, manufacturers, and distributors

   alike, “design and operate a system to disclose to the registrant suspicious orders of controlled

   substances.” 21 C.F.R. §1301.74(b). Registrants are not entitled to be passive (but profitable)

   observers, but rather “shall inform the Field Division Office of the Administration in his area of

   suspicious orders when discovered by the registrant.” Id. Suspicious orders include orders of

   unusual size, orders deviating substantially from a normal pattern, and orders of unusual

   frequency. Id. Other red flags may include, for example, “[o]rdering the same controlled

   substance from multiple distributors.”

          502.         These criteria are disjunctive and are not all inclusive. For example, if an order

   deviates substantially from a normal pattern, the size of the order does not matter and the order

   should be reported as suspicious. Likewise, a distributor or manufacturer need not wait for a

   normal pattern to develop over time before determining whether a particular order is suspicious.


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   The size of an order alone, regardless of whether it deviates from a normal pattern, is enough to

   trigger the responsibility to report the order as suspicious. The determination of whether an

   order is suspicious depends not only on the ordering patterns of the particular customer but also

   on the patterns of the entirety of the customer base and the patterns throughout the relevant

   segment of the industry. For this reason, identification of suspicious orders serves also to identify

   excessive volume of the controlled substance being shipped to a particular region.

          503.       In sum, Defendants have several responsibilities under state and federal law

   with respect to control of the supply chain of opioids. First, they must set up a system to prevent

   diversion, including excessive volume and other suspicious orders.            That would include

   reviewing their own data, relying on their observations of prescribers and pharmacies, and

   following up on reports or concerns of potential diversion. All suspicious orders must be

   reported to relevant enforcement authorities. Further, they must also stop shipment of any order

   which is flagged as suspicious and only ship orders which were flagged as potentially suspicious

   if, after conducting due diligence, they can determine that the order is not likely to be diverted

   into illegal channels.

          504.       State and federal statutes and regulations reflect a standard of conduct and care

   below which reasonably prudent manufacturers and distributors would not fall. Together, these

   laws and industry guidelines make clear that Distributor and Marketing Defendants alike possess

   and are expected to possess specialized and sophisticated knowledge, skill, information, and

   understanding of both the market for scheduled prescription narcotics and of the risks and

   dangers of the diversion of prescription narcotics when the supply chain is not properly

   controlled.



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          505.       Further, these laws and industry guidelines make clear that the Distributor

   Defendants and Marketing Defendants alike have a duty and responsibility to exercise their

   specialized and sophisticated knowledge, information, skill, and understanding to prevent the

   oversupply of prescription opioids and minimize the risk of their diversion into an illicit market.

          506.       The FTC has recognized the unique role of distributors. Since their inception,

   Distributor Defendants have continued to integrate vertically by acquiring businesses that are

   related to the distribution of pharmaceutical products and health care supplies. In addition to the

   actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

   pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

   Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

   management system and distribution facility that allows customers to reduce inventory carrying

   costs. Distributor Defendants are also able to use the combined purchase volume of their

   customers to negotiate the cost of goods with manufacturers and offer services that include

   software assistance and other database management support.           See Fed. Trade Comm’n v.

   Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for

   preliminary injunction and holding that the potential benefits to customers did not outweigh the

   potential anti-competitive effect of a proposed merger between Cardinal Health, and Bergen

   Brunswig Corp.). As a result of their acquisition of a diverse assortment of related businesses

   within the pharmaceutical industry, as well as the assortment of additional services they offer,

   Distributor Defendants have a unique insight into the ordering patterns and activities of their

   dispensing customers.

          507.       Marketing Defendants also have specialized and detailed knowledge of the



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   potential suspicious prescribing and dispensing of opioids through their regular visits to doctors’

   offices and pharmacies, and from their purchase of data from commercial sources, such as IMS

   Health (now IQVIA). Their extensive boots-on-the-ground presence through their sales forces

   allows Marketing Defendants to observe the signs of suspicious prescribing and dispensing

   discussed elsewhere in the Complaint—lines of seemingly healthy patients, out-of-state license

   plates, and cash transactions, to name only a few. In addition, Marketing Defendants regularly

   mined data, including, upon information and belief, chargeback data, that allowed them to

   monitor the volume and type of prescribing of doctors, including sudden increases in prescribing

   and unusually high dose prescribing, that would have alerted them, independent of their sales

   representatives, to suspicious prescribing. These information points gave Marketing Defendants

   insight into prescribing and dispensing conduct that enabled them to play a valuable role in the

   preventing diversion and fulfilling their obligations under the CSA.

          508.         Defendants have a duty, and are expected, to be vigilant in deciding whether a

   prospective customer can be trusted to deliver controlled substances only for lawful purposes.

          509.         Defendants breached these duties by failing to: (a) control the supply chain;

   (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in quantities

   they knew or should have known could not be justified and were indicative of serious overuse of

   opioids.

                  2.       Defendants Were Aware of and Have Acknowledged Their
                           Obligations to Prevent Diversion and to Report and Take Steps to
                           Halt Suspicious Orders

          510.         The reason for the reporting rules is to create a “closed” system intended to

   control the supply and reduce the diversion of these drugs out of legitimate channels into the

   illicit market, while at the same time providing the legitimate drug industry with a unified

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   approach to narcotic and dangerous drug control. Both because distributors handle such large

   volumes of controlled substances, and because they are uniquely positioned, based on their

   knowledge of their customers and orders, as the first line of defense in the movement of legal

   pharmaceutical controlled substances from legitimate channels into the illicit market,

   distributors’ obligation to maintain effective controls to prevent diversion of controlled

   substances is critical. Should a distributor deviate from these checks and balances, the closed

   system of distribution, designed to prevent diversion, collapses.

          511.       Defendants were well aware they had an important role to play in this system,

   and also knew or should have known that their failure to comply with their obligations would

   have serious consequences.

          512.       Recently, Mallinckrodt, a prescription opioid manufacturer, admitted in a

   settlement with the DEA that “[a]s a registrant under the CSA, Mallinckrodt had a responsibility

   to maintain effective controls against diversion, including a requirement that it review and

   monitor these sales and report suspicious orders to DEA.”       Mallinckrodt further stated that it

   “recognizes the importance of the prevention of diversion of the controlled substances they

   manufacture” and agreed that it would “design and operate a system that meets the requirements

   of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

   identify suspicious orders of any Mallinckrodt product.” Mallinckrodt specifically agreed “to

   notify DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt

   controlled substances that Mallinckrodt discovers.”

          513.       Trade organizations to which Defendants belong have acknowledged that

   wholesale distributors have been responsible for reporting suspicious orders for more than 40



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   years. The Healthcare Distribution Management Association (“HDMA”), now known as the

   Healthcare Distribution Alliance (“HDA”), a trade association of pharmaceutical distributors to

   which Distributor Defendants belong, has long taken the position that distributors have

   responsibilities to “prevent diversion of controlled prescription drugs” not only because they

   have statutory and regulatory obligations do so, but “as responsible members of society.”

   Guidelines established by the HDA also explain that distributors, “[a]t the center of a

   sophisticated supply chain . . . are uniquely situated to perform due diligence in order to help

   support the security of the controlled substances they deliver to their customers.”

          514.       The DEA also repeatedly reminded Defendants of their obligations to report

   and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

   the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

   customers, the DEA began a major push to remind distributors of their obligations to prevent

   these kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA

   has hosted at least five conferences that provided registrants with updated information about

   diversion trends and regulatory changes. Each of the Distributor Defendants attended at least

   one of these conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and

   due diligence responsibilities since 2006. During these briefings, the DEA pointed out the red

   flags wholesale distributors should look for to identify potential diversion.

          515.       The DEA also advised in a September 27, 2006 letter to every commercial

   entity registered to distribute controlled substances that they are “one of the key components of

   the distribution chain. If the closed system is to function properly . . . distributors must be

   vigilant in deciding whether a prospective customer can be trusted to deliver controlled



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   substances only for lawful purposes. This responsibility is critical, as . . . the illegal distribution

   of controlled substances has a substantial and detrimental effect on the health and general

   welfare of the American people.”          The DEA’s September 27, 2006 letter also expressly

   reminded them that registrants, in addition to reporting suspicious orders, have a “statutory

   responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

   into other than legitimate medical, scientific, and industrial channels.” The same letter reminds

   distributors of the importance of their obligation to “be vigilant in deciding whether a

   prospective customer can be trusted to deliver controlled substances only for lawful purposes,”

   and warns that “even just one distributor that uses its DEA registration to facilitate diversion can

   cause enormous harm.”

          516.       The DEA sent another letter to Defendants on December 27, 2007, reminding

   them that, as registered manufacturers and distributors of controlled substances, they share, and

   must each abide by, statutory and regulatory duties to “maintain effective controls against

   diversion” and “design and operate a system to disclose to the registrant suspicious orders of

   controlled substances.” The DEA’s December 27, 2007 letter reiterated the obligation to detect,

   report, and not fill suspicious orders and provided detailed guidance on what constitutes a

   suspicious order and how to report it (e.g., by specifically identifying an order as suspicious, not

   merely transmitting data to the DEA).           Finally, the letter references the Revocation of

   Registration issued in Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007),

   which discusses the obligation to report suspicious orders and “some criteria to use when

   determining whether an order is suspicious.”




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                    3.       Defendants Worked Together to Inflate the Quotas of Opioids They
                             Could Distribute

             517.        Finding it impossible to legally achieve their ever-increasing sales ambitions,

   Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

   increasing the quotas that governed the manufacture and distribution of their prescription

   opioids.

             518.        Wholesale distributors such as the Distributor Defendants had close financial

   relationships with both Marketing Defendants and customers, for whom they provide a broad

   range of value added services that render them uniquely positioned to obtain information and

   control against diversion.         These services often otherwise would not be provided by

   manufacturers to their dispensing customers and would be difficult and costly for the dispenser

   to reproduce.     For example, “[w]holesalers have sophisticated ordering systems that allow

   customers to electronically order and confirm their purchases, as well as to confirm the

   availability and prices of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12

   F. Supp. 2d 34, 41 (D.D.C. 1998). Through their generic source programs, wholesalers are also

   able “to combine the purchase volumes of customers and negotiate the cost of goods with

   manufacturers.” Wholesalers typically also offer marketing programs, patient services, and other

   software to assist their dispensing customers.

             519.        Distributor Defendants had financial incentives from the Marketing Defendants

   to distribute higher volumes, and thus to refrain from reporting or declining to fill suspicious

   orders.     Wholesale drug distributors acquire pharmaceuticals, including opioids, from

   manufacturers at an established wholesale acquisition cost. Discounts and rebates from this cost

   may be offered by manufacturers based on market share and volume. As a result, higher


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   volumes may decrease the cost per pill to distributors. Decreased cost per pill in turn, allows

   wholesale distributors to offer more competitive prices, or alternatively, pocket the difference as

   additional profit. Either way, the increased sales volumes result in increased profits.

          520.       The Marketing Defendants engaged in the practice of paying rebates and/or

   chargebacks to the Distributor Defendants for sales of prescription opioids as a way to help them

   boost sales and better target their marketing efforts. The Washington Post has described the

   practice as industry-wide, and the HDA includes a “Contracts and Chargebacks Working

   Group,” suggesting a standard practice.        Further, in a recent settlement with the DEA,

   Mallinckrodt, a prescription opioid manufacturer, acknowledged that “[a]s part of their business

   model Mallinckrodt collects transaction information, referred to as chargeback data, from their

   direct customers (distributors).” The transaction information contains data relating to the direct

   customer sales of controlled substances to ‘downstream’ registrants,” meaning pharmacies or

   other dispensaries, such as hospitals. Marketing Defendants buy data from pharmacies as well.

   This exchange of information, upon information, and belief, would have opened channels

   providing for the exchange of information revealing suspicious orders as well.

          521.       The contractual relationships among Defendants also include vault security

   programs. Defendants are required to maintain certain security protocols and storage facilities

   for the manufacture and distribution of their opioids. The manufacturers negotiated agreements

   whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

   exchange for agreements to maintain minimum sales performance thresholds. These agreements

   were used by Defendants as a tool to violate their reporting and diversion duties in order to reach

   the required sales requirements.



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          522.       In addition, Defendants worked together to achieve their common purpose

   through trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

          523.       The PCF has been described as a coalition of drug makers, trade groups and

   dozens of non-profit organizations supported by industry funding, including the Front Groups

   described in this Complaint. The PCF recently became a national news story when it was

   discovered that lobbyists for members of the PCF quietly shaped federal and state policies

   regarding the use of prescription opioids for more than a decade.

          524.       The Center for Public Integrity and The Associated Press obtained “internal

   documents shed[ding] new light on how drug makers and their allies shaped the national

   response to the ongoing wave of prescription opioid abuse.”200 Specifically, PCF members spent

   over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

   including opioid-related measures.201

          525.       The Defendants who stood to profit from expanded prescription opioid use are

   members of and/or participants in the PCF.202          In 2012, membership and participating

   organizations included Endo, Purdue, Actavis, and Cephalon. Each of the Marketing Defendants

   worked together through the PCF.        But, the Marketing Defendants were not alone.          The

   Distributor Defendants actively participated, and continue to participate in the PCF, at a




   200
       Matthew Perrone & Ben Wieder , Pro-Painkiller Echo Chamber Shaped Policy Amid Drug
   Epidemic, The Ctr. for Pub. Integrity, https://www.publicintegrity.org/2016/09/19/20201/pro-
   painkiller-echo-chamber-shaped-policy-amid-drug-epidemic. (Last Updated Dec. 15, 2016, 9:09
   AM) (emphasis added).
   201
       Id.
   202
       PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
   https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-
   Schedule-amp.pdf.
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   minimum, through their trade organization, the HDA.203 The Distributor Defendants participated

   directly in the PCF as well.

          526.       Additionally, the HDA led to the formation of interpersonal relationships and

   an organization among Defendants. Although the entire HDA membership directory is private,

   the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants

   including Actavis, Endo, Purdue, Mallinckrodt, and Cephalon were members of the HDA.

   Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

   membership and participation of the Marketing Defendants by advocating for the many benefits

   of members, including “strengthen[ing] . . . alliances.”204

          527.       Beyond strengthening alliances, the benefits of HDA membership included the

   ability to, among other things, “network one on one with manufacturer executives at HDA’s

   members-only Business and Leadership Conference,” “networking with HDA wholesale

   distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

   “participate on HDA committees, task forces and working groups with peers and trading

   partners,” and “make connections.”205        Clearly, the HDA and Defendants believed that

   membership in the HDA was an opportunity to create interpersonal and ongoing organizational

   relationships and “alliances” between the Marketing and Distributor Defendants.


   203
       Id.; The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
   Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,
   Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation,
   and the President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee,
   Healthcare Distribution Alliance https://www.healthcaredistribution.org/about/executive-
   committee (last accessed Apr. 25, 2018).
   204
       Manufacturer Membership, Healthcare Distribution Alliance,
   https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
   benefits.ashx?la=en. (last accessed Apr. 25, 2018).
   205
       Id.
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          528.      The application for manufacturer membership in the HDA further indicates the

   level of connection among Defendants and the level of insight that they had into each other’s

   businesses.206   For example, the manufacturer membership application must be signed by a

   “senior company executive,” and it requests that the manufacturer applicant identify a key

   contact and any additional contacts from within its company.

          529.      The HDA application also requests that the manufacturer identify its current

   distribution information, including the facility name and contact information. Manufacturer

   members were also asked to identify their “most recent year end net sales” through wholesale

   distributors, including the Distributor Defendants AmerisourceBergen, Cardinal Health, and

   McKesson and their subsidiaries.

          530.      The closed meetings of the HDA’s councils, committees, task forces, and

   working groups provided the Marketing and Distributor Defendants with the opportunity to work

   closely together, confidentially, to develop and further the common purpose and interests of the

   enterprise.

          531.      The HDA also offers a multitude of conferences, including annual business and

   leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

   the Marketing Defendants as an opportunity to “bring together high-level executives, thought

   leaders and influential managers ... to hold strategic business discussions on the most pressing




   206
      Manufacturer Membership Application, Healthcare Distribution Alliance,
   https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
   application.ashx?la=en.
                                                -165-
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   industry issues.”207    The conferences also gave the Marketing and Distributor Defendants

   “unmatched opportunities to network with [their] peers and trading partners at all levels of the

   healthcare distribution industry.”208 The HDA and its conferences were significant opportunities

   for the Marketing and Distributor Defendants to interact at a high-level of leadership. It is clear

   that the Marketing Defendants embraced this opportunity by attending and sponsoring these

   events.209

          532.         After becoming members of the HDA, Defendants were eligible to participate

   on councils, committees, task forces and working groups, including:

                  a.       Industry Relations Council: “This council, composed of distributor and
                           manufacturer members, provides leadership on pharmaceutical
                           distribution and supply chain issues.”

                  b.       Business Technology Committee: “This committee provides guidance to
                           HDA and its members through the development of collaborative e-
                           commerce business solutions. The committee’s major areas of focus
                           within pharmaceutical distribution include information systems,
                           operational integration and the impact of e-commerce.” Participation in
                           this committee includes distributor and manufacturer members.

                  c.       Logistics Operation Committee: “This committee initiates projects
                           designed to help members enhance the productivity, efficiency and
                           customer satisfaction within the healthcare supply chain. Its major areas
                           of focus include process automation, information systems, operational
                           integration, resource management and quality improvement.” Participation
                           in this committee includes distributor and manufacturer members.

                  d.       Manufacturer Government Affairs Advisory Committee: “This committee
                           provides a forum for briefing HDA’s manufacturer members on federal
                           and state legislative and regulatory activity affecting the pharmaceutical

   207
       Business and Leadership Conference – Information for Manufacturers, Healthcare
   Distribution Alliance, https://web.archive.org/web/20150424054305/https://www.healthcaredistr
   ibution.org/events/2015-business-and-leadership-conference/blc-for-manufacturers.
   208
       Id.
   209
       2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
   https://web.archive.org/web/20160119143358/https://www.healthcaredistribution.org/events/201
   5-distribution-management-conference.
                                                  -166-
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                           distribution channel. Topics discussed include such issues as prescription
                           drug traceability, distributor licensing, FDA and DEA regulation of
                           distribution, importation and Medicaid/Medicare reimbursement.”
                           Participation in this committee includes manufacturer members.

                  e.       Contracts and Chargebacks Working Group: “This working group
                           explores how the contract administration process can be streamlined
                           through process improvements or technical efficiencies. It also creates
                           and exchanges industry knowledge of interest to contract and chargeback
                           professionals.” Participation in this group includes manufacturer and
                           distributor members.

          533.         The Distributor Defendants and Marketing Defendants also participated,

   through the HDA, in Webinars and other meetings designed to exchange detailed information

   regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

   notices, and invoices.210 For example, on April 27, 2011, the HDA offered a Webinar to

   “accurately and effectively exchange business transactions between distributors and

   manufacturers. . . .” The Marketing Defendants used this information to gather high-level data

   regarding overall distribution and direct the Distributor Defendants on how to most effectively

   sell prescription opioids.

          534.         Taken together, the interaction and length of the relationships between and

   among the Marketing and Distributor Defendants reflects a deep level of interaction and

   cooperation between two groups in a tightly knit industry. The Marketing and Distributor

   Defendants were not two separate groups operating in isolation or two groups forced to work

   together in a closed system. Defendants operated together as a united entity, working together

   on multiple fronts, to engage in the unlawful sale of prescription opioids.

          535.         The HDA and the PCF are but two examples of the overlapping relationships,

   210
      Webinar Leveraging EDI: Order-to-Cash Transactions CD Box Set, Healthcare Distribution
   Alliance (Apr. 27, 2011), (, https://www.healthcaredistribution.org/resources/webinar-
   leveraging-edi.
                                                  -167-
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   and concerted joint efforts to accomplish common goals and demonstrates that the leaders of

   each of the Defendants were in communication and cooperation.

          536.       Publications and guidelines issued by the HDA nevertheless confirm that

   Defendants utilized their membership in the HDA to form agreements. Specifically, in fall 2008,

   the HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

   Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”)

   regarding diversion.    As the HDA explained in an amicus brief, the Industry Compliance

   Guidelines were the result of “[a] committee of HDMA members contribut[ing] to the

   development of this publication” beginning in late 2007.

          537.       This statement by the HDA and the Industry Compliance Guidelines support

   the allegation that Defendants utilized the HDA to form agreements about their approach to their

   duties under the CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and

   Commerce Subcommittee on Health in April 2014, it is “difficult to find the right balance

   between proactive anti-diversion efforts while not inadvertently limiting access to appropriately

   prescribed and dispensed medications.” Here, it is apparent that all of the Defendants found the

   same balance – an overwhelming pattern and practice of failing to identify, report or halt

   suspicious orders, and failure to prevent diversion.

          538.       Defendants’ scheme had a decision-making structure driven by the Marketing

   Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

   together to control the state and federal government’s response to the manufacture and

   distribution of prescription opioids by increasing production quotas through a systematic refusal

   to maintain effective controls against diversion and identify suspicious orders and report them to



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   the DEA.

          539.         Defendants worked together to control the flow of information and influence

   state and federal governments to pass legislation that supported the use of opioids and limited the

   authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

   Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

          540.         Defendants also worked together to ensure that the Aggregate Production

   Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially

   high and ensured that suspicious orders were not reported to the DEA in order to ensure that the

   DEA had no basis for refusing to increase or decrease production quotas due to diversion.

          541.         Defendants also had reciprocal obligations under the CSA to report suspicious

   orders of other parties if they became aware of them.          Defendants were thus collectively

   responsible for each other’s compliance with their reporting obligations.

          542.         Defendants thus knew that their own conduct could be reported by other

   distributors or manufacturers and that their failure to report suspicious orders they filled could be

   brought to the DEA’s attention. As a result, Defendants had an incentive to communicate with

   each other about the reporting of suspicious orders to ensure consistency in their dealings with

   the DEA.

          543.         The desired consistency was achieved.       As described below, none of the

   Defendants reported suspicious orders and the flow of opioids continued unimpeded.

                  4.       Defendants Kept Careful Track of Prescribing Data and Knew About
                           Suspicious Orders and Prescribers

          544.         The data that reveals and/or confirms the identity of each wrongful opioid

   distributor is hidden from public view in the DEA’s confidential ARCOS database. The data

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   necessary to identify with specificity the transactions that were suspicious is in possession of the

   Distributor and Marketing Defendants but has not been disclosed to the public.

          545.         Publicly available information confirms that Distributor and Marketing

   Defendants funneled far more opioids into communities across the United States than could have

   been expected to serve legitimate medical use, and ignored other red flags of suspicious orders.

   This information, along with the information known only to Distributor and Marketing

   Defendants, would have alerted them to potentially suspicious orders of opioids.

          546.         This information includes the following facts:

                  a.       distributors and manufacturers have access to detailed transaction-level
                           data on the sale and distribution of opioids, which can be broken down by
                           zip code, prescriber, and pharmacy and includes the volume of opioids,
                           dose, and the distribution of other controlled and non-controlled
                           substances;

                  b.       manufacturers make use of that data to target their marketing and, for that
                           purpose, regularly monitor the activity of doctors and pharmacies;

                  c.       manufacturers and distributors regularly visit pharmacies and doctors to
                           promote and provide their products and services, which allows them to
                           observe red flags of diversion, as described in paragraphs 186 and 200;

                  d.       Distributor Defendants together account for approximately 90% of all
                           revenues from prescription drug distribution in the United States, and each
                           plays such a large part in the distribution of opioids that its own volume
                           provides a ready vehicle for measuring the overall flow of opioids into a
                           pharmacy or geographic area; and

                  e.       Marketing Defendants purchased chargeback data (in return for discounts
                           to Distributor Defendants) that allowed them to monitor the combined
                           flow of opioids into a pharmacy or geographic area.

          547.         The conclusion that Defendants were on notice of the problems of abuse and

   diversion follows inescapably from the fact that they flooded communities with opioids in

   quantities that they knew or should have known exceeded any legitimate market for opioids-even


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   the wider market for chronic pain.

          548.        At all relevant times, Defendants were in possession of national, regional, state,

   and local prescriber- and patient-level data that allowed them to track prescribing patterns over

   time. They obtained this information from data companies, including but not limited to: IMS

   Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics, NDS

   Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters

   Kluwer, and/or PRA Health Science, and all of their predecessors or successors in interest (the

   “Data Vendors”).

          549.        The Distributor Defendants developed “know your customer” questionnaires

   and files. This information, compiled pursuant to comments from the DEA in 2006 and 2007

   was intended to help Defendants identify suspicious orders or customers who were likely to

   divert prescription opioids.211 The “know your customer” questionnaires informed Defendants

   of the number of pills that the pharmacies sold, how many non-controlled substances were sold

   compared to controlled substances, whether the pharmacy buys from other distributors, the types

   of medical providers in the area, including pain clinics, general practitioners, hospice facilities,

   cancer treatment facilities, among others, and these questionnaires put the recipients on notice of

   suspicious orders.

          550.        Defendants purchased nationwide, regional, state, and local prescriber- and



   211
      Suggested Questions a Distributor Should Ask Prior to Shipping Controlled Substances, Drug
   Enf’t Admin. Diversion Control Div.,
   https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard
   Widup, Jr., & Kathleen H. Dooley, Esq., Pharmaceutical Production
   Diversion: Beyond the PDMA, Purdue Pharma and McGuireWoods LLC (Oct.
   2010), https://www.mcguirewoods.com/news-
   resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.
                                                   -171-
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   patient-level data from the Data Vendors that allowed them to track prescribing trends, identify

   suspicious orders, identify patients who were doctor shopping, identify pill mills, etc. The Data

   Vendors’ information purchased by Defendants allowed them to view, analyze, compute, and

   track their competitors’ sales, and to compare and analyze market share information.212

          551.       IMS Health, for example, provided Defendants with reports detailing

   prescriber behavior and the number of prescriptions written between competing products.213

          552.       Similarly, Wolters Kluwer, an entity that eventually owned data mining

   companies that were created by McKesson (Source) and Cardinal Health (ArcLight), provided

   Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,

   organized by territory, regarding competing drugs, and analyzed the market share of those

   drugs.214

          553.       This information allowed Defendants to track and identify instances of

   overprescribing. In fact, one of the Data Vendors’ experts testified that the Data Vendors’

   information could be used to track, identify, report and halt suspicious orders of controlled

   substances.215




   212
       A Verispan representative testified that the Distributor Defendants use the prescribing
   information to “drive market share.” Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 661712,
   *9-10 (Feb. 22, 2011).
   213
       Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How We Turned a Mountain
   of Data into a Few Information-Rich Molehills, (accessed on February 15, 2018),
   http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf,
   Figure 2 at p.3.
   214
       Joint Appendix in Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 705207, *467-471 (Feb.
   22, 2011).
   215
       In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vendor, that “a firm
   that sells narcotic analgesics was able to use prescriber-identifiable information to identify
   physicians that seemed to be prescribing an inordinately high number of prescriptions for their
                                                 -172-
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            554.     Defendants were, therefore, collectively aware of the suspicious orders that

   flowed daily from their manufacturing and distribution facilities.

            555.     Defendants refused to identify, investigate and report suspicious orders to the

   DEA when they became aware of the same despite their actual knowledge of drug diversion

   rings.   As described in detail below, Defendants refused to identify suspicious orders and

   diverted drugs despite the DEA issuing final decisions against distributors in 178 registrant

   actions between 2008 and 2012216 and 117 recommended decisions in registrant actions from

   The Office of Administrative Law Judges. These numbers include 76 actions involving orders to

   show cause and 41 actions involving immediate suspension orders, all for failure to report

   suspicious orders.217

            556.     Sales representatives were also aware that the prescription opioids they were

   promoting were being diverted, often with lethal consequences. As a sales representative wrote

   on a public forum:

   Actions have consequences—so some patient gets Rx’d the 80mg OxyContin
   when they probably could have done okay on the 20mg (but their doctor got
   “sold” on the 80mg) and their teen son/daughter/child’s teen friend finds the pill
   bottle and takes out a few 80’s. . . next they’re at a pill party with other teens and
   some kid picks out a green pill from the bowl. . . they go to sleep and don’t wake
   up (because they don’t understand respiratory depression) Stupid decision for a
   teen to make. . .yes. . . but do they really deserve to die?

            557.     Moreover, Defendants’ sales incentives rewarded sales representatives who

   happened to have pill mills within their territories, enticing those representatives to look the


   product.” Joint Appendix in Sorrell v. IMS Health, No. 10-779, 2011 WL 687134, at *204 (Feb.
   22, 2011).
   216
       Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
   Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
   https://oig.justice.gov/reports/2014/e1403.pdf.
   217
       Id.
                                                   -173-
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   other way even when their in-person visits to such clinics should have raised numerous red flags.

   In one example, a pain clinic in South Carolina was diverting massive quantities of OxyContin.

   People traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s

   diversion unit raided the clinic, and prosecutors eventually filed criminal charges against the

   doctors. But Purdue’s sales representative for that territory, Eric Wilson, continued to promote

   OxyContin sales at the clinic. He reportedly told another local physician that this clinic

   accounted for 40% of the OxyContin sales in his territory. At that time, Wilson was Purdue’s

   top-ranked sales representative.218 In response to news stories about this clinic, Purdue issued a

   statement, declaring that “if a doctor is intent on prescribing our medication inappropriately,

   such activity would continue regardless of whether we contacted the doctor or not.”219

          558.       In another example, a Purdue sales manager informed her supervisors in 2009

   about a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic

   with her sales representative, “it was packed with a line out the door, with people who looked

   like gang members,” and that she felt “very certain that this [is] an organized drug ring[.]”220 She

   wrote, “This is clearly diversion. Shouldn’t the DEA be contacted about this?” But her

   supervisor at Purdue responded that while they were “considering all angles,” it was “really up to

   [the wholesaler] to make the report.”221 This pill mill was the source of 1.1 million pills

   trafficked to Everett, Washington, a city of around 100,000 people. Purdue waited until after the

   clinic was shut down in 2010 to inform the authorities.


   218
       Meier, supra n.18, at 298-300.
   219
       Id.
   220
       Harriet Ryan et al., More Than 1 million OxyContin Pills Ended up in the Hands of Criminals
   and Addicts. What the Drugmaker Knew, L.A. Times (July 10, 2016),
   http://www.latimes.com/projects/la-me-oxycontin-part2/.
   221
       Id.
                                                  -174-
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            559.     A Kadian prescriber guide discusses abuse potential of Kadian. It is full of

   disclaimers that Actavis has not done any studies on the topic and that the guide is “only

   intended to assist you in forming your own conclusion.” However, the guide includes the

   following statements: (a) “unique pharmaceutical formulation of KADIAN may offer some

   protection from extraction of morphine sulfate for intravenous use by illicit users”; and (b)

   “KADIAN may be less likely to be abused by health care providers and illicit users” because of

   “Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

   formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to

   trough plasma levels of morphine at steady state.”222 The guide is copyrighted by Actavis in

   2007, before Actavis officially purchased Kadian from Alpharma.223

            560.     Defendant’s obligation to report suspicious prescribing ran head on into their

   marketing strategy. Defendants did identify doctors who were their most prolific prescribers, not

   to report them, but to market to them. It would make little sense to focus on marketing to

   doctors who may be engaged in improper prescribing only to report them to law enforcement,

   nor to report those doctors who drove Defendants’ sales.

            561.     Defendants purchased data from IMS Health (now IQVIA) or other proprietary

   sources to identify doctors to target for marketing and to monitor their own and competitors’

   sales. Marketing visits were focused on increasing, sustaining, or converting the prescriptions of

   the biggest prescribers, particularly through aggressive, high frequency detailing visits.

            562.     For example, at a national sales meeting presentation in 2011, Actavis pressed

   its sales representatives to focus on its high prescribers: “To meet and exceed our quota, we must


   222
         ACTAVIS0947868-72, at 68-69.
   223
         Id., at 72.
                                                  -175-
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   continue to get Kadian scripts from our loyalists. MCOs will continue to manage the pain

   products more closely. We MUST have new patient starts or we will fall back into ‘the big

   leak’. We need to fill the bucket faster than it leaks.” “The selling message should reflect the

   opportunity and prescribing preferences of each account. High Kadian Writers / Protect and

   Grow/ Grow = New Patient Starts and Conversions.”224 In an example of how new patients + a

   high-volume physician can impact performance: “102% of quota was achieved by just one high

   volume physician initiating Kadian on 2-3 new patients per week.”225 The same is true for other

   Defendants.226

          563.       This focus on marketing to the highest prescribers demonstrates that

   manufacturers were keenly aware of the doctors who were writing large quantities of opioids.

   But instead of investigating or reporting those doctors, Defendants were singularly focused on

   maintaining, capturing, or increasing their sales.

          564.       Whenever examples of opioid diversion and abuse have drawn media attention,

   Purdue and other Marketing Defendants have consistently blamed “bad actors.” For example, in

   2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

   questions about how it was that Purdue could utilize IMS Health data to assess their marketing

   efforts but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named

   Richard Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is

   painted in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon

   this community, who caused untold suffering. And he fooled us all. He fooled law enforcement.


   224
        ACTAVIS0969604-27, at 616.
   225
       Id., at 625.
   226
        TEVA_CH_00002223 (“minimum of 7 Fentora calls per day” “on high prescribers in order to
   maintain and grow their contribution”).
                                                  -176-
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   He fooled the DEA. He fooled local law enforcement. He fooled us.”227

             565.        But given the closeness with which Defendants monitored prescribing patterns

   through IMS Health data, it is highly improbable that they were “fooled.” In fact, a local

   pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and alerted

   authorities. Purdue had the prescribing data from the clinic and alerted no one. Indeed, a Purdue

   executive referred to Purdue’s tracking system and database as a “gold mine” and acknowledged

   that Purdue could identify highly suspicious volumes of prescriptions.

             566.        As discussed below, Endo knew that Opana ER was being widely abused. Yet,

   the New York Attorney General revealed, based on information obtained in an investigation into

   Endo, that Endo sales representatives were not aware that they had a duty to report suspicious

   activity and were not trained on the company’s policies or duties to report suspicious activity,

   and Endo paid bonuses to sales representatives for detailing prescribers who were subsequently

   arrested for illegal prescribing.

             567.        Sales representatives making in-person visits to such clinics were likewise not

   fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

   alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

   clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

   egregious examples eventually made the nightly news.

                    5.       Defendants Failed to Report Suspicious Orders or Otherwise Act to
                             Prevent Diversion

             568.        As discussed above, Defendants failed to report suspicious orders, prevent

   diversion, or otherwise control the supply of opioids following into communities across America.


   227
         Meier, supra n.18, at 179.
                                                    -177-
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   Despite the notice described above, and in disregard of their duties, Defendants continued to

   pump massive quantities of opioids despite their obligations to control the supply, prevent

   diversion, report, and take steps to halt suspicious orders.

          569.       Governmental agencies and regulators have confirmed (and in some cases

   Defendants have admitted) that Defendants did not meet their obligations and have uncovered

   especially blatant wrongdoing.

          570.       For example, on January 5, 2017, McKesson entered into an Administrative

   Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty

   for, inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO;

   Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista, NE; Livonia,

   MI; Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento,

   CA. McKesson admitted that, at various times during the period from January 1, 2009 through

   the effective date of the Agreement (January 17, 2017), it “did not identify or report to [the]

   DEA certain orders placed by certain pharmacies which should have been detected by McKesson

   as suspicious based on the guidance contained in the DEA Letters.”

          571.       McKesson further admitted that, during this time period, it “failed to maintain

   effective controls against diversion of particular controlled substances into other than legitimate

   medical, scientific and industrial channels by sales to certain of its customers in violation of the

   CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

   Distribution Centers” including the McKesson Distribution Center located in Washington

   Courthouse, Ohio. Due to these violations, McKesson agreed to a partial suspension of its

   authority to distribute controlled substances from certain of its facilities some of which



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   (including the one in Washington Courthouse, Ohio), investigators found “were supplying

   pharmacies that sold to criminal drug rings.”

          572.         Similarly, in 2017, the DOJ fined Mallinckrodt $35 million for failure to report

   suspicious orders of controlled substances, including opioids, and for violating recordkeeping

   requirements. The government alleged that “Mallinckrodt failed to design and implement an

   effective system to detect and report ‘suspicious orders’ for controlled substances—orders that

   are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

   distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

   increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

   orders.”

          573.         On December 23, 2016, Cardinal Health agreed to pay the United States $44

   million to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida,

   and New York by failing to report suspicious orders of controlled substances, including

   oxycodone, to the DEA. In the settlement agreement, Cardinal Health admitted, accepted, and

   acknowledged that it had violated the CSA between January 1, 2009 and May 14, 2012 by failing

   to:

                  a.       “timely identify suspicious orders of controlled substances and inform the
                           DEA of those orders, as required by 21 C.F.R. §1301.74(b)”;

                  b.       “maintain effective controls against diversion of particular controlled
                           substances into other than legitimate medical, scientific, and industrial
                           channels, as required by 21 C.F.R. §1301.74, including the failure to make
                           records and reports required by the CSA or DEA’s regulations for which a
                           penalty may be imposed under 21 U.S.C. §842(a)(5)”; and

                  c.       “execute, fill, cancel, correct, file with the DEA, and otherwise handle
                           DEA ‘Form 222’ order forms and their electronic equivalent for Schedule
                           II controlled substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part
                           1305.”

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             574.        In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal

   Health, as well as several smaller wholesalers, for numerous causes of action, including

   violations of the CSA, consumer credit and protection, and antitrust laws and the creation of a

   public nuisance. Unsealed court records from that case demonstrate that AmerisourceBergen,

   along with McKesson and Cardinal Health, together shipped 423 million pain pills to West

   Virginia between 2007 and 2012. AmerisourceBergen itself shipped 80.3 million hydrocodone

   pills and 38.4 million oxycodone pills during that time period. These quantities alone are

   sufficient to show that Defendants failed to control the supply chain or to report and take steps to

   halt suspicious orders. In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit

   for $16 million to the state; Cardinal Health settled for $20 million.

             575.        Thus, it is the various governmental agencies who have alleged or found—and

   Defendants themselves who have admitted—that Defendants, acting in disregard of their duties,

   pumped massive quantities of opioids into communities around the country despite their

   obligations to control the supply, prevent diversions, and report and take steps to halt suspicious

   orders.

                    6.       Defendants Delayed a Response to the Opioid Crisis by Pretending to
                             Cooperate with Law Enforcement

             576.        When a manufacturer or distributor does not report or stop suspicious orders,

   prescriptions for controlled substances may be written and dispensed to individuals who abuse

   them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

   results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

   enforcement may be delayed in taking action—or may not know to take action at all.

             577.        After being caught failing to comply with particular obligations at particular


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   facilities, Distributor Defendants made broad promises to change their ways and insisted that

   they sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the

   DEA, McKesson claimed to have “taken steps to prevent such conduct from occurring in the

   future,” including specific measures delineated in a “Compliance Addendum” to the Settlement.

   Yet, in 2017, McKesson paid $150 million to resolve an investigation by the DOJ for again

   failing to report suspicious orders of certain drugs, including opioids. Even though McKesson

   had been sanctioned in 2008 for failure to comply with its legal obligations regarding controlling

   diversion and reporting suspicious orders, and even though McKesson had specifically agreed in

   2008 that it would no longer violate those obligations, McKesson continued to violate the laws in

   contrast to its written agreement not to do so.

          578.       More generally, the Distributor Defendants publicly portrayed themselves as

   committed to working with law enforcement, opioid manufacturers, and others to prevent

   diversion of these dangerous drugs. For example, Cardinal Health claims that: “[w]e challenge

   ourselves to best utilize our assets, expertise and influence to make our communities stronger

   and our world more sustainable, while governing our activities as a good corporate citizen in

   compliance with all regulatory requirements and with a belief that doing ‘the right thing’ serves

   everyone.” Cardinal Health likewise claims to “lead [its] industry in anti-diversion strategies to

   help prevent opioids from being diverted for misuse or abuse.” Along the same lines, it claims to

   “maintain a sophisticated, state-of-the-art program to identify, block and report to regulators

   those orders of prescription-controlled medications that do not meet [its] strict criteria.”

   Cardinal Health also promotes funding it provides for “Generation Rx,” which funds grants

   related to prescription drug misuse. A Cardinal Health executive recently claimed that Cardinal



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   Health uses “advanced analytics” to monitor its supply chain; Cardinal Health assured the public

   it was being “as effective and efficient as possible in constantly monitoring, identifying, and

   eliminating any outside criminal activity.”

          579.         Along the same lines, McKesson publicly claims that its “customized analytics

   solutions track pharmaceutical product storage, handling and dispensing in real time at every step

   of the supply chain process,” creating the impression that McKesson uses this tracking to help

   prevent diversion. McKesson has also publicly stated that it has a “best-in-class controlled

   substance monitoring program to help identify suspicious orders,” and claimed it is “deeply

   passionate about curbing the opioid epidemic in our country.”

          580.         AmerisourceBergen, too, has taken the public position that it is “work[ing]

   diligently to combat diversion and [is] working closely with regulatory agencies and other

   partners in pharmaceutical and healthcare delivery to help find solutions that will support

   appropriate access while limiting misuse of controlled substances.” A company spokeswoman

   also provided assurance that: “[a]t AmerisourceBergen, we are committed to the safe and

   efficient delivery of controlled substances to meet the medical needs of patients.”

          581.         Moreover, in furtherance of their effort to affirmatively conceal their conduct

   and avoid detection, Defendants, through their trade associations, HDMA and the National

   Association of Chain Drugstores (“NACDS”), filed an amicus brief in Masters Pharmaceuticals,

   which made the following statements:228

                  a.       “HDMA and NACDS members not only have statutory and regulatory
                           responsibilities to guard against diversion of controlled prescription drugs
                           but undertake such efforts as responsible members of society.”


   228
      Brief for HDMA and NACDS, Masters Pharms., Inc. v. U.S. Drug Enf’t Admin., Case No.
   15-1335, 2016 WL 1321983, at *3-4, *25 (D.C. Cir. Apr. 4, 2016).
                                                   -182-
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                  b.       “Distributors take seriously their duty to report suspicious orders, utilizing
                           both computer algorithms and human review to detect suspicious orders
                           based on the generalized information that is available to them in the
                           ordering process.”

          582.         Through the above statements made on their behalf by their trade associations,

   and other similar statements assuring their continued compliance with their legal obligations,

   Defendants not only acknowledged that they understood their obligations under the law, but they

   further affirmed that their conduct was in compliance with those obligations.

          583.         Defendant Mallinckrodt similarly claims to be “committed . . . to fighting

   opioid misuse and abuse,” and further asserts that: “[i]n key areas, our initiatives go beyond what

   is required by law. We address diversion and abuse through a multidimensional approach that

   includes educational efforts, monitoring for suspicious orders of controlled substances.”

          584.         Other Marketing Defendants also misrepresented their compliance with their

   legal duties and their cooperation with law enforcement. Purdue serves as a hallmark example of

   such wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

   suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its

   “constructive role in the fight against opioid abuse,” including its commitment to ADF opioids

   and its “strong record of coordination with law enforcement.”229

          585.         At the heart of Purdue’s public outreach is the claim that it works hand-in-

   glove with law enforcement and government agencies to combat opioid abuse and diversion.

   Purdue has consistently trumpeted this partnership since at least 2008, and the message of close


   229
      Setting The Record Straight On OxyContin’s FDA-Approved Label, Purdue Pharma (May 5,
   2016), http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-
   oxycontins-fda-approved-label/; Setting The Record Straight On Our Anti-Diversion Programs,
   Purdue Pharma (July 11, 2016), http://www.purduepharma.com/news-media/get-the-
   facts/setting-the-record-straight-on-our-anti-diversion-programs/.
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   cooperation is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

          586.      Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are

   acutely aware of the public health risks these powerful medications create . . . . That’s why we

   work with health experts, law enforcement, and government agencies on efforts to reduce the

   risks of opioid abuse and misuse . . . .”230      Purdue’s statement on “Opioids Corporate

   Responsibility” likewise states that “[f]or many years, Purdue has committed substantial

   resources to combat opioid abuse by partnering with . . . communities, law enforcement, and

   government.”231 And, responding to criticism of Purdue’s failure to report suspicious prescribing

   to government regulatory and enforcement authorities, the website similarly proclaims that

   Purdue “ha[s] a long record of close coordination with the DEA and other law enforcement

   stakeholders to detect and reduce drug diversion.”232

          587.      These public pronouncements create the misimpression that Purdue is

   proactively working with law enforcement and government authorities nationwide to root out

   drug diversion, including the illicit prescribing that can lead to diversion. It aims to distance

   Purdue from its past conduct in deceptively marketing opioids and make its current marketing

   seem more trustworthy and truthful.

          588.      Public statements by Defendants and their associates created the false and



   230
       Opioids With Abuse-Deterrent Properties, Purdue Pharma, http://www.purduepharma.com/
   healthcare-professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/.
   231
       Opioids & Corporate Responsibility, Purdue Pharma,
   http://www.purduepharma.com/about/company-values/opioids-corporate-responsibility/.
   232
       Setting The Record Straight On Our Anti-Diversion Programs, Purdue Pharma (July 11,
   2016), http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-
   our-anti-diversion-programs/http://www.purduepharma.com/news-media/get-the-facts/setting-
   the-record-straight-on-our-anti-diversion-programs/. Contrary to its public statements, Purdue
   seems to have worked behind the scenes to push back against law enforcement.
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   misleading impression to regulators, prescribers, and the public that Defendants rigorously

   carried out their legal duties, including their duty to report suspicious orders and exercise due

   diligence to prevent diversion of these dangerous drugs, and further created the false impression

   that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

   responsibility to the communities their business practices would necessarily impact.

                  7.       The National Retail Pharmacies Were on Notice of and Contributed
                           to Illegal Diversion of Prescription Opioids

          589.         National retail pharmacy chains earned enormous profits by flooding the

   country with prescription opioids. They were keenly aware of the oversupply of prescription

   opioids through the extensive data and information they developed and maintained as both

   distributors and dispensaries. Yet, instead of taking any meaningful action to stem the flow of

   opioids into communities, they continued to participate in the oversupply and profit from it.

          590.         Each of the National Retail Pharmacies does substantial business throughout

   the United States. This business includes the distribution and dispensing of prescription opioids.

          591.         The National Retail Pharmacies failed to take meaningful action to stop this

   diversion despite their knowledge of it, and contributed substantially to the diversion problem.

          592.         The National Retail Pharmacies developed and maintained extensive data on

   opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

   knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

   opioids in communities throughout the country, and in Florida in particular. They used the data

   to evaluate their own sales activities and workforce. On information and belief, the National

   Retail Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

   exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a


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   valuable resource that they could have used to help stop diversion, but failed to do so.

                          a.     The National Retail Pharmacies Have a Duty to Prevent
                                 Diversion

          593.       Each participant in the supply chain of opioid distribution, including the

   National Retail Pharmacies, is responsible for preventing diversion of prescription opioids into

   the illegal market by, among other things, monitoring, and reporting suspicious activity.

          594.       The National Retail Pharmacies, like manufacturers and other distributors, are

   registrants under the CSA. 21 C.F.R. §1301.11. Under the CSA, pharmacy registrants are

   required to “provide effective controls and procedures to guard against theft and diversion of

   controlled substances.” See 21 C.F.R. §1301.71(a). In addition, 21 C.F.R. §1306.04(a) states,

   “[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon

   the prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills

   the prescription.” Because pharmacies themselves are registrants under the CSA, the duty to

   prevent diversion lies with the pharmacy entity, not the individual pharmacist alone.

          595.       The DEA, among others, has provided extensive guidance to pharmacies

   concerning their duties to the public. The guidance advises pharmacies how to identify

   suspicious orders and other evidence of diversion.

          596.       Suspicious pharmacy orders include orders of unusually large size, orders that

   are disproportionately large in comparison to the population of a community served by the

   pharmacy, orders that deviate from a normal pattern and/or orders of unusual frequency and

   duration, among others.

          597.       Additional types of suspicious orders include: (a) prescriptions written by a

   doctor who writes significantly more prescriptions (or in larger quantities or higher doses) for


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   controlled substances compared to other practitioners in the area; (b) prescriptions which should

   last for a month in legitimate use, but are being refilled on a shorter basis; (c) prescriptions for

   antagonistic drugs, such as depressants and stimulants, at the same time; (d) prescriptions that

   look “too good” or where the prescriber’s handwriting is too legible; (e) prescriptions with

   quantities or doses that differ from usual medical usage; (f) prescriptions that do not comply with

   standard abbreviations and/or contain no abbreviations; (g) photocopied prescriptions; or (h)

   prescriptions containing different handwriting. Most of the time, these attributes are not difficult

   to detect and should be easily recognizable by pharmacies.

          598.       Suspicious pharmacy orders are red flags for if not direct evidence of

   diversion.

          599.       Other signs of diversion can be observed through data gathered, consolidated,

   and analyzed by the National Retail Pharmacies themselves. That data allows them to observe

   patterns or instances of dispensing that are potentially suspicious, of oversupply in particular

   stores or geographic areas, or of prescribers or facilities that seem to engage in improper

   prescribing.

          600.       According to industry standards, if a pharmacy finds evidence of prescription

   diversion, the local Board of Pharmacy and DEA must be contacted.

          601.       Despite their legal obligations as registrants under the CSA, the National Retail

   Pharmacies allowed widespread diversion to occur—and they did so knowingly.

          602.       Performance metrics and prescription quotas adopted by the National Retail

   Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

   example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to



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   comply with applicable laws and regulations. There is no measurement for pharmacy accuracy

   or customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

   prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

   predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

   the country. The policies remained in place even as the epidemic raged.

          603.       Upon information and belief, this problem was compounded by the

   Pharmacies’ failure to adequately train their pharmacists and pharmacy technicians on how to

   properly and adequately handle prescriptions for opioid painkillers, including what constitutes a

   proper inquiry into whether a prescription is legitimate, whether a prescription is likely for a

   condition for which the FDA has approved treatments with opioids, and what measures and/or

   actions to take when a prescription is identified as phony, false, forged, or otherwise illegal, or

   when suspicious circumstances are present, including when prescriptions are procured and pills

   supplied for the purpose of illegal diversion and drug trafficking.

          604.       Upon information and belief, the National Retail Pharmacies also failed to

   adequately use data available to them to identify doctors who were writing suspicious numbers

   of prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

   available to them to do statistical analysis to prevent the filling of prescriptions that were

   illegally diverted or otherwise contributed to the opioid crisis.

          605.       Upon information and belief, the National Retail Pharmacies failed to analyze:

   (a) the number of opioid prescriptions filled by individual pharmacies relative to the population

   of the pharmacy's community; (b) the increase in opioid sales relative to past years; (c) the

   number of opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid



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   sales relative to the increase in annual sales of other drugs.

          606.       Upon information and belief, the National Retail Pharmacies also failed to

   conduct adequate internal or external audits of their opioid sales to identify patterns regarding

   prescriptions that should not have been filled and to create policies accordingly, or if they

   conducted such audits, they failed to take any meaningful action as a result.

          607.       Upon information and belief, the National Retail Pharmacies also failed to

   effectively respond to concerns raised by their own employees regarding inadequate policies and

   procedures regarding the filling of opioid prescriptions.

          608.       The National Retail Pharmacies were, or should have been, fully aware that the

   quantity of opioids being distributed and dispensed by them was untenable, and in many areas

   patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

   were complying with their duties and obligations under the law with regard to controlled

   substances.

                          b.      Multiple Enforcement Actions against the National Retail
                                  Pharmacies Confirm their Compliance Failures.

          609.       The National Retail Pharmacies have long been on notice of their failure to

   abide by state and federal law and regulations governing the distribution and dispensing of

   prescription opioids. Indeed, several of the National Retail Pharmacies have been repeatedly

   penalized for their illegal prescription opioid practices. Upon information and belief, based upon

   the widespread nature of these violations, these enforcement actions are the product of, and

   confirm, national policies and practices of the National Retail Pharmacies.

                                  i.      CVS

          610.       CVS is one of the largest companies in the world, with annual revenue of more


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   than $150 billion. According to news reports, it manages medications for nearly 90 million

   customers at 9,700 retail locations. CVS could be a force for good in connection with the opioid

   crisis, but like other Defendants, CVS sought profits over people.

          611.      CVS is a repeat offender and recidivist: the company has paid fines totaling

   over $40 million as the result of a series of investigations by the DEA and the DOJ. It

   nonetheless treated these fines as the cost of doing business and has allowed its pharmacies to

   continue dispensing opioids in quantities significantly higher than any plausible medical need

   would require, and to continue violating its recordkeeping and dispensing obligations under the

   CSA.

          612.      As recently as July 2017, CVS entered into a $5 million settlement with the

   U.S. Attorney’s Office for the Eastern District of California regarding allegations that its

   pharmacies failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled

   substances.233

          613.      This fine was preceded by numerous others throughout the country.

          614.      In February 2016, CVS paid $8 million to settle allegations made by the DEA

   and the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

   under the CSA and filling prescriptions with no legitimate medical purpose.234

          615.      In October 2016, CVS paid $600,000 to settle allegations by the DOJ that


   233
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc.
   Pays $5M to Settle Alleged Violations of the Controlled Substance Act, U.S. Dep’t of Just. (July
   11, 2017), https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-
   violations-controlled-substance-act.
   234
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of Md., United States Reaches
   $8 Million Settlement Agreement with CVS for Unlawful Distribution of Controlled Substances
   (Feb. 12, 2016), https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-
   agreement-cvs-unlawful-distribution-controlled.
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   stores in Connecticut failed to maintain proper records in accordance with the CSA.235

          616.       In September 2016, CVS entered into a $795,000 settlement with the

   Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the

   state’s prescription monitoring program website and review a patient’s prescription history

   before dispensing certain opioid drugs.236

          617.       In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations

   that 50 of its stores violated the CSA by filling forged prescriptions for controlled substances—

   mostly addictive painkillers—more than 500 times between 2011 and 2014.237

          618.       In August 2015, CVS entered into a $450,000 settlement with the U.S.

   Attorney’s Office for the District of Rhode Island to resolve allegations that several of its Rhode

   Island stores violated the CSA by filling invalid prescriptions and maintaining deficient records.

   The United States alleged that CVS retail pharmacies in Rhode Island filled a number of forged

   prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

   nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally

   permitted to prescribe that drug.       Additionally, the government alleged that CVS had




   235
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy
   Pays $600,000 to Settle Controlled Substances Act Allegations (Oct. 20, 2016),
   https://www.justice.gov/usao-ct/pr/cvs-pharmacy-pays-600000-settle-controlled-substances-act-
   allegations.
   236
       Dialynn Dwyer, CVS Will Pay $795,000, Strengthen Policies Around Dispensing Opioids in
   Agreement With State, Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-
   news/2016/09/01/cvs-will-pay-795000-strengthen-policies-around-dispensing-opioids-in-
   agreement-with-state.
   237
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5
   Million to Resolve Allegations that Pharmacists Filled Fake Prescriptions (June 30, 2016),
   https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-
   fake-prescriptions.
                                                 -191-
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   recordkeeping deficiencies.238

          619.       In May 2015, CVS agreed to pay a $22 million penalty following a DEA

   investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

   prescription opioids, “based on prescriptions that had not been issued for legitimate medical

   purposes by a health care provider acting in the usual course of professional practice. CVS also

   acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

   that were issued based on legitimate medical need.”239

          620.       In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

   allegations it filled prescriptions written by a doctor whose controlled-substance registration had

   expired.240

          621.       In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board

   for improperly selling prescription narcotics in at least five locations in the Oklahoma City

   metropolitan area.241

          622.       Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

   intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA



   238
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of R.I., Drug Diversion
   Claims Against CVS Health Corp. Resolved With $450,000 Civil Settlement (Aug. 10, 2015),
   https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-health-corp-resolved-
   450000-civil-settlement.
   239
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office M. Dist. of Fla., United States
   Reaches $22 Million Settlement Agreement With CVS For Unlawful Distribution of Controlled
   Substances (May 13, 2015), https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-
   million-settlement-agreement-cvs-unlawful-distribution.
   240
       Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News,
   http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-
   5736554.php. (Last Updated Sept. 5, 2014, 8:00 PM).
   241
       Andrew Knittle, Oklahoma Pharmacy Board Stays Busy, Hands Out Massive Fines at Times,
   NewsOK, http://newsok.com/article/5415840. (Last Updated May 4, 2015, 5:00 PM).
                                                 -192-
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   registration numbers.242

                                    ii.   Walgreen

           623.       Walgreen is the second-largest pharmacy store chain in the United States

   behind CVS, with annual revenue of more than $118 billion. According to its website, Walgreen

   operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day

   adjusted basis in fiscal 2017.

           624.       Walgreen also has been penalized for serious and flagrant violations of the

   CSA. Indeed, Walgreen agreed to the largest settlement in DEA history—$80 million—to

   resolve allegations that it committed an unprecedented number of recordkeeping and dispensing

   violations of the CSA, including negligently allowing controlled substances such as oxycodone

   and other prescription painkillers to be diverted for abuse and illegal black market sales.243

           625.       The settlement resolved investigations into and allegations of CSA violations

   in Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of

   opioids into illicit channels.

           626.       Walgreen’s Florida operations at issue in this settlement highlight its egregious

   conduct regarding diversion of prescription opioids. Walgreen’s Florida pharmacies each

   allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten




   242
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11
   Million To Settle Civil Penalty Claims Involving Violations of Controlled Substances Act (Apr.
   3, 2013), https://www.justice.gov/usao-wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-
   involving-violations-controlled.
   243
       Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office S. Dist. of Fla., Walgreen Agrees
   To Pay A Record Settlement Of $80 Million For Civil Penalties Under The Controlled
   Substances Act (June 11, 2013), https://www.justice.gov/usao-sdfl/pr/Walgreen-agrees-pay-
   record-settlement-80-million-civil-penalties-under-controlled.
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   times the average amount.244

          627.       They increased their orders over time, in some cases as much as 600% in the

   space of just two years, including, for example, supplying a town of 3,000 with 285,800 orders

   of oxycodone in a one-month period. Yet Walgreen’s corporate officers turned a blind eye to

   these abuses. In fact, corporate attorneys at Walgreen suggested, in reviewing the legitimacy of

   prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

   prescriptions perhaps we should consider not documenting our own potential noncompliance,”

   underscoring Walgreen’s attitude that profit outweighed compliance with the CSA or the health

   of communities.245

          628.       Defendant Walgreen’s settlement with the DEA stemmed from the DEA’s

   investigation into Walgreen’s distribution center in Jupiter, Florida, which was responsible for

   significant opioid diversion in Florida. According to the Order to Show Cause, Walgreen’s

   corporate headquarters pushed to increase the number of oxycodone sales to Walgreen’s Florida

   pharmacies, and provided bonuses for pharmacy employees based on number of prescriptions

   filled at the pharmacy in an effort to increase oxycodone sales. In July 2010, Walgreen ranked all

   of its Florida stores by number of oxycodone prescriptions dispensed in June of that year, and

   found that the highest-raking store in oxycodone sales sold almost 18 oxycodone prescriptions

   per day. All of these prescriptions were filled by the Jupiter Center.

          629.       Walgreen has also settled with a number of state attorneys general, including




   244
       Appendix B of Order to Show Cause and Immediate Suspension of Registration, In the
   Matter of Walgreen Co. (Drug Enf’t Admin. Sept. 13, 2012),
   https://www.dea.gov/divisions/mia/2013/mia061113_appendixb.pdf.
   245
       Id.
                                                  -194-
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   West Virginia ($575,000) and Massachusetts ($200,000).246

          630.       The Massachusetts Attorney General’s Medicaid Fraud Division found that,

   from 2010 through most of 2015, multiple Walgreen stores across the state failed to monitor the

   opioid use of some Medicaid patients who were considered high-risk.

          631.    In January 2017, an investigation by the Massachusetts Attorney General found

   that some Walgreen pharmacies failed to monitor patients’ drug use patterns and didn’t use

   sound professional judgment when dispensing opioids and other controlled substances—despite

   the context of soaring overdose deaths in Massachusetts. Walgreen agreed to pay $200,000 and

   follow certain procedures for dispensing opioids.247

          632.       Numerous state and federal drug diversion prosecutions have occurred in

   which prescription opioid pills were procured from National Retail Pharmacies. The allegations

   in this Complaint do not attempt to identify all these prosecutions, and the information above is

   merely by way of example.

          633.       The litany of state and federal actions against the National Retail Pharmacies

   demonstrate that they routinely, and as a matter of standard operation procedure, violated their

   legal obligations under the CSA and other laws and regulations that govern the distribution and

   dispensing of prescription opioids.

          634.       Throughout the country and in Florida in particular, the National Retail

   Pharmacies were or should have been aware of numerous red flags of potential suspicious

   activity and diversion.



   246
       Felice J. Freyer, Walgreen to Pay $200,000 Settlement for Lapses with Opioids, APhA (Jan.
   25, 2017), https://www.pharmacist.com/article/Walgreen-pay-200000-settlement-lapses-opioids.
   247
       Id.
                                                 -195-
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          635.       On information and belief, from the catbird seat of their retail pharmacy

   operations, the National Retail Pharmacies knew or reasonably should have known about the

   disproportionate flow of opioids into Florida and the operation of “pill mills” that generated

   opioid prescriptions that, by their quantity or nature, were red flags for if not direct evidence of

   illicit supply and diversion. Additional information was provided by news reports, and state and

   federal regulatory actions, including prosecutions of pill mills in the area.

          636.       On information and belief, the National Retail Pharmacies knew or reasonably

   should have known about the devastating consequences of the oversupply and diversion of

   prescription opioids, including spiking opioid overdose rates in the community.

          637.       On information and belief, because of (among other sources of information)

   regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

   against others pertaining to prescription opioids obtained from their retail stores, complaints and

   information from employees and other agents, and the massive volume of opioid prescription

   drug sale data that they developed and monitored, the National Retail Pharmacies were well

   aware that their distribution and dispensing activities fell far short of legal requirements.

          638.       The National Retail Pharmacies’ actions and omission in failing to effectively

   prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

   significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

          F.      The Opioids Defendants Sold Migrated into Other Jurisdictions

          639.       As the demand for prescription opioids grew, fueled by their potency and

   purity, interstate commerce flourished: opioids moved from areas of high supply to areas of high

   demand, traveling across state lines in a variety of ways.

          640.       First, prescriptions written in one state would, under some circumstances, be

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   filled in a different state. But even more significantly, individuals transported opioids from one

   jurisdiction specifically to sell them in another.

          641.       When authorities in states such as Ohio and Kentucky cracked down on opioid

   suppliers, out-of-state suppliers filled the gaps. Florida in particular assumed a prominent role,

   as its lack of regulatory oversight created a fertile ground for pill mills. Residents of Ohio and

   other states would simply drive to Florida, stock up on pills from a pill mill, and transport them

   back to home to sell. The practice became so common that authorities dubbed these individuals

   “prescription tourists.”

          642.       The facts surrounding numerous criminal prosecutions illustrate the common

   practice.   For example, one man from Warren County, Ohio, sentenced to four years for

   transporting prescription opioids from Florida to Ohio, explained that he could get a prescription

   for 180 pills from a quick appointment in West Palm Beach, and that back home, people were

   willing to pay as much as $100 a pill—ten times the pharmacy price.248 In Columbus, Ohio, a

   DEA investigation led to the 2011 prosecution of sixteen individuals involved in the “oxycodone

   pipeline between Ohio and Florida.”249 When officers searched the Ohio home of the alleged

   leader of the group, they found thousands of prescriptions pills, including oxycodone and

   hydrocodone, and $80,000 in cash. In 2015, another Columbus man was sentenced for the same

   conduct—paying couriers to travel to Florida and bring back thousands of prescription opioids,




   248
       Andrew Welsh-Huggins, Associated Press, ‘Prescription Tourists’ Thwart States’ Crackdown
   on Illegal Sale of Painkillers, NBC News, http://www.nbcnews.com/id/48111639/ns/us_news-
   crime_and_courts/t/prescription-tourists-thwart-states-crackdown-illegal-sale-painkillers/#.
   WtdyKE2Wy71. (Last Updated July 8, 2012, 12:28 PM).
   249
       16 Charged in ‘Pill Mill’ Pipeline, Columbus Dispatch (June 7, 2011),
   http://www.dispatch.com/content/stories/local/2011/06/07/16-charged-in-pill-mill-pipeline.html.
                                                   -197-
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   and, in the words of U.S. District Judge Michael Watson, contributing to a “pipeline of death.”250

          643.       Outside of Atlanta, Georgia, four individuals pled guilty in 2015 to operating a

   pill mill; the U.S. attorney’s office found that most of the pain clinic’s customers came from

   other states, including North Carolina, Kentucky, Tennessee, Ohio, South Carolina, and

   Florida.251 Another investigation in Atlanta led to the 2017 conviction of two pharmacists who

   dispensed opioids to customers of a pill mill across from the pharmacy; many of those customers

   were from other states, including Ohio and Alabama.252

          644.       In yet another case, defendants who operated a pill mill in Broward County,

   Florida, were tried in eastern Kentucky based on evidence that large numbers of customers

   transported oxycodone back to the area for both use and distribution by local drug trafficking

   organizations. As explained by the Sixth Circuit in its decision upholding the venue decision,

   “[d]uring its existence, the clinic generated over $10 million in profits. To earn this sum

   required more business than the local market alone could provide. Indeed, only about half of the

   [Pain Center of Broward]’s customers came from Florida. Instead, the clinic grew prosperous on

   a flow of out-of-state traffic, with prospective patients traveling to the clinic from locations far




   250
       Associate Press, Leader of Ohio Pill-Mill Trafficking Scheme Sentenced, Star Beacon (July
   16, 2015), http://www.starbeacon.com/news/leader-of-ohio-pill-mill-trafficking-scheme-
   sentenced/article_5fb058f5-deb8-5963-b936-d71c279ef17c.html.
   251
       Press Release, U.S. Dep’t of Just., U.S. Atty’s Off., Northern District of Ga., Four Defendants
   Plead Guilty to Operating a “Pill Mill” in Lilburn, Georgia (May 14, 2015),
   https://www.justice.gov/usao-ndga/pr/four-defendants-plead-guilty-operating-pill-mill-lilburn-
   georgia.
   252
       Press Release, U.S. Dep’t of Just., U.S. Atty’s Off., Northern District of Ga., Two Pharmacists
   Convicted for Illegally Dispensing to Patients of a Pill Mill (Mar. 29, 2017),
   https://www.justice.gov/usao-ndga/pr/two-pharmacists-convicted-illegally-dispensing-patients-
   pill-mill.
                                                  -198-
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   outside Broward County, including from Ohio, Georgia, and Massachusetts.”253             The court

   further noted that the pill mill “gained massive financial benefits by taking advantage of the

   demand for oxycodone by Kentucky residents.”254

          645.       The route from Florida and Georgia to Kentucky, Ohio, and West Virginia was

   so well traveled that it became known as the Blue Highway, a reference to the color of the 30mg

   Roxicodone pills manufactured by Mallinckrodt.255 Eventually, as police began to stop vehicles

   with certain out-of-state tags cruising north on I-75, the prescription tourists adapted. They

   rented cars just over the Georgia state line to avoid the telltale out-of-state tag.256 If they were

   visiting multiple pill mills on one trip, they would stop at FedEx between clinics to mail the pills

   home and avoid the risk of being caught with multiple prescriptions if pulled over. 257 Or they

   avoided the roads altogether: Allegiant Air, which offered several flights between Appalachia

   and Florida, was so popular with drug couriers that it was nicknamed the “Oxy Express.”258

          646.       While the I-75 corridor was well utilized, prescription tourists also came from

   other states. The director of the Georgia drugs and narcotics agency observed that visitors to

   Georgia pill mills come from as far away as Arizona and Nebraska.259




   253
       United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
   254
       Id. at 861.
   255
       John Temple, American Pain. How a Young Felon and His Ring of Doctors Unleashed
   America’s Deadliest Drug Epidemic 171 (First Lyons Press ed. 2016).
   256
       Id. at 172.
   257
       Id. at 171.
   258
       Id.; see also Welsh-Huggins, supra note 248. Note that Interstate 75 was also called as the
   Oxy Express; for example, the Peabody Award-winning documentary named The OxyContin
   Express focuses on the transport of prescription opioids along I-75.
   https://www.youtube.com/watch?v=wGZEvXNqzkM.
   259
       Andrew Welsh-Huggins, Associated Press, ‘Prescription Tourists’ Thwart States’ Crackdown
   on Illegal Sale of Painkillers, NBC News, http://www.nbcnews.com/id/48111639/ns/us_news-
                                                  -199-
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          647.      Similar pipelines developed in other regions of the country. For example, the

   I-95 corridor was another transport route for prescription pills. As the director of the Maine

   Drug Enforcement Agency explained, the oxycodone in Maine was coming up extensively from

   Florida, Georgia, and California.260 And, according to the FBI, Michigan plays an important role

   in the opioid epidemic in other states; opioids prescribed in Michigan are often trafficked down

   to West Virginia, Ohio, and Kentucky.261

          648.      Along the West Coast, over a million pills were transported from the Lake

   Medical pain clinic in Los Angeles and cooperating pharmacies to the City of Everett,

   Washington.262 Couriers drove up I-5 through California and Oregon, or flew from Los Angeles

   to Seattle.263 The Everett-based dealer who received the pills from southern California wore a

   diamond necklace in the shape of the West Coast states with a trail of green gemstones—the

   color of 80-milligram OxyContin—connecting Los Angeles and Washington state.264




   crime_and_courts/t/prescription-tourists-thwart-states-crackdown-illegal-sale-painkillers/#.
   WtdyKE2Wy71.
   260
       Nok-Noi Ricker, Slaying of Florida firefighter in Maine Puts Focus on Interstate 95 Drug
   Running, Bangor Daily News (March 9, 2012), http://bangordailynews.com/2012/03/09/news/
   state/slaying-of-florida-firefighter-in-maine-puts-focus-on-interstate-95-drug-running/.
   261
       Julia Smillie, Michigan’s Opioid Epidemic Tackled From All Directions By Detroit FBI,
   Workit Health (October 6, 2017), https://www.workithealth.com/blog/fbi-michigan-opioid-crisis.
   262
       Harriet Ryan et al., How Black-Market Oxycontin Spurred a Town’s Descent Into Crime,
   Addiction and Heartbreak, Los Angeles Times (July 10, 2016),
   http://www.latimes.com/projects/la-me-oxycontin-everett/.
   263
       Id.
   264
       Id.
                                                -200-
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          649.       Abundant evidence, thus, establishes that prescription opioids migrated

   between cities, counties, and states, including into Ohio from West Virginia, Kentucky, Illinois,

   Georgia, and Florida. As a result, prescription data from any particular jurisdiction does not

   capture the full scope of the misuse, oversupply, and diversion problem in that specific area. As

   the criminal prosecutions referenced above show, if prescription opioid pills were hard to get in

   one area, they migrated from another. The manufacturers and distributors were fully aware of

   this phenomenon and profited from it.

          G.      Florida Has Been Overwhelmed by the Opioid Epidemic

          650.       In 2016, the United States suffered the largest number of opioid overdose

   deaths in modern history, and Florida shouldered the highest death toll in the country.




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                2016 Opioid-Related Overdose Deaths Nationwide By State




         651.    Fatal opioid overdoses in Florida have been rising rapidly. From 1999 to 2015,

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   Florida saw a 153% increase in overdose fatalities. In 2014, there were 2,676 Florida opioid

   overdose deaths.265 The number increased 23% between 2014 and 2015 when 3,292 Floridians

   overdosed.266       In      2016,       there       were      4,728       fatal     overdoses.267




          652.      In August 2016, then U.S. Surgeon General Vivek Murthy published an open

   letter to physicians nationwide, enlisting their help in combating this “urgent health crisis” and

   linking that crisis to deceptive marketing. He wrote that the push to aggressively treat pain, and

   the “devastating” results that followed, had “coincided with heavy marketing to



   265
       Drug Poisoning Mortality in the United States, 1999-2016, Ctrs. for Disease Control and
   Prevention, https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality/ (last visited
   Apr. 24, 2018).
   266
       Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United
   States, 2010-2015, 65 (50 $ 51) Ctrs. for Disease Control and Prevention, Morbidity & Mortality
   Wkly. Rep. 1445, 1445-52 (2016),
   https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm.
   267
       Opioid & Health Indicators Database - National Opioid Epidemic, amfAR,
   http://opioid.amfar.org/indicator/drugdeaths# (last accessed: April 22, 2018).
                                                   -203-
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   doctors . . . [m]any of [whom] were even taught—incorrectly—that opioids are not addictive

   when prescribed for legitimate pain.”

          653.       Scientific evidence demonstrates a close link between opioid prescriptions and

   opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

   exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”

          654.       There is a “parallel relationship between the availability of prescription opioid

   analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

   associated adverse outcomes.”      The opioid epidemic is “directly related to the increasingly

   widespread misuse of powerful opioid pain medications.”

          655.       In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

   quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

   opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons,

   the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical

   “to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

          656.       By continuing to fill and failing to report suspicious orders of opioids,

   Defendants have enabled an oversupply of opioids, which allows non-patients to become

   exposed to opioids, and facilitates access to opioids for both patients who could no longer access

   or afford prescription opioids and individuals struggling with addiction and relapse. Defendants

   had financial incentives to distribute higher volumes and not to report suspicious orders or guard

   against diversion. Wholesale drug distributors acquire pharmaceuticals, including opioids, from

   manufacturers at an established wholesale acquisition cost. Discounts and rebates from this cost

   may be offered by manufacturers based on market share and volume. As a result, higher



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   volumes may decrease the cost per pill to distributors. Decreased cost per pill in turn, allows

   wholesale distributors to offer more competitive prices, or alternatively, pocket the difference as

   additional profit. Either way, the increased sales volumes result in increased profits.

          657.       It has been estimated that 60% of the opioids that are abused come, directly or

   indirectly, through physicians’ prescriptions. In 2011, 71% of people who abused prescription

   opioids got them through friends or relatives, not from drug dealers or the internet.

          658.       In fact, people who are addicted to prescription opioid painkillers are 40 times

   more likely to be addicted to heroin.       The CDC identified addiction to prescription pain

   medication as the strongest risk factor for heroin addiction. Roughly 80% of heroin users

   previously used prescription opioids.

          659.       A recent, even more deadly problem stemming from the prescription opioid

   epidemic involves fentanyl—a powerful opioid prescribed for cancer pain or in hospital settings

   that has made its way into Florida communities.

          660.       Carfentanil, a powerful derivative of fentanyl, has increasingly been found in

   heroin and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary

   medicine to sedate large wild animals such as elephants, and has been researched as a chemical

   weapon. A dose the size of a grain of salt can rapidly lead to deadly overdose in humans.

   Because of its potency, the DEA recommends that first responders, chemists, and lab technicians

   who test for carfentanil use protective gear.

          661.       These statistics, however, do not communicate the full toll of the prescription

   opioids on their victims, their families, and the community.

          662.       More than 4,000 babies were born with Neonatal Abstinence Syndrome in the



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   State of Florida during 2016.268 Neonatal Abstinence Syndrome has increased fifteen-fold since

   1999 in the State of Florida.269

          663.       Seventy-eight percent of children in Florida’s child care system are there

   because of a parent’s substance use disorder.270 And in the first six months of 2017, over 60% of

   all children removed from their homes and placed into the custody of the Florida Department of

   Children and Families in Florida was largely due to substance use disorder.271 Cases where

   children are removed from homes because of substance abuse increase the costs borne by the

   local governments by necessitating longer out-of-home care as well as requiring additional

   investigation and oversight.272

          664.       Governor Rick Scott officially declared the opioid epidemic a public health

   emergency in Florida on May 4, 2017, stating, “[t]he individuals struggling with drug use are

   sons, daughters, mothers, fathers, sisters, brothers and friends and each tragic case leaves loved

   ones searching for answers and praying for help . . . . Families across our nation are fighting the




   268
       The News Service of Florida, Opioid Crisis Taking Its Toll on Florida Children, WUSF
   Public Media, (Nov. 9, 2017), http://wusfnews.wusf.usf.edu/post/opioid-crisis-taking-its-toll-
   florida-children.
   269
       Florida Opioid Summary, N.I.H. Nat’l Inst. of Drug Abuse (revised Feb. 2018),
   https://www.drugabuse.gov/drugs-abuse/opioids/opioid-summaries-by-state/florida-opioid-
   summary.
   270
       Jim Hall, Patterns and Trends of the Opioid Epidemic in Broward County, Mayor’s Opioid
   Summit (Aug. 24, 2017), http://www.drugfreebroward.org/wp-content/uploads/2016/05/The-
   Opioid-Epidemic-in-Broward-County.pdf.
   271
       The News Service of Florida, Opioid Crisis Taking Its Toll on Florida Children, WUSF
   Public Media, (Nov. 9, 2017), http://wusfnews.wusf.usf.edu/post/opioid-crisis-taking-its-toll-
   florida-children.
   272
       Dara Kam, Opioid Crisis Taking Toll on Florida Children, Panama City News Herald (Nov.
   9, 2017), http://www.newsherald.com/news/20171109/opioid-crisis-taking-toll-on-florida-
   children.
                                                 -206-
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   opioid epidemic, and Florida is going to do everything possible to help our communities.”273

          H.      The Opioid Epidemic in Broward County

          665.       As highlighted herein, BBHC is the contracted BHME serving Broward

   County. Broward County is the third most densely populated metropolitan area in the United

   States with over 1.96 million residents.

                     2016 Opioid-Related Overdose Deaths Nationwide By County274




          666.       The opioid epidemic claimed 582 drug deaths in Broward County in 2016.275




   273
       Michael Auslen, Gov. Scott Declares Public Health Emergency Over Opioid Crisis, Miami
   Herald (May 3, 2017), http://www.miamiherald.com/news/health-care/article148355444.html.
   274
       Opioid & Health Indicators Database - National Opioid Epidemic, amfAR,
   http://opioid.amfar.org/indicator/drugdeaths# (last accessed: August 2, 2018).
   275
       Press Release, Broward County , Alarming Number of People Overdosing on Opiates in
   Broward (Apr. 5, 2017),
   https://webapps.broward.org/newsrelease/View.aspx?intMessageID=10372.
                                                -207-
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   Broward County had the ninth highest opioid overdose death rate in the country that year.276

   More troublingly, the number of overdose deaths in Broward County is going up.277

          667.       On average, every week in Broward County 12 lives are lost to opioid

   overdoses and another 17 residents suffer non-fatal overdoses.278

          668.       The number of Broward County lives lost due to drug overdoses in 2016 was

   more than double the amount in 2014, and up by 260 deaths from 2015.279

          669.       Reports estimate that the death toll caused by the non-medical use of

   prescription opioids continues to rise in Florida:280




   276
       Opioid & Health Indicators Database - National Opioid Epidemic, amfAR,
   http://opioid.amfar.org/indicator/drugdeaths# (last accessed: April 22, 2018).
   277
       Peter Haden, Broward County M.E. Sees Rise in People Dying From Mix of Drugs, WLRN
   (Aug. 24, 2017), http://wlrn.org/post/broward-county-me-sees-rise-people-dying-mix-drugs.
   278
       Mayor’s Opioid Summit, supra n.270.
   279
       County Commission News Release, supra n.
   280
       United Way of Broward County Commission on Substance Abuse, Drug Abuse Trends in
   Broward County, Florida, Annual Report: June 2017, http://www.drugfreebroward.org/wp-
   content/uploads/2016/05/June-2017-Broward-Substance-Abuse-Trends-Report.pdf.
                                                   -208-
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          670.      Statistics for January through December 2016 from the District 17 Office of

   Medical Examiner and Trauma Services, which covers Broward County, reveal that of the drug

   overdose deaths examined in Broward County, 109 involved oxycodone, 21 involved

   hydrocodone, 14 involved methadone, 193 involved morphine, 154 involved fentanyl, and 180

   involved heroin, and those numbers are rising.281

          671.      Florida Medical Examiners Commission reports that during 2016, heroin




   281
      Florida Department of Law Enforcement, Drugs Identified in Deceased Persons by Florida
   Medical Examiners, Medical Examiners Commission 2016 Annual Report, (Nov. 2017),
   https://www.fdle.state.fl.us/MEC/Publications-and-Forms/Documents/Drugs-in-Deceased-
   Persons/2016-Annual-Drug-Report.aspx.
                                                 -209-
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   deaths increased 31% Statewide and 125% in Broward County compared to 2015.282 Broward

   County had 450 heroin-related overdose deaths in 2016, an increase of 131%from 2015.283 The

   number of fentanyl-related overdose death also increased 266% locally in 2016 compared to

   2015.284

          672.      According to the Florida Medical Examiners Commission, synthetic opioids

   like fentanyl and carfentanil killed more than 850 people in the first half of 2016— more than

   any other drug.285 In 2016, Broward County suffered at least 53 deaths linked to carfentanil,

   more than any other county in the nation.286

          673.      Between 2007 and 2015, the number of babies born with Neonatal Abstinence

   Syndrome increased more than 230%.287

          674.      The fiscal demands of the extraordinary costs created by the opioid crisis in

   Broward County continues to stretch BBHC’s budget. As a result of Defendants’ conduct,

   actions and/or omissions, BBHC has suffered and will continue to suffer significant damages in a

   number of ways including, but not limited to, increased health care costs, increased human


   282
       John Pacenti & Mike Stucka, Why Palm Beach County is the ‘Epicenter’ of the Deadly
   Opioid Crisis, Palm Beach Post (Dec. 8, 2017);
   https://www.palmbeachpost.com/lifestyles/health/why-palm-beach-county-the-epicenter-the-
   deadly-opioid-crisis/ljgIcYXGEGASNgsqH8essN/; Community Response Team, Broward
   County Opiate Action Plan 2018 (Mar. 2018), http://www.drugfreebroward.org/wp-
   content/uploads/2018/03/Opiate-Action-Plan-2018.pdf.
   283
       John Pacenti & Mike Stucka, Why Palm Beach County is the ‘Epicenter’ of the Deadly
   Opioid Crisis, Palm Beach Post (Dec. 8, 2017).
   284
       Community Response Team, Broward County Opiate Action Plan 2018 (Mar. 2018),
   http://www.drugfreebroward.org/wp-content/uploads/2018/03/Opiate-Action-Plan-2018.pdf.
   285
       Peter Haden, Florida Governor Scott Signs Tough Fentanyl Law In West Palm Beach, WLRN
   (July 11, 2017), http://wlrn.org/post/florida-governor-scott-signs-tough-fentanyl-law-west-palm-
   beach.
   286
       United Way of Broward County, Know the Facts, http://www.drugfreebroward.org/ (last
   accessed Apr. 22, 2018).
   287
       Mayor’s Opioid Summit, supra n.270.
                                                  -210-
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   services costs, costs related to dealing with opioid-related crimes and emergencies, and other

   public safety costs.

            675.        Funds spent by BBHC to treat those suffering as a result of the increasing

   opioid epidemic diverts funds and services away from other BBHC clients and services at a

   rapidly increasing rate preventing BBHC from adequately addressing other behavioral health

   needs of the Broward County community. So much funding is being diverted to treat those

   suffering from opioid addiction and opioid-related health care costs that those suffering from

   other addictions are not being adequately funded to receive the treatments they require.

            676.        The injury suffered by BBHC directly results from the wrongful conduct

   committed by each Defendant and Defendants collectively, as described supra and in more detail

   below.

            I.     Defendants Conspired to Engage in the Wrongful Conduct Complained of
                   Herein and Intended to Benefit Both Independently and Jointly from Their
                   Conspiracy

                   1.       Conspiracy Among Marketing Defendants

            677.        The Marketing Defendants agreed among themselves to set up, develop, and

   fund an unbranded promotion and marketing network to promote the use of opioids for the

   management of pain in order to mislead physicians, patients, health care providers, and health

   care payors through misrepresentations and omissions regarding the appropriate uses, risks, and

   safety of opioids, to increase sales, revenue, and profit from their opioid products.

            678.        This interconnected and interrelated network relied on the Marketing

   Defendants’ collective use of unbranded marketing materials, such as KOLs, scientific literature,

   CMEs, patient education materials, and Front Groups developed and funded collectively by the

   Marketing Defendants intended to mislead consumers and medical providers of the appropriate

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   uses, risks, and safety of opioids.

          679.       The Marketing Defendants’ collective marketing scheme to increase opioid

   prescriptions, sales, revenues and profits centered around the development, the dissemination,

   and reinforcement of nine false propositions: (a) that addiction is rare among patients taking

   opioids for pain; (b) that addiction risk can be effectively managed; (c) that symptoms of

   addiction exhibited by opioid patients are actually symptoms of an invented condition dubbed

   “pseudoaddiction”; (d) that withdrawal is easily managed; (e) that increased dosing presents no

   significant risks; (f) that long-term use of opioids improves function; (g) that the risks of

   alternative forms of pain treatment are greater than the adverse effects of opioids; (h) that use of

   time-released dosing prevents addiction; and (i) that ADF provide a solution to opioid abuse.

          680.       The Marketing Defendants knew that none of these propositions is true and

   that there was no evidence to support them.

          681.       Each Marketing Defendant worked individually and collectively to develop

   and actively promulgate these nine false propositions in order to mislead physicians, patients,

   health care providers, and healthcare payors regarding the appropriate uses, risks, and safety of

   opioids.

          682.       What is particularly remarkable about the Marketing Defendants’ effort is the

   seamless method in which the Marketing Defendants joined forces to achieve their collective

   goal: to persuade consumers and medical providers of the safety of opioids, and to hide their

   actual risks and dangers. In doing so, the Marketing Defendants effectively built a new – and

   extremely lucrative opioid marketplace for their select group of industry players.

          683.       The Marketing Defendants’ unbranded promotion and marketing network was



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   a wildly successful marketing tool that achieved marketing goals that would have been

   impossible to have been met by a single or even a handful of the network’s distinct corporate

   members.

          684.       For example, the network members pooled their vast marketing funds and

   dedicated them to expansive and normally cost-prohibitive marketing ventures, such as the

   creation of Front Groups.     These collaborative networking tactics allowed each Marketing

   Defendant to diversify its marketing efforts, all the while sharing any risk and exposure, financial

   and/or legal, with other Marketing Defendants.

          685.       The most unnerving tactic utilized by the Marketing Defendants’ network, was

   their unabashed mimicry of the scientific method of citing “references” in their materials. In the

   scientific community, cited materials and references are rigorously vetted by objective unbiased

   and disinterested experts in the field, scientific method, and an unfounded theory or proposition

   would, or should, never gain traction.

          686.       Marketing Defendants put their own twist on the scientific method: they

   worked together to manufacture wide support for their unfounded theories and propositions

   involving opioids. Due to their sheer numbers and resources, the Marketing Defendants were

   able to create a false consensus through their materials and references.

          687.       An illustrative example of the Marketing Defendants’ utilization of this tactic

   is the wide promulgation of the Porter and Jick letter, which declared the incidence of addiction

   “rare” for patients treated with opioids. The authors had analyzed a database of hospitalized

   patients who were given opioids in a controlled setting to ease suffering from acute pain. These

   patients were not given long-term opioid prescriptions or provided opioids to administer to



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   themselves at home, nor was it known how frequently or infrequently and in what doses the

   patients were given their narcotics. Rather, it appears the patients were treated with opioids for

   short periods of time under in-hospital doctor supervision.

          688.         Nonetheless, Marketing Defendants widely and repeatedly cited this letter as

   proof of the low addiction risk in connection with taking opioids in connection with taking

   opioids despite its obvious shortcomings. Marketing Defendants’ egregious misrepresentations

   based on this letter included claims that less than 1% of opioid users became addicted.

          689.         Marketing Defendants’ collective misuse of the Porter and Jick letter helped

   the opioid manufacturers convince patients and healthcare providers that opioids were not a

   concern. The enormous impact of Marketing Defendants’ misleading amplification of this letter

   was well documented in another letter published in the NEJM on June 1, 2017, describing the

   way the one-paragraph 1980 letter had been irresponsibly cited and, in some cases, “grossly

   misrepresented.” In particularly, the authors of this letter explained:

           [W]e found that a five-sentence letter published in the Journal in 1980 was
   heavily and uncritically cited as evidence that addiction was rare with long-term
   opioid therapy. We believe that this citation pattern contributed to the North
   American opioid crises by helping to shape a narrative that allayed prescribers’
   concerns about the risk of addiction associated with long-term opioid therapy....

          By knowingly misrepresenting the appropriate uses, risks, and safety of opioids, the

   Marketing Defendants committed overt acts in furtherance of their conspiracy.

                  2.       Conspiracy Among All Defendants

          690.         In addition, and on an even broader level, all Defendants took advantage of the

   industry structure, including end-running its internal checks and balances, to their collective

   advantage. Defendants agreed among themselves to increasing the supply of opioids and

   fraudulently increasing the quotas that governed the manufacture and supply of prescription

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   opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

          691.       The interaction and length of the relationships between and among Defendants

   reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry.

   The Marketing and Distributor Defendants were not two separate groups operating in isolation or

   two groups forced to work together in a closed system. Defendants operated together as a united

   entity, working together on multiple fronts, to engage in the unlawful sale of prescription

   opioids.

          692.       Defendants collaborated to expand the opioid market in an interconnected and

   interrelated network in the following ways, as set forth more fully below and in section V below,

   including, for example, membership in the HDA.

          693.       Defendants utilized their membership in the HDA and other forms of

   collaboration to form agreements about their approach to their duties under the CSA to report

   suspicious orders. Defendants overwhelmingly agreed on the same approach to fail to identify,

   report or halt suspicious opioid orders, and fail to prevent diversion. Defendants’ agreement to

   restrict reporting provided an added layer of insulation from DEA scrutiny for the entire industry

   as Defendants were thus collectively responsible for each other’s compliance with their reporting

   obligations. Defendants were aware, both individually and collectively aware of the suspicious

   orders that flowed directly from Defendants’ facilities.

          694.       Defendants knew that their own conduct could be reported by other Defendants

   and that their failure to report suspicious orders they filled could be brought to the DEA’s

   attention. As a result, Defendants had an incentive to communicate with each other about the

   reporting or suspicious orders to ensure consistency in their dealings with the DEA.



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          695.         Defendants also worked together to ensure that the opioid quotas allowed by

   the DEA remained artificially high and ensured that suspicious orders were not reported to the

   DEA in order to ensure that the DEA had no basis for refusing to increase or decrease production

   quotas due to diversion.

          696.         The desired consistency, and collective end goal was achieved. Defendants

   achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

   opioids.

          J.      Statutes of Limitations Are Tolled and Defendants Are Estopped from
                  Asserting Statutes of Limitations As Defenses

                  1.       Continuing Conduct.

          697.         Plaintiff contends it continues to suffer harm from the unlawful actions by

   Defendants.

          698.         The continued tortious and unlawful conduct by Defendants causes a repeated

   or continuous injury. The damages have not occurred all at once but have continued to occur and

   have increased as time progresses. The tort is not completed nor have all the damages been

   incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

   not ceased. The public nuisance remains unabated. The conduct causing the damages remains

   unabated.

                  2.       Equitable Estoppel and Fraudulent Concealment

          699.         Defendants are equitably estopped from relying upon a statute of limitations

   defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal

   their unlawful conduct and fraudulently assure the public, Plaintiff, and Plaintiff’s community,

   that they were undertaking efforts to comply with their obligations under the state and federal


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   controlled substances laws, all with the goal of protecting their registered manufacturer or

   distributor status in the State and to continue generating profits. Notwithstanding the allegations

   set forth above, Defendants affirmatively assured the public, Plaintiff, and Plaintiff’s community,

   that they are working to curb the opioid epidemic.

          700.       Defendants were deliberate in taking steps to conceal their conspiratorial

   behavior and active role in the deceptive marketing and the oversupply of opioids through

   overprescribing and suspicious sales, all of which fueled the opioid epidemic.

          701.       As set forth herein, the Marketing Defendants deliberately worked through

   Front Groups purporting to be patient advocacy and professional organizations, through public

   relations companies hired to work with the Front Groups and through paid KOLs to secretly

   control messaging, influence prescribing practices and drive sales. The Marketing Defendants

   concealed their role in shaping, editing, and approving the content of prescribing guidelines,

   informational brochures, KOL presentations and other false and misleading materials addressing

   pain management and opioids that were widely disseminated to regulators, prescribers and the

   public at large. They concealed the addictive nature and dangers associated with opioid use and

   denied blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing.

   They manipulated scientific literature and promotional materials to make it appear that

   misleading statements about the risks, safety and superiority of opioids were actually accurate,

   truthful, and supported by substantial scientific evidence. Through their public statements,

   omissions, marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiff

   of actual or implied knowledge of facts sufficient to put Plaintiff on notice of potential claims.

          702.       Defendants also concealed from Plaintiff the existence of Plaintiff’s claims by



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   hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the

   public that their legal duties to report suspicious sales had been satisfied through public

   assurances that they were working to curb the opioid epidemic. They publicly portrayed

   themselves as committed to working diligently with law enforcement and others to prevent

   diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises

   to change their ways insisting they were good corporate citizens.                  These repeated

   misrepresentations misled regulators, prescribers and the public, including Plaintiff, and deprived

   Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on notice of potential

   claims.

             703.    Plaintiff did not discover the nature, scope, and magnitude of Defendants’

   misconduct, and its full impact on Plaintiff, and could not have acquired such knowledge earlier

   through the exercise of reasonable diligence.

             704.    The Marketing Defendants’ campaign to misrepresent and conceal the truth

   about the opioid drugs that they were aggressively pushing in Florida and in Plaintiff’s

   community deceived the medical community, consumers, Florida, and Plaintiff’s community.

             705.    Further, Defendants have also concealed and prevented discovery of

   information, including data from the ARCOS database, that will confirm their identities and the

   extent of their wrongful and illegal activities.        Defendants intended that their actions and

   omissions would be relied upon, including by Plaintiff and Plaintiff’s community. Plaintiff and

   Plaintiff’s community did not know and did not have the means to know the truth, due to

   Defendants’ actions and omissions.

             706.    Plaintiff and Plaintiff’s community reasonably relied on Defendants’



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   affirmative statements regarding their purported compliance with their obligations under the law

   and consent orders.

          K.      Facts Pertaining to Punitive Damages

          707.       As set forth above, Defendants acted deliberately to increase sales of, and

   profits from, opioid drugs. The Marketing Defendants knew there was no support for their

   claims that addiction was rare, that addiction risk could be effectively managed, that signs of

   addiction were merely “pseudoaddiction,” that withdrawal is easily managed, that higher doses

   pose no significant additional risks, that long-term use of opioids improves function, or that time-

   release or ADF would prevent addiction or abuse. Nonetheless, they knowingly promoted these

   falsehoods in order to increase the market for their addictive drugs.

          708.       All of the Defendants, moreover, knew that large and suspicious quantities of

   opioids were being poured into communities throughout the United States, yet, despite this

   knowledge, took no steps to report suspicious orders, control the supply of opioids, or otherwise

   prevent diversion. Indeed, as described above, Defendants acted in concert together to maintain

   high levels of quotas for their products and to ensure that suspicious orders would not be

   reported to regulators.

          709.       Defendants’ conduct was so willful and deliberate that it continued in the face

   of numerous enforcement actions, fines, and other warnings from state and local governments

   and regulatory agencies. Defendants paid their fines, made promises to do better, and continued

   on with their marketing and supply schemes. This ongoing course of conduct knowingly,

   deliberately, and repeatedly threatened and accomplished harm and risk of harm to public health

   and safety, and large-scale economic loss to communities and government liabilities across the

   country.

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          710.         Defendants’ actions demonstrated both malice and also aggravated and

   egregious fraud. Defendants engaged in the conduct alleged herein with a conscious disregard

   for the rights and safety of other persons, even though that conduct had a great probability of

   causing substantial harm. The Marketing Defendants’ fraudulent wrongdoing was done with a

   particularly gross and conscious disregard.

                  1.       The Marketing Defendants Persisted in Their Fraudulent Scheme
                           Despite Repeated Admonitions, Warnings, and Even Prosecutions

          711.         So determined were the Marketing Defendants to sell more opioids that they

   simply ignored multiple admonitions, warnings, and prosecutions. These governmental and

   regulatory actions included:

                           a.     FDA Warnings to Janssen Failed to Deter Janssen’s
                                  Misleading Promotion of Duragesic

          712.         On February 15, 2000, the FDA sent Janssen a letter concerning the

   dissemination of “homemade” promotional pieces that promoted the Janssen drug Duragesic in

   violation of the Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30,

   2000, the FDA explained that the “homemade” promotional pieces were “false or misleading

   because they contain misrepresentations of safety information, broaden Duragesic’s indication,

   contain unsubstantiated claims, and lack fair balance.” The March 30, 2000 letter detailed

   numerous ways in which Janssen’s marketing was misleading.

          713.         The letter did not stop Janssen. On September 2, 2004, the HHS sent Janssen a

   warning letter concerning Duragesic due to “false or misleading claims about the abuse potential

   and other risks of the drug, and . . . unsubstantiated effectiveness claims for Duragesic,”

   including, specifically, “suggesting that Duragesic has a lower potential for abuse compared to

   other opioid products.” The September 2, 2004 letter detailed a series of unsubstantiated, false,

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   or misleading claims.

          714.       One year later, Janssen was still at it. On July 15, 2005, the FDA issued a

   public health advisory warning doctors of deaths resulting from the use of Duragesic and its

   generic competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been

   “‘examining the circumstances of product use to determine if the reported adverse events may be

   related to inappropriate use of the patch’” and noted the possibility “that patients and physicians

   might be unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid

   analgesic approved only for chronic pain in opioid-tolerant patients that could not be treated by

   other drugs.

                           b.    Governmental Action, Including Large Monetary Fines, Failed
                                 to Stop Cephalon from Falsely Marketing Actiq for Off-Label
                                 Uses

          715.       On September 29, 2008, Cephalon finalized and entered into a corporate

   integrity agreement with the Office of the Inspector General of HHS and agreed to pay $425

   million in civil and criminal penalties for its off-label marketing of Actiq and two other drugs

   (Gabitril and Provigil).     According to a DOJ press release, Cephalon had trained sales

   representatives to disregard restrictions of the FDA-approved label, employed sales

   representatives and healthcare professionals to speak to physicians about off-label uses of the

   three drugs and funded CME to promote off-label uses.

          716.       Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and

   the massive settlement, Cephalon has continued its deceptive marketing strategy.

                           c.    FDA Warnings Did Not Prevent Cephalon from Continuing
                                 False and Off-Label Marketing of Fentora

          717.       On September 27, 2007, the FDA issued a public health advisory to address


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   numerous reports that patients who did not have cancer or were not opioid tolerant had been

   prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

   “Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically

   denied Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment

   of non-cancer breakthrough pain and use in patients who were not already opioid-tolerant.

          718.       Flagrantly disregarding the FDA’s refusal to broaden the indication for

   Fentora, Cephalon nonetheless marketed Fentora beyond its approved indications.           On March

   26, 2009, the FDA warned Cephalon against its misleading advertising of Fentora (“Warning

   Letter”). The Warning Letter described a Fentora Internet advertisement as misleading because

   it purported to broaden “the indication for Fentora by implying that any patient with cancer who

   requires treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.”

   It further criticized Cephalon’s other direct Fentora advertisements because they did not disclose

   the risks associated with the drug.

          719.       Despite this warning, Cephalon continued to use the same sales tactics to push

   Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

   Pharmacy Times titled, “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

   FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).”

   Despite the repeated warnings of the dangers associated with the use of the drugs beyond their

   limited indication, as detailed above, the first sentence of the insert states: “It is well recognized

   that the judicious use of opioids can facilitate effective and safe management of chronic pain.”

                          d.      A Guilty Plea and a Large Fine Did Not Deter Purdue and the
                                  Sackler Defendants from Continuing Its Fraudulent
                                  Marketing of OxyContin

          720.       Purdue Pharma Inc. and Purdue Pharma L.P. were under investigation by 26

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   states and the DOJ from 2001 to 2017.         In 2003, on the advice of legal counsel, every

   Sackler who held an executive role at Purdue resigned to avoid personal liability for the conduct

   in which they had engaged and continued to engage prior to and after their resignations.

          721.      In May 2007, Purdue and three of its executives pled guilty to federal charges

   of misbranding OxyContin in what the company acknowledged was an attempt to mislead

   doctors about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In

   its plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

   misrepresented the risk of addiction and was unsupported by science. Additionally, Michael

   Friedman, the company’s president, pled guilty to a misbranding charge and agreed to pay $19

   million in fines; Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8

   million in fines; and Paul D. Goldenheim, its former medical director, pled guilty as well and

   agreed to pay $7.5 million in fines. The directors, including members of the Sackler Defendants,

   were forced to choose a new CEO, and the felony convictions resulted in mass-scale retraining of

   company employees.

          722.      The 2007 convictions warned the directors against any further deception.

          723.      The directors also agreed to a Consent Judgment that ordered Purdue not

   to make any false or misleading oral or written claims about OxyContin, including concerning

   the risk of addiction. The Consent Judgment also required Purdue to establish a program that

   would identify high-prescribing doctors, stop promoting OxyContin to them and report them.

   This program was to last from 2007 to 2017.

          724.      The directors also entered a Corporate Integrity Agreement with the U.S.

   government, wherein Purdue would appoint a compliance officer to a senior management



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   position at Purdue. The officer would make periodic reports on compliance matters to the board

   to ensure no deception took place again. Under the agreement, the directors and CEO were

   “Covered Persons” who had to comply with rules prohibiting deception regarding Purdue’s

   products.       This status lasted from 2007 to 2012 and required that leadership report all rule

   violations and undergo hours of compliance training. The directors and CEO were warned of

   consequences in case of a violation and certified that they understood their new status.

            725.        Purdue’s directors were clearly aware of their obligations under the above

   agreements. In 2009, Purdue had to report to the Inspector General of the U.S. Department of

   Health and Human Services (“HHS”) that it had not immediately trained a new director on the

   terms of the Corporate Integrity Agreement. Purdue assured the government that the director

   had undergone the training the day after Corporate Compliance had learned of the issue.

            726.        The years after the 2007 guilty plea and Corporate Integrity Agreement

   were filled with alarming reports and stories about the opioid crisis. However, in spite of these

   widespread warnings, Purdue’s directors, including members of the Sackler Families, did

   nothing to stop Purdue’s misconduct.

            727.        In 2008, opioid overdoses killed more Americans in that year than any year

   prior.

            728.        In 2009, the American Journal of Public Health published “The Promotion

   and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy.”286 The article

   detailed the misleading and deceptive nature of Purdue’s opioid marketing, including the misuse

   of sales representatives, the targeting of high-prescribing practitioners and deception about the

   potential rates of abuse.      The CDC reported that deaths stemming from opioid use had

   tripled in the preceding year.

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          729.       In 2010, Time magazine published “The New Drug Crisis: Addiction by

   Prescription.”287 The article focused extensively on Purdue’s line of opioid products. Overdoses

   were the number one cause of accidental death in 15 states that year, and Purdue’s directors were

   informed that Purdue would not be able to get product liability insurance to cover OxyContin.

          730.       In 2011, the White House announced that prescription drug abuse was the

   nation’s fastest-growing drug problem and called for educating healthcare providers about

   prescription drug abuse to prevent overprescription. The CDC announced that prescription

   opioid overdoses had reached never before seen levels and specifically called out Purdue’s line

   of opioid products.     Fortune magazine published an article that same year where Purdue

   executives were interviewed about the ongoing crisis and the involvement of the company and

   the Sackler Families.     The interviewees included Purdue Vice President Alan Must, who

   admitted that Purdue was “well aware” of concerns about its conduct: “We are well aware of

   detractors. For those individuals who think we’re evil . . . I don’t think there’s anything we can

   do that is going to change their opinion."288

          731.       In 2012, the U.S. Senate announced an investigation into Purdue’s unlawful

   deception of doctors and patients about the nature of its opioid products. The Senators warned of

   “an epidemic of accidental deaths and addiction resulting from the increased sale and use of

   powerful narcotic painkillers” in a letter to the CEO of Purdue Pharma, Inc. and Purdue Pharma

   L.P.289 The Senate letter specifically warned of the danger of higher levels of opioid dosage:



   288
       Katherin Eban, OxyContin: Purdue Pharma’s painful medicine, FORTUNE (Nov. 9, 2011),
   http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/.
   289
       Letter from U.S. Senate Finance Committee to John H. Stewart, President and CEO of
   Purdue Pharma L.P., dated May 8, 2012,
   https://www.finance.senate.gov/imo/media/doc/Purdue_May_8.pdf (last visited Dec. 14, 2018).
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   “over the last decade, the number of prescriptions for the strongest opioids has increased nearly

   fourfold, with only limited evidence of their long-term effectiveness or risks while data suggest

   that hundreds of thousands of patients nationwide may be on potentially dangerous doses.”290

   The Senate letter also warned about Purdue’s deceptive tactics with doctors and patients: “There

   is growing evidence pharmaceutical companies that manufacture and market opioids may be

   responsible, at least in part, for this epidemic by promoting misleading information about the

   drugs’ safety and effectiveness.”291 The Senate specifically warned the directors and CEO that

   they were under scrutiny, demanding that Purdue present a set of “presentations, reports, and

   communications to Purdue’s management team or board of directors from 2007 to the

   present.”292

          732.      In 2013, the Los Angeles Times reported that Purdue had created a list of

   1,800 doctors suspected of recklessly prescribing its opioids over the past decade, but had

   reported only 8% of them to authorities.       Purdue attorney Robin Abrams gave multiple

   interviews to the newspaper.     Abrams was a Vice President of Purdue, and she signed

   Purdue’s 2007 settlement agreement.      In 2013, she admitted that Purdue had the list, and

   said with regard to Purdue’s unwillingness to disclose the list: “I don’t really want to open

   up an opportunity for folks [to] come in here and start looking and second-guessing.”293

          733.      Abrams and Purdue’s directors had good reason to be concerned: the state of

   Kentucky had brought a lawsuit against Purdue for deceiving doctors and patients about the


   290
       Id.
   291
       Id.
   292
       Id.
   293
       Scott Glover & Lisa Girion, OxyContin maker closely guards its list of suspect doctors, Los
   Angeles Times (Aug. 11, 2013), https://www.latimes.com/local/la-me-rx-purdue-20130811-
   story.html
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   nature of its opioid products. When Purdue’s lawyers surveyed the local residents for potential

   jury service, one-third of respondents said they knew someone who had been hurt or had

   overdosed taking Purdue opioids, and 29% knew someone who had died. Purdue itself filed

   these findings in court.

          734.       In       2014, Edward Mahony, the Executive Vice President, Chief

   Financial Officer and Treasurer of Purdue, announced that the Kentucky lawsuit was

   noteworthy enough to “jeopardize Purdue’s long-term viability.”294            The    Governor of

   Massachusetts declared the opioid crisis a public health emergency in the same year.

          735.       In 2016, in an attempt to stop the threatening spread of opioid overprescribing,

   the CDC published the CDC Guideline for Prescribing Opioids for Chronic Pain.

          736.       In 2017, the President of the United States announced that opioid use in the

   nation had risen to the level of a national public health emergency.

          737.       Nevertheless, even after the settlement, Purdue continued to pay doctors on

   speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

   seemingly neutral organizations to disseminate the message that opioids were non-addictive as

   well as other misrepresentations. At least until early 2018, Purdue continued to deceptively

   market the benefits of opioids for chronic pain while diminishing the associated dangers of

   addiction. After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight

   any legislative actions that might encroach on its business. Between 2006 and 2015, Purdue and

   other painkiller producers, along with their associated nonprofits, spent nearly $900 million



   294
      Tracy Staton, Addiction-riddled Kentucky out for blood in $1B suit against OxyContin-maker
   Purdue, FiercePharma.com (Oct. 20, 2014), https://www.fiercepharma.com/pharma/addiction-
   riddled-kentucky-out-for-blood-1b-suit-against-oxycontin-maker-purdue.
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   dollars on lobbying and political contributions— eight times what the gun lobby spent during

   that period.



                  2.       Repeated Admonishments and Fines Did Not Stop Defendants from
                           Ignoring Their Obligations to Control the Supply Chain and Prevent
                           Diversion

          738.         Defendants were repeatedly admonished and even fined by regulatory

   authorities, but continued to disregard their obligations to control the supply chain of dangerous

   opioids and to institute controls to prevent diversion.

          739.         In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

   Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they

   wanna do, and not worry about what the law is. And if they don’t follow the law in drug supply,

   people die. That’s just it. People die.” He further explained that:

          JOE RANNAZZISI: The three largest distributors are Cardinal Health,
   McKesson, and AmerisourceBergen. They control probably 85 or 90 percent of
   the drugs going downstream.

           [INTERVIEWER]: You know the implication of what you’re saying, that
   these big companies knew that they were pumping drugs into American
   communities that were killing people.

          JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s
   exactly what they did.

          740.         Another DEA veteran similarly stated that these companies failed to make even

   a “good faith effort” to “do the right thing.” He further explained that “I can tell you with 100

   percent accuracy that we were in there on multiple occasions trying to get them to change their

   behavior. And they just flat out ignored us.”

          741.         Government actions against Defendants with respect to their obligations to


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   control the supply chain and prevent diversion include:

                 a.       on April 24, 2007, the DEA issued an Order to Show Cause and
                          Immediate Suspension Order against the AmerisourceBergen Orlando,
                          Florida distribution center alleging failure to maintain effective controls
                          against diversion of controlled substances. On June 22, 2007,
                          AmerisourceBergen entered into a settlement that resulted in the
                          suspension of its DEA registration;

                 b.       on November 28, 2007, the DEA issued an Order to Show Cause and
                          Immediate Suspension Order against the Cardinal Health Auburn,
                          Washington Distribution Center for failure to maintain effective controls
                          against diversion of hydrocodone;

                 c.       on December 5, 2007, the DEA issued an Order to Show Cause and
                          Immediate Suspension Order against the Cardinal Health Lakeland,
                          Florida Distribution Center for failure to maintain effective controls
                          against diversion of hydrocodone;

                 d.       on December 7, 2007, the DEA issued an Order to Show Cause and
                          Immediate Suspension Order against the Cardinal Health Swedesboro,
                          New Jersey Distribution Center for failure to maintain effective controls
                          against diversion of hydrocodone;

                 e.       on January 30, 2008, the DEA issued an Order to Show Cause against the
                          Cardinal Health Stafford, Texas Distribution Center for failure to maintain
                          effective controls against diversion of hydrocodone;

                 f.       on September 30, 2008, Cardinal Health entered into a Settlement and
                          Release Agreement and Administrative Memorandum of Agreement with
                          the DEA related to its Auburn, Lakeland, Swedesboro and Stafford
                          Facilities. The document also referenced allegations by the DEA that
                          Cardinal Health failed to maintain effective controls against the diversion
                          of controlled substances at its distribution facilities located in
                          McDonough, Georgia, Valencia, California and Denver, Colorado;

                 g.       on February 2, 2012, the DEA issued an Order to Show Cause and
                          Immediate Suspension Order against the Cardinal Health’s Lakeland
                          Facility for failure to maintain effective controls against diversion of
                          oxycodone; and

                 h.       on December 23, 2016, Cardinal Health agreed to pay a $44 million fine
                          to the DEA to resolve the civil penalty portion of the administrative action
                          taken against its Lakeland Facility.

          742.        McKesson’s deliberate disregard of its obligations was especially flagrant. On
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   May 2, 2008, McKesson Corporation entered into an Administrative Memorandum of

   Agreement with the DEA which provided that McKesson would “maintain a compliance

   program designed to detect and prevent the diversion of controlled substances, inform DEA of

   suspicious orders required by 21 C.F.R. §1301.74(b), and follow the procedures established by

   its Controlled Substance Monitoring Program.”

          743.      Despite its 2008 agreement with the DEA, McKesson continued to fail to

   report suspicious orders between 2008 and 2012 and did not fully implement or follow the

   monitoring program it agreed to. It failed to conduct adequate due diligence of its customers,

   failed to keep complete and accurate records in the CSMP files maintained for many of its

   customers and bypassed suspicious order reporting procedures set forth in the CSMP. It failed to

   take these actions despite its awareness of the great probability that its failure to do so would

   cause substantial harm.

          744.      On January 5, 2017, McKesson entered into an Administrative Memorandum

   Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for violation of

   the 2008 MOA as well as failure to identify and report suspicious orders at its facilities in

   Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista, NE;

   Livonia, MI; Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West

   Sacramento, CA.     McKesson’s 2017 agreement with the DEA documents that McKesson

   continued to breach its admitted duties by “fail[ing] to properly monitor its sales of controlled

   substances and/or report suspicious orders to DEA, in accordance with McKesson’s obligations.”

          745.      As The Washington Post and 60 Minutes recently reported, DEA staff

   recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s



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   continued and renewed breach of its duties, as much as a billion dollars, and delicensing of

   certain facilities. A DEA memo outlining the investigative findings in connection with the

   administrative case against 12 McKesson distribution centers included in the 2017 Settlement

   stated that McKesson “[s]upplied controlled substances in support of criminal diversion

   activities”; “[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”;

   “[f]ailed to review orders or suspicious activity”; and “[i]gnored [the company’s] own

   procedures designed to prevent diversion.”

          746.       On December 17, 2017, CBS aired an episode of 60 Minutes featuring

   Assistant Special Agent Schiller, who described McKesson as a company that killed people for

   its own financial gain and blatantly ignored the CSA requirement to report suspicious orders:

           DAVID SCHILLER: If they would have stayed in compliance with their
   authority and held those that they’re supplying the pills to, the epidemic would be
   nowhere near where it is right now. Nowhere near.

                                              ***

           They had hundreds of thousands of suspicious orders they should have
   reported, and they didn’t report any. There’s not a day that goes by in the
   pharmaceutical world, in the McKesson world, in the distribution world, where
   there’s not something suspicious. It happens every day.

          [INTERVIEWER:] And they had none.

          DAVID SCHILLER: They weren’t reporting any. I mean, you have to
   understand that, nothing was suspicious?295

          747.       Following the 2017 settlement, McKesson shareholders made a books and

   records request of the company. According to a separate action pending on their behalf, the


   295
      Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s
   Largest Drug Distributor, CBS News (Dec. 17, 2017),
   https://www.cbsnews.com/news/whistleblowers-dea-attorneys-went-easy-on-mckesson-the-
   countrys-largest-drug-distributor/.
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   Company’s records show that the Company’s Audit Committee failed to monitor McKesson’s

   information reporting system to assess the state of the Company’s compliance with the CSA and

   McKesson’s 2008 Settlements. More particularly, the shareholder action alleges that the records

   show that in October 2008, the Audit Committee had an initial discussion of the 2008

   Settlements and results of internal auditing, which revealed glaring omissions; specifically:

                  a.       some customers had “not yet been assigned thresholds in the system to
                           flag large shipments of controlled substances for review”;

                  b.       “[d]ocumentation evidencing new customer due diligence was
                           incomplete”;

                  c.       “documentation supporting the company’s decision to change thresholds
                           for existing customers was also incomplete”; and

                  d.       Internal Audit “identified opportunities to enhance the Standard Operating
                           Procedures.”

          748.         Yet, instead of correcting these deficiencies, after that time, for a period of

   more than four years, the Audit Committee failed to address the CSMP or perform any more

   audits of McKesson’s compliance with the CSA or the 2008 Settlements, the shareholder

   action’s description of McKesson’s internal documents reveals. During that period of time,

   McKesson’s Audit Committee failed to inquire whether the Company was in compliance with

   obligations set forth in those agreements and with the controlled substances regulations more

   generally. It was only in January 2013 that the Audit Committee received an Internal Audit

   report touching on these issues.

          749.         In short, McKesson, was “neither rehabilitated nor deterred by the 2008

   [agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

   continued and escalated to a level of egregiousness not seen before.” According to statements

   of “DEA investigators, agents and supervisors who worked on the McKesson case” reported in

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   The Washington Post, “the company paid little or no attention to the unusually large and frequent

   orders placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the

   DEA officials said, the company raised its own self-imposed limits, known as thresholds, on

   orders from pharmacies and continued to ship increasing amounts of drugs in the face of

   numerous red flags.”

          750.       Since at least 2002, Purdue has maintained a database of health care providers

   suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

   to this database based on observed indicators of illicit prescribing such as excessive numbers of

   patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength

   pills (80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

   diversion). Purdue claims that health care providers added to the database no longer were

   detailed, and that sales representatives received no compensation tied to these providers’

   prescriptions.

          751.       Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy

   level—meaning Purdue continued to generate sales revenue from their prescriptions—and failed

   to report these providers to state medical boards or law enforcement. Purdue’s former senior

   compliance officer acknowledged in an interview with the Los Angeles Times that in five years

   of investigating suspicious pharmacies, the company never stopped the supply of its opioids to a

   pharmacy, even where Purdue employees personally witnessed the diversion of its drugs.

          752.       The same was true of prescribers. For example, as discussed above, despite

   Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

   called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law



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   enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

   tablets.

              753.        The New York Attorney General found that Purdue placed 103 New York

   health care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and yet

   that Purdue’s sales representatives had detailed approximately two-thirds of these providers,

   some quite extensively, making more than a total of 1,800 sales calls to their offices over a six-

   year period.

              754.        The New York Attorney General similarly found that Endo knew, as early as

   2011, that Opana ER was being abused in New York, but certain sales representatives who

   detailed New York health care providers testified that they did not know about any policy or duty

   to report problematic conduct. The New York Attorney General further determined that Endo

   detailed health care providers who were subsequently arrested or convicted for illegal prescribing

   of opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for

   Opana ER (although the subsequent criminal charges at issue did not involve Opana ER).

              755.        As all of the governmental actions against Defendants show, Defendants knew

   that their actions were unlawful, and yet deliberately refused to change their practices because

   compliance with their legal obligations would have decreased their sales and their profits.

   IV.        FACTS PERTAINING TO CLAIMS UNDER THE RACKETEER-INFLUENCED
              AND CORRUPT ORGANIZATIONS ACT

              A.     The Opioid Marketing Enterprise

                     1.       The Common Purpose and Scheme of the Opioid Marketing
                              Enterprise

              756.        Knowing that their products were highly addictive, ineffective and unsafe for

   the treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

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   Defendants296 formed an association-in-fact enterprise and engaged in a scheme to unlawfully

   increase their profits and sales, and grow their share of the prescription painkiller market,

   through repeated and systematic misrepresentations about the safety and efficacy of opioids for

   treating long-term chronic pain.

          757.      In order to unlawfully increase the demand for opioids, the RICO Marketing

   Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”) with

   the Front Groups and KOLs described above. Through their personal relationships, the members

   of the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance

   of the Opioid Marketing Enterprise’s common purpose. The RICO Marketing Defendants’

   substantial financial contribution to the Opioid Marketing Enterprise, and the advancement of

   opioids-friendly messaging, fueled the U.S. opioids epidemic.297

          758.      The RICO Marketing Defendants, through the Opioid Marketing Enterprise,

   concealed the true risks and dangers of opioids from the medical community and the public,

   including Plaintiff, and made misleading statements and misrepresentations about opioids that

   downplayed the risk of addiction and exaggerated the benefits of opioid use. The misleading

   statements included: (a) that addiction is rare among patients taking opioids for pain; (b) that

   addiction risk can be effectively managed; (c) that symptoms of addiction exhibited by opioid

   patients are actually symptoms of an invented condition the RICO Marketing Defendants named

   “pseudoaddiction”; (d) that withdrawal is easily managed; (e) that increased dosing presents no

   significant risks; (f) that long-term use of opioids improves function; (g) that the risks of


   296
       The RICO Marketing Defendants referred to in this section are those named in the First and
   Third Claims for Relief under 28 U.S.C. § 1964(c), including Purdue, Cephalon, Janssen, Endo
   and Mallinckrodt.
   297
       Fueling an Epidemic, supra n.124.
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   alternative forms of pain treatment are greater than the adverse effects of opioids; (h) that use of

   time-released dosing prevents addiction; and (i) that ADF provide a solution to opioid abuse.

          759.       The scheme devised, implemented and conducted by the RICO Marketing

   Defendants was a common course of conduct designed to ensure that the RICO Marketing

   Defendants unlawfully increased their sales and profits through concealment and

   misrepresentations about the addictive nature and effective use of the RICO Marketing

   Defendants’ drugs. The RICO Marketing Defendants, the Front Groups, and the KOLs acted

   together for a common purpose and perpetuated the Opioid Marketing Enterprise’s scheme,

   including through the unbranded promotion and marketing network as described above.

          760.       There was regular communication between the RICO Marketing Defendants,

   Front Groups and KOLs, in which information was shared, misrepresentations are coordinated,

   and payments were exchanged. Typically, the coordination, communication, and payment that

   occurred, and continues to occur, through the repeated and continuing use of the wires and mail

   in which the RICO Marketing Defendants, Front Groups, and KOLs share information regarding

   overcoming objections and resistance to the use of opioids for chronic pain.            The RICO

   Marketing Defendants, Front Groups, and KOLs functioned as a continuing unit for the purpose

   of implementing the Opioid Marketing Enterprise’s scheme and common purpose, and each

   agreed and took actions to hide the scheme and continue its existence.

          761.       At all relevant times, the Front Groups were aware of the RICO Marketing

   Defendants’ conduct, were knowing and willing participants in and beneficiaries of that conduct.

   Each Front Group also knew, but did not disclose, that the other Front Groups were engaged in

   the same scheme, to the detriment of consumers, prescribers, and Plaintiff. But for the Opioid



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   Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive to disclose

   the deceit by the RICO Marketing Defendants and the Opioid Marketing Enterprise to their

   members and constituents. By failing to disclose this information, Front Groups perpetuated the

   Opioid Marketing Enterprise’s scheme and common purpose, and reaped substantial benefits.

          762.      At all relevant times, the KOLs were aware of the RICO Marketing

   Defendants’ conduct, were knowing and willing participants in that conduct, and reaped benefits

   from that conduct. The RICO Marketing Defendants selected KOLs solely because they favored

   the aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

   helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

   falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

   Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

   the other KOLs and Front Groups were engaged in the same scheme, to the detriment of

   consumers, prescribers, and Plaintiff.    But for the Opioid Marketing Enterprise’s unlawful

   conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

   Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients of

   other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

   Enterprise’s scheme and common purpose, and reaped substantial benefits.

          763.      As public scrutiny and media coverage focused on how opioids ravaged

   communities in Florida and throughout the United States, the Front Groups and KOLS did not

   challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

   misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

   that the risks of using opioids for chronic pain outweighed their benefits and were not supported



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   by medically acceptable evidence.

          764.         The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

   discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

   Enterprise. As described herein, the Opioid Marketing Enterprise’s conduct in furtherance of the

   common purpose of the Opioid Marketing Enterprise involved: (a) misrepresentations regarding

   the risk of addiction and safe use of prescription opioids for long-term chronic pain (described in

   detail above); (b) lobbying to defeat measures to restrict over-prescription; (c) efforts to criticize

   or undermine CDC Guideline; and (d) efforts to limit prescriber accountability.

          765.         In addition to disseminating misrepresentations about the risks and benefits of

   opioids, the Opioid Marketing Enterprise also furthered its common purpose by criticizing or

   undermining CDC Guideline.             Members of the Opioid Marketing Enterprise criticized or

   undermined the CDC Guideline which represented “an important step—and perhaps the first

   major step from the federal government—toward limiting opioid prescriptions for chronic pain.”

          766.         Several Front Groups, including the USPF and the AAPM, criticized the draft

   guidelines in 2015, arguing that the “CDC slides presented on Wednesday were not transparent

   relative to process and failed to disclose the names, affiliation, and conflicts of interest of the

   individuals who participated in the construction of these guidelines.”

          767.         The AAPM criticized the prescribing guidelines in 2016, through its immediate

   past   president,    stating   “that    the   CDC   guideline   makes    disproportionately    strong

   recommendations based upon a narrowly selected portion of the available clinical evidence.”

          768.         The RICO Marketing Defendants alone could not have accomplished the

   purpose of the Opioid Marketing Enterprise without the assistance of the Front Groups and



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   KOLs, who were perceived as “neutral” and more “scientific” than the RICO Marketing

   Defendants themselves.        Without the work of the Front Groups and KOLs in spreading

   misrepresentations about opioids, the Opioid Marketing Enterprise could not have achieved its

   common purpose.

          769.         The impact of the Opioid Marketing Enterprise’s scheme is still in place—i.e.,

   the opioids continue to be prescribed and used for chronic pain throughout the area of Broward

   County, and the epidemic continues to injure Plaintiff.

          770.         As a result, it is clear that the RICO Marketing Defendants, the Front Groups,

   and the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

   purpose and interest in the object of the scheme, and functioned within a structure designed to

   effectuate the Enterprise’s purpose.

                  2.        The Conduct of the Opioid Marketing Enterprise Violated Civil
                            RICO

          771.         From approximately the late 1990s to the present, each of the RICO Marketing

   Defendants exerted control over the Opioid Marketing Enterprise and participated in the

   operation or management of the affairs of the Opioid Marketing Enterprise, directly or indirectly,

   in the following ways:

                  a.        creating and providing a body of deceptive, misleading and unsupported
                            medical and popular literature about opioids that (i) understated the risks
                            and overstated the benefits of long-term use; (ii) appeared to be the result
                            of independent, objective research; and (iii) was thus more likely to be
                            relied upon by physicians, patients, and payors;

                  b.        creating and providing a body of deceptive, misleading and unsupported
                            electronic and promotional training materials about opioids that (i)
                            understated the risks and overstated the benefits of long-term use; (ii)
                            appeared to be the result of independent, objective research; and (iii) was
                            thus more likely to be relied upon by physicians, patients, and payors;


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              c.    creating and providing a body of deceptive, misleading and unsupported
                    CMEs and speaker presentations about opioids that (i) understated the
                    risks and overstated the benefits of long-term use; (ii) appeared to be the
                    result of independent, objective research; and (iii) was thus more likely to
                    be relied upon by physicians, patients, and payors;

              d.    selecting, cultivating, promoting, and paying KOLs based solely on their
                    willingness to communicate and distribute the RICO Marketing
                    Defendants’ messages about the use of opioids for chronic pain;

              e.    providing substantial opportunities for KOLs to participate in research
                    studies on topics the RICO Marketing Defendants suggested or chose,
                    with the predictable effect of ensuring that many favorable studies
                    appeared in the academic literature;

              f.    paying KOLs to serve as consultants or on the RICO Marketing
                    Defendants’ advisory boards, on the advisory boards and in leadership
                    positions on Front Groups, and to give talks or present CMEs, typically
                    over meals or at conferences;

              g.    selecting, cultivating, promoting, creating and paying Front Groups based
                    solely on their willingness to communicate and distribute the RICO
                    Marketing Defendants’ messages about the use of opioids for chronic
                    pain;

              h.    providing substantial opportunities for Front Groups to participate in
                    and/or publish research studies on topics the RICO Marketing Defendants
                    suggested or chose (and paid for), with the predictable effect of ensuring
                    that many favorable studies appeared in the academic literature;

              i.    paying significant amounts of money to the leaders and individuals
                    associated with Front Groups;

              j.    donating to Front Groups to support talks or CMEs, that were typically
                    presented over meals or at conferences;

              k.    disseminating many of their false, misleading, imbalanced, and
                    unsupported statements through unbranded materials that appeared to be
                    independent publications from Front Groups;

              l.    sponsoring CME programs put on by Front Groups that focused
                    exclusively on the use of opioids for chronic pain;

              m.    developing and disseminating pro-opioid treatment guidelines with the
                    help of the KOLs as authors and promoters, and the help of the Front
                    Groups as publishers, and supporters;

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                  n.       encouraging Front Groups to disseminate their pro-opioid messages to
                           groups targeted by the RICO Marketing Defendants, such as veterans and
                           the elderly, and then funding that distribution;

                  o.       concealing their relationship to and control of Front Groups and KOLs
                           from Plaintiff and the public at large; and

                  p.       intending that Front Groups and KOLs would distribute through the U.S.
                           mail and interstate wire facilities, promotional and other materials that
                           claimed opioids could be safely used for chronic pain.

          772.         The Opioid Marketing Enterprise had a hierarchical decision-making structure

   that was headed by the RICO Marketing Defendants and corroborated by the KOLs and Front

   Groups. The RICO Marketing Defendants controlled representations made about their opioids

   and their drugs, doled out funds to PBMs and payments to KOLs, and ensured that

   representations made by KOLs, Front Groups, and the RICO Marketing Defendants’ sales

   detailers were consistent with the Marketing Defendants’ messaging throughout the United

   States and Florida. The Front Groups and KOLS in the Opioid Marketing Enterprise were

   dependent on the Marketing Defendants for their financial structure and for career development

   and promotion opportunities.

          773.         The Front Groups also conducted and participated in the conduct of the Opioid

   Marketing Enterprise, directly or indirectly, in the following ways:

                  a.       the Front Groups promised to, and did, make representations regarding
                           opioids and the RICO Marketing Defendants’ drugs that were consistent
                           with the RICO Marketing Defendants’ messages;

                  b.       the Front Groups distributed, through the U.S. Mail and interstate wire
                           facilities, promotional and other materials which claimed that opioids
                           could be safely used for chronic pain without addiction, and
                           misrepresented the benefits of using opioids for chronic pain outweighed
                           the risks;

                  c.       the Front Groups echoed and amplified messages favorable to increased
                           opioid use—and ultimately, the financial interests of the RICO Marketing

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                              Defendants;

                     d.       the Front Groups issued guidelines and policies minimizing the risk of
                              opioid addiction and promoting opioids for chronic pain;

                     e.       the Front Groups strongly criticized the 2016 guidelines from CDC that
                              recommended limits on opioid prescriptions for chronic pain; and

                     f.       the Front Groups concealed their connections to the KOLs and the RICO
                              Marketing Defendants.

              774.        The RICO Marketing Defendants’ Front Groups, “with their large numbers and

   credibility with policymakers and the public—have ‘extensive influence in specific disease

   areas.’” The larger Front Groups “likely have a substantial effect on policies relevant to their

   industry sponsors.”298 “By aligning medical culture with industry goals in this way, many of the

   groups described in this report may have played a significant role in creating the necessary

   conditions for the U.S. opioid epidemic.”299

              775.        The KOLs also participated in the conduct of the affairs of the Opioid

   Marketing Enterprise, directly or indirectly, in the following ways:

                     a.       the KOLs promised to, and did, make representations regarding opioids
                              and the RICO Marketing Defendants’ drugs that were consistent with the
                              Marketing Defendants’ messages themselves;

                     b.       the KOLs distributed, through the U.S. Mail and interstate wire facilities,
                              promotional and other materials which claimed that opioids could be
                              safely used for chronic pain without addiction, and misrepresented the
                              benefits of using opioids for chronic pain outweighed the risks;

                     c.       the KOLs echoed and amplified messages favorable to increased opioid
                              use—and ultimately, the financial interests of the RICO Marketing
                              Defendants;

                     d.       the KOLs issued guidelines and policies minimizing the risk of opioid
                              addiction and promoting opioids for chronic pain;

   298
         Id. at 2.
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         Id.
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                  e.       the KOLs strongly criticized the 2016 guidelines from the Center for
                           Disease Control and Prevention (CDC) that recommended limits on opioid
                           prescriptions for chronic pain; and

                  f.       the KOLs concealed their connections to the Front Groups and the RICO
                           Marketing Defendants, and their sponsorship by the RICO Marketing
                           Defendants.

          776.         The scheme devised and implemented by the RICO Marketing Defendants and

   members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

   to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

   prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

   of conduct, and many aspects of it continue through to the present.

                  3.       The RICO Marketing Defendants Controlled and Paid Front Groups
                           and KOLs to Promote and Maximize Opioid Use

          777.         As discussed in detail above, the RICO Marketing Defendants funded and

   controlled the various Front Groups, including APF, AAPM/APS, FSMB, APA, USPF, and

   AGS. The Front Groups, which appeared to be independent, but were not, transmitted the RICO

   Marketing Defendants' misrepresentations. The RICO Marketing Defendants and the Front

   Groups thus worked together to promote the goals of the Opioid Marketing Enterprise.

          778.         The RICO Marketing Defendants worked together with each other through the

   Front Groups that they jointly funded and through which they collaborated on the joint

   promotional materials described above.

          779.         Similarly, as discussed in detail above, the RICO Marketing Defendants paid

   KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to spread their misrepresentations

   and promote their products. The RICO Marketing Defendants and the KOLs thus worked

   together to promote the goals of the Opioid Marketing Enterprise.


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                  4.       Pattern of Racketeering Activity

          780.         The RICO Marketing Defendants’ scheme described herein was perpetrated, in

   part, through multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering

   activity as described herein.

          781.         The pattern of racketeering activity used by the RICO Marketing Defendants

   and the Opioid Marketing Enterprise likely involved thousands of separate instances of the use of

   the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid Marketing

   Enterprise, including essentially uniform misrepresentations, concealments and material

   omissions regarding the beneficial uses and non-addictive qualities for the long-term treatment of

   chronic, non-acute and non-cancer pain, with the goal of profiting from increased sales of the

   RICO Marketing Defendants’ drugs induced by consumers, prescribers, regulators, and

   Plaintiff’s reliance on the RICO Marketing Defendants’ misrepresentations.

          782.         Each of these fraudulent mailings and interstate wire transmissions constitutes

   racketeering activity and collectively, these violations constitute a pattern of racketeering

   activity, through which the RICO Marketing Defendants, the Front Groups and the KOLs

   defrauded and intended to defraud Broward County consumers, the Plaintiff, and other intended

   victims.

          783.         The RICO Marketing Defendants devised and knowingly carried out an illegal

   scheme and artifice to defraud by means of materially false or fraudulent pretenses,

   representations, promises, or omissions of material facts regarding the safe, non-addictive and

   effective use of opioids for long-term chronic, non-acute, and non-cancer pain. The RICO

   Marketing Defendants and members of the Opioid Marketing Enterprise knew that these

   representations violated the FDA approved use these drugs, and were not supported by actual

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   evidence.      The RICO Marketing Defendants intended that that their common purpose and

   scheme to defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally

   and knowingly with the specific intent to advance, and for the purpose of executing, their illegal

   scheme.

           784.          By    intentionally   concealing    the   material   risks   and   affirmatively

   misrepresenting the benefits of using opioids for chronic pain, to, prescribers, regulators and the

   public, including Plaintiff, the RICO Marketing Defendants, the Front Groups, and the KOLs

   engaged in a fraudulent and unlawful course of conduct constituting a pattern of racketeering

   activity.

           785.          The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire

   facilities to perpetrate the opioids marketing scheme involved thousands of communications,

   publications, representations, statements, electronic transmissions, payments, including, inter

   alia:

                    a.        marketing materials about opioids, and their risks and benefits, which the
                              RICO Marketing Defendants sent to health care providers, transmitted
                              through the internet and television, published, and transmitted to Front
                              Groups and KOLs located across the country and Plaintiff’s community;

                    b.        written representations and telephone calls between the RICO Marketing
                              Defendants and Front Groups regarding the misrepresentations, marketing
                              statements and claims about opioids, including the non-addictive, safe use
                              of chronic long-term pain generally;

                    c.        written representations and telephone calls between the RICO Marketing
                              Defendants and KOLs regarding the misrepresentations, marketing
                              statements and claims about opioids, including the non-addictive, safe use
                              of chronic long-term pain generally

                    d.        emails, telephone and written communications between the RICO
                              Marketing Defendants and the Front Groups agreeing to or implementing
                              the opioids marketing scheme;


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                  e.       emails, telephone and written communications between the RICO
                           Marketing Defendants and the KOLs agreeing to or implementing the
                           opioids marketing scheme;

                  f.       communications between the RICO Marketing Defendants, Front Groups
                           and the media regarding publication, drafting of treatment guidelines, and
                           the dissemination of the same as part of the Opioid Marketing Enterprise;

                  g.       communications between the RICO Marketing Defendants, KOLs and the
                           media regarding publication, drafting of treatment guidelines, and the
                           dissemination of the same as part of the Opioid Marketing Enterprise;

                  h.       written and oral communications directed to State agencies, federal and
                           state courts, and private insurers throughout Plaintiff’s community that
                           fraudulently misrepresented the risks and benefits of using opioids for
                           chronic pain; and

                  i.       receipts of increased profits sent through the U.S. Mail and interstate wire
                           facilities—the wrongful proceeds of the scheme.

          786.         In addition to the above-referenced predicate acts, it was intended by and

   foreseeable to the RICO Marketing Defendants that the Front Groups and the KOLs would

   distribute publications through the U.S. Mail and by interstate wire facilities, and, in those

   publications, claim that the benefits of using opioids for chronic pain outweighed the risks of

   doing so.

          787.         To achieve the common goal and purpose of the Opioid Marketing Enterprise,

   the RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

   consumers, prescribers, regulators, and Plaintiff: (a) the fraudulent nature of the RICO Marketing

   Defendants’ marketing scheme; (b) the fraudulent nature of statements made by the RICO

   Marketing Defendants and by their KOLs, Front Groups, and other third parties regarding the

   safety and efficacy of prescription opioids; and (c) the true nature of the relationship between the

   members of the Opioid Marketing Enterprise.

          788.         The RICO Marketing Defendants, and each member of the Opioid Marketing

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   Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

   Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

   of fraud and indecency in marketing prescription opioids.

          789.      Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each

   of them had to agree to implement similar tactics regarding fraudulent marketing of prescription

   opioids. This conclusion is supported by the fact that the RICO Marketing Defendants each

   financed, supported, and worked through the same KOLs and Front Groups, and often

   collaborated on and mutually supported the same publications, CMEs, presentations, and

   prescription guidelines

          790.      The RICO Marketing Defendants’ predicate acts all had the purpose of creating

   the opioid epidemic that substantially injured Plaintiff’s business and property, while

   simultaneously generating billion-dollar revenue and profits for the RICO Marketing

   Defendants.   The predicate acts were committed or caused to be committed by the RICO

   Marketing Defendants through their participation in the Opioid Marketing Enterprise and in

   furtherance of its fraudulent scheme.

          B.      The Opioid Supply Chain Enterprise

          791.      Faced with the reality that they will now be held accountable for the

   consequences of the opioid epidemic they created, members of the industry resort to “a

   categorical denial of any criminal behavior or intent.”300 Defendants’ actions went far beyond

   what could be considered ordinary business conduct.         For more than a decade, certain

   Defendants, the RICO Supply Chain Defendants (Purdue, Cephalon, Endo, Mallinckrodt,

   300
      McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the
   Federal Government, McKesson, http://www.mckesson.com/about-mckesson/fighting-opioid-
   abuse/60-minutes-response (last visited, Apr. 21, 2018).
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   Actavis, McKesson, Cardinal Health, and AmerisourceBergen) worked together in an illicit

   enterprise, engaging in conduct that was not only illegal, but in certain respects anti-competitive,

   with the common purpose and achievement of vastly increasing their respective profits and

   revenues by exponentially expanding a market that the law intended to restrict.

             792.     Knowing that dangerous drugs have a limited place in our society, and that

   their dissemination and use must be vigilantly monitored and policed to prevent the harm that

   drug abuse and addiction causes to individuals, society and governments, Congress enacted the

   Controlled Substances Act. Specifically, through the CSA, which created a closed system of

   distribution for controlled substances, Congress established an enterprise for good. The CSA

   imposes a reporting duty that cuts across company lines. Regulations adopted under the CSA

   require that companies who are entrusted with permission to operate within this system cannot

   simply operate as competitive in an “anything goes” profit-maximizing market. Instead, the

   statute tasks them to watch over each other with a careful eye for suspicious activity. Driven by

   greed, Defendants betrayed that trust and subverted the constraints of the CSA’s closed system to

   conduct their own enterprise for evil.

             793.     As “registrants” under the CSA, the RICO Supply Chain Defendants are duty

   bound to identify and report “orders of unusual size, orders deviating substantially from a normal

   pattern, and orders of unusual frequency.”301 Critically, these Defendants’ responsibilities do not

   end with the products they manufacture or distribute—there is no such limitation in the law

   because their duties cut across company lines. Thus, when these Defendants obtain information

   about the sales and distribution of other companies’ opioid products, as they did through data



   301
         21 C.F.R. 1301.74(b).
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   mining companies like IMS Health, they were legally obligated to report that activity to the

   DEA.

           794.      If morality and the law did not suffice, competition dictates that the RICO

   Supply Chain Defendants would turn in their rivals when they had reason to suspect suspicious

   activity.   Indeed, if a manufacturer or distributor could gain market share by reporting a

   competitor’s illegal behavior (causing it to lose a license to operate, or otherwise inhibit its

   activity), ordinary business conduct dictates that it would do so.         Under the CSA this

   whistleblower or watchdog function is not only a protected choice, but a statutory mandate.

   Unfortunately, however, that is not what happened. Instead, knowing that investigations into

   potential diversion would only lead to shrinking markets. The RICO Supply Chain Defendants

   elected to operate in a conspiracy of silence, in violation of both the CSA and RICO.

           795.      The RICO Supply Chain Defendants’ scheme required the participation of all.

   If any one member broke rank, its compliance activities would highlight deficiencies of the

   others, and the artificially high quotas they maintained through their scheme would crumble.

   But, if all the members of the enterprise conducted themselves in the same manner, it would be

   difficult for the DEA to go after any one of them. Accordingly, through the connections they

   made as a result of their participation in the HDA, the RICO Supply Chain Defendants chose to

   flout the closed system designed to protect the citizens. Publicly, in 2008, they announced their

   formulation of Industry Compliance Guidelines.        But, privately, the RICO Supply Chain

   Defendants refused to act and through their lobbying efforts, they collectively sought to

   undermine the impact of the CSA. Indeed, despite the issuance of these Industry Compliance

   Guidelines, which recognize these Defendants’ duties under the law, as illustrated by the



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   subsequent industry-wide enforcement actions and consent orders issued after that time, none of

   them complied. John Gray, President and CEO of the HDA said to Congress in 2014, it is

   “difficult to find the right balance between proactive anti-diversion efforts while not

   inadvertently limiting access to appropriately prescribed and dispensed medications.” Yet, the

   RICO Supply Chain Defendants apparently all found the same profit-maximizing balance --

   intentionally remaining silent to ensure the largest possible financial return.

          796.       As described above, at all relevant times, the RICO Supply Chain Defendants

   operated as an association-in-fact enterprise formed for the purpose of unlawfully increasing

   sales, revenues and profits by fraudulently increasing the quotas set by the DEA that would allow

   them to collectively benefit from a greater pool of prescription opioids to manufacture and

   distribute. In support of this common purpose and fraudulent scheme, the RICO Supply Chain

   Defendants jointly agreed to disregard their statutory duties to identify, investigate, halt, and

   report suspicious orders of opioids and diversion of their drugs into the illicit market so that

   those orders would not result in a decrease, or prevent an increase in, the necessary quotas.

          797.       At all relevant times, as described above, the RICO Supply Chain Defendants

   exerted control over, conducted and/or participated in the Opioid Supply Chain Enterprise by

   fraudulently claiming that they were complying with their duties under the CSA to identify,

   investigate and report suspicious orders of opioids in order to prevent diversion of those highly

   addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

   production quotas and generate unlawful profits, as follows:

          798.       The RICO Supply Chain Defendants disseminated false and misleading

   statements to state and federal regulators claiming that:



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                     a.       the quotas for prescription opioids should be increased;

                     b.       they were complying with their obligations to maintain effective controls
                              against diversion of their prescription opioids;

                     c.       they were complying with their obligations to design and operate a system
                              to disclose to the registrant suspicious orders of their prescription opioids;

                     d.       they were complying with their obligation to notify the DEA of any
                              suspicious orders or diversion of their prescription opioids; and

                     e.       they did not have the capability to identify suspicious orders of controlled
                              substances.

              799.        Defendants applied political and other pressure on the DOJ and DEA to halt

   prosecutions for failure to report suspicious orders of prescription opioids and lobbied Congress

   to strip the DEA of its ability to immediately suspend registrations pending investigation by

   passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”302

              800.        The CSA and the Code of Federal Regulations, require the RICO Supply Chain

   Defendants to make reports to the DEA of any suspicious orders identified through the design

   and operation of their system to disclose suspicious orders. The failure to make reports as

   required by the CSA and Code of Federal Regulations amounts to a criminal violation of the

   statute.

   302
       HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce,
   http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
   alliance/. (Last updated July 6, 2016); Lenny Bernstein & Scott Higham, Investigation: The DEA
   Slowed Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post (Oct. 22,
   2016), https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-
   opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
   d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls
   for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post (Mar. 6, 2017),
   https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
   enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
   Eyre, DEA Agent: “We Had No Leadership” in WV Amid Flood of Pain Pills, Charleston
   Gazette-Mail (Feb. 18, 2017), http://www.wvgazettemail.com/news/20170218/dea-agent-we-
   had-no-leadership-in-wv-amid-flood-of-pain-pills-.
                                                      -251-
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          801.       The RICO Supply Chain Defendants knowingly and intentionally furnished

   false or fraudulent information in their reports to the DEA about suspicious orders, and/or

   omitted material information from reports, records, and other document required to be filed with

   the DEA including the Marketing Defendants’ applications for production quotas. Specifically,

   the RICO Supply Chain Defendants were aware of suspicious orders of prescription opioids and

   the diversion of their prescription opioids into the illicit market, and failed to report this

   information to the DEA in their mandatory reports and their applications for production quotas.

          802.       The RICO Supply Chain Defendants used, directed the use of, and/or caused to

   be used, thousands of interstate mail and wire communications in service of their scheme

   through virtually uniform misrepresentations, concealments, and material omissions regarding

   their compliance with their mandatory reporting requirements and the actions necessary to carry

   out their unlawful goal of selling prescription opioids without reporting suspicious orders or the

   diversion of opioids into the illicit market.

          803.       In devising and executing the illegal scheme, the RICO Supply Chain

   Defendants devised and knowingly carried out a material scheme and/or artifice to defraud by

   means of materially false or fraudulent pretenses, representations, promises, or omissions of

   material facts.

          804.       For the purpose of executing the illegal scheme, the RICO Supply Chain

   Defendants committed racketeering acts, which number in the thousands, intentionally and

   knowingly with the specific intent to advance the illegal scheme. These racketeering acts, which

   included repeated acts of mail fraud and wire fraud, constituted a pattern of racketeering.

          805.       The RICO Supply Chain Defendants’ use of the mail and wires includes, but is



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   not limited to, the transmission, delivery, or shipment of the following by the Marketing

   Defendants, the Distributor Defendants, or third parties that were foreseeably caused to be sent

   as a result of the RICO Supply Chain Defendants’ illegal scheme, including but not limited to:

                 a.      the prescription opioids themselves;

                 b.      documents and communications that supported and/or facilitated the RICO
                         Supply Chain Defendants’ request for higher aggregate production quotas,
                         individual production quotas, and procurement quotas;

                 c.      documents and communications that facilitated the manufacture, purchase
                         and sale of prescription opioids;

                 d.      RICO Supply Chain Defendants’ DEA registrations;

                 e.      documents and communications that supported and/or facilitated RICO
                         Supply Chain Defendants’ DEA registrations;

                 f.      RICO Supply Chain Defendants’ records and reports that were required to
                         be submitted to the DEA pursuant to 21 U.S.C. § 827;

                 g.      documents and communications related to the RICO Supply Chain
                         Defendants’ mandatory DEA reports pursuant to 21 U.S.C. § 823 and 21
                         C.F.R. § 1301.74;

                 h.      documents intended to facilitate the manufacture and distribution of the
                         RICO Supply Chain Defendants’ prescription opioids, including bills of
                         lading, invoices, shipping records, reports and correspondence;

                 i.      documents for processing and receiving payment for prescription opioids;

                 j.      payments from the Distributors to the Marketing Defendants;

                 k.      rebates and chargebacks from the Marketing Defendants to the
                         Distributors Defendants;

                 l.      payments to the RICO Supply Chain Defendants’ lobbyists through the
                         PCF;

                 m.      payments to the RICO Supply Chain Defendants’ trade organizations, like
                         the HDA, for memberships and/or sponsorships;

                 n.      deposits of proceeds from the RICO Supply Chain Defendants’
                         manufacture and distribution of prescription opioids; and

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                    o.       other documents and things, including electronic communications.

            806.         The RICO Supply Chain Defendants (and/or their agents), for the purpose of

   executing the illegal scheme, sent and/or received (or caused to be sent and/or received) by mail

   or by private or interstate carrier, shipments of prescription opioids and related documents by

   mail or by private carrier affecting interstate commerce, including the following:

    Defendant                                                                  Drugs
                   Company Names
   Group Name                                         Drug Name     Chemical Name       CSA Schedule
                                                                    Oxycodone
                                                      OxyContin     hydrochloride       Schedule II
                                                                    extended release
                                                                    Morphine sulfate
                                                      MS Contin                         Schedule II
                                                                    extended release
                   (1) Purdue Pharma, LP,                           Hydromorphone
                                                      Dilaudid                          Schedule II
                                                                    hydrochloride
   Purdue          (2) Purdue Pharma, Inc.,
                                                                    Hydromorphone
                   (3) The Purdue Frederick           Dilaudid-HP                       Schedule II
                                                                    hydrochloride
                   Company
                                                      Butrans       Buprenorphine       Schedule II
                                                                    Hydrocodone
                                                      Hysinga ER                        Schedule II
                                                                    bitrate
                                                                    Oxycodone
                                                      Targiniq ER                       Schedule II
                                                                    hydrochloride

                   (1) Cephalon, Inc.,                Actiq         Fentanyl citrate    Schedule II
                   (2) Teva Pharmaceutical
   Cephalon        Industries, Ltd.,                  Fentora       Fentanyl citrate    Schedule II
                   (3) Teva Pharmaceuticals USA,      Generic       Oxycodone
                   Inc.                                                                 Schedule II
                                                      OxyContin     hydrochloride
                                                                    Oxymorphone
                                                      Opana ER      hydrochloride       Schedule II
                                                                    extended release
                   (1) Endo Health Solutions, Inc.,                 Oxymorphone
                                                      Opana                             Schedule II
                   (2) Endo Pharmaceuticals Inc.,                   hydrochloride
   Endo
                   (3) Qualitest Pharmaceuticals,                   Oxymorphone
                   Inc. (wholly-owned subsidiary of   Percodan      hydrochloride and   Schedule II
                   Endo)                                            aspirin
                                                                    Oxymorphone
                                                      Percocet      hydrochloride and   Schedule II
                                                                    acetaminophen


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    Defendant                                                                         Drugs
                    Company Names
   Group Name                                             Drug Name        Chemical Name      CSA Schedule
                                                          Generic oxycodone                   Schedule II
                                                          Generic oxymorphone                 Schedule II
                                                          Generic hydromorphone               Schedule II
                                                          Generic hydrocodone                 Schedule II

                    (1) Mallinckrodt plc,                                  Hydromorphone
                                                          Exalgo                              Schedule II
                                                                           hydrochloride
   Mallinckrodt     (2) Mallinckrodt LLC (wholly-
                    owned subsidiary of Mallinckrodt                       Oxycodone
                    plc)                                  Roxicodone                          Schedule II
                                                                           hydrochloride


                    (1) Allergan plc,                     Kadian           Morphine Sulfate   Schedule II

                    (2) Actavis LLC,                      Norco (Generic   Hydrocodone and
                                                                                              Schedule II
                    (3) Actavis Pharma, Inc.,             of Kadian)       acetaminophen
   Actavis
                    (4) Actavis plc, (5) Actavis, Inc.,   Generic
                                                                           Fentanyl           Schedule II
                    (6) Watson Pharmaceuticals, Inc.,     Duragesic

                    (7) Watson Pharma, Inc.                                Oxymorphone
                                                          Generic Opana                       Schedule II
                                                                           hydrochloride


             807.       Each of the RICO Supply Chain Defendants, identified manufactured, shipped,

   paid for and received payment for the drugs identified above, throughout the United States.

             808.       The RICO Supply Chain Defendants used the internet and other electronic

   facilities to carry out their scheme and conceal the ongoing fraudulent activities. Specifically,

   the RICO Supply Chain Defendants made misrepresentations about their compliance with

   Federal and State laws requiring them to identify, investigate, and report suspicious orders of

   prescription opioids and/or diversion of the same into the illicit market.

             809.       At the same time, the RICO Supply Chain Defendants misrepresented the

   superior safety features of their order monitoring programs, ability to detect suspicious orders,

   commitment to preventing diversion of prescription opioids, and their compliance with all state

   and federal regulations regarding the identification and reporting of suspicious orders of


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   prescription opioids.

           810.       The RICO Supply Chain Defendants utilized the internet and other electronic

   resources to exchange communications, to exchange information regarding prescription opioid

   sales, and to transmit payments and rebates/chargebacks.

           811.       The RICO Supply Chain Defendants also communicated by U.S. Mail, by

   interstate facsimile, and by interstate electronic mail with each other and with various other

   affiliates, regional offices, regulators, distributors, and other third-party entities in furtherance of

   the scheme.

           812.       The mail and wire transmissions described herein were made in furtherance of

   the RICO Supply Chain Defendants’ scheme and common course of conduct to deceive

   regulators, the public and Plaintiff that these Defendants were complying with their state and

   federal obligations to identify and report suspicious orders of prescription opioids all while

   Defendants were knowingly allowing millions of doses of prescription opioids to divert into the

   illicit drug market.    The RICO Supply Chain Defendants’ scheme and common course of

   conduct was to increase or maintain high production quotas for their prescription opioids from

   which they could profit.

           813.       Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

   wire facilities have been deliberately hidden by Defendants and cannot be alleged without access

   to Defendants’ books and records. However, Plaintiff has described the types of, and in some

   instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They

   include thousands of communications to perpetuate and maintain the scheme, including the

   things and documents described in the preceding paragraphs.



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          814.        The RICO Supply Chain Defendants did not undertake the practices described

   herein in isolation, but as part of a common scheme.          Various other persons, firms, and

   corporations, including third-party entities and individuals not named as Defendants in this

   Complaint, may have contributed to and/or participated in the scheme with these Defendants in

   these offenses and have performed acts in furtherance of the scheme to increase revenues,

   increase market share, and /or minimize the losses for the RICO Supply Chain Defendants.

          815.        The predicate acts constituted a variety of unlawful activities, each conducted

   with the common purpose of obtaining significant monies and revenues from the sale of their

   highly addictive and dangerous drugs. The predicate acts also had the same or similar results,

   participants, victims, and methods of commission. The predicate acts were related and not

   isolated events.

          816.        The predicate acts all had the purpose of creating the opioid epidemic that

   substantially injured Plaintiff’s business and property, while simultaneously generating billion-

   dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

   committed or caused to be committed by Defendants through their participation in the Opioid

   Supply Chain Enterprise and in furtherance of its fraudulent scheme.

          817.        As described above, the RICO Supply Chain Defendants were repeatedly

   warned, fined, and found to be in violation of applicable law and regulations, and yet they

   persisted. The sheer volume of enforcement actions against the RICO Supply Chain Defendants

   supports this conclusion that the RICO Supply Chain Defendants operated through a pattern and

   practice of willfully and intentionally omitting information from their mandatory reports to the




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   DEA as required by 21 C.F.R. §1301.74.303

          818.       Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, Plaintiff’s community and Plaintiff. The RICO Supply Chain

   Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

   profits from unlawful sales of opioids, without regard to the effect such behavior would have on

   this jurisdiction, its citizens or Plaintiff. The RICO Supply Chain Defendants were aware that

   Plaintiff and the citizens of this jurisdiction rely on these Defendants to maintain a closed system

   of manufacturing and distribution to protect against the non-medical diversion and use of their

   dangerously addictive opioid drugs.

          819.       By intentionally refusing to report and halt suspicious orders of their

   prescription opioids, the RICO Supply Chain Defendants engaged in a fraudulent scheme and

   unlawful course of conduct constituting a pattern of racketeering activity.

          820.       Sales representatives marketed OxyContin, including in Broward County and

   surrounding areas, as a product “to start with and to stay with,” and Purdue deliberately exploited

   a misconception it knew many doctors held that oxycodone was less potent than morphine. 304

   Sales representatives also received training in overcoming doctors’ concerns about addiction

   with talking points they knew to be untrue about the drug’s abuse potential. The New Yorker

   reported that “[i]n 2002, a sales manager from the company, William Gergely, told a state

   investigator in Florida that Purdue executives ‘told us to say things like it is “virtually” non-


   303
       Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
   Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
   https://oig.justice.gov/reports/2014/e1403.pdf.
   304
       Keefe, Empire of Pain, supra n.50.
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   addicting.’”305

               821.     Purdue caused the publication and distribution of false and deceptive

   guidelines on opioid prescribing. For example, as set forth above, Purdue paid $100,000 to the

   FSMB to help print and distribute its guidelines on the use of opioids to treat chronic pain to

   700,000 practicing doctors; and among the FSMB’s members are the Florida Board of Medicine

   and the Florida Board of Osteopathic Medicine.

               C.     Effect of Opioid Marketing Enterprise and Opioid Supply Chain Enterprise
                      on Broward County

               822.     As described herein, Defendants engaged in a pattern of related and continuous

   predicate acts for years. The predicate acts constituted a variety of unlawful activities, each

   conducted with the common purpose of obtaining significant monies and revenues from

   consumers, based on their misrepresentations and omissions. The predicate acts also had the

   same or similar results, participants, victims and methods of commission. The predicate acts

   were related and not isolated events. The predicate acts all had the purpose of generating

   significant revenue and profits for Defendants, at the expense of BHMEs like the BBHC. . The

   predicate acts were committed or caused to be committed by Defendants through their

   participation in the enterprise and in furtherance of their fraudulent scheme. .

               823.     As fully alleged herein, BBHC, relied upon representations and omissions that

   were made or caused by Defendants.

               824.     BBHC’s injuries and damages were proximately caused by Defendants’

   racketeering activity, which directly caused the over-prescription, over-purchase, and over-

   consumption of opioids. But for Defendants’ misstatements and omissions and the scheme


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         Id.
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   employed by the Opioid Marketing Enterprise and the Opioid Supply Chain Enterprise, the

   BBHC would not be bearing the costs of the current opioid epidemic.

           825.       By reason of, and as a result of the conduct of each of the Defendants, and in

   particular, their pattern of racketeering activity, BBHC has been injured in its business and

   property in multiple ways, including, but not limited to, increased expenditures for overtime,

   behavioral and mental health treatment, and lost productivity.

           826.       Defendants’ violations of 18 U.S.C. §1962(c) and (d) have directly and

   proximately caused injuries and damages to the BBHC. The BBHC is therefore entitled to bring

   this action for three times its actual damages, as well as injunctive/equitable relief, costs and

   reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c).

                                           CLAIMS FOR RELIEF

                                        FIRST CLAIM FOR RELIEF

           Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing Enterprise
      (Against Defendants Purdue, Cephalon, Janssen, Endo, and Mallinckrodt (the RICO
                                   Marketing Defendants))

           827.       Plaintiff incorporates by reference paragraphs 1-826 of this Complaint as if

   fully set forth herein.

           828.       The RICO Marketing Defendants, through the use of Front Groups that

   appeared to be independent of the RICO Marketing Defendants; through the dissemination of

   publications that supported the RICO Marketing Defendants’ scheme; through CME programs

   controlled and/or funded by the RICO Marketing Defendants; by the hiring and deployment of

   so-called “key opinion leaders,” who were paid by the RICO Marketing Defendants to promote

   their message; and through the “detailing” activities of the RICO Marketing Defendants’ sales

   forces, conducted an association-in-fact enterprise, and/or participated in the conduct of an

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   enterprise through a pattern of illegal activities (the predicate racketeering acts of mail and wire

   fraud) to carry-out the common purpose of the Opioid Marketing Enterprise, i.e., to unlawfully

   increase profits and revenues from the continued prescription and use of opioids for long-term

   chronic pain. Through the racketeering activities of the Opioid Marketing Enterprise sought to

   further the common purpose of the enterprise through a fraudulent scheme to change prescriber

   habits and public perception about the safety and efficacy of opioid use by convincing them that

   each of the nine false propositions alleged earlier were true. In so doing, each of the RICO

   Marketing Defendants knowingly conducted and participated in the conduct of the Opioid

   Marketing Activities by engaging in mail and wire fraud in violation of 18 U.S.C. §§ 1962(c)

   and (d).

          829.       The Opioid Marketing Enterprise alleged above is an association-in-fact

   enterprise that consists of the RICO Marketing Defendants (Purdue Cephalon, Janssen, Endo,

   and Mallinckrodt); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS); and the

   KOLs (Drs. Portenoy, Webster, Fine, and Fishman).

          830.       Each of the RICO Marketing Defendants and the other members of the Opioid

   Marketing Enterprise conducted and participated in the conduct of the Opioid Marketing

   Enterprise by playing a distinct role in furthering the enterprise’s common purpose of increasing

   profits and sales through the knowing and intentional dissemination of false and misleading

   information about the safety and efficacy of long-term opioid use, and the risks and symptoms of

   addiction, in order increase the market for prescription opioids by changing prescriber habits and

   public perceptions and increase the market for opioids.

          831.       Specifically, the RICO Marketing Defendants each worked together to



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   coordinate the enterprise’s goals and conceal their role, and the enterprise’s existence, from the

   public by, among other things, (a) funding, editing and distributing publications that supported

   and advanced their false messages; (b) funding KOLs to further promote their false messages;

   (c) funding, editing and distributing CME programs to advance their false messages; and

   (d) tasking their own employees to direct deceptive marketing materials and pitches directly at

   physicians and, in particular, at physicians lacking the expertise of pain care specialists (a

   practice known as sales detailing).

          832.       Each of the Front Groups helped disguise the role of RICO Marketing

   Defendants by purporting to be unbiased, independent patient-advocacy and professional

   organizations in order to disseminate patient education materials, a body of biased and

   unsupported scientific “literature,” and “treatment guidelines” that promoted the RICO

   Marketing Defendants’ false messages.

          833.       Each of the KOLs were physicians chosen and paid by each of the RICO

   Marketing Defendants to influence their peers’ medical practice by promoting the Marketing

   Defendants’ false message through, among other things, writing favorable journal articles and

   delivering supportive CMEs as if they were independent medical professionals, thereby further

   obscuring the RICO Marketing Defendants’ role in the enterprise and the enterprise’s existence.

          834.       Further, each of the RICO Marketing Defendants, KOLs, and Front Groups

   that made-up the Opioid Marketing Enterprise had systematic links to and personal relationships

   with each other through joint participation in lobbying groups, trade industry organizations,

   contractual relationships, and continuing coordination of activities. The systematic links and

   personal relationships that were formed and developed allowed members of the Opioid



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   Marketing Enterprise the opportunity to form the common purpose and agree to conduct and

   participate in the conduct of the Opioid Marketing Enterprise. Specifically, each of the RICO

   Marketing Defendants coordinated their efforts through the same KOLs and Front Groups, based

   on their agreement and understanding that the Front Groups and KOLs were industry friendly

   and would work together with the RICO Marketing Defendants to advance the common purpose

   of the Opioid Marketing Enterprise; each of the individuals and entities who formed the Opioid

   Marketing Enterprise acted to enable the common purpose and fraudulent scheme of the Opioid

   Marketing Enterprise.

          835.          At all relevant times, the Opioid Marketing Enterprise: (a) had an existence

   separate and distinct from each RICO Marketing Defendant and its members; (b) was separate

   and distinct from the pattern of racketeering in which the RICO Marketing Defendants engaged;

   (c) was an ongoing and continuing organization consisting of individuals, persons, and legal

   entities, including each of the RICO Marketing Defendants; (d) was characterized by

   interpersonal relationships between and among each member of the Opioid Marketing

   Enterprise, including between the RICO Marketing Defendants and each of the Front Groups and

   KOLs; and (e) had sufficient longevity for the enterprise to pursue its purpose and functioned as

   a continuing unit.

          836.          The persons and entities engaged in the Opioid Marketing Enterprise are

   systematically linked through contractual relationships, financial ties, personal relationships, and

   continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

          837.          The RICO Marketing Defendants conducted and participated in the conduct of

   the Opioid Marketing Enterprise through a pattern of racketeering activity that employed the use



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   of mail and wire facilities, in violation of 18 U.S.C. §1341 (mail fraud) and §1343 (wire fraud),

   to increase profits and revenue by changing prescriber habits and public perceptions in order to

   increase the prescription and use of prescription opioids, and expand the market for opioids.

          838.         The RICO Marketing Defendants each committed, conspired to commit, and/or

   aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.,

   violations of 18 U.S.C. §§1341 and 1343) within the past ten years. The multiple acts of

   racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

   commission of, were related to each other, posed a threat of continued racketeering activity, and

   therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

   possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

   channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

   facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

   telephones, and the Internet to transmit mailings and wires in interstate or foreign commerce.

          839.         The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C.

   § 1961(1)) include, but are not limited to:

                  a.       Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. §1341
                           by sending or receiving, or by causing to be sent and/or received, materials
                           via U.S. mail or commercial interstate carriers for the purpose of
                           executing the unlawful scheme to design, manufacture, market, and sell
                           the prescription opioids by means of false pretenses, misrepresentations,
                           promises, and omissions.

                  b.       Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. §1343
                           by transmitting and/or receiving, or by causing to be transmitted and/or
                           received, materials by wire for the purpose of executing the unlawful
                           scheme to design, manufacture, market, and sell the prescription opioids
                           by means of false pretenses, misrepresentations, promises, and omissions.

          840.         Indeed, as summarized herein, the RICO Marketing Defendants used the mail


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   and wires to send or receive thousands of communications, publications, representations,

   statements, electronic transmissions, and payments to carry-out the Opioid Marketing

   Enterprise’s fraudulent scheme.

           841.       Because the RICO Marketing Defendants disguised their participation in the

   enterprise, and worked to keep even the enterprise’s existence secret so as to give the false

   appearance that their false messages reflected the views of independent third parties, many of the

   precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate wire

   facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and cannot

   be alleged without access to the books and records maintained by the RICO Marketing

   Defendants, Front Groups, and KOLs. Indeed, an essential part of the successful operation of the

   Opioid Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiff has

   described the occasions on which the RICO Marketing Defendants, Front Groups, and KOLs

   disseminated misrepresentations and false statements to Florida consumers, prescribers,

   regulators, and Plaintiff, and how those acts were in furtherance of the scheme.

           842.       Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including Florida consumers, prescribers, regulators and

   Plaintiff.     The RICO Marketing Defendants, Front Groups, and KOLs calculated and

   intentionally crafted the scheme and common purpose of the Opioid Marketing Enterprise to

   ensure their own profits remained high. In designing and implementing the scheme, the RICO

   Marketing Defendants understood and intended that those in the distribution chain rely on the

   integrity of the pharmaceutical companies and ostensibly neutral third parties to provide



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   objective and scientific evidence regarding the RICO Marketing Defendants’ products.

          843.      The RICO Marketing Defendants’ pattern of racketeering activity alleged

   herein and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise,

   the RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.

          844.      The pattern of racketeering activity alleged herein is continuing as of the date

   of this Complaint, and, upon information and belief, will continue into the future unless enjoined

   by this Court.

          845.      The racketeering activities conducted by the RICO Marketing Defendants,

   Front Groups and KOLs amounted to a common course of conduct, with a similar pattern and

   purpose, intended to deceive Florida consumers, prescribers, regulators, and Plaintiff. Each

   separate use of the U.S. Mail and/or interstate wire facilities employed by Defendants was

   related, had similar intended purposes, involved similar participants and methods of execution,

   and had the same results affecting the same victims, including Florida consumers, prescribers,

   regulators, and Plaintiff. The RICO Marketing Defendants have engaged in the pattern of

   racketeering activity for the purpose of conducting the ongoing business affairs of the Opioid

   Marketing Enterprise.

          846.      Each of the RICO Marketing Defendants aided and abetted others in the

   violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C.

   §§1341 and 1343 offenses.

          847.      As described herein, the RICO Marketing Defendants engaged in a pattern of

   related and continuous predicate acts for years. The predicate acts constituted a variety of

   unlawful activities, each conducted with the common purpose of obtaining significant money



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   and revenue from the marketing and sale of their highly addictive and dangerous drugs. The

   predicate acts also had the same or similar results, participants, victims, and methods of

   commission. The predicate acts were related and not isolated events.

             848.      The pattern of racketeering activity alleged herein is continuing as of the date

   of this Complaint and, upon information and belief, will continue into the future unless enjoined

   by this Court. The last racketeering incident occurred within five years of the commission of a

   prior incident of racketeering.

             849.      The RICO Marketing Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff injury in its business and property.

   The RICO Marketing Defendants’ pattern of racketeering activity logically, substantially and

   foreseeably caused an opioid epidemic.         Plaintiff’s injuries, as described below, were not

   unexpected, unforeseen, or independent.306 Rather, as Plaintiff alleges, the RICO Marketing

   Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-acute,

   and non-cancer pain, or for any other use not approved by the FDA, and knew that opioids were

   highly addictive and subject to abuse.307 Nevertheless, the RICO Marketing Defendants engaged

   in a scheme of deception that utilized the mail and wires in order to carry-out the Opioid

   Marketing Enterprises’ fraudulent scheme, thereby increasing sales of their opioid products.

             850.      It was foreseeable and expected that the RICO Marketing Defendants creating

   and then participating in the Opioid Marketing Enterprise through a pattern of racketeering

   activities to carry-out their fraudulent scheme would lead to a nationwide opioid epidemic,




   306
         Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017)
   307
         Id. at 1041
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   including increased opioid addiction and overdose.308

               851.        Specifically, the RICO Marketing Defendants’ creation of, and then

   participation in, the Opioid Marketing Enterprise through a pattern of racketeering activities to

   carry-out their fraudulent scheme has injured Plaintiff in the form of substantial losses of money

   and property that logically, directly and foreseeably arise from the opioid-addiction epidemic.

   Plaintiff’s injuries, as alleged throughout this Complaint, and expressly incorporated herein by

   reference, include:

                      a.       costs for providing healthcare and medical care, additional therapeutic,
                               and other treatments for patients suffering from opioid-related addiction or
                               disease, including overdoses;

                      b.       costs for providing mental-health services, treatment, counseling,
                               rehabilitation services, and social services to victims of the opioid
                               epidemic and their families; and

                      c.       costs associated with providing care for children whose parents suffer
                               from opioid-related disability or incapacitation;

               852.        Plaintiff’s injuries were directly and thus proximately caused by the

   Defendants’ racketeering activities because they were the logical, substantial and foreseeable

   cause of Plaintiff’s injuries. But for the opioid-addiction epidemic the RICO Marketing

   Defendants created through their Opioid Marketing Enterprise, Plaintiff would not have been

   damaged.

               853.        Plaintiff is the most directly harmed entity and there is no other Plaintiff better

   suited to seek a remedy for the economic harms at issue here.

               854.        Plaintiff seeks all legal and equitable relief as allowed by law, including, inter

   alia, actual damages; treble damages; equitable and/or injunctive relief in the form of court-


   308
         Id.
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   supervised corrective communication, actions and programs; forfeiture as deemed proper by the

   Court; attorneys’ fees; all costs and expenses of suit; and pre- and post-judgment interest,

   including, inter alia:

                   a.       actual damages and treble damages, including pre-suit and post-judgment
                            interest;

                   b.       an order enjoining any further violations of RICO;

                   c.       an order enjoining any further violations of any statutes alleged to have
                            been violated in this Complaint;

                   d.       an order enjoining the commission of any tortious conduct, as alleged in
                            this Complaint;

                   e.       an order enjoining any future marketing or misrepresentations regarding
                            the health benefits or risks of prescription opioids use, except as
                            specifically approved by the FDA;

                   f.       an order enjoining any future marketing of opioids through non-branded
                            marketing including through the Front Groups, KOLs, websites, or in any
                            other manner alleged in this Complaint that deviates from the manner or
                            method in which such marketing has been approved by the FDA;

                   g.       an order enjoining any future marketing to vulnerable populations,
                            including but not limited to, persons over the age of 55, anyone under the
                            age of 21, and veterans;

                   h.       an order compelling Defendants to make corrective advertising statements
                            that shall be made in the form, manner and duration as determined by the
                            Court, but not less than print advertisements in national and regional
                            newspapers and medical journals, televised broadcast on major television
                            networks, and displayed on their websites, concerning: (1) the risk of
                            addiction among patients taking opioids for pain; (2) the ability to manage
                            the risk of addiction; (3) pseudoaddiction is really addiction, not a sign of
                            undertreated addiction; (4) withdrawal from opioids is not easily managed;
                            (5) increasing opioid dosing presents significant risks, including addiction
                            and overdose; (6) long term use of opioids has no demonstrated
                            improvement of unction; (8) use of time-released opioids does not prevent
                            addiction; (9) ADFs do not prevent opioid abuse; and (10) that
                            manufacturers and distributors have duties under the CSA to monitor,
                            identify, investigate, report and halt suspicious orders and diversion but
                            failed to do so;

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              i.    an order enjoining any future lobbying or legislative efforts regarding the
                    manufacturer, marketing, distribution, diversion, prescription, or use of
                    opioids;

              j.    an order requiring all Defendants to publicly disclose all documents,
                    communications, records, data, information, research or studies
                    concerning the health risks or benefits of opioid use;

              k.    an order prohibiting all Defendants from entering into any new payment or
                    sponsorship agreement with, or related to, any: Front Group, trade
                    association, doctor, speaker, CME, or any other person, entity, or
                    association, regarding the manufacturer, marketing, distribution, diversion,
                    prescription, or use of opioids;

              l.    an order establishing a National Foundation for education, research,
                    publication, scholarship, and dissemination of information regarding the
                    health risks of opioid use and abuse to be financed by the Defendants in an
                    amount to be determined by the Court;

              m.    an order enjoining any diversion of opioids or any failure to monitor,
                    identify, investigate, report and halt suspicious orders or diversion of
                    opioids;

              n.    an order requiring all Defendants to publicly disclose all documents,
                    communications, records, information, or data, regarding any prescriber,
                    facility, pharmacy, clinic, hospital, manufacturer, distributor, person,
                    entity or association regarding suspicious orders for or the diversion of
                    opioids;

              o.    an order divesting each Defendant of any interest in, and the proceeds of
                    any interest in, the Marketing and Supply Chain Enterprises, including any
                    interest in property associated with the Marketing and Supply Chain
                    Enterprises;

              p.    dissolution and/or reorganization of any trade industry organization, Front
                    Group, or any other entity or association associated with the Marketing
                    and Supply Chain Enterprises identified in this Complaint, as the Court
                    sees fit;

              q.    dissolution and/or reorganization of any Defendant named in this
                    Complaint as the Court sees fit;

              r.    suspension and/or revocation of the license, registration, permit, or prior
                    approval granted to any Defendant, entity, association or enterprise named
                    in the Complaint regarding the manufacture or distribution of opioids;


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                   s.        forfeiture as deemed appropriate by the Court; and

                   t.        Attorneys’ fees and all costs and expenses of suit

                                         SECOND CLAIM FOR RELIEF

          Violation of RICO, 18 U.S.C. §1961, et seq. – Opioid Supply Chain Enterprise
              (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
         McKesson, Cardinal Health, and AmerisourceBergen – (the RICO Supply Chain
                                         Defendants))

           855.         Plaintiff incorporates by reference paragraphs 1-826 of this Complaint as if

   fully set forth herein.

           856.         At all relevant times, the RICO Supply Chain Defendants were and are

   “persons” under 18 U.S.C. §1961(3) because they are entities capable of holding, and do hold, “a

   legal or beneficial interest in property.”

           857.         The RICO Supply Chain Defendants together formed an association-in-fact

   enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing the quota for and

   profiting from the increased volume of opioid sales in the United States. The Opioid Supply

   Chain Enterprise is an association-in-fact enterprise within the meaning of §1961. The Opioid

   Supply Chain Enterprise consists of the RICO Supply Chain Defendants.

           858.         The RICO Supply Chain Defendants were members of the HDA.309 Each of the

   RICO Supply Chain Defendants is a member, participant, and/or sponsor of the HDA, and has

   been since at least 2006, and utilized the HDA to form the interpersonal relationships of the

   Opioid Supply Chain Enterprise and to assist them in engaging in the pattern of racketeering

   activity that gives rise to the Count.

           859.         At all relevant times, the Opioid Supply Chain Enterprise: (a) had an existence

   309
      History, Health Distribution Alliance, https://www.healthcaredistribution.org/about/hda-
   history. (last accessed on Sept. 15, 2017).
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   separate and distinct from each of the RICO Supply Chain Defendants; (b) was separate and

   distinct from the pattern of racketeering in which the RICO Supply Chain Defendants engaged;

   (c) was an ongoing and continuing organization consisting of legal entities, including each of the

   RICO Supply Chain Defendants; (d) was characterized by interpersonal relationships among the

   RICO Supply Chain Defendants; (e) had sufficient longevity for the enterprise to pursue its

   purpose; and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

   Enterprise participated in the conduct of the enterprise, including patterns of racketeering

   activity, and shared in the astounding growth of profits supplied by fraudulently inflating opioid

   quotas and resulting sales.

          860.       The RICO Supply Chain Defendants carried out, or attempted to carry out, a

   scheme to defraud federal and state regulators, and the American public by knowingly

   conducting or participating in the conduct of the Opioid Supply Chain Enterprise through a

   pattern of racketeering activity within the meaning of 18 U.S.C. §1961(1) that employed the use

   of mail and wire facilities, in violation of 18 U.S.C. §1341 (mail fraud) and §1343 (wire fraud).

          861.       The RICO Supply Chain Defendants committed, conspired to commit, and/or

   aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.,

   violations of 18 U.S.C. §§1341 and 1343) within the past ten years. The multiple acts of

   racketeering activity that the RICO Supply Chain Defendants committed, or aided and abetted in

   the commission of, were related to each other, posed a threat of continued racketeering activity,

   and therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

   possible by the RICO Supply Chain Defendants’ regular use of the facilities, services,

   distribution channels, and employees of the Opioid Supply Chain Enterprise. The RICO Supply



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   Chain Defendants participated in the scheme to defraud by using mail, telephone and the Internet

   to transmit mailings and wires in interstate or foreign commerce.

          862.         The RICO Supply Chain Defendants also conducted and participated in the

   conduct of the affairs of the Opioid Supply Chain Enterprise through a pattern of racketeering

   activity by the felonious manufacture, importation, receiving, concealment, buying, selling, or

   otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

   Controlled Substance Act), punishable under any law of the United States.

          863.         The RICO Supply Chain Defendants committed crimes that are punishable as

   felonies under the laws of the United States. Specifically, 21 U.S.C. §843(a)(4) makes it

   unlawful for any person to knowingly or intentionally furnish false or fraudulent information in,

   or omit any material information from, any application, report, record or other document

   required to be made, kept or filed under this subchapter. A violation of §843(a)(4) is punishable

   by up to four years in jail, making it a felony. 21 U.S.C. §843(d)(1).

          864.         Each of the RICO Supply Chain Defendants is a registrant as defined in the

   CSA. Their status as registrants under the CSA requires that they maintain effective controls

   against diversion of controlled substances in schedule I or II, design and operate a system to

   disclose to the registrant suspicious orders of controlled substances and inform the DEA of

   suspicious orders when discovered by the registrant. 21 U.S.C. §823; 21 C.F.R. §1301.74(b).

          865.         The RICO Supply Chain Defendants’ predicate acts of racketeering (18 U.S.C.

   §1961(1)) include, but are not limited to:

                  a.       Mail Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                           § 1341 by sending or receiving, or by causing to be sent and/or received,
                           materials via U.S. mail or commercial interstate carriers for the purpose of
                           executing the unlawful scheme to design, manufacture, market, and sell

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                             the prescription opioids by means of false pretenses, misrepresentations,
                             promises, and omissions.

                    b.       Wire Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                             § 1343 by transmitting and/or receiving, or by causing to be transmitted
                             and/or received, materials by wire for the purpose of executing the
                             unlawful scheme to design, manufacture, market, and sell the prescription
                             opioids by means of false pretenses, misrepresentations, promises, and
                             omissions.

                    c.       Controlled Substance Violations: The RICO Supply Chain Defendants
                             who are Distributor Defendants violated 21 U.S.C. § 843 by knowingly or
                             intentionally furnishing false or fraudulent information in, and/or omitting
                             material information from, documents filed with the DEA.

           866.          The RICO Supply Chain Defendants conducted their pattern of racketeering

   activity in this jurisdiction and throughout the United States through this enterprise.

           867.          The RICO Supply Chain Defendants aided and abetted others in the violations

   of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§1341 and

   1343 offenses.

           868.          The RICO Supply Chain Defendants hid from the general public and

   suppressed and/or ignored warnings from third parties, whistleblowers, and governmental

   entities about the reality of the suspicious orders that the RICO Supply Chain Defendants were

   filling on a daily basis – leading to the diversion of hundreds of millions of doses of prescriptions

   opioids into the illicit market.

           869.          The RICO Supply Chain Defendants, with knowledge and intent, agreed to the

   overall objective of their fraudulent scheme and participated in the common course of conduct to

   commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

           870.          Indeed, for Defendants’ fraudulent scheme to work, each of the Defendants had

   to agree to implement similar tactics regarding manufacturing and distribution of prescription


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   opioids and refusing to report suspicious orders.

          871.       As described herein, the RICO Supply Chain Defendants engaged in a pattern

   of related and continuous predicate acts for years. The predicate acts constituted a variety of

   unlawful activities, each conducted with the common purpose of obtaining significant monies

   and revenues from the sale of their highly addictive and dangerous drugs. The predicate acts

   also had the same or similar results, participants, victims, and methods of commission. The

   predicate acts were related and not isolated events.

          872.       The predicate acts all had the purpose of creating the opioid epidemic that

   substantially injured Plaintiff’s business and property, while simultaneously generating billion-

   dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

   committed or caused to be committed by the RICO Supply Chain Defendants through their

   participation in the Opioid Supply Chain Enterprise and in furtherance of its fraudulent scheme.

          873.       The pattern of racketeering activity alleged herein and the Opioid Supply

   Chain Enterprise are separate and distinct from each other. Likewise, the RICO Supply Chain

   Defendants are distinct from the enterprise.

          874.       The pattern of racketeering activity alleged herein is continuing as of the date

   of this Complaint and, upon information and belief, will continue into the future unless enjoined

   by this Court.

          875.       Many of the precise dates of the RICO Supply Chain Defendants’ criminal

   actions at issue here have been hidden by Defendants and cannot be alleged without access to

   Defendants’ books and records. Indeed, an essential part of the successful operation of the

   Opioid Supply Chain Enterprise alleged herein depended upon secrecy.



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             876.      By intentionally refusing to report and halt suspicious orders of their

   prescription opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct

   constituting a pattern of racketeering activity.

             877.      It was foreseeable to the RICO Supply Chain Defendants that Plaintiff would

   be harmed when they refused to report and halt suspicious orders, because their violation of the

   duties imposed by the CSA and Code of Federal Regulations allowed the widespread diversion

   of prescription opioids out of appropriate medical channels and into the illicit drug market –

   causing the opioid epidemic that the CSA intended to prevent.

             878.      The last racketeering incident occurred within five years of the commission of

   a prior incident of racketeering.

             879.      The RICO Supply Chain Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff injury in its business and property.

   The RICO Supply Chain Defendants’ pattern of racketeering activity, including their refusal to

   identify, report, and halt suspicious orders of controlled substances, logically, substantially and

   foreseeably cause an opioid epidemic.         Plaintiff was injured by the RICO Supply Chain

   Defendants’ pattern of racketeering activity and the opioid epidemic that they created.

             880.      The RICO Supply Chain Defendants knew that the opioids they manufactured

   and supplied were unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain,

   or for any other use not approved by the FDA, and knew that opioids were highly addictive and

   subject to abuse. 310 Nevertheless, the RICO Supply Chain Defendants engaged in a scheme of

   deception, that utilized the mail and wires as part of their fraud, in order to increase sales of their



   310
         Travelers Prop. Cas. Co. of Am. V. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017)
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   opioid products by refusing to identify, report suspicious orders of prescription opioids that they

   knew were highly addictive, subject to abuse, and were actually being diverted into the illegal

   market.311

          881.         The RICO Supply Chain Defendants’ predicate acts and pattern of racketeering

   activity were a cause of the opioid epidemic which has injured Plaintiff in the form of substantial

   losses of money and property that logically, directly, and foreseeably arise from the opioid-

   addiction epidemic.

          882.         Specifically, Plaintiff’s injuries, as alleged throughout this Complaint, and

   expressly incorporated herein by reference, include:

                  a.       costs for providing healthcare and medical care, additional therapeutic,
                           and prescription drug purchases, and other treatments for patients
                           suffering from opioid-related addiction or disease, including overdoses
                           and deaths;

                  b.       costs for providing mental-health services, treatment, counseling,
                           rehabilitation services, and social services to victims of the opioid
                           epidemic and their families;

                  c.       costs associated with providing care for children whose parents suffer
                           from opioid-related disability or incapacitation;

                  d.       pregnant women who succumb to opioid addiction due to the proliferation
                           of the drug in the community and from medical providers results in
                           newborns born exposed to or addicted to opioids resulting in increased
                           costs for addiction treatment for both parent and child as well as additional
                           costs resulting from severe emotional and developmental delays and social
                           implications that result in requiring treatment and services for a lifetime of
                           the child as well as services for the entire family’s social and emotional
                           development and growth;

                  e.       the pervasive nature of opioid addiction creates a more complex recovery
                           process and treatment approach resulting in long term if not lifetime
                           medicated assisted treatment as well as lifelong side effects result both

   311
     City of Everett v. Purdue Pharma L.P., Case No. 17-cv-00209, 2017 WL 4236062, *2 (W.D.
   Wash. Sept. 25, 2017).
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                           from the addiction and the treatment;

                  f.       relapse rate for opioid addiction is greater than other forms of addictive
                           substances;

                  g.       treatment for opioid addictions requires more health care expenses and
                           costs for medical supervision of recovery due to the pervasive nature of
                           the addiction than is caused by other types of addictive substances; and

                  h.       diversion of funds from other services and clients for whom BBHC would
                           otherwise provide funding and services.

          883.         Plaintiff’s injuries were proximately caused by Defendants’ racketeering

   activities because they were the logical, substantial, and foreseeable cause of Plaintiff’s injuries.

   But for the opioid-addiction epidemic created by Defendants’ conduct, Plaintiff would not have

   lost money or property.

          884.         Plaintiff’s injuries were directly caused by the RICO Supply Chain

   Defendants’ pattern of racketeering activities.

          885.         Plaintiff is the most directly harmed and there is no other Plaintiff better suited

   to seek a remedy for the economic harms at issue here.

          886.         Plaintiff seeks all legal and equitable relief as allowed by law, including, inter

   alia, actual damages; treble damages; equitable and/or injunctive relief in the form of court-

   supervised corrective communication, actions and programs; forfeiture as deemed proper by the

   Court; attorneys’ fees; all costs and expenses of suit; and pre- and post-judgment interest, and all

   of the relief sought into the First Claim for Relief, as the Court deems just and applicable.




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                                        THIRD CLAIM FOR RELIEF

                         Violation of The Florida Corrupt Practices Act
                            Florida Revised Code §§2923.31, et seq. -
                                  Opioid Marketing Enterprise
            (Against Defendants Purdue, Cephalon, Janssen, Endo, and Mallinckrodt)

           887.       Plaintiff incorporates by reference paragraphs 1-826 of this Complaint as if

   fully set forth herein.

           888.       Plaintiff brings this Claim against Defendants Purdue, Cephalon, Janssen,

   Endo, and Mallinckrodt (referred to collectively for this Claim as the “the RICO Marketing

   Defendants”).

           889.       Fla. Stat. §772.103(3) makes it unlawful for any person “[e]mployed or

   associated with, any enterprise to conduct or participate, directly or indirectly, in such enterprise

   through a pattern of criminal activity[.]” Included in the list of prohibited criminal activities are

   violations of Chapter 817 of the Florida Statutes and wire and mail fraud as designated in 18

   U.S.C. §1961(1)(B). Fla. Stat. §772.102(1)(a), (b).

           890.       Further, Fla. Stat. §772.103(4) makes it unlawful for any person “[t]o conspire

   or endeavor to violate” the provisions Fla. Stat. §772.103(3).

           A.      The Opioid Marketing Enterprise and Pattern of Corrupt Activity

           891.       For efficiency and to avoid repetition, for purposes of this claim, Plaintiff

   incorporates by reference the paragraphs of Plaintiff’s First Claim for Relief concerning the

   Opioid Marketing Enterprise.

           892.       As alleged in paragraphs above, each of the RICO Marketing Defendants were

   members of an association-in-fact enterprise, the Opioid Marketing Enterprise, within the

   meaning of Fla. Stat. §772.102(3).


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            893.      As alleged in above, each of the RICO Marketing Defendants conducted and

   participated in the conduct of the affairs of their Opioid Marketing Enterprise through a “pattern

   of criminal activity” in Florida, as defined in Fla. Stat. §772.102(4).

            894.      As previously alleged, the RICO Marketing Defendants engaged in a pattern of

   corrupt activity by committing mail fraud (18 U.S.C. §1341) and wire fraud (18 U.S.C. §1343).

   The Marketing Defendants operated an “enterprise” within the meaning of Fla. Stat.

   §772.102(3), because they are a group of individuals associated in fact, even though they are not

   a collective legal entity. The Opioid Marketing Enterprise: (a) had an existence separate and

   distinct from each of its component entities; (b) was separate and distinct from the pattern of

   criminal activity in which the RICO Marketing Defendants engaged; and (c) was an ongoing

   organization consisting of legal entities consisting of “advocacy groups and professional

   societies” (“Front Groups”) and paid “physicians affiliated with these groups” (known as “key

   opinion leaders,” or “KOLs”) in order to unlawfully increase the demand for opioids. Through

   their personal relationships, the RICO Marketing Defendants and members of the Opioid

   Marketing Enterprise had the opportunity to form and take actions in furtherance of the Opioid

   Marketing Enterprise’s common purpose.            The RICO Marketing Defendants’ substantial

   financial contribution to the Opioid Marketing Enterprise, and the advancement of opioids-

   friendly messaging, fueled the U.S. opioids epidemic.312

            895.      The RICO Marketing Defendants, through the Opioid Marketing Enterprise,

   made misleading statements and misrepresentations about opioids that downplayed the risk of

   addiction and exaggerated the benefits of opioid use, including: (a) that addiction is rare among



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         Fueling an Epidemic, supra n.124, at 1.
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   patients taking opioids for pain; (b) that addiction risk can be effectively managed; (c) that

   symptoms of addiction exhibited by opioid patients are actually symptoms of an invented

   condition the RICO Marketing Defendants named “pseudoaddiction”; (d) that withdrawal is

   easily managed; (e) that increased dosing presents no significant risks; (f) that long-term use of

   opioids improves function; (g) that the risks of alternative forms of pain treatment are greater

   than the adverse effects of opioids; (h) that use of time-released dosing prevents addiction; and

   (i) that ADF provide a solution to opioid abuse.

          896.         The RICO Marketing Defendants have not undertaken the practices described

   herein in isolation, but as part of a common scheme and conspiracy. In violation of Fla. Stat.

   §772.103(4), the RICO Marketing Defendants conspired to violate Fla. Stat. §772.103(3), as

   described herein.

          897.         The RICO Marketing Defendants conspired to incentivize and encourage

   various other persons, firms, and corporations, including third-party entities and individuals not

   named as Defendants in this Complaint, to carry out offenses and other acts in furtherance of the

   conspiracy.   The RICO Marketing Defendants conspired to increase or maintain revenues,

   increase market share, and/or minimize losses for the Marketing Defendants and their other

   collaborators throughout the illegal scheme and common course of conduct. In order to achieve

   this goal, the RICO Marketing Defendants engaged in the aforementioned predicate acts on

   numerous occasions.

          898.         The RICO Marketing Defendants, with knowledge and intent, agreed to the

   overall objectives of the conspiracy and participated in the common course of conduct to commit

   acts of fraud and indecency in deceptively marketing and/or selling opioids through the use of



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   mail and wire fraud.

              899.     Indeed, for the conspiracy to succeed, each of the RICO Marketing Defendants

   had to agree to deceptively market and/or sell the opioids.         The unanimity of the RICO

   Marketing Defendants’ marketing tactics gave their misleading statements credence among

   prescribers and consumers.

              900.     The RICO Marketing Defendants knew and intended that government

   regulators, prescribers, and consumers would rely on the collective material misrepresentations

   and omissions made by them and the other Opioid Marketing Enterprise members about opioids.

   The RICO Marketing Defendants knew and intended that consumers would incur costs as a

   result.

              901.     The RICO Marketing Defendants knew that by partnering with the pain

   foundations and individual physicians who carried a more neutral public image, they would be

   able to attribute more scientific credibility to their products, thereby increasing their sales and

   profits.

              902.     The foregoing illustrates the RICO Marketing Defendants’ liability under Fla.

   Stat. §772.103(4) because they made an agreement, formally or informally, to engage in their

   pattern of criminal activity and agreed to the overall objective of the conspiracy—to maximize

   opioid sales.

              B.     Damages

              1.           Impact of the Opioid Marketing Enterprise

              903.     As described herein, the RICO Marketing Defendants engaged in a pattern of

   related and continuous predicate acts for years. The predicate acts constituted a variety of

   unlawful activities, each conducted with the common purpose of obtaining significant monies

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   and revenues from consumers and forcing the costs of their conduct onto the BBHC. The

   predicate acts also had the same or similar results, participants, victims, and methods of

   commission. The predicate acts were related and not isolated events. The predicate acts all had

   the purpose of generating significant revenue and profits for the RICO Marketing Defendants at

   the expense of the BBHC. The predicate acts were committed or caused to be committed by the

   RICO Marketing Defendants through their participation in the Enterprise and in furtherance of

   their fraudulent scheme, and were interrelated in that they involved consumers’ funds, and the

   BBHC was left footing the bill.

            904.    As fully alleged herein, the residents treated by Plaintiff relied upon

   representations and omissions that were made or caused by Defendants, as evidenced by the fact

   that residents purchased opioids which never should have been introduced into the U.S. stream of

   commerce, whose use has now caused a nationwide epidemic of addiction and overdose, and

   which they would not have purchased, or purchased at the same rate, had they known the true

   risks.

            905.    Plaintiff’s injuries were proximately caused by the RICO Marketing

   Defendants’ criminal activity.    But for RICO Marketing Defendants’ misstatements and

   omissions and RICO Marketing Defendants’ scheme employed by the Opioid Marketing

   Enterprise, consumers would not have paid for opioid prescriptions for chronic pain and the

   BBHC would not be paying for the treatment services caused by their subsequent addiction.

   Though the RICO Marketing Defendants’ misstatements were largely directed toward opioid

   prescribers, Plaintiff was directly injured by the RICO Marketing Defendants’ conduct because

   they directly caused the over-prescription of opioids, and thus the over-purchase and over-



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   consumption of opioids, and all resultant costs and consequences thereof.

          906.       The impact of the Opioid Marketing Enterprise has been particularly

   devastating in Broward County where the BBHC is the exclusive managing entity responsible

   for the contracting, monitoring, clinical quality oversight and performance improvement of

   Broward County’s DCF funded behavioral health services.            Deaths due to opioids, including

   heroin, fentanyl, and prescription opioids, have skyrocketed in Broward County.

          2.              Injury Caused and Relief Sought

          907.       The RICO Marketing Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff’s injury. The RICO Marketing

   Defendants’ pattern of racketeering activity logically, substantially, and foreseeably caused an

   opioid epidemic. Plaintiff’s injuries, as described below, were not unexpected, unforeseen or

   independent. Rather, as Plaintiff alleges, the RICO Marketing Defendants knew that the opioids

   were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain, or for any other

   use not approved by the FDA and knew that opioids were highly addictive and subject to abuse.

   Nevertheless, the RICO Marketing Defendants engaged in a scheme of deception, that utilized

   the mail and wires as part of their fraud, in order to increase sales of their opioid products.

          908.       It was foreseeable and expected that a massive marketing campaign utilized by

   the RICO Marketing Defendants that misrepresented the non-addictive and effective use of

   prescription opioids for purposes for which they are not suited and not approved by the FDA

   would lead to a nationwide opioid epidemic. It was also foreseeable and expected that the RICO

   Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

   overdose. Plaintiff’s injury was logically, foreseeable, and substantially caused by the opioid

   epidemic that the RICO Marketing Defendants created.

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          909.         Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

   racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of

   substantial losses of money and property that logically, directly, and foreseeably arise from the

   opioid-addiction epidemic.       Plaintiff’s injuries, as alleged throughout this Complaint, and

   expressly incorporated herein by reference, include:

                  a.       costs for providing healthcare and medical care, additional therapeutic,
                           and prescription drug purchases, and other treatments for patients
                           suffering from opioid-related addiction or disease, including overdoses
                           and deaths;

                  b.       costs for providing mental-health services, treatment, counseling,
                           rehabilitation services, and social services to victims of the opioid
                           epidemic and their families;

                  c.       costs associated with providing care for children whose parents suffer
                           from opioid-related disability or incapacitation;

          910.         Plaintiff seeks all legal and equitable relief as allowed by law, including inter

   alia actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

   attorneys’ fees and all costs and expenses of suit and pre- and post-judgment interest.

          911.         The RICO Marketing Defendants’ violations of Fla. Stat. §772.103(3)-(4) have

   directly and proximately caused injuries and damages to the BBHC and Plaintiff is entitled to

   bring this action for three times its actual damages, as well as injunctive/equitable relief, costs,

   and reasonable attorneys’ fees pursuant to Fla. Stat. §772.104.

                                        FOURTH CLAIM FOR RELIEF

                   Violation of Civil Remedies for Criminal Practices Act
                Fla. Stat. §772.101, et seq. - Opioid Supply Chain Enterprise
            (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
        McKesson, Cardinal Health, and AmerisourceBergen – (the RICO Supply Chain
                                          Defendants))

          912.         Plaintiff incorporates by reference paragraphs 1-826 of this Complaint as if

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   fully set forth herein.

           913.       Plaintiff brings this Claim against Defendants Purdue, Cephalon, Endo,

   Mallinckrodt, Actavis, McKesson, Cardinal Health, and AmerisourceBergen.

           A.      The Opioid Supply Chain Enterprise and Pattern of Corrupt Activity

           914.       For efficiency and to avoid repetition, for purposes of this claim, Plaintiff

   incorporates by reference the paragraphs of Plaintiff’s First Claim for Relief concerning the

   Opioid Marketing Enterprise.

           915.       As alleged in paragraphs 714-784, each of the Defendants were members of an

   association-in-fact enterprise, the Opioid Supply Chain Enterprise, within the meaning of Fla.

   Stat. §772.102(3).

           916.       As alleged in paragraphs 714-784, each of the Defendants participated in the

   conduct of the affairs of the Opioid Supply Chain Enterprise through a “pattern of criminal

   activity” in Florida, as defined in Fla. Stat. §772.102(4).

           917.       As previously alleged, Defendants engaged in a pattern of corrupt activities

   defined as “racketeering activities” in 18 U.S.C. §1961(1)(B) and (D), including mail fraud (18

   U.S.C. §1341), wire fraud (18 U.S.C. §1343), and dealing in a controlled substance in which

   crime is punishable under any law of the United States.

           918.       Defendants have not undertaken the practices described herein in isolation, but

   as part of a common scheme and conspiracy.              In violation of Fla. Stat. §772.103(4), the

   Defendants conspired to violate Fla. Stat. §772.103(3), as described herein.

           919.       Defendants conspired to incentivize and encourage various other persons, firms

   and corporations, including third-party entities and individuals not named as Defendants in this

   Complaint, to carry out offenses and other acts in furtherance of the conspiracy. Defendants

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   conspired to increase or maintain revenues, increase market share, and/or minimize losses for

   Defendants and their other collaborators throughout the illegal scheme and common course of

   conduct. In order to achieve this goal, Defendants engaged in the aforementioned predicate acts

   on numerous occasions.

            920.      Defendants, with knowledge and intent, agreed to the overall objectives of the

   conspiracy and participated in the common course of conduct to commit acts of fraud and

   indecency in deceptively marketing and/or selling opioids through the use of mail and wire

   fraud.

            921.      Indeed, for the conspiracy to succeed, each of the Defendants had to agree to

   deceptively market and/or sell the opioids. Defendants’ marketing tactics gave their misleading

   statements credence among prescribers and consumers.

            922.      Defendants knew and intended that government regulators, prescribers, and

   consumers would rely on the collective material misrepresentations and omissions made by them

   and the other Defendant Enterprise members about opioids. Defendants knew and intended that

   consumers would incur costs as a result.

            923.      Defendants knew that by partnering with the pain foundations and individual

   physicians who carried a more neutral public image, they would be able to attribute more

   scientific credibility to their products, thereby increasing their sales and profits.

            924.      The foregoing illustrates Defendants’ liability under Fla. Stat. §772.103(4)

   because they made an agreement, formally or informally, to engage in their pattern of criminal

   activity and agreed to the overall objective of the conspiracy—to maximize opioid sales.




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          B.      Damages

                  1.       Impact of the Opioid Supply Chain Enterprise

          925.         As described herein, Defendants engaged in a pattern of related and continuous

   predicate acts for years. The predicate acts constituted a variety of unlawful activities, each

   conducted with the common purpose of obtaining significant monies and revenues from

   consumers and forcing the costs of their conduct onto the BBHC, in reliance on their

   misrepresentations and omissions. The predicate acts also had the same or similar results,

   participants, victims, and methods of commission. The predicate acts were related and not

   isolated events. The predicate acts all had the purpose of generating significant revenue and

   profits for Defendants at the expense of the BBHC. The predicate acts were committed or

   caused to be committed by Defendants through their participation in the Opioid Supply Chain

   Enterprise and in furtherance of their fraudulent scheme.

          926.         As fully alleged herein, Plaintiff relied upon representations and omissions that

   were made or caused by Defendants.

          927.         Plaintiff’s injuries were proximately caused by Defendants’ criminal activity.

   But for Defendants’ misstatements and omissions and Defendants’ scheme employed by the

   Opioid Supply Chain Enterprise, consumers would not have paid for opioid prescriptions for

   chronic pain and the BBHC would not be paying for the emergency and treatment services

   caused by their subsequent addiction. Though Defendants’ misstatements were largely directed

   toward opioid prescribers, Plaintiff was directly injured by the Marketing Defendants’ conduct

   because they directly caused the over-prescription of opioids, and thus the over-purchase and

   over-consumption of opioids, and all resultant costs and consequences thereof.

          928.         The impact of the Opioid Supply Chain Enterprise has been particularly

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   devastating in Broward County where the BBHC is the exclusive managing entity responsible

   for the contracting, monitoring, clinical quality oversight and performance improvement of

   Broward County’s DCF funded behavioral health services. Deaths due to opioids, including

   heroin, fentanyl, and prescription opioids, have skyrocketed in Broward County.

          2.               Injury Caused and Relief Sought

          929.         Defendants’ violations of law and their pattern of racketeering activity directly

   and proximately caused Plaintiff’s injury.          Their pattern of corrupt activity logically,

   substantially and foreseeably caused an opioid epidemic. Plaintiff’s injuries, as described below,

   were not unexpected, unforeseen or independent. Rather, as Plaintiff alleges, Defendants knew

   that the opioids were going to fuel an ever increasing illicit prescription market, as well as

   increasing addiction and death as a result of licit prescriptions of opioids to treat chronic, long-

   term pain.

          930.         It was foreseeable and expected that flooding the illegal market for opioids

   would lead to a nationwide opioid epidemic. It was also foreseeable and expected that it would

   lead to increased opioid addiction and overdose. Plaintiff’s injury was logically, foreseeably,

   and substantially caused by the opioid epidemic that the RICO Supply Chain Defendants created.

          931.         Specifically, the RICO Supply Chain Defendants’ pattern of criminal activity

   caused the opioid epidemic which has injured Plaintiff in the form of substantial losses of money

   and property that logically, directly, and foreseeably arise from the opioid-addiction epidemic.

   Plaintiff’s injuries, as alleged throughout this Complaint, and expressly incorporated herein by

   reference, include:

                  a.       costs for providing healthcare and medical care, additional therapeutic,
                           and prescription drug purchases, and other treatments for patients
                           suffering from opioid-related addiction or disease, including overdoses

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                             and deaths;

                   b.        costs for providing mental-health services, treatment, counseling,
                             rehabilitation services, and social services to victims of the opioid
                             epidemic and their families;

                   c.        costs associated with providing care for children whose parents suffer
                             from opioid-related disability or incapacitation;

           932.         Plaintiff seeks all legal and equitable relief as allowed by law, including inter

   alia actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

   attorneys’ fees, and all costs and expenses of suit and pre- and post-judgment interest.

           933.         The RICO Supply Chain Defendants’ violations of Fla. Stat. § 772.103(3)-(4)

   have directly and proximately caused injuries and damages to the BBHC, and Plaintiff is entitled

   to bring this action for three times its actual damages, as well as injunctive/equitable relief, costs,

   and reasonable attorneys’ fees pursuant to Fla. Stat. §772.104.

                                           FIFTH CLAIM FOR RELIEF

                   Violation of Florida Deceptive and Unfair Trade Practices Act
                                      (Against All Defendants)

           934.         Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

   fully set forth herein.

           935.         The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201, et

   seq. (“FDUTPA”) prohibits “unconscionable acts or practices, and unfair or deceptive acts or

   practices in the conduct of any trade or commerce.” Fla. Stat. §501.204(1).

           936.         BBHC is a “consumer” and an “[i]nterested party or person within the meaning

   of Fla. Stat. § 501.203(6) and a “person” as envisioned in Fla. Stat. §501.211.

           937.         All Defendants engaged in “[t]rade or commerce” within the meaning of Fla.

   Stat. §501.203(8), during the relevant time periods, as detailed further herein.

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          938.       During the relevant periods and as detailed further herein, the Marketing

   Defendants have each engaged in unconscionable, unfair, and/or deceptive acts or practices in

   commerce in violation of the FDUTPA by actively promoting and marketing the use of opioids

   for indications not federally approved and circulating false and misleading information

   concerning opioids’ safety and efficacy. The Marketing Defendants’ large-scale acts of deception

   were successful, as these acts and practices were likely to mislead customers acting reasonably

   under the circumstances both to grossly underestimate the risks associated with the Marketing

   Defendants’ opioid products as well as overestimate the products’ efficacy.

          939.       The Marketing Defendants have also each engaged in unconscionable, unfair,

   and/or deceptive acts or practices in commerce in violation of the FDUTPA by downplaying or

   omitting the risk of addiction arising from the use of their prescription opioids and omitting the

   lack of clinical evidence to substantiate their claims of efficacy and safety.

          940.       Each of the Distributor Defendants has engaged in unconscionable and unfair

   acts or practices by omitting the material fact of its failure to design and operate a system to

   disclose suspicious orders of controlled substances, as well as by failing to actually disclose such

   suspicious orders, as required of “registrants” by the federal CSA, 21 C.F.R. §1301.74(b), which

   is incorporated into Florida law by the Florida Drug and Cosmetic Act (Fla. Stat. §499, et seq.),

   including Fla. Stat. §499.0121. The CSA defines “registrant” as any person who is registered

   pursuant to 21 U.S.C. §823. 21 C.F.R. §1300.02(b). Section 823(a)-(b) requires manufacturers

   and distributors of Schedule II controlled substances to register.

          941.       All Defendants’ unconscionable, unfair, or deceptive acts or practices in

   violation of the FDUTPA offend Florida’s public policy, are immoral, unethical, oppressive and



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   unscrupulous, as well as malicious, wanton, and manifesting of ill will, and they caused

   substantial injury to the BBHC. BBHC risks irreparable injury as a result of all Defendants’ acts,

   misrepresentations, and omissions in violation of the FDUTPA, and these violations present a

   continuing risk to the BBHC, as well as to the general public. Increased risk of future harm due

   to the widespread addiction caused by Defendants’ acts and practices and widespread

   manipulation of the medical profession.

          942.       All Defendants’ acts and practices in violation of the FDUTPA offend Florida

   public policy, are immoral, unethical, oppressive, or unscrupulous, as well as malicious, wanton

   and manifesting ill will; caused and continue to cause substantial injury to the BBHC and the

   residents of Broward County; and put the BBHC at increased risk of future harm.

          943.       As a direct and proximate result of all Defendants’ violations of the FDUTPA,

   BBHC has suffered and continues to suffer losses constituting injury-in-fact. BBHC is entitled,

   and does hereby seek, to recover its actual damages under Fla. Stat. §501.211(2) and its

   attorneys’ fees and costs under Fla. Stat. §501.2105(1).

          944.       BBHC has been seriously aggrieved by all Defendants’ violations of the

   FDUTPA and is therefore entitled to, and does hereby, seek an order under Fla. Stat. §501.211(1)

   declaring all Defendants’ acts and practices unlawful under and in violation of the FDUTPA and

   enjoining all Defendants’ unfair, unconscionable, and/or deceptive acts or practices, and

   awarding attorneys’ fees, costs, and any other just and proper relief available under the

   FDUTPA.

                                       SIXTH CLAIM FOR RELIEF

                              Public Nuisance (Against All Defendants)

          945.       Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

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   fully set forth herein.

           946.       Florida courts have long recognized that anything which interferes with public

   health and promotes the spread of disease, bodily injury, and/or death, may be considered a

   public nuisance, and that a use or interference with real property is not required. A public

   nuisance is one which interferes with public health and welfare and creates an imminent risk of

   public harm.

           947.       All Defendants, individually and acting through their employees and agents,

   have violated a right common to the general public, including by subverting the public order,

   decency, and morals, and causing inconvenience and damage to the public generally.

           948.       Each of the Marketing Defendants subverted the public order, decency, and

   morals of, and caused inconvenience and damage to, BBHC and the patients they serve by,

   among other things, promoting and marketing the use of opioids for indications not federally

   approved, circulating false and misleading information concerning their safety, and efficacy

   and/or downplaying or omitting the risk of addiction arising from their use in violation of the

   FDUTPA. In so doing, the Marketing Defendants acted unreasonably and with actual malice.

           949.       Each of the Distributor Defendants subverted the public order, decency, and

   morals of, and caused inconvenience and damage to BBHC and the patients it serves by failing

   to design and operate a system that would disclose the existence of suspicious orders of

   controlled substances, by filling those suspicious orders and by failing to report suspicious orders

   of opioids as required by the federal CSA, 21 C.F.R. §1301.74(b), which is incorporated into

   Florida law by Florida Drug and Cosmetic Act (Fla. Stat. §499 et seq.), including Fla. Stat.

   §499.0121. In so doing, all of the Distributor Defendants acted unreasonably and with actual



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   malice.

             950.     As detailed herein, all of the Defendants’ conduct has interfered, and continues

   to interfere, with rights common to the general public and has caused BBHC to sustain damages

   special and particular, of a kind not sustained by the general public, including, but not limited to,

   increased behavioral and other healthcare expenditures, increased substance abuse treatment

   expenditures, increased emergency and medical care services and lost economic opportunity.

             951.     BBHC, acting on its own behalf, seeks monetary and injunctive relief to halt

   the threat of future harm.

                                      SEVENTH CLAIM FOR RELIEF

                             Negligence (Against the Marketing Defendants)

             952.     Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

   fully set forth herein.

             953.     Negligence per se is established where the defendant violates a statutory duty

   and where the statute is intended to protect against the result of the violation, the plaintiff is

   within the class intended to be protected by the statute, and the statutory violation is a proximate

   cause of the plaintiff’s injury.

             954.     Negligence is established where the defendant owes the plaintiff a duty of care,

   breaches that duty, and the plaintiff sustained an injury or loss proximately caused by the

   defendant’s breach.

             955.     Each of the Marketing Defendants owed BBHC statutory and common-law

   duties, including the duty to comply with the FDUTPA’s prohibition of “[u]nfair methods of

   competition, or unconscionable acts or practices, and unfair or deceptive acts or practices in the

   conduct of any trade or commerce,” the duty to promote and market opioids truthfully and

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   pursuant to their federally approved indications, and the duty to disclose the true risk of addiction

   associated with the use of opioids.

           956.       Each of the Marketing Defendants breached those duties by, among other

   things, promoting and marketing the use of opioids for indications not federally approved,

   circulating false and misleading information concerning their safety and efficacy, and

   downplaying or omitting the risk of addiction arising from their use.

           957.       In so doing, the Marketing Defendants acted with actual malice.

           958.       BBHC has suffered, and continues to suffer, both injuries and pecuniary losses

   directly and proximately caused by the Marketing Defendants’ breaches. Among other things,

   BBHC is treating an unprecedented number of opioid addiction and/or overdose patients in

   Broward County costing millions in behavioral health, dependency and mental health treatment

   services.

           959.       The Marketing Defendants’ breaches of the statutory and common-law duties

   they each owed to Plaintiff are the proximate cause of this crisis and its resultant harm to BBHC.

                                         EIGHTH CLAIM FOR RELIEF

                                 Negligence (Against All Defendants)

           960.       Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

   fully set forth herein.

           961.       Negligence per se is established where the defendant violates a statutory duty

   and where the statute is intended to protect against the result of the violation, the plaintiff is

   within the class intended to be protected by the statute, and the statutory violation is a proximate

   cause of the plaintiff’s injury. Negligence is established where the defendant owes the plaintiff a

   duty of care, breaches that duty, and the plaintiff sustained an injury or loss proximately caused

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   by the defendant’s breach.

          962.         All Defendants owed BBHC the statutory duty to report suspicious sales, the

   duty not to fill suspicious orders, the duty to abide by any government agreements entered into

   regarding the same, and the duty to comply with the federal CSA, 21 C.F.R. § 1301.74(b), as

   incorporated by the Florida Drug and Cosmetic Act (Fla. Stat. § 499 et seq.) including, inter alia,

   Fla. Stat. § 499.0121, which requires the design and operation of a system to detect and disclose

   suspicious orders of controlled substances.

          963.         All Defendants owed BBHC a duty of care based on Defendants’ affirmative

   acts, described above, that created an unreasonable risk of harm by creating a foreseeable

   opportunity for wrongful or criminal conduct by third parties. All Defendants realized or should

   realize that supplying excessive amounts of dangerous, addictive opioids involves an

   unreasonable risk of harm to another through the conduct of the other or a third person which is

   intended to cause harm, even though such conduct is wrongful or criminal:

                  a.       All Defendants entrusted prescription opioids capable of doing serious
                           harm if misused, to individuals and entities Defendants knew or had strong
                           reason to believe were likely to misuse it to inflict intentional harm.

                  b.       All Defendants had possession or control of prescription opioids that
                           afforded a peculiar temptation or opportunity for intentional interference
                           likely to cause harm.

                  c.       All Defendants knew about the likelihood that and other actors, would
                           intentionally divert and/or misuse the prescription opioids, creating a high
                           degree of risk of intentional misconduct.

                  d.       All Defendants had actual or constructive knowledge of each other
                           Defendant’s behavior.

          964.         All Defendants further owed BBHC a duty of care by virtue of their special

   relationship as manufacturers, distributors, or dispensers, of pharmaceutical opioids purchased


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   by residents of Broward County where BBHC provides care and treatment, and their superior

   and exclusive knowledge of the dangerous and addictive properties.

          965.       Each Defendant’s conduct foreseeably created a broader zone of risk that poses

   a general threat of harm to others.

          966.       Each Defendant’s conduct foreseeably and substantially caused the actual

   injuries to BBHC.

          967.       The public policy of Florida supports allocating this duty and risk of loss to all

   Defendants, who are better situated to bear the loss, as opposed to distributing the loss among the

   general public.

          968.       All Defendants breached these duties by failing to design and operate a system

   that would disclose the existence of suspicious orders of controlled substances or by failing to

   report such suspicious orders to the appropriate regulators as required by state and federal law.

          969.       In so doing, all Defendants acted with actual malice.

          970.       BBHC has suffered, and continues to suffer, both injuries and pecuniary losses

   directly and proximately caused by all Defendants’ breaches. Among other things, BBHC is

   treating an unprecedented number of opioid addicts and overdose patients in Broward County

   costing millions in behavioral health, dependency and mental health treatment services. All

   Defendants’ breaches of the statutory and common-law duties they each owed to Plaintiff

   foreseeably and substantially caused the actual injuries alleged herein: they are the proximate

   cause of this crisis and its resultant harm to BBHC.

                                         NINTH CLAIM FOR RELIEF

                             Gross Negligence (Against All Defendants)

          971.       Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

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   fully set forth herein.

           972.       All Defendants were negligent as described in the preceding cause of action.

           973.       The oversupply of opioids and plague of addiction led to a widespread

   epidemic of overdoses, illness, and death that claimed thousands of lives and cost many millions

   of dollars of public spending—circumstances that constituted an imminent or clear and present

   danger amounting to more than normal and usual peril.

           974.       All Defendants knew or should have known about the imminent danger posed

   by continuing to manufacture and/or supply millions of doses of opioids to Broward County.

           975.       Notwithstanding Defendants’ awareness of the devastating and dangerous

   consequences of continuing to manufacture and/or supply pharmaceutical opioids to Broward

   County, Defendants continued to manufacture and/or supply these pharmaceutical products to

   Broward County, demonstrating their conscious disregard of the consequences of these actions.

   All Defendants’ conduct was so reckless and wanting in care that it constituted a conscious

   disregard and/or indifference to the life, safety, and rights of all those exposed to their conduct in

   Broward County.

           976.       This conscious disregard directly and proximately caused BBHC, to suffer

   injuries and pecuniary losses. Among other things, BBHC is treating an unprecedented number

   of opioid addicts and overdose patients in Broward County costing millions in behavioral health,

   dependency and mental health treatment services.

                                        TENTH CLAIM FOR RELIEF

                             Unjust Enrichment (Against All Defendants)

           977.       Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

   fully set forth herein.

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             978.   Unjust enrichment is established where the plaintiff alleges: (a) a benefit

   conferred upon the defendant by the plaintiff; (b) an appreciation or knowledge by the defendant

   of the benefit; and (c) the acceptance or retention by the defendant of the benefit under such

   circumstances as to make it inequitable for the defendant to retain the benefit without the

   payment of its value.

             979.   The BBHC conferred a benefit upon each Marketing Defendant by paying for

   the externalities or harms caused by the Marketing Defendants’ improper distribution practices

   which inured to the profits of each Marketing Defendant and for which retention of such benefit

   is inequitable based on the Marketing Defendants’ false and misleading marketing and omissions

   of and failure to state material facts in connection with marketing opioids, as set forth herein.

   The Marketing Defendants have thus been unjustly enriched by sales due to their deceptive

   marketing, contributing to Broward County’s current opioid epidemic and the BBHC’s pecuniary

   losses.

             980.   The BBHC conferred a benefit upon each Distributor Defendant by paying for

   the externalities or harms caused by the Distributor Defendants’ improper distribution practices

   which inured to the profits of each Supply Chain and for which retention of such benefit is

   inequitable based on the Distributor Defendants’ failure to operate a system to report suspicious

   orders as required by law and failure to exercise the required care in filling suspicious orders.

   The Distributor Defendants have thus been unjustly enriched by neglecting their duty to

   distribute drugs only for proper medical purposes, contributing to Broward County’s current

   opioid epidemic and the BBHC’s pecuniary losses.

             981.   The unjust enrichment of all Defendants is directly related to the damage, loss,



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   and detriment to the BBHC caused by Defendants’ false marketing and failure to report

   suspicious sales. It would be inequitable under these circumstances for any of the Defendants to

   retain this benefit without compensating the BBHC for its value. BBHC seeks recovery of the

   amounts all Defendants were enriched as a result of their inequitable conduct.

                                     ELEVENTH CLAIM FOR RELIEF

                             Common Law Fraud (Against All Defendants)

           982.       Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

   fully set forth herein.

           983.       At all relevant times, all Defendants, intentionally, willfully, and/or recklessly,

   with the intent to deceive, fraudulently concealed or omitted material information not otherwise

   known or available, knowing that the material was false or misleading, or failed to disclose a

   material fact concerning the health effects or addictive nature of their respective

   prescription opioid drugs or both.

           984.       Distributor Defendants failed to disclose the prevalence of diversion of

   controlled substances, including opioids within Broward County where BBHC is the exclusive

   managing entity responsible for the contracting, monitoring, clinical quality oversight and

   performance improvement of Broward County’s DCF funded behavioral health services. .

           985.       At all relevant times, all Defendants misrepresented and/or concealed material

   facts concerning the addictive and dangerous nature of their prescription opioid drugs, to and/or

   from reasonable consumers, doctors and prescribers, insurers, pharmacies, and others with the

   knowledge of the falsity of their misrepresentations and/or concealments.

           986.       At all relevant times, upon information and belief, the misrepresentations and

   concealments concerning prescription opioid drugs that were manufactured, distributed,

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   promoted and/or sold by all Defendants include, but are not limited to, the following:

                  a.        all Defendants intentionally misrepresented the truth about
                            how opioids lead to addiction;

                  b.        all Defendants knowingly misrepresented that opioids improve function;

                  c.        all Defendants misrepresented that addiction risk can be managed;

                  d.        all Defendants misled doctors, patients, and payors through the use of
                            misleading terms like “pseudoaddiction’;

                  e.        all Defendants falsely claimed that withdrawal can be simply managed;

                  f.        all Defendants misrepresented that increased doses pose no significant
                            additional risks;

                  g.        all Defendants falsely omitted or minimized the adverse effects
                            of opioids and overstated the risks of alternative forms of pain treatment.
                            Defendants used artifice to conceal material facts regarding the safety and
                            efficacy of their products in a way that affirmatively suppressed the truth.
                            Their failure to be truthful was tantamount to supplying false information
                            and/or failing to disclose these material facts in order to induce a false
                            belief that their products were safe and effective for chronic and/or long-
                            term treatment.

          987.         At all relevant times, Defendants actively, knowingly, and intentionally

   concealed and misrepresented these material facts with the intent to deceive the public, and with

   the intent that physicians would prescribe, pharmacies would dispense, and reasonable

   consumers would purchase and use their prescription opioid drugs.

          988.         At all relevant times, physicians would not have prescribed, pharmacies would

   not have dispensed, and the consuming public would not otherwise have purchased or used these

   addictive and dangerous opioid drugs for long-term chronic pain management had they been

   informed of the risks associated with the use of these drugs.

          989.         At   all   relevant   times,     BBHC    patients   relied   upon    Defendants’

   misrepresentations concerning the safety and efficacy of these prescription opioid drugs, and

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   such reliance was reasonably justified.

            990.     Marketing Defendants’ misrepresentations regarding the safety and efficacy of

   long-term opioid use proximately caused injury to Plaintiff.

            991.     Each Defendant knew or should have known that these and other material facts

   should be disclosed.

            992.     Each Defendant knew its concealment of or failure to disclose these material

   facts would induce consumers to act, specifically to purchase prescription opioids.

            993.     Each Defendant had a duty to disclose the material facts, as alleged more fully

   above.

            994.     It was unreasonable for Defendants to rely on doctors and other learned

   intermediaries to fully and adequately transmit warnings to end users about the dangerous and

   deadly nature of the pharmaceutical opioids because Defendants knew that the necessary

   warnings would render the pharmaceutical opioids less valuable and provide an incentive to the

   intermediary to withhold the necessary information from the consumer, the Manufacturer

   Defendants did not adequately convey the danger to doctors and other intermediaries or take

   steps to ensure that these intermediaries would adequately warn the end user, and pharmaceutical

   opioids are extraordinarily dangerous.

            995.     At all relevant times, Defendants actively, knowingly, and intentionally agreed

   and conspired to conceal and misrepresent these material facts to the consuming public with the

   intent to deceive the public, and with the intent that consumers would purchase and use their

   prescription opioid drugs.

            996.     At all relevant times, the consuming public would not otherwise have



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   purchased or used these addictive and dangerous opioid drugs for long-term chronic pain

   management had they been informed of the risks associated with the use of these drugs.

             997.         At all relevant times, the patients treated at the BBHC relied upon Defendants’

   misrepresentations and/or silence or concealments concerning the safety and efficacy of these

   prescription opioid drugs, and such reliance was reasonably justified.

             998.         The BBHC’s losses are directly and causally linked to the widespread,

   pervasive, misleading, and effective opioid marketing campaign orchestrated and carried out by

   Defendants.

             999.         As a direct and foreseeable consequence of Defendants’ wrongful conduct, the

   BBHC is treating an unprecedented number of opioid addiction and overdose patients in

   Broward County costing millions in behavioral health, dependency and mental health treatment.

             1000.        All Marketing Defendants’ conspiracy regarding misrepresentations about the

   safety and efficacy of long-term opioid use proximately caused injury to Plaintiff.

                                         TWELFTH CLAIM FOR RELIEF

                                              Civil Conspiracy
                                           (Against All Defendants)

             1001.        Plaintiff incorporates by reference paragraphs 1-755 of this Complaint as if

   fully set forth herein.

             1002.        All Defendants conspired together as more fully alleged in the above causes of

   action.

             1003.        In pursuance of the conspiracy, all Defendants committed the following overt

   act(s):

                     a.       All Defendants engaged in a civil conspiracy to commit fraud and
                              misrepresentation in conjunction with their unlawful distribution and

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                           diversion of opioids into and around Broward County.

                  b.       Through an express or implied agreement among them, all Defendants
                           were involved in a concerted action to perpetrate a fraud on Plaintiff by
                           the unlawful distribution and diversion of opioids into and around
                           Broward County.

                  c.       All Defendants acted in furtherance of their agreement which was a
                           concerted action between and among Defendants.

                  d.       Specifically, Marketing Defendants led a nationwide conspiracy to bribe
                           medical practitioners to unnecessarily prescribe opioids.

                  e.       All Defendants acted with malice, purposefully, unlawfully, and without
                           reasonable excuse.

                  f.       All Defendants’ conspiracy to bribe practitioners generated substantial
                           profits for Defendants, their companies, and for co-conspirators.

                  g.       The purpose of the concerted action was to accomplish a criminal or
                           unlawful goal or to accomplish a lawful purpose by the use of criminal or
                           unlawful means.

                  h.       All Defendants unlawfully failed to act to prevent the fraud and failed to
                           monitor, report, and prevent suspicious orders of opioids.

                  i.       All Defendants acted with a common understanding and design to commit
                           unlawful acts as alleged, and acted purposefully, without reasonable or
                           lawful excuse, to create injuries alleged herein.

                  j.       All Defendants knew of, or acquiesced in, this wrongful and fraudulent
                           conduct.

          1004.        All Defendants’ conspiracy, actions, and omissions in furtherance thereof

   caused foreseeable losses to BBHC.

          1005.        All Defendants’ conspiracy and acts are also alleged in greater detail, including

   but not limited to, in Plaintiff’s RICO allegations, contained in paragraphs 714-784 above, and

   are incorporated herein.

          1006.        BBHC was damaged as a result of Defendants’ conspiracy to commit fraud.

          1007.        All Defendants benefited by this wrongful and fraudulent conduct.

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          1008.      All Defendants committed tortious acts in concert with each other and any co-

   conspirator.

          1009.      As a direct and proximate result of all Defendants’ conspiracy and illegal,

   wrongful or tortious conduct, BBHC. BBHC suffered injuries and pecuniary losses as a result of

   the acts performed pursuant to the conspiracy. Among other things, the BBHC is treating an

   unprecedented number of opioid addiction and/or overdose patients in Broward County costing

   millions in behavioral health, dependency and mental health treatment services.

                                   THIRTEENTH CLAIM FOR RELIEF

                                          Punitive Damages

          1010.      Defendants’ greed and indifference to the risks caused by their conduct has

   caused and exacerbated the greatest public health crisis of the modern era. At every opportunity,

   Defendants sought to enrich themselves, without regard to the risks their behavior caused others.

   Defendants had actual knowledge of the wrongfulness of such conduct and the high probability

   that injury or damage to the BBHC would result and, despite that knowledge, intentionally

   pursued that course of conduct, resulting in such injury and damage. Defendants’ conduct,

   jointly and severally, was so reckless or wanting in care that it constituted a conscious disregard

   or indifference to the life, safety, or rights of persons exposed to such conduct, and thereby

   warranting punitive damages. Defendants’ conduct was fraudulent, malicious, willful,

   deliberately violent or oppressive, and/or committed with such gross negligence as to indicate a

   wanton and conscious disregard for the rights and safety of others. Accordingly, Defendants are

   liable for punitive damages.




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                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, Broward Behavioral Health Coalition prays that the Court grant

   the following relief:

          A.      Enjoin the Marketing Defendants from violating Fla. Stat. §501.021, et seq., by

   making any further false or misleading statements or omissions related to opioids;

          B.      Enjoin the Distributor Defendants from failing to report suspicious orders as

   required by the federal CSA and as incorporated by the Florida Drug and Cosmetic Act;

          C.      Order all Defendants to pay costs, losses, and damages, in excess of $75,000, for

   injuries sustained by BBHC as a proximate result of Defendants’ unlawful conduct as set forth

   herein; and

          D.      Plaintiff respectfully requests that this Court enter an Order of judgment granting

   all relief requested in this Complaint, and/or allowed at law or in equity, including:

                  a.       abatement of the nuisance;

                  b.       actual damages;

                  c.       declaratory relief;

                  d.       treble or multiple damages and civil penalties as allowed by statute;

                  e.       punitive damages;

                  f.       exemplary damages;

                  g.       disgorgement of unjust enrichment;

                  h.       equitable and injunctive relief, including relief in the form of Court-
                           enforced corrective action, programs, and communications;

                  i.       forfeiture, disgorgement, restitution, and/or divestiture of proceeds and
                           assets;

                  j.       attorneys’ fees;


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                k.      costs and expenses of suit;

                l.      pre- and post-judgment interest; and

                m.      such other and further relief as this Court deems appropriate.

                                          JURY DEMAND

         Plaintiff respectfully demands a trial by jury on all claims so triable.


   DATED: May 8, 2019

                                        Respectfully submitted,

   By: /s/ Robert C. Gilbert                              By: /s/ Eugene K. Pettis
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